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                              UNITED STATES BANKRUPTCY COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                    FORT MYERS DIVISION
                                      www.flmb.uscourts.gov
In re:

JUST ONE MORE RESTAURANT CORP.,                               Case No. 9:19-bk-1947
and JUST ONE MORE HOLDING CORP.,1                             (Jointly Administered with
                                                              Case No. 9:19-bk-1948)
      Debtors.                                                Chapter 11 Cases
____________________________________/

In re:

BRUCE E. BOZZI, SR.,                                          Case No. 9:19-bk-09677-FMD
                                                              Chapter 7
      Debtor.
____________________________________/

In re:

WALTER J. GANZI, JR.,                                         Case No. 9:19-bk-09680-FMD
                                                              Chapter 7
      Debtor.
____________________________________/

         JOINT MOTION FOR ENTRY OF AN ORDER (I) APPROVING
    PURCHASE AGREEMENT AND AUTHORIZING THE SALE OF CERTAIN
      ASSETS OF THE DEBTORS OUTSIDE THE ORDINARY COURSE OF
    BUSINESS, (II) AUTHORIZING THE SALE OF ASSETS FREE AND CLEAR
OF ALL CLAIMS AND LIENS EXCEPT FOR PERMITTED LIENS, ENCUMBRANCES
     AND ASSUMED LIABILITIES, (III) AUTHORIZING THE ASSUMPTION
         AND ASSIGNMENT OF CERTAIN EXECUTORY CONTRACTS
   OF CHAPTER 11 DEBTOR JOMR, AND (IV) GRANTING RELATED RELIEF
            (Expedited Preliminary Hearing Requested on February 25, 2020 at 3:30 p.m.;
             Expedited Final Hearing Requested on March 9, 2020 (if no Auction is held)
                 or either March 10, 2020 or March 11, 2020 (if an Auction is Held)2
                           (Shortened Notice for Sale Hearing Requested)

1
    The last four digits of each Chapter 11 Debtor’s (defined herein) federal tax identification number are Just One
    More Restaurant Corp. (5070) and Just One More Holding Corp. (6081). The address of the Chapter 11 Debtors
    is 8955 Fontana Del Sol Way, 2nd Floor, Naples, FL 34109.
2
    The Movants respectfully request that the Court set this Sale Motion for a preliminary hearing on February 25,
    2020 at 3:30 p.m. which is the same date and time that the Court has set a hearing in the Debtors’ bankruptcy
    cases. In the event that no Auction (defined herein) is held, the Movants respectfully request that the Court set
    this Sale Motion for a final hearing on March 9, 2020. In the event that an Auction is held, the Movants
    respectfully request that the Court set the final hearing on this Sale Motion for either March 10, 2020 or March
    11, 2020.


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            Just One More Restaurant Corp. (“JOMR”) and Just One More Holding Corp. (“JOMH”

and together with JOMR, collectively, the “Chapter 11 Debtors”) through Gerard A. McHale, Jr.,

not in his individual capacity but solely in his capacity as the Chief Restructuring Officer of the

Chapter 11 Debtors (the “CRO”), and Robert E. Tardif, Jr., not in his individual capacity but solely

in his capacity as the trustee (the “Trustee”, and together with the CRO, collectively, the

“Movants”) appointed in the chapter 7 bankruptcy cases of each of Bruce E. Bozzi, Sr. (“Bozzi”)

and Walter J. Ganzi, Jr. (“Ganzi” and together with Bozzi, collectively, the “Chapter 7 Debtors”;

together, the Chapter 11 Debtors and the Chapter 7 Debtors, collectively, the “Debtors”) on behalf

of the estates of the Chapter 7 Debtors and each of the business entities listed on the attached

Exhibit “A” (collectively, the “Palm OpCos”3 and together with the Chapter 11 Debtors,

collectively, the “Company”) by the authority granted to the Movants by title 11 of the United

States Code (the “Bankruptcy Code”) and the Palm OpCos Authorization Orders (defined herein),

by and through the undersigned counsel for the Chapter 11 Debtors and the Trustee, file this motion

(the “Sale Motion”) seeking entry of an order, substantially in the form attached hereto as Exhibit

“B” (the “Sale Order”): (i) approving the Purchase Agreement (the “Agreement”), a copy of which

is attached hereto as Exhibit “C”, among the Debtors and Golden Nugget, LLC (together with its

permitted successors, assigns and designees, the “Stalking Horse Bidder”), or a Successful

Bidder,4 as applicable, and authorizing the sale of the Purchased Assets outside of the ordinary

course of business; (ii) authorizing the sale free and clear of all Claims and Liens (as defined in

the attached Agreement) (other than Assumed Liabilities and Encumbrances and Liens that the



3
    Unless otherwise indicated on Exhibit “A”, the Chapter 7 Debtors have reported in their bankruptcy schedules
    filed with the Court that they own 100% of the equity interests in each of the Palm OpCos.
4
    Terms utilized but not otherwise defined herein shall have the meanings ascribed to them in the Agreement or the
    Bidding Procedures Motion (defined below), as applicable.


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Stalking Horse Bidder has agreed to permit under the Agreement or as otherwise set forth in the

Agreement) (the “Sale”) of the Purchased Assets to the Purchaser; (iii) authorizing the assumption

and assignment of the Assigned JOMR Contracts; and (iv) granting related relief. In support of

the Sale Motion, the Movants respectfully state as follows:

                                     JURISDICTION AND VENUE

            1.      This Court has jurisdiction to consider this Sale Motion pursuant to 28 U.S.C. §§

157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue of the Debtors’

bankruptcy cases and this Sale Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and

1409. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2), and the Court

may enter a final order consistent with Article III of the United States Constitution.

            2.      The statutory predicates for the relief requested herein are sections 105, 363, 365,

503, and 507 of chapter 11 of title 11 of the Bankruptcy Code, rules 2002, 6004, 6006, 9006, 9007

and 9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and rule 2081-

1(h) of the Local Bankruptcy Rules for the Middle District of Florida (the “Local Rules”).

                                             BACKGROUND

-The Chapter 11 Debtors

            3.      On March 7, 2019 (the “Chapter 11 Petition Date”), each of the Chapter 11 Debtors

commenced their cases by filing voluntary petitions for relief under chapter 11 of the Bankruptcy

Code.

            4.      The Chapter 11 Debtors are managing their affairs as debtors in possession pursuant

to sections 1107(a) and 1108 of the Bankruptcy Code.

            5.      On April 9, 2019, the Court entered an order approving the employment of Berger

Singerman LLP as counsel to the Chapter 11 Debtors in their bankruptcy cases (Case No. 9:19-

bk-01947-FMD, Doc. 121).

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            6.      On April 16, 2019, the Court entered an order authorizing the Chapter 11 Debtors

to appoint Gerard A. McHale, Jr. as the CRO of each of the Chapter 11 Debtors (Case No. 9:19-

bk-01947-FMD, Doc. 139).

            7.      On May 13, 2019, the United States Trustee filed a notice with the Court indicating

that the United States Trustee will not appoint a committee of unsecured creditors.

            8.      For a detailed description of the Chapter 11 Debtors, the Chapter 11 Debtors

respectfully refer the Court and parties in interest to the Declaration of Chief Restructuring Officer,

Gerard A. McHale, in Support of Chapter 11 Petitions and First Day Pleadings (Case No. 9:19-

bk-01947-FMD, Doc. 7) (the “First Day Declaration”) filed on the Chapter 11 Petition Date which

the Chapter 11 Debtors incorporate herein by reference.

-The Chapter 7 Debtors

            9.      On October 11, 2019 (the “Chapter 7 Petition Date”, and together with the Chapter

11 Petition Date, collectively, the “Petition Dates”), each of the Chapter 7 Debtors commenced

their cases by filing a voluntary petition for relief under chapter 7 of the Bankruptcy Code.

            10.     Robert E. Tardif, Jr. has been appointed the Trustee in each of the cases of the

Chapter 7 Debtors.

            11.     On December 6, 2019, the Court entered orders granting the Trustee’s applications

to employ Berger Singerman LLP as transaction counsel to the Trustee (Bozzi, Case No. 9:19-bk-

09677-FMD, Doc. 54; Ganzi, Case No. 9:19-bk-09677-FMD, Doc. 49).

            12.     On December 4, 2019, the Trustee filed in each of the Chapter 7 Cases an Amended

Motion for Entry of an Order Authorizing the Trustee to Exercise the Debtor’s Rights and Interests

in the Corporate Entity (Bozzi, Case No. 9:19-bk-09677-FMD, Doc. 52; Ganzi, Case No. 9:19-

bk-09680-FMD, Doc. 47) (collectively, the “Initial Palm OpCos Authorization Motions”).



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            13.   In the Initial Palm OpCos Authorization Motions, the Trustee sought authority to

exercise the ownership interests of the Chapter 7 Debtors in, among other entities, the Palm OpCos,

but not with respect to JOMR and JOMH.

            14.   On December 11, 2019, the Court entered orders granting the Initial Palm OpCos

Authorization Motions (Bozzi, Case No. 9:19-bk-09677-FMD, Doc. 58; Ganzi, Case No. 9:19-bk-

09680-FMD, Doc. 55) (collectively, the “Initial Palm OpCos Authorization Orders”).

            15.   On February 10, 2020, the Trustee filed in each of the Chapter 7 Cases a

Supplemental Motion for Entry of an Order Authorizing the Trustee to Exercise the Debtor’s

Rights and Interests in Corporate Entity (Bozzi, Case No. 9:19-bk-09677-FMD, Doc. 112; Ganzi,

Case No. 9:19-bk-09680-FMD, Doc. 94) (collectively, the “Supplemental Palm OpCos

Authorization Motions” and together with the Initial Palm OpCos Authorization Motions,

collectively, the “Palm OpCos Authorization Motions”).

            16.   In the Supplemental Palm OpCos Authorization Motions, the Trustee sought

authority to exercise the ownership interests in two additional entities which the Trustee’s

investigation revealed are owned by the Chapter 7 Debtors—BB Chicago, LLC (an entity owned

100% by Mr. Bozzi) and WG Chicago, LLC (an entity owned 100% by Mr. Ganzi).

            17.   At the hearing held on February 13, 2020, the Court approved the Supplemental

Palm OpCos Authorization Motions (Bozzi, Case No. 9:19-bk-09677-FMD, Doc. 130 (Hearing

Proceeding Memo); Ganzi, Case No. 9:19-bk-09680-FMD, Doc. 112 (Hearing Proceeding

Memo)).

            18.   On February 20, 2020, the Court entered orders granting the Supplemental Palm

OpCos Authorization Motions (Bozzi, Case No. 9:19-bk-09677-FMD, Doc. 136; Ganzi, Case No.

9:19-bk-09680-FMD, Doc. 117) (collectively, the “Supplemental Palm OpCos Authorization



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Orders” and together with the Initial Palm OpCos Authorization Orders, collectively, the “Palm

OpCos Authorization Orders”).

                     THE MARKETING OF THE DEBTORS’ INTERESTS
                           IN THE PALM RESTAURANT GROUP
                  AND THE SELECTION OF THE STALKING HORSE BIDDER

            19.   On December 20, 2019, the Trustee and the CRO filed a Joint Application for Entry

of an Order Authorizing the Employment and Retention of Raymond James & Associates, Inc. as

Investment Banker for (i) Just One Restaurant Corp., (ii) Just One More Holding Corp., and (iii)

the Chapter 7 Trustee on Behalf of the Palm OpCos Owned by the Chapter 7 Debtors

(JOMR/JOMH, Case No. 9:19-bk-01947-FMD, Doc. 274; Bozzi, Case No. 9:19-bk-09677-FMD,

Doc. 77; Ganzi, Case No. 9:19-bk-09680-FMD, Doc. 70) (collectively, the “Raymond James

Retention Application”).

            20.   On December 30-31, 2019, the Court entered separate orders granting the Raymond

James Retention Application nunc pro tunc to December 12, 2019 (JOMR/JOMH, Case No. 9:19-

bk-01947-FMD, Doc. 278; Bozzi, Case No. 9:19-bk-09677-FMD, Doc. 77; Ganzi, Case No. 9:19-

bk-09680-FMD, Doc. 70) (collectively, the “Raymond James Retention Order”).

            21.   Consistent with terms of the retention of Raymond James & Associates, Inc.

(“Raymond James”), the Movants began a formal marketing process on December 12, 2019, for a

sale of the Purchased Assets—i.e., the assets directly and indirectly owned by the Debtors related

to the Company. Since being retained, Raymond James has approached 184 potential purchasers,

including both strategic and financing buyers. Subsequently, the Movants executed confidentiality

agreements with 51 potential buyers, who were provided a confidential information memorandum

containing significant due diligence information. Raymond James then held extensive diligence




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calls with most of these parties to facilitate all diligence needed to submit non-binding financing

proposals, and a number of these diligence calls were attended by the undersigned counsel.

            22.   The Movants received 14 non-binding purchase proposals. Of these 14, Raymond

James organized and held management presentations with eight of them, having determined that

six non-binding purchase proposals offered consideration significantly below the other non-

binding purchase proposals. Subsequently, the Movants received three purchase proposals. After

receiving and analyzing various purchase proposals, the Movants selected the Stalking Horse

Bidder in connection with a sale transaction subject to higher or otherwise better bids.

            23.   Raymond James continues to market the Debtors’ interests in the Company. The

Movants expect that Raymond James’ marketing process may result in competing bids being

submitted by the proposed Bid Deadline of March 6, 2020. The Movants believe that, based on

consultations with Raymond James, the marketing period, which will have spanned approximately

twelve (12) weeks during these bankruptcy cases by the time the proposed Auction is held on

March 9, 2020, is a reasonable and sufficient period during which to solicit bids on the Debtors’

interests in the Company. The Movants believe that the marketing efforts will be sufficient to

ensure the highest or otherwise best offer.

            24.   The Movants also believe that, based on consultations with Raymond James, their

proposed Bidding Procedures will result in the highest or otherwise best offer for the Debtors’

interests in the Company.

                                        PROPOSED SALE

            25.   The proposed Sale includes all of the Purchased Assets which are those assets

directly and indirectly owned by the Debtors that are related to the Company—i.e., the iconic “The

Palm” which is one of the most well-known steakhouse brands and restaurant chains in the United



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States and Mexico. The Purchased Assets subject of the proposed Sale include, among others: (i)

the Chapter 7 Debtors’ ownership interests in the Palm OpCos which directly and indirectly, own

and manage 21 The Palm restaurants located across the United States; (ii) the ownership of the

intellectual property for The Palm—a series of trademarks and service marks, design elements of

The Palm (such as its food quality choices and methods of preparation) and the Palm’s decor,

display of certain photographs, artistic caricatures, sketches, cartoons and other elements

(collectively, the “Palm IP”); (iii) the licensing rights with respect to the Palm IP, including

licensing rights with respect to three The Palm restaurants, one of which is located at John F.

Kennedy International Airport in New York City and two others in Mexico City; and (iv) owned

real property located at 838 Second Avenue in New York, New York and 94 Main Street, East

Hampton, New York.

            26.   The Movants have filed contemporaneously herewith the Joint Motion for Entry of

an Order (I) Approving Bidding Procedures, (II) Scheduling the Bid Deadlines and the Auction,

(III) Scheduling a Hearing to Consider the Transaction, (IV) Approving the Form and Manner of

Notice Thereof, (V) Approving Contract Procedures, and (VI) Granting Related Relief (the

“Bidding Procedures Motion”), which is incorporated herein by reference.                        The Bidding

Procedures Motion seeks approval of, among other things, the Bidding Procedures. The Bidding

Procedures provide for, among other things, the requirements for Qualified Bidders to submit

Qualified Bids and participate in an Auction.

            27.   The following chart summarizes key provisions and aspects of the Agreement, but

is qualified in its entirety by reference to the actual Agreement attached hereto as Exhibit “C”.5




5
    This description of the Agreement is intended as a summary only. To the extent that there is any discrepancy
    between this summary and the Agreement, the terms of the Agreement shall govern.

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                   SUMMARY OF MATERIAL TERMS OF THE AGREEMENT

            Term                           Summary                                 Reference
 Cash Purchase Price       In consideration of the sale, transfer and         Section 2.6(a)
                           delivery of the Purchased Assets, the Purchase
                           Price is cash in the amount of $50 million,
                           subject to certain adjustments set forth in
                           Section 2.7 of the agreement, plus the
                           assumption of the Assumed Liabilities.
 Sale to Insider           The Stalking Horse Bidder is not an insider of
                           any of the Debtors.
 Good Faith Deposit        All Qualified Bidders, including the Stalking      Section 2.8(a); Bidding
                           Horse Bidder, are required to provide a good       Procedures
                           faith deposit as set forth in the Bidding
                           Procedures, being ten percent (10%) of the
                           Cash Purchase Price and non-cash
                           consideration of a Bid.
 Competitive               The Agreement shall be subject to an Auction       Section 7.5
 Bidding/Auction           to be conducted in accordance with the
                           Bidding Procedures Order.
 Purchased Assets          The assets to be sold are substantially all of     Section 2.1
                           the Debtors’ interests in the assets of the
                           Company, other than the Excluded Assets.
                           Specifically, the Purchased Assets include:
                           a. the Equity Interests (i.e., the equity
                           interests of the Chapter 7 Debtors in each
                           Company);
                           b. the JOMR IP (i.e., the intellectual property
                           rights owned by JOMR);
                           c. Assigned JOMR Contracts (i.e., the rights
                           of JOMR under the License Agreements);
                           d. all books, records, files, and papers of
                           Sellers, including in electronic form, relating
                           solely to the Purchased Assets, except to the
                           extent the same constitutes an Excluded Asset;
                           and
                           e. all utility deposits and other vendor
                           deposits made by any Company with third
                           parties.
 Excluded Assets           Excluded Assets include:                           Section 2.2
                           a. except for the Assigned JOMR Contracts,
                           any unexpired lease or other contract of any
                           Seller;
                           b. all rights of Sellers arising under the
                           Agreement (including without limitation,



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                   SUMMARY OF MATERIAL TERMS OF THE AGREEMENT

            Term                          Summary                                 Reference
                          rights to the Purchase Price) or in connection
                          with the Transactions;
                          c. any Tax refund or reimbursement due to
                          Sellers with respect to any tax period ending
                          on or before the Closing Date;
                          d. all amounts owed to any Seller by, and all
                          claims of any Seller against, any other Seller,
                          Debtor, or any of their respective Affiliates
                          other than any Company or Subsidiary;
                          provided, however, that any claims against a
                          Company or Subsidiary shall hall be released
                          by Sellers at Closing;
                          e. Intentionally omitted;
                          f. Sellers’ rights and benefits relating to
                          insurance coverages with respect to events
                          occurring prior to Closing;
                          g. all amounts paid as of the Closing Date to
                          any Seller under any and all License
                          Agreements or sublicense agreements between
                          PMC and any third party relating to any period
                          prior to the Closing Date;
                          h. all minute books, organizational
                          documents, stock records, and corporate seals
                          of JOMR;
                          i. the equity interests of the Chapter 7 Debtors
                          in any entities not identified on Annex I of the
                          Agreement as a “Company”;
                          j. all claims, avoidance recovery,
                          subordination, or other causes of action arising
                          out of the commencement of, related to, or
                          involving the Bankruptcy Cases, including
                          without limitation those arising under chapter
                          5 of the Bankruptcy Code (e.g., §§ 502(d),
                          506, 510, 542 - 551 and 553 of the Bankruptcy
                          Code), or arising under applicable state Law
                          or otherwise and the proceeds thereof, other
                          than claims and avoidance recovery,
                          subordination, or other such actions against
                          the Companies (collectively, the “Bankruptcy
                          Causes of Action”);
                          k. all claims and causes of action, including,
                          without limitation, commercial tort claims,
                          and any proceeds thereof, that any
                          representatives of any of the Sellers have the


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            Term                           Summary                                 Reference
                          right to bring under applicable state and local
                          Law, by order of the Bankruptcy Court, or
                          otherwise, whether relating to the pre- or post-
                          petition time period, against Bruce E. Bozzi,
                          Sr., Walter J. Ganzi, Jr., or Victor F. Ganzi, or
                          any of their respective Affiliates, or any
                          professionals engaged by any of them,
                          including malpractice and other claims against
                          such professionals, excluding, in all instances,
                          any such claims and causes of action against
                          the Companies or any Subsidiary (collectively,
                          the “Other Causes of Action”);and
                          l. Sellers’ rights and benefits, including any
                          proceeds thereof (including, without
                          limitation, any proceeds from available
                          insurance) arising out of, related to or
                          involving the Decision and Judgment (the
                          “Derivative Action Causes of Action”).
 Agreements with          No agreements with management or key
 Management               employees have been entered into as of the
                          date of the filing of the Sale Motion.
 Sale of Avoidance        The Bankruptcy Causes of Action (defined to         Section 2.2(j)
 Actions                  include avoidance actions) and are not being
                          sold to the Stalking Horse Bidder. The
                          Bankruptcy Causes of Action are Excluded
                          Assets.
 Releases                 The Agreement does not provide for any
                          releases of individuals
 Assumed Liabilities      The Assumed Liabilities include:                    Section 2.3
                          a. all Liabilities arising in connection with the
                          ownership of the Purchased Assets from and
                          after the Closing;
                          b. all Liabilities of Sellers related to or arising
                          under the Assigned JOMR Contracts;
                          c. all Cure Costs in respect of the Assigned
                          JOMR Contracts, if any; and
                          d. any other Liabilities specifically imposed
                          upon or assumed by Purchaser pursuant to the
                          Agreement.
 Excluded Liabilities     Notwithstanding any other provision of the          Section 2.4
                          Agreement to the contrary, and except as
                          provided in Section 2.3 (“Assumed
                          Liabilities”), the Stalking Horse Bidder is not
                          assuming any other Claim against or Liability

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                   SUMMARY OF MATERIAL TERMS OF THE AGREEMENT

            Term                           Summary                                  Reference
                          of Sellers of whatever nature, whether
                          presently in existence or arising thereafter. All
                          such other Claims and Liabilities not being
                          assumed (collectively, the “Excluded
                          Liabilities”) shall be retained by and remain
                          the Liabilities of Sellers; provided, however,
                          that, for avoidance of doubt, each Company
                          and each Subsidiary shall retain all of its
                          assets and remain liable for all of its
                          Liabilities, in each case, as existing as of the
                          Closing (provided that any Liabilities owed by
                          any Company or any Subsidiary to any Seller
                          or any Seller’s Affiliates (including, without
                          limitation, the Chapter 7 Debtors) and any
                          Claims held by any Seller or any Seller’s
                          Affiliates (including, without limitation, the
                          Chapter 7 Debtors) against any Company or
                          Subsidiary arising prior to Closing shall be
                          released as of the Closing).
 Sale Free and Clear of   The Purchased Assets shall be transferred to         Sections 2.1, 3.10, 7.5
 Liens                    the Stalking Horse Bidder free and clear of all
                          Claims and Liens (except for Permitted Liens
                          and Encumbrances and the Assumed
                          Liabilities).
 Record Retention         On and after the Closing Date, upon                  Section 6.1
                          reasonable advance notice, the Stalking Horse
                          Bidder will afford promptly to Sellers and
                          their counsel, advisors, and other agents
                          reasonable access during normal business
                          hours to the Stalking Horse Bidder’s books
                          and records relating to the Purchased Assets to
                          the extent necessary for financial reporting
                          and accounting matters, the preparation and
                          filing of any Tax returns, reports or forms, the
                          defense of any Tax audit, Claim, or
                          assessment, the reconciliation of Claims in the
                          Bankruptcy Cases, to permit Sellers to
                          determine any matter relating to Sellers’ rights
                          and obligations under the Agreement, any
                          other reasonable business purpose related to
                          the Excluded Assets or Excluded Liabilities,
                          or in connection with addressing any other
                          issues arising in connection with or relating to
                          the Bankruptcy Cases, the Bankruptcy Causes
                          of Action, the Other Causes of Action or the
                          Derivative Action Causes of Action; provided,

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            Term                             Summary                                 Reference
                             however, that any such access by Sellers shall
                             not unreasonably interfere with the conduct of
                             the business of the Stalking Horse Bidder.

 Representations and         The Agreement contains certain                     Sections 3 and 4
 Warranties                  representations and warranties by Sellers and
                             the Stalking Horse Bidder.
 Closing                     The Closing of the purchase and sale of the        Sections 2.9, 12.1(b)
                             Purchased Assets and the assumption of the
                             Assumed Liabilities shall take place at the
                             offices of the Escrow Agent (Berger
                             Singerman LLP in Miami, Florida), on a date
                             mutually agreeable to the Parties (which date
                             shall be after, but no later than five (5)
                             Business Days after, satisfaction of the
                             conditions set forth in Section 10 of the
                             Agreement (other than those requiring a
                             delivery, or the taking of other action, at the
                             Closing), or at such other time or place as the
                             Stalking Horse Bidder and Sellers may agree;
                             provided that the Closing must occur on or
                             before the Outside Date.

 Conditions Precedent to     The conditions precedent to both the Stalking      Section 10
 Obligations of Seller and   Horse Bidder’s and Seller’s performance
 Buyer                       under the Agreement include the following:
                             a. The Sale Order has been entered, is in full
                             force and effect and has not been stayed,
                             vacated or reversed; and
                             b. No injunction, stay, or similar Order has
                             been issued by any Governmental Authority
                             that restrains, enjoins, stays or prohibits the
                             consummation of the Transactions.

                             The conditions precedent to the Stalking
                             Horse Bidder’s performance (or waiver by the
                             Stalking Horse Bidder) under the Agreement
                             include the following:
                             a. Sellers have performed in all material
                             respects all of their obligations under the
                             Agreement required to be performed by
                             Sellers on or prior to the Closing Date;
                             b. The representations and warranties of
                             Sellers contained in the Agreement are true


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                   SUMMARY OF MATERIAL TERMS OF THE AGREEMENT

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                          and correct at and as of the Closing Date, as if
                          made at and as of such date (or to the extent
                          such representations and warranties speak as
                          of an earlier date, they shall be true and
                          correct as of such earlier date), with only such
                          exceptions as would not in the aggregate
                          reasonably be expected to have a Material
                          Adverse Effect;
                          c. Sellers have delivered all of the items
                          required by Section 2.10 of the Agreement;
                          and
                          d. No Material Adverse Effect shall have
                          occurred and be continuing with respect to the
                          Purchased Assets or the Business.

                          The conditions precedent to Seller’s
                          performance (or waiver by Sellers) under the
                          Agreement include the following:
                          a. the Stalking Horse Bidder has performed in
                          all material respects all of its obligations under
                          the Agreement required to be performed by it
                          at or prior to the Closing Date;
                          b. the representations and warranties of the
                          Stalking Horse Bidder contained in the
                          Agreement are true and correct in all material
                          respects at and as of the Closing Date, as if
                          made at and as of such date (or to the extent
                          such representations and warranties speak as
                          of an earlier date, they shall be true and
                          correct in all material respects as of such
                          earlier date);
                          c. Sellers have received all documents they
                          may reasonably request relating to the
                          existence of Stalking Horse Bidder and the
                          authority of Stalking Horse Bidder for the
                          Agreement all in form and substance
                          reasonably satisfactory to Sellers; and
                          d. the Stalking Horse Bidder has delivered all
                          of the items required by Section 2.11 of the
                          Agreement.
 Termination Events       The Agreement may be terminated at any time Section 12
                          prior to the Closing:
                          a. by mutual written agreement of Sellers and
                          the Stalking Horse Bidder;

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                   SUMMARY OF MATERIAL TERMS OF THE AGREEMENT

            Term                           Summary                                 Reference
                          b. by Sellers or the Stalking Horse Bidder, if
                          the Closing has not been consummated on or
                          before March 31, 2020 (the “Outside Date”),
                          unless the Party seeking termination is in
                          breach of its obligations thereunder; provided,
                          however, that the Sellers may extend the
                          Outside Date until no later than April 17, 2020
                          in response to circumstances beyond Sellers’
                          reasonable control;
                          c. by Sellers or the Stalking Horse Bidder, if
                          any condition set forth in Section 10.1 is
                          incapable of being satisfied, or through no
                          fault of the Party seeking termination, is not
                          satisfied, by the Outside Date;
                          d. by Purchaser, if any condition set forth in
                          Section 10.2 is incapable of being satisfied, or
                          through no fault of the Stalking Horse Bidder,
                          is not satisfied, by the Outside Date;
                          e. by Sellers, if any condition set forth in
                          Section 10.3 is incapable of being satisfied, or
                          through no fault of Sellers, is not satisfied, by
                          the Outside Date;
                          f. by the Stalking Horse Bidder, if any Seller
                          breaches any of its representations warranties
                          or covenants and agreements set forth in the
                          Agreement and fails to cure the same within
                          ten (10) days after written notice thereof from
                          the Stalking Horse Bidder to Sellers (other
                          than Sellers’ failure to close the Transactions
                          for which no notice shall be required and no
                          cure period afforded), unless the Stalking
                          Horse Bidder is in breach of its obligations
                          thereunder;
                          g. by Sellers, if the Stalking Horse Bidder
                          breaches any of its representations warranties
                          or covenants and agreements set forth in the
                          Agreement and fails to cure the same within
                          ten (10) days after written notice thereof from
                          Sellers to the Stalking Horse Bidder (other
                          than the Stalking Horse Bidder’s failure to
                          close the Transactions for which no notice
                          shall be required and no cure period afforded),
                          unless any Seller is in breach of its obligations
                          thereunder;



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                     SUMMARY OF MATERIAL TERMS OF THE AGREEMENT

            Term                               Summary                                  Reference
                               h. by Sellers or the Stalking Horse Bidder if
                               the Bankruptcy Court enters an Order in the
                               Bankruptcy Cases approving the sale of all or
                               a portion of the Purchased Assets to a Person
                               other than the Stalking Horse Bidder;
                               i. by the Stalking Horse Bidder if the Sale
                               Order shall not have been entered by the
                               Bankruptcy Court on or before March 13,
                               2020 (subject to adjournment of the Sale
                               Approval Hearing for circumstances beyond
                               Sellers’ reasonable control); or
                               j. automatically and without any action or
                               notice by Sellers to the Stalking Horse Bidder,
                               or the Stalking Horse Bidder to Sellers,
                               immediately upon: (i) approval by the
                               Bankruptcy Court of an Alternative
                               Transaction, unless the Stalking Horse Bidder
                               is designated a Backup Bidder; or (ii) if the
                               Stalking Horse Bidder is designated a Backup
                               Bidder, the consummation of an Alternative
                               Transaction.
 Break-Up Fee                  Upon the consummation of an Alternative             Section 7.5(c)(i)
                               Transaction, Sellers shall pay to the Stalking
                               Horse Bidder cash or other immediately
                               available funds in an amount equal to
                               $1,250,000, being 2.5% of the Purchase Price.
 Expense Reimbursement         The Stalking Horse Bidder will be entitled to       Section 7.5(c)(i)
                               reimbursement of actual and documented out
                               of pocket expenses associated with this
                               Agreement (including, without limitation,
                               travel, due diligence, and professional fees) of
                               up to a maximum amount of $275,000.00.
 Relief from Bankruptcy        The Movants will seek relief pursuant to            Definition of “Sale
 Rule 6004(h)                  Bankruptcy Rule 6004(h).                            Order”; Section 7.5(e)

                                       RELIEF REQUESTED

            28.    By this Sale Motion, the Movants seek the entry of an order substantially in the

form attached hereto as Exhibit “B”: (i) approving the Agreement and authorizing the Sale outside

the ordinary course of business, (ii) authorizing the Sale free and clear of all Claims and Liens

(other than Assumed Liabilities, Encumbrances, and Liens that the Stalking Horse Bidder has

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agreed to permit under the Agreement or as otherwise set forth in the Agreement), (iii) authorizing

the assumption and assignment of the Assigned JOMR Contracts, and (iv) granting related relief.

            29.    For the reasons stated herein, the Movants request, pursuant to Bankruptcy Rule

2002 and 9006(c), to have this Sale Motion heard on shortened notice.

                      THE REQUESTED RELIED SHOULD BE GRANTED

A.          The Proposed Sale Is Appropriate and in the Best Interests of the Debtors’ Estates
            and Their Creditors.

            30.    The Movants submit that ample authority exists for approval of the proposed Sale

of the Purchased Assets pursuant to either the (i) Agreement or (ii) Successful Bid, as applicable.

Section 363(b)(1) of the Bankruptcy Code, in turn, authorizes a trustee to use property of the estate

“outside of the ordinary course of business” so long as the trustee can demonstrate a sound business

justification for the transaction. See, e.g., In re 160 Royal Palm, LLC, 600 B.R. 119, 129 (D. Fla.

2019) (Chapter 11) (courts use the business judgment test to evaluate proposed actions under

section 363(b)(1); In re Diplomat Const., Inc., 481 B.R. 215, 218 (Bankr. N.D. Ga. 2012) (Chapter

7) (“The business judgment test is the prevailing rubric to evaluate the proposed transaction under

§ 363(b)(1)”); see also In re Antunes, 2019 WL 913704, at *8 (Bankr. E.D. Pa. Feb. 19, 2019)

(section 363 of the Bankruptcy Code allows the chapter 7 trustee, after notice and hearing, to use

other than in the ordinary course of business, property of the state, by articulating some business

justification). Furthermore, section 105(a) of the Bankruptcy Code provides a bankruptcy court

with considerable discretion in the administration of bankruptcy cases. See In re City of Detroit,

Michigan, 519 B.R. 673, 679 (Bank. E.D. Mich. 2014). Specifically, section 105(a) states that

“[t]he court may issue any order, process, or judgment that is necessary or appropriate to carry out

the provisions of [the Bankruptcy Code].” See 11 U.S.C. § 105(a). Based upon a careful review




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of the terms of the proposed Sale, the Movants believe that it provides the highest level of proceeds

to the Debtors’ estates.

            31.   The “sound business judgment” generally test requires a debtor to establish four

elements in order to justify the sale or lease of property outside the ordinary course of business,

namely, (i) that a “sound business purpose” justifies the sale of assets outside the ordinary course

of business; (ii) that adequate and reasonable notice has been provided to interested persons; (iii)

that the debtor has obtained a fair and reasonable price; and (iv) good faith. See, e.g., In re Abbotts

Dairies, 788 F.2d at 143; Titusville Country Club v. Pennbank (In re Titusville Country Club), 128

B.R. 396, 399 (Bankr. W.D. Pa. 1991); In re Sovereign Estates, Ltd., 104 B.R. 702, 704 (Bankr-.

E.D. Pa. 1989). A debtor’s showing of a sound business purpose need not be unduly exhaustive,

rather a debtor is “simply required to justify the proposed disposition with sound business reasons.”

In re Baldwin United Corp., 43 B.R. 888, 906 (Bankr. S.D. Ohio 1984). Whether or not there are

sufficient business reasons to justify a transaction depends upon the facts and circumstances of

each case. In re Lionel Corp., 722 F.2d 1063, 1071 (2d Cir. 1983; In re Montgomery Ward, 242

B.R. at 155 (approving funding of employee incentive and severance program and holding that the

business purpose requirement was fulfilled, because stabilizing turnover rate and increasing

morale were necessary to successful reorganization).

            (i)   A “Sound Business Purpose” Supports the Sale.

            32.   It is black letter law that a chapter 7 trustee has a fiduciary duty to maximize the

value of a debtor’s estate. See, e.g., In re VCR I, L.L.C., 922 F.3d 323, 327 (5th Cir. 2019) (stating

rule); In re CVA Associates, 171 B.R. 122, 128 (D. Utah 1994) (“a Chapter 7 trustee seeks to

maximize the value of the debtor’s estate”); In re Mims, 355 B.R. 324, 326 (Bankr. M.D. Ala.

2006) (“[t]he chapter 7 trustee has a fiduciary duty to maximize distribution to creditors”) (citing

United States v. Aldrich (In re Rigden), 795 F.2d 727, 730 (9th Cir. 1986)); In re Dryland Marina,

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Inc., 180 B.R. 487, 489 (Bankr. W.D. Mich. 1995) (“the goal of a Chapter 7 trustee is to maximize

and protect the value of the debtor’s estate”); In re EPI Products USA, Inc., 162 B.R. 1, 3 (Bankr.

C.D. Cal. 1993) (“the [chapter 7] trustee must maximize and protect the value of the debtor’s

estate”); 6 COLLIER ON BANKRUPTCY ¶ 704.04[2] (Alan N. Resnick & Henry J. Sommer eds. 16th

ed.) (hereinafter “COLLIER”) (a chapter 7 trustee “must carefully preserve the estate’s assets from

deterioration or dissipation”). This same rule applies with equal force to chapter 11 debtors. See

In re Lykes Bros. Steamship Co., Inc., 207 B.R. 282, 284 (Bankr. M.D. Fla. 1997). For the reasons

expressed herein and in the Bidding Procedures Motion, the proposed Sale will maximize the value

of the Debtors’ estates.

            33.   A chapter 7 trustee requires broad discretion in order to accomplish the statutory

requirements of his or her appointment. As the Fourth Circuit observed in In re Merry-Go Round

Enterprises, Inc., the “purpose of a Chapter 7 case is to administer efficiently the liquidation of

the estate for the benefit of the creditors.” (citation omitted.) To accomplish this often seemingly

impossible task, the Chapter 7 trustee requires considerable discretion.” 180 F.3d 149, 162 (4th

Cir. 1999) (emphasis supplied); see also In re Nangle, 288 B.R. 213, 219 (B.A.P. 8th Cir. 2003)

(stating rule); In re Nissley, 2015 WL 6556983, at *1 (Bankr. M.D. Pa. Oct. 29, 2015) (same); 6

COLLIER ¶ 704.02[1] (a chapter 7 trustee has “the authority to exercise wide-ranging authority over

the debtor’s assets”). Similarly, chapter 11 debtors possess broad discretion to fulfill their duties

under the Bankruptcy Code. See, e.g., In re Nine West Holdings, Inc., 588 B.R. 678, 686 (Bankr.

S.D.N.Y. 2018) (chapter 11 debtors have broad discretion to use, sell or lease property of the estate

other than in the ordinary course of business so long as such use is supported by a good business

reason).




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            34.    In the Movants’ exercise of the Debtors’ reasonable business judgment, the

Movants have determined that the most effective way to maximize the value of the Debtors’ assets

for all of their creditors and stakeholders is to pursue a Sale of the Debtors’ interests in the

Company. Here, the Agreement establishes a floor price for what the Movants anticipate will be

a robust Auction. The Agreement and the Bidding Procedures permit the Movants to seek out

higher or otherwise better offers at the Auction. This will ensure that the market sets the value for

the Purchased Assets and that the Sale will maximize the value of the Debtors’ interests in the

Company for the benefit of all of the Debtors’ stakeholders. Accordingly, the Movants have

provided a sound business purpose in pursuing the approval of the Sale.

            (ii)   Sufficient Notice of the Proposed Sale Has Been Provided to Interested
                   Parties.

            35.    Pursuant to Bankruptcy Rule 2002(a), the Movants, on behalf of the Debtors, are

required to provide creditors with twenty-one days’ notice of the Sale Hearing. The Movants

believe that sufficient cause exists to shorten the notice period for the Sale Hearing. In view of

the need to immediately pursue a value-maximizing transaction to protect the value of the Debtors’

interests in the Company, and at the same time, ensure sufficient time to explore market interest

and conduct a competitive bidding process, the Movants believe that the proposed timeline for the

bidding and sale process, including the proposed date of the Sale Hearing, are both reasonable and

necessary under the circumstances. Additionally, commencing the bidding process, conducting

the Auction and holding the Sale Hearing on the proposed timeline are necessary to comply with

the Milestones under the DIP Loan Facility. Absent the bidding and sale process on the timeline

contemplated by the Bidding Procedures and this Sale Motion, the Movants believe they will be

unable to maximize the value of the Debtors’ interests in the business as a going concern for the




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benefit of all stakeholders. Accordingly, the Movants submit that approval of the requested date

for the Sale Hearing and the other relief requested in this Sale Motion are critical.

            36.     In addition, the Movants are requesting only a minor deviation from the standard

21-day notice period. The Movants are filing this Sale Motion on February 20, 2020. As such,

the standard 21-day notice period would normally permit a hearing on or after March 12, 2020.

As requested herein, the Movants are requesting a Sale Hearing on a date falling between March

9-11, 2020 (subject to the Court’s availability). Thus, the Movants’ request amounts to shortening

the notice with respect to the Sale Hearing by, at most, just one to three days, and as such, the

Movants believe that no party will be prejudiced in any manner by the shortened notice period.

Accordingly, and for the reasons stated herein and in the Bidding Procedures Motion, the Movants

respectfully request the Court to approve the request to schedule the Sale Hearing on shortened

notice.

            (iii)   The Proposed Sale is for a Fair and Reasonable Price.

            37.     The Movants submit that the Purchase Price for the Purchased Assets is fair and

reasonable. As explained above, the Purchase Price in the Agreement will serve as the floor price

for competing bids. In addition, the Agreement provides for the Stalking Horse Bidder’s

assumption of the Assumed Liabilities.

            38.     The Bidding Procedures have been designed to ensure that the highest or otherwise

best offer for the Purchased Assets will be attained. With the assistance of Raymond James, the

Movants are (i) conducting a comprehensive marketing process in order to maximize value, (ii)

soliciting the interest of various potential strategic and financial buyers, and (iii) entertaining offers

for a sale transaction that will maximize the value of the Debtors’ interests in the Company. The

Movants expect that their marketing efforts will result in the submission of one or more competing

Qualified Bids prior to the proposed Bid Deadline. In the event the Movants receive Qualified

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Bids other than the Agreement, the Bidding Procedures provide that an Auction will be held to

determine the highest or otherwise best bid.

            39.    Because the ultimate purchase price for the Purchased Assets will be determined in

accordance with the Court-approved Bidding Procedures at an Auction, it will be fair and

reasonable as contemplated by Bankruptcy Code section 363. See, e.g., In re Abbotts Dairies, 788

F.2d at 149 (finding that “[generally speaking, an auction may be sufficient to establish that one

has paid 'value' for the assets of a bankrupt.”); In re Nat’l Health & Safety Corp., 1999 Bankr.

LEXIS 1126, at *8 (Bankr. E.D. Pa. Sept. 2, 1999) (citing Abbotts Dairies for the proposition that

an auction may be sufficient to establish that one has paid value for the assets of a debtor, and

relying upon auction results to verify that the purchase price represented value).

            (iv)   The Proposed Sale Has Been Negotiated at Arm’s Length and in Good Faith.

            40.    The “good faith” prong of the Abbotts Dairies standard also is satisfied. The

Movants request that the Court find that the Stalking Horse Bidder or the Successful Bidder, as

applicable, is entitled to the benefits and protections provided by Bankruptcy Code section 363(m)

in connection with the Sale. Bankruptcy Code section 363(m) provides, in pertinent part:

                   The reversal or modification on appeal of an authorization under
                   subsection (b)... of this section of a sale ... of property does not affect
                   the validity of a sale ... under such authorization to an entity that
                   purchased .. . such property in good faith, whether or not such entity
                   knew of the pendency of the appeal, unless such authorization and
                   such sale . . . were stayed pending appeal.

11 U.S.C. § 363(m).

            41.    Bankruptcy Code section 363(m) thus protects the buyer of assets sold pursuant to

Bankruptcy Code section 363 from the risk that it will lose its interest in the purchased assets if

the order allowing the sale is reversed on appeal. By its terms, Bankruptcy Code section 363(m)

applies to sales of interests in tangible assets, such as the Purchased Assets.


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            42.   The Movants submit, and will present evidence at the Sale Hearing to establish that

the Agreement was an arm’s-length transaction, in which the Stalking Horse Bidder or the

Successful Bidder, as applicable, acted in good faith. The Movants and the Stalking Horse Bidder

negotiated the Agreement in good faith and without collusion or fraud of any kind. The Stalking

Horse Bidder has not engaged in collusion or any conduct that would otherwise control or tend to

control the sale price as between or among potential bidders. The Bidding Procedures are designed

to maximize rather than chill competitive bidding and the Auction promotes an open and

competitive sale process. The Movants have had their own legal counsel in negotiations over the

Agreement and will have their own legal counsel to negotiate on their behalf throughout the

Auction and the Sale. Accordingly, the Movants request that the Court make a finding at the Sale

Hearing that the Successful Bidder, including, if applicable, the Stalking Horse Bidder has

purchased the Purchased Assets in good faith within the meaning of section 363(m) of the

Bankruptcy Code.

            (v)   All Pertinent Information Regarding the Proposed Sale Has Been Fully
                  Disclosed.

            43.   The Movants have presented the proposed asset sale openly and in good faith. The

Stalking Horse Bidder’s identity and any connection with the Debtors has been fully disclosed in

this and other pleadings filed with the Bankruptcy Court. The Movants have fully disclosed and

requested the Bankruptcy Court’s approval of all of the terms and conditions of the proposed Sale.

Sufficient and adequate notice of this Sale Motion has been provided to interested parties and such

parties will receive further notice of the Sale and all relevant dates and deadlines related thereto

through the Bankruptcy Court-approved Sale Notice.

            44.   The Movants will introduce evidence at the Sale Hearing regarding the arm’s-

length, good faith nature of the Auction and the negotiation of the Agreement. Indeed, the Movants


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will demonstrate that the Agreement with the Stalking Horse Bidder or the Successful Bidder, as

applicable, represents the highest or otherwise best bid available to the Movants on behalf of the

Debtors for the Purchased Assets following a robust marketing and competitive bidding process.

Accordingly, the Sale pursuant to the Agreement has been proposed and fully disclosed in good

faith and represents the sound business judgment of the Movants on behalf of the Debtors, and, as

such, is entitled to Bankruptcy Court approval.

B.          The Sale Satisfies the Requirements of Section 363(f) of the Bankruptcy Code.

            45.   Under section 363(f) of the Bankruptcy Code, a debtor may sell all or any part of

its property free and clear of any and all liens, claims or interests in such property if: (i) such a sale

is permitted under applicable non-bankruptcy law; (ii) the party asserting such a lien, claim or

interest consents to such sale; (iii) the interest is a lien and the purchase price for the property is

greater than the aggregate amount of all liens on the property; (iv) the interest is the subject of a

bona fide dispute; or (v) the party asserting the lien, claim or interest could be compelled, in a legal

or equitable proceeding, to accept a money satisfaction for such interest. 11 U.S.C. § 363(f);

Citicorp Homeowners Serv., Inc. v. Elliot (In re Elliot), 94 B.R. 343, 345 (E.D. Pa. 1988) (noting

that Bankruptcy Code section 363(f) is written in the disjunctive; therefore, a court may approve

a sale "free and clear" provided at least one of the subsections is met).

            46.   The Sale satisfies the criteria set forth in Bankruptcy Code section 363(f). The

Movants believe that, at a minimum, it satisfies the second prong of section 363(f) because the

proposed Sale of the Purchased Assets free and clear of all Claims and Liens (except for Permitted

Liens and Encumbrances and the Assumed Liabilities) will provide more than sufficient

consideration to satisfy the claims of the DIP lender. Second, the Movants submit that holders of




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any Claims and Liens could be compelled, in a legal or equitable proceeding, to accept a monetary

satisfaction equal to the amount of their Lien, Claim, encumbrance, or interest.

            47.   In addition, pursuant to the Bidding Procedures, the Movants will send the Sale

Notice to the interested parties in the Debtors’ estates, including all parties who could potentially

assert any Claim or Lien against the Purchased Assets. Accordingly, the Movants submit that the

Sale of the Purchased Assets free and clear of any Claims or Liens (other than Permitted Liens and

Encumbrances and the Assumed Liabilities) satisfies the statutory prerequisites of Bankruptcy

Code section 363(f).

C.          The Assumption and Assignment of the Assigned JOMR Contracts Should Be
            Authorized.

            48.   Bankruptcy Code section 365(a) provides, in pertinent part, that a debtor-in-

possession “subject to the court’s approval, may assume or reject any executory contract or

[unexpired] lease of the debtor.” 11 U.S.C. § 365(a). The standard governing bankruptcy court

approval of a debtor’s decision to assume or reject an executory contract or unexpired lease is

whether the debtor’s reasonable business judgment supports assumption or rejection. See, e.g., In

re Stable Mews Assocs., Inc., 41 B.R. 594, 596 (Bankr. S.D.N.Y. 1984). If the debtor’s business

judgment has been reasonably exercised, a court should approve the assumption or rejection of an

unexpired lease or executory contract. See Group of Institutional Investors v. Chicago, Milwaukee,

St. Paul & Pac. R.R. Co., 318 U.S. 523 (1943); Sharon Steel Corp. v. Nat. Fuel Gas Dist. Corp.,

872 F.2d 36, 39-40 (3d Cir. 1989). The business judgment test “requires only that the trustee [or

debtor-in-possession] demonstrate that [assumption or] rejection of the contract will benefit the

estate.” Wheeling-Pittsburgh Steel Corp. v. West Penn Power Co. (In re Wheeling-Pittsburgh Steel

Corp.), 72 B.R. 845, 846 (Bankr. W.D. Pa. 1987) (quoting In re Stable Mews Assoc., 41 B.R. at

596). Any more exacting scrutiny would slow the administration of a debtor’s estate and increase


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costs, interfere with the Bankruptcy Code’s provision for private control of administration of the

estate, and threaten the court’s ability to control a case impartially. See Richmond Leasing Co. v.

Capital Bank, NA., 762 F.2d 1303, 1311 (5th Cir. 1985). Moreover, pursuant to Bankruptcy Code

section 365(b)(1), for a debtor to assume an executory contract, it must “cure, or provide adequate

assurance that the debtor will promptly cure,” any default, including compensation for any “actual

pecuniary loss” relating to such default. 11 U.S.C. § 365(b)(1).

            49.   Once an executory contract is assumed, the trustee or debtor-in-possession may

elect to assign such contract. See L.R.S.C. Co. v. Rickel Home Ctrs., Inc. (In re Rickel Home Ctrs.,

Inc.), 209 F.3d 291, 299 (3d Cir. 2000) (“[t]he Code generally favors free assignability as a means

to maximize the value of the debtor’s estate”); see also Leonard v. General Motors Corp. (In re

Headquarters Dodge, Inc.), 13 F.3d 674, 682 (3d Cir. 1994) (noting purpose of section 365(f) is

to assist trustee in realizing the full value of the debtor’s assets).

            50.   Bankruptcy Code section 365(f) provides, in pertinent part, that a trustee may

assign an executory contract or unexpired lease of a debtor only if:

                  (A)    the trustee assumes such contract or lease in
                  accordance with the provisions of this section; and

                  (B)     adequate assurance of future performance by the
                  assignee of such contract or lease is provided, whether or not
                  there has been a default in such contract or lease.

11 U.S.C. § 365(f)(2).

            51.   Bankruptcy Code section 365(a) provides that a debtor, “subject to the court’s

approval, may assume or reject any executory contract or unexpired lease of the debtor.” 11 U.S.C.

§ 365(a). Moreover, Bankruptcy Code section 365(b) codifies the requirements for assuming an

executory contract of a debtor. This provision provides that:

                  (b)(1) If there has been a default in an executory contract or
                  unexpired lease of the debtor, the trustee may not assume such

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                  contract or lease unless, at the time of assumption of such contract
                  or lease, the trustee -

                     (A)    cures, or provides adequate assurance that the trustee will
                            promptly cure, such default... ;

                     (B)    compensates, or provides adequate assurance that the
                            trustee will promptly compensate, a party other than the
                            debtor to such contract or lease, for any actual pecuniary
                            loss to such party resulting from such default; and

                     (C)    provides adequate assurance of future performance under
                            such contract or lease.

11 U.S.C. § 365(b)(1).

            52.   The meaning of “adequate assurance of future performance” depends on the facts

and circumstances of each case, but should be given “practical, pragmatic construction.” See

Carlisle Homes, Inc. v. Arrari (In re Carlisle Homes, Inc.), 103 B.R. 524, 538 (Bankr. D.N.J.

1989); see also In re Natco Indus., Inc., 54 B.R. 436, 440 (Bankr. S.D.N.Y. 1985) (adequate

assurance of future performance does not mean absolute assurance that debtor will thrive and pay

rent). Among other things, adequate assurance may be given by demonstrating the assignee's

financial health and experience in managing the type of enterprise or property assigned. Accord

In re Bygaph, Inc., 56 B.R. 596, 605-06 (Bankr. S.D.N.Y. 1986) (adequate assurance of future

performance is present when prospective assignee of lease from debtors has financial resources

and has expressed willingness to devote sufficient funding to the business in order to give it a

strong likelihood of succeeding).

            53.   As set forth in the Agreement (or as shall be set forth in any Qualified Bid), to the

extent any defaults exist under any of the three Assigned JOMR Contracts, the Purchaser has

agreed to be responsible for the payment of all Cure Costs as required under Bankruptcy Code

section 365(b)(1). Based on the foregoing, the Movants respectfully submit that the assumption




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and assignment of the Assigned JOMR Contracts satisfies the requirements under Bankruptcy

Code section 365(f)(2)(A) and (B).

D.          Request for Relief Under Bankruptcy Rules 6004(h) and 6006(d).

            54.     Bankruptcy Rule 6004(h) provides that an “order authorizing the use, sale, or lease

of property . . . is stayed until the expiration of 14 days after entry of the order, unless the court

orders otherwise.” Similarly, Bankruptcy Rule 6006(d) provides that an “order authorizing the

trustee to assign an executory contract or unexpired lease . . . is stayed until the expiration of 14

days after the entry of the order, unless the court orders otherwise.” The Movants request that the

Bidding Procedures Order be effective immediately by providing that the fourteen (14) day stays

under Bankruptcy Rules 6004(h) and 6006(d) are waived.

            55.     The primary purpose of Bankruptcy Rules 6004(h) and 6006(d) is to provide

sufficient time for an objecting party to appeal before an order can be implemented. See 10

COLLIER       ON   BANKRUPTCY ¶ 6004.11 (Alan N. Resnick & Henry J. Sommer eds. 16th ed.)

(“COLLIER”). Although Bankruptcy Rules 6004(h) and 6006(d) and the Advisory Committee

Notes are silent as to when a court should “order otherwise” and eliminate or reduce the fourteen-

day stay period, COLLIER suggests that the fourteen (14) day stay period should be eliminated to

allow a sale or other transaction to close immediately “where there has been no objection to the

procedure.” See id. Furthermore, COLLIER provides that if an objection is filed and overruled, and

the objecting party informs the Court of its intent to appeal, the stay may be reduced to the amount

of time actually necessary to file such appeal. See id.

            56.     To preserve the value of the Purchased Assets and limit the costs of administering

and preserving such assets, it is critical that the Movants close the Sale as soon as possible after

all closing conditions have been achieved or waived. Accordingly, the Movants hereby request



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that the Court waive the fourteen (14) day stay periods under Bankruptcy Rules 6004(h) and

6006(d).

            57.   Based upon the foregoing, the Movants submit that the relief requested herein is

necessary and appropriate, is in the best interests of the Debtors and their estates, and should be

granted in all respects.

                                  RESERVATION OF RIGHTS

            58.   Nothing contained in this Sale Motion or any actions taken by the Movants or the

Debtors pursuant to relief granted in the order is intended or should be construed as: (a) an

admission as to the validity, priority, or amount of any particular claim against any Debtor; (b) a

waiver of the Debtors’ or any other party-in-interest’s rights to dispute any particular claim on any

grounds; (c) a promise or requirement to pay any particular claim; (d) an implication or admission

that any particular claim is of a type specified or defined in this Sale Motion; (e) a request or

authorization to assume any agreement, contract, or lease pursuant to section 365 of the

Bankruptcy Code other than the Assigned JOMR Contracts; (f) a waiver or limitation of the

Debtors’ or any other party-in-interest’s rights under the Bankruptcy Code or any other applicable

law; or (g) a concession by the Debtors or any other party-in-interest that any liens (contractual,

common law, statutory, or otherwise) satisfied pursuant to this Sale Motion are valid and the

Debtors and all other parties-in-interest expressly reserve their rights to contest the extent, validity,

or perfection, or to seek avoidance of all such liens. If the Court grants the relief sought herein,

any payment made pursuant to the Court’s order is not intended and should not be construed as an

admission as to the validity, priority, or amount of any particular claim or a waiver of the Debtors’

or any other party-in-interest’s rights to subsequently dispute such claim.




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            WHEREFORE, the Chapter 11 Debtors, through the Chief Restructuring Officer, and the

Trustee on behalf of the estates of the Chapter 7 Debtors and the Palm OpCos, respectfully request

the Court (a) grant this Sale Motion and enter the Sale Order substantially the form attached hereto

as Exhibit “B”, (b) approve the Agreement and authorizing the Sale of the Purchased Assets

outside the ordinary course of business, (c) authorize the sale of assets free and clear of all Claims

and Liens (other than Assumed Liabilities and Encumbrances and Liens that the Stalking Horse

Bidder has agreed to permit under the Agreement or as otherwise set forth in the Agreement), (d)

authorizing the assumption and assignment of the Assigned JOMR Contracts, and (e) granting

such other and further relief as the Court deems just and proper.

Dated: February 20, 2020                              Respectfully submitted,

                                                      BERGER SINGERMAN LLP
                                                      Counsel for JOMR, JOMH and
                                                      Transaction counsel for the Trustee
                                                      1450 Brickell Avenue, Ste. 1900
                                                      Miami, FL 33131
                                                      Telephone: (305) 755-9500
                                                      Facsimile: (305) 714-4340

                                                      By: Christopher Andrew Jarvinen
                                                             Paul Steven Singerman
                                                             Florida Bar No. 0378860
                                                               singerman@bergersingerman.com
                                                               Christopher Andrew Jarvinen
                                                               Florida Bar No. 021745
                                                               cjarvinen@bergersingerman.com




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                                 CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that a true and correct copy of the foregoing has been served

electronically through the Court’s CM/ECF system upon all parties registered to receive electronic

notice in this case as reflected on the attached Electronic Mail Notice List and via U.S. Regular

Mail, postage prepaid, upon all parties on the attached Creditor Matrix and Additional Service

List, unless otherwise served electronically through the Court’s CM/ECF system on this 20th day

of February, 2020.

                                                    Christopher Andrew Jarvinen
                                                    Christopher Andrew Jarvinen




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Electronic Mail Notice List

The following is the list of parties who are currently on the list to receive email notice/service
for this case.

   •   Andrew T. Jenkins ajenkins@bushross.com,
       mlinares@bushross.com;ksprehn@bushross.com
   •   Benjamin E. Lambers Ben.E.Lambers@usdoj.gov
   •   Brenda E Carpenter FLMD.bankruptcy@phelanhallinan.com,
       Stefan.Beuge@phelanhallinan.com
   •   Christopher A Jarvinen cjarvinen@bergersingerman.com,
       efile@bergersingerman.com;mdiaz@bergersingerman.com;efile@ecf.inforuptcy.com
   •   Eric D Jacobs ejacobs@gjb-law.com, gjbecf@ecf.courtdrive.com;gjbecf@gjb-
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   •   Gregg A Steinman gregg.steinman@dlapiper.com, tennille.wilson@dlapiper.com
   •   J Steven Wilkes steven.wilkes@usdoj.gov
   •   Joshua D Rievman jrievman@drdllplaw.com
   •   Julia A May juliamay@mvalaw.com
   •   Marian G Kennady mkennady@reedsmith.com, khernandez@reedsmith.com
   •   Megan Preusker mpreusker@mwe.com
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   •   Robert E Tardif rtardif@comcast.net,
       graceheidkamp@gmail.com;blkenney2@comcast.net;rtardif@ecf.axosfs.com;ecf.alert+T
       ardif@titlexi.com
   •   Robert E Tardif, Attorney for Trustee rtardif@comcast.net,
       graceheidkamp@gmail.com;blkenney2@comcast.net
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       hayle@foxrothschild.com;rsolomon@foxrothschild.com;AngelaTerrell@foxrothschild.c
       om
   •   Steven J Solomon steven.solomon@gray-robinson.com, Ana.Marmanillo@gray-
       robinson.com;Amador.Ruiz-Baliu@gray-robinson.com
   •   United States Trustee - TPA7/13 USTPRegion21.TP.ECF@USDOJ.GOV
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                                                  Exhibit “A”
                                              The Palm OpCos6
Atlanta Palm Food Corporation
Atlantic City Palm, LLC
BB Chicago, LLC7
B.W. Associates, Inc.8
Boston Palm Corporation
Charlotte Palm Corporation
Chicago Palm, Inc.9
Denver Palm Corporation
DGMB Associates, Inc.10
LA Downtown Palm, LLC
Miami Palm Restaurant, Inc.
Nashville Palm Restaurant, LLC
Palm Airport, LLC
Palm Beverly Hills Restaurant, LLC11
Palm Beverly Hills Restaurant Manager, LLC
Palm Management Corporation
Palm New York Downtown, LLC
Palm Orlando Corporation
Palm Philadelphia Investor, LLC
Palm Philadelphia Manager, LLC
Palm Philadelphia Restaurant, LLC12
Palm Restaurant, Inc.
Palm Restaurant of Houston, Inc.
Palm Restaurant of Las Vegas, Inc.
Palm Tysons Too, Inc.
Palm West Corporation
San Antonio Palm Restaurant, Inc.
The Washington Palm, Inc.
WG Chicago, LLC13


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     Sources: (a) Schedules filed in the United States Bankruptcy Court for the Middle District of Florida by Bozzi
     (Case no. 9:19-bk-09677-FMD, Doc. 85, pp. 7-8 out of 62) and Ganzi (Case no. 9:19-bk-09680-FMD, docket no.
     76, pp. 9-10 out of 56); (b) Hearing proceeding memos entered by the Court with respect to BB Chicago, LLC
     (Bozzi; Case no. 9:19-bk-09677-FMD, Doc. 130) and WG Chicago, LLC (Ganzi; case no. 9:19-bk-09680-FMD,
     Doc. 112); and (c) information provided by bankruptcy counsel to Messrs. Bozzi and Ganzi.
7
     Mr. Bozzi owns 100% of the interests in BB Chicago, LLC.
8
     BW Associates, Inc. is a wholly-owned entity of Palm Restaurant of Houston, Inc.
9
     81.62% of the equity of Chicago Palm, Inc. is indirectly owned by Messrs. Ganzi and Bozzi through their
     respective 100% direct ownerships of BB Chicago, LLC (Mr. Bozzi) and WG Chicago, LLC (Mr. Ganzi).
10
     DGMB Associates, Inc. is a wholly-owned entity of San Antonio Palm Restaurant, Inc.
11
     50% of the equity of Palm Beverly Hills Restaurant, LLC is indirectly owned by Messrs. Bozzi and Ganzi through
     their collective 100% direct ownership of Palm Beverly Hills Restaurant Manager, LLC.
12
     50% of the equity of Palm Philadelphia Restaurant, LLC is indirectly owned by Messrs. Bozzi and Ganzi through
     their collective 100% direct ownership of Palm Philadelphia Investor, LLC.
13
     Mr. Ganzi owns 100% of the interests in WG Chicago, LLC.
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                           Exhibit “B”

                         Proposed Order
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                              UNITED STATES BANKRUPTCY COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                    FORT MYERS DIVISION
                                      www.flmb.uscourts.gov


In re:

JUST ONE MORE RESTAURANT CORP.,                              Case No. 9:19-bk-1947
and JUST ONE MORE HOLDING CORP.,1                            (Jointly Administered with
                                                             Case No. 9:19-bk-1948)
      Debtors.                                               Chapter 11 Cases
____________________________________/


In re:

BRUCE E. BOZZI, SR.,                                         Case No. 9:19-bk-09677-FMD
                                                             Chapter 7
      Debtor.
____________________________________/


In re:

WALTER J. GANZI, JR.,                                        Case No. 9:19-bk-09680-FMD
                                                             Chapter 7
      Debtor.
____________________________________/

1
    The last four digits of each Chapter 11 Debtor’s federal tax identification number are Just One More Restaurant
    Corp. (5070) and Just One More Holding Corp. (6081). The address of the Chapter 11 Debtors is 8955 Fontana
    Del Sol Way, 2nd Floor, Naples, FL 34109.



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                           ORDER APPROVING
         JOINT MOTION FOR ENTRY OF AN ORDER (I) APPROVING
    PURCHASE AGREEMENT AND AUTHORIZING THE SALE OF CERTAIN
      ASSETS OF THE DEBTORS OUTSIDE THE ORDINARY COURSE OF
    BUSINESS, (II) AUTHORIZING THE SALE OF ASSETS FREE AND CLEAR
OF ALL CLAIMS AND LIENS EXCEPT FOR PERMITTED LIENS, ENCUMBRANCES
     AND ASSUMED LIABILITIES, (III) AUTHORIZING THE ASSUMPTION
         AND ASSIGNMENT OF CERTAIN EXECUTORY CONTRACTS
   OF CHAPTER 11 DEBTOR JOMR, AND (IV) GRANTING RELATED RELIEF

            THIS MATTER came before the Court in Tampa, Florida for a preliminary hearing on

Tuesday, February 25, 2020 at 3:30 p.m. and for a final hearing on ________, March __, 2020 at

______ a.m./p.m. (collectively, the “Sale Hearing”) upon the Joint Motion for Entry of an Order

(I) Approving Purchase Agreement and Authorizing the Sale of Certain Assets of the Debtors

Outside the Ordinary Course of Business, (II) Authorizing the Sale of Assets Free and Clear of All

Claims and Liens Except for Permitted Liens, Encumbrances and Assumed Liabilities, (III)

Authorizing the Assumption and Assignment of Certain Executory Contracts of Chapter 11 Debtor

JOMR, and (IV) Granting Related Relief (Doc. ___) (the “Sale Motion”)2 filed by Just One More

Restaurant Corp. (“JOMR”) and Just One More Holding Corp. (“JOMH” and together with JOMR,

collectively, the “Chapter 11 Debtors”) through Gerard A. McHale, Jr., not in his individual

capacity but solely in his capacity as the Chief Restructuring Officer of the Chapter 11 Debtors

(the “CRO”), and Robert E. Tardif, Jr., not in his individual capacity but solely in his capacity as

the trustee (the “Trustee”, and together with the CRO, collectively, the “Movants”) appointed in

the chapter 7 bankruptcy cases of each of Bruce E. Bozzi, Sr. (“Bozzi”) and Walter J. Ganzi, Jr.

(“Ganzi” and together with Bozzi, collectively, the “Chapter 7 Debtors”; together, the Chapter 11

Debtors and the Chapter 7 Debtors, collectively, the “Debtors”) on behalf of the estates of the




2
    Any capitalized term not explicitly defined herein shall have the meaning ascribed to it, as applicable, in (i) the
    Sale Motion, (ii) the Bidding Procedures, or (iii) the Agreement (as defined herein).


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Chapter 7 Debtors and each of the business entities listed on Exhibit “A” attached to the Sale

Motion (collectively, the “Palm OpCos” and together with the Chapter 11 Debtors, collectively,

the “Company”) by the authority granted to the Movants by title 11 of the United States Code (the

“Bankruptcy Code”) and the Palm OpCos Authorization Orders. The Sale Motion requests the

entry of an order: (i) approving the Purchase Agreement (the “Agreement”), a copy of which is

attached to the Sale Motion as Exhibit “C”, among the Debtors and Golden Nugget, LLC (together

with its permitted successors, assigns and designees, the “Stalking Horse Bidder”), or a Successful

Bidder,3 as applicable, and authorizing the sale of the Purchased Assets outside of the ordinary

course of business; (ii) authorizing the sale free and clear of all Claims and Liens (as defined in

the Agreement) (other than Assumed Liabilities and Encumbrances and Liens that the Stalking

Horse Bidder has agreed to permit under the Agreement) (the “Sale”) of the Purchased Assets to

the Purchaser; (iii) authorizing the assumption and assignment of the Assigned JOMR Contracts;

and (iv) granting related relief, all as more fully set forth in the Sale Motion; and pursuant to this

Court’s Order Approving Joint Motion for Entry of an Order (I) Approving Bidding Procedures,

(II) Scheduling the Bid Deadlines and the Auction, (III) Scheduling a Hearing to Consider the

Transaction, (IV) Approving the Form and Manner of Notice Thereof, (V) Approving Contract

Procedures, and (VI) Granting Related Relief (Doc. __) (the “Bidding Procedures Order”), this

Court having authorized the Sellers to enter into that certain Purchase Agreement by and between

the Sellers and Golden Nugget, LLC, dated as of February 20, 2020 (as may be amended or

otherwise modified from time to time and including all related instruments, documents, exhibits,

schedules, and agreements thereto, collectively, the “Agreement”), a copy of which is attached



3
    Terms utilized but not otherwise defined herein shall have the meanings ascribed to them in the Agreement or the
    Bidding Procedures Motion (defined below), as applicable.


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hereto as Exhibit “A”, pursuant to which Golden Nugget, LLC (together with its permitted

successors, designees and assigns, collectively “Purchaser”)) agreed to serve as the “Stalking

Horse Bidder” with respect to the Purchased Assets, free and clear of certain Claims and Liens (as

each is defined in the attached Agreement) (other than the Assumed Liabilities, Encumbrances,

and Liens that the Stalking Horse Bidder has agreed to permit under the Agreement and except as

otherwise set forth in the Agreement), with such sale to be in accordance with the terms and

conditions of the Agreement; and the Bidding Procedures Order having authorized the Movants to

conduct, and approved the terms and conditions of, an auction as set forth in the Bidding

Procedures Order (the “Auction”) to consider higher or otherwise better offers for the Purchased

Assets, establishing a date for the Auction, and approving, among other things: (i) certain Bidding

Procedures (the “Bidding Procedures”) to be used in connection with the Auction; (ii) the form

and manner of notice of the Auction and Bidding Procedures; (iii) the procedures relating to the

assumption and assignment of the Assigned JOMR Contracts; and (iv) the Termination Fee; and

this Court having established the date of the Sale Hearing; and this Court having jurisdiction to

consider the Sale Motion and the relief requested therein in accordance with 28 U.S.C. §§

157(b)(2) and 1334; and venue being proper in this District pursuant to 28 U.S.C. §§ 1408 and

1409; and in the Sale Motion, the relief requested therein, and [the responses thereto] being a core

proceeding in accordance with 28 U.S.C. § 157(b); and the appearance of all interested parties [and

all responses and objections to the Sale Motion having been duly noted in the record of the Sale

Hearing]; and upon the record of the Sale Hearing, and all other pleadings and proceedings in these

bankruptcy cases; and this Court having found that the relief requested in the Sale Motion is in the

best interests of the Debtors’ estates, their creditors, and other parties in interest; and this Court

having found that the Movants’ notice of the Sale and the Sale Motion and opportunity for a



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hearing on the Sale Motion were appropriate and no other notice need be provided; and this Court

having reviewed the Sale Motion and having heard the statements in support of the relief requested

therein at the Sale Hearing before this Court; and this Court having determined that the legal and

factual bases set forth in the Sale Motion and at the Sale Hearing establish just cause for the relief

granted herein; and upon all of the proceedings had before this Court and at the Sale Hearing; and

after due deliberation and sufficient cause appearing therefor, does for the reasons stated in the

Sale Motion and on the record of the Sale Hearing, all of which are incorporated herein:

IT IS HEREBY FOUND, DETERMINED AND CONCLUDED THAT:

            A.   The findings and conclusions set forth herein constitute the Court’s findings of fact

and conclusions of law pursuant to Rule 7052 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), made applicable to this proceeding pursuant to Bankruptcy Rule 9014.

            B.   To the extent that any of the following findings of fact constitute conclusions of

law, they are adopted as such. To the extent any of the following conclusions of law constitute

findings of fact, they are adopted as such.

            C.   This Court has jurisdiction over this matter and over the property of the Debtors’

estates, including the Purchased Assets to be sold, transferred, or conveyed pursuant to the

Agreement, pursuant to 28 U.S.C. §§ 157 and 1334. This matter is a “core proceeding” pursuant

to 28 U.S.C. § 157(b)(2). Venue of these bankruptcy cases and the Sale Motion in this district is

proper pursuant to 28 U.S.C. §§ 1408 and 1409.

            D.   This Order constitutes a final and appealable order within the meaning of 28 U.S.C.

§ 158(a). To any extent necessary under Bankruptcy Rule 9014 and Rule 54(b) of the Federal

Rules of Civil Procedure, as made applicable by Bankruptcy Rule 7054, this Court expressly finds

that there is no just reason for delay in the implementation of this Order, and expressly directs



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entry of this Order as set forth herein and the closing of all Transactions contemplated hereby

without regard to any stay or delay in its implementation.

            E.   The statutory and rule-based predicates for the relief requested in the Sale Motion

and for the approvals and authorizations herein are (i) sections 102, 105, 363 and 365, 503 and 507

of the Bankruptcy Code, (ii) Bankruptcy Rules 2002, 6004, 6006, 9006, 9007, and 9014 and (iii)

Local Rule 2081-1(h).

            F.   Proper, timely, adequate, and sufficient notice of, and a reasonable opportunity to

object or otherwise to be heard regarding: the Sale Motion, the Auction, the Sale Hearing, and the

Transactions contemplated by the Agreement, including the sale of the Purchased Assets (the

“Sale”) have been provided in accordance with sections 102(1) and 363(b) of the Bankruptcy

Code, Bankruptcy Rules 2002, 6004, 9006, 9007, 9008, and 9014, the local rules of the Court, the

procedural due process requirements of the United States Constitution, and in compliance with the

Bidding Procedures Order. The Movants also gave due and proper notice of the potential

assumption and assignment of the Assigned JOMR Contracts to each non-debtor party under each

such Assigned JOMR Contract, as well as landlords to the non-debtor restaurant locations

(collectively, the “Landlords”). Such notice was good and sufficient and appropriate under the

particular circumstances, and the counterparties to the Assigned JOMR Contracts and the

Landlords are hereby deemed to consent to the relief granted herein unless otherwise provided in

this Order. No other or further notice of, opportunity to object to, or other opportunity to be heard

regarding the Sale Motion, the Auction, the Sale Hearing, the assumption and assignment of the

Assigned JOMR Contracts, or of the entry of this Order is necessary or shall be required.

            G.   A reasonable opportunity to object or be heard regarding the requested relief has

been afforded to all interested persons and entities, including, without limitation, (i) all entities



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that claim any interest in or lien upon the Purchased Assets, (ii) all non-debtor parties to the

Assigned JOMR Contracts assumed and assigned pursuant to this Order, (iii) the Landlords, (iv)

all relevant governmental taxing authorities that have, or as a result of the transfer of the Purchased

Assets may have, Claims, contingent or otherwise, against the Debtors, (v) all parties that filed

requests for notices under Bankruptcy Rule 9010(b) or were entitled to notice under Bankruptcy

Rule 2002 or Local Rule 2002-1, (vi) all creditors (whether their Claims are liquidated, contingent,

or unmatured) of the Debtors, (vii) all interested governmental authorities in the Debtors’

bankruptcy cases, (viii) the Office of the United States Trustee for the Middle District of Florida,

and (ix) all entities that heretofore entered into non-disclosure agreements with the Movants with

respect to potential purchase of the Debtors’ interests in the Company. Other parties interested in

bidding on the Purchased Assets were provided, pursuant to the Bidding Procedures Order,

sufficient information to make an informed judgment on whether to bid on the Purchased Assets.

            H.       The Purchased Assets are property of the Debtors’ estates and title thereto is vested

in the Debtors’ estates.

            I.       The Movants, in the exercise of the Debtors’ reasonable business judgment, have

demonstrated a sufficient basis and the existence of reasonable, appropriate and compelling

circumstances requiring them, on behalf of the Debtors’ estates, to enter into the Agreement, to

transfer the Purchased Assets and assume and assign the Assigned JOMR Contracts, to the

Purchaser under sections 363 and 365 of the Bankruptcy Code, and such actions are appropriate

exercises of the Debtors’ reasonable business judgment and in the best interests of the Debtors,

their estates and their stakeholders.

            J.       The Bidding Procedures set forth in the Bidding Procedures Order were non-

collusive, substantively and procedurally fair to all of the relevant parties.



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            K.   The Movants and their professionals have complied, in good faith, in all respects

with the Bidding Procedures Order. As demonstrated by (i) the testimony and other evidence

proffered or adduced at the Sale Hearing or submitted by affidavit or declaration at or prior to the

Sale Hearing and (ii) the representations of counsel made on the record at the Sale Hearing, through

marketing efforts and a competitive sale process conducted in accordance with the Bidding

Procedures Order, the Movants (a) afforded interested investors a full, fair, and reasonable

opportunity to qualify as bidders and submit their highest or otherwise best offer to purchase all

of the Debtors’ interests in the Company (i.e., the Purchased Assets), (b) provided interested

investors, upon request, sufficient information to enable them to make an informed judgment on

whether to bid on the Purchased Assets, and (c) considered any bids submitted on or before the

deadline to submit bids as set forth in the Bidding Procedures (the “Bid Deadline”).

            L.   The Purchaser has put forth the highest or otherwise best offer for the Purchased

Assets pursuant to the terms of the Bidding Procedures Order. The Bidding Procedures obtained

the highest or best value for the Purchased Assets for the Debtors and their estates.

            M.   The offer of the Purchaser, upon the terms and conditions set forth in the

Agreement, including the form and total consideration to be realized by the Debtors pursuant to

the Agreement, (i) is the highest or best offer received by the Debtors and their estates, (ii) is fair

and reasonable, (iii) is in the best interests of the Debtors’ stakeholders and estates, (iv) constitutes

full and fair consideration and reasonably equivalent value for the Purchased Assets, and (v) will

provide a greater recovery for the Debtors’ creditors, and other interested parties than would be

provided by any other practically available alternative. No other entity or group of entities has

offered to purchase the Purchased Assets for greater economic value to the Debtors’ estates than

the Purchaser.



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            N.   The Purchaser is not an “insider” or “affiliate” of the Debtors as those terms are

defined in the Bankruptcy Code and the decisions thereunder. The Purchaser is a purchaser in

“good faith,” as that term is used in the Bankruptcy Code and the decisions thereunder and is

entitled to the protections of section 363(m) and (n) of the Bankruptcy Code with respect to the

Purchased Assets. The Agreement was negotiated and entered into in good faith, based upon arm’s

length bargaining, and without collusion or fraud of any kind. Neither the Movants, on behalf of

the Debtors’ estates, nor the Purchaser has engaged in any conduct that would prevent the

application of section 363(m) of the Bankruptcy Code or cause the application of, or implicate,

section 363(n) of the Bankruptcy Code to the Agreement or to the consummation of the sale

transaction and transfer of the Purchased Assets, and the Assigned JOMR Contracts, to the

Purchaser. The Purchaser is purchasing the Purchased Assets (including the Assigned JOMR

Contracts) in good faith and is a good faith purchaser within the meaning of section 363(m) of the

Bankruptcy Code and is, therefore, entitled to the protection of that provision, and otherwise has

proceeded in good faith in all respects in connection with this proceeding in that: (i) the Purchaser

recognized that the Movants, on behalf of the Debtors’ estates, were free to deal with any other

party interested in acquiring the Purchased Assets, (ii) the Purchaser complied with the provisions

in the Bidding Procedures Order, (iii) all consideration to be paid by the Purchaser and other

agreements or arrangements entered into by the Purchaser in connection with the sale have been

disclosed, (iv) the Purchaser has not violated section 363(n) of the Bankruptcy Code by any action

or inaction, and (v) the negotiations and execution of the Agreement and any other agreements or

instruments related thereto were in good faith.

            O.   The Debtors’ estates have full corporate power and authority to execute the

Agreement (and all other documents contemplated thereby) and to consummate the Transactions



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contemplated therein, and the sale or transfer of the Purchased Assets has been duly and validly

authorized by all necessary corporate actions on the part of the Debtors’ estates. No consents or

approvals, other than as may be expressly provided for in the Agreement, are required by the

Debtors’ estates to consummate such Transactions.

            P.   The Movants, on behalf of the Debtors’ estates, have advanced sound business

reasons for entering into the Agreement and transferring, or assuming and assigning (with respect

to the Assigned JOMR Contracts), the Purchased Assets, as more fully set forth in the Sale Motion

and the Agreement and as demonstrated at the Sale Hearing, and it is a reasonable exercise by the

Movants of the Debtors’ business judgment to transfer, or assume and assign (with respect to the

Assigned JOMR Contracts), the Purchased Assets to the Purchaser and to consummate the

Transactions contemplated by the Agreement with the Purchaser.               Notwithstanding any

requirement for approval or consent by any person, the transfer of the Purchased Assets to the

Purchaser and the assumption and assignment of the Assigned JOMR Contracts represent a legal,

valid, and effective transfer of the Purchased Assets.

            Q.   The terms and conditions of the Agreement, including the consideration to be

realized by the Debtors’ estates pursuant to the Agreement, are fair and reasonable, and the

Transactions contemplated by the Agreement and reflected in this Order are in the best interests

of the Debtors’ estates.

            R.   Except with respect to the Assumed Liabilities, Encumbrances, and Liens that the

Stalking Horse Bidder has agreed to permit under the Agreement, and except as otherwise set forth

in the Agreement, the Purchased Assets shall be sold free and clear of any and all liens (statutory

or otherwise, including, without limitation, mechanics, materialmens’ and other consensual and

non-consensual liens and statutory liens), hypothecations, encumbrances, security interests,



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mortgages, debts, levies, indentures, pledges, restrictions (whether on voting, sale, transfer,

disposition or otherwise), charges, instruments, preferences, priorities, security agreements,

conditional sales agreements, title retention contracts, options, Claims, judgments, offsets, rights

of recovery, rights of pre-emption, rights of first refusal or other third party rights, Claims for

reimbursement (other than the Sellers’ rights and claims in the Agreement and other documents

executed by the Purchaser in connection with the Transactions), contribution, indemnity,

exoneration, products liability, alter-ego, environmental, or Tax (including Claims for any and all

foreign, federal, state and local Taxes), decrees of any court or foreign or domestic governmental

entity, orders of any Governmental Authority, of any kind or nature (including (i) any conditional

sale or other title retention agreement and any lease having substantially the same effect as any of

the foregoing, (ii) any assignment or deposit arrangement in the nature of a security device, and

(iii) any Claim based on any theory that either the Purchaser is a successor or a continuation of the

Debtors or the Debtors’ business), reclamation Claims, obligations, liabilities, demands, and

guaranties, whether known or unknown, choate or inchoate, filed or unfiled, scheduled or

unscheduled, noticed or unnoticed, recorded or unrecorded, perfected or unperfected, allowed or

disallowed, contingent or non-contingent, liquidated or unliquidated, matured or unmatured,

material or non-material, disputed or undisputed, whether arising prior to or subsequent to the

commencement of the bankruptcy cases, and whether imposed by agreement, understanding, law,

equity or otherwise, including Claims otherwise arising under doctrines of successor liability

(collectively, as defined in the Agreement, the “Liens”).

            S.   Except with respect to the Assumed Liabilities, Encumbrances, and Liens that the

Stalking Horse Bidder has agreed to permit under the Agreement, and except as otherwise set forth

in the Agreement, the Liens shall attach to the consideration to be received by the Debtors in the



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same priority and subject to the same defenses and avoidability, if any, as before the closing of the

Transactions contemplated by the Agreement (the “Closing”), and the Purchaser would not enter

into the Agreement to purchase the Purchased Assets or proceed to the Closing otherwise.

            T.   The transfer of the Purchased Assets to the Purchaser under this Agreement and the

Order will be a legal, valid, and effective transfer of the Purchased Assets to the Purchaser, with

all right, title, and interest of the Debtors to the Purchased Assets free and clear of any and all

Liens (other than Assumed Liabilities, Encumbrances, and Liens that the Stalking Horse Bidder

has agreed to permit under the Agreement, and except as otherwise set forth in the Agreement).

Except as specifically provided in the Agreement or this Order, the Purchaser shall not assume or

become liable for any Liens (other than Assumed Liabilities, Encumbrances, and Liens that the

Stalking Horse Bidder has agreed to permit under the Agreement and except as otherwise set forth

in the Agreement) relating to the Purchased Assets being sold by the Debtors.

            U.   The transfer of the Purchased Assets to the Purchaser free and clear of all Liens

(other than Assumed Liabilities, Encumbrances, and Liens that the Stalking Horse Bidder has

agreed to permit under the Agreement, and except as otherwise set forth in the Agreement) will

not result in any undue burden or prejudice to any holders of any Liens, because all such Liens of

any kind or nature whatsoever shall attach to the net proceeds of the sale of the Purchased Assets

received by the Debtors in the order of their priority, with the same validity, force, and effect which

they now have as against the Purchased Assets and subject to any claims and defenses the Debtors

or other parties may possess with respect thereto. All persons having Liens of any kind or nature

whatsoever against or in any of the Debtors, the Purchased Assets shall be forever barred and

estopped from pursuing or asserting such Liens (other than Assumed Liabilities, Encumbrances,

and Liens that the Stalking Horse Bidder has agreed to permit under the Agreement, and except as



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otherwise set forth in the Agreement) against the Purchaser, or any of their respective assets,

property, successors or assigns, the Purchased Assets.

            V.   The Debtors may sell the Purchased Assets free and clear of all Liens of any kind

or nature whatsoever (other than Assumed Liabilities, Encumbrances, and Liens that the Stalking

Horse Bidder has agreed to permit under the Agreement, and except as otherwise set forth in the

Agreement) because, in each case, one or more of the standards set forth in section 363(f) of the

Bankruptcy Code has been satisfied. The (i) holders of Liens and (ii) non-debtor parties to the

Assigned JOMR Contracts, who did not object, or who withdrew their objections, to the sale of

the Purchased Assets and the Sale Motion are deemed to have consented pursuant to section

363(f)(2) of the Bankruptcy Code. Except as set forth below, any objections to the Sale Motion,

including objections by non-debtor parties to the Assigned JOMR Contracts, have been overruled

or resolved. Those holders of Liens who did object fall within one or more of the other subsections

of section 363(f) of the Bankruptcy Code and are adequately protected by having their Liens, if

any, attach to the proceeds of the Sale of the Purchased Assets ultimately attributable to the

property against or in which they claim or may claim any Liens, with such Liens being subject to

treatment as prescribed in any chapter 11 plan or by separate order of this Court.

            W.   Not selling the Purchased Assets free and clear of all Liens (other than Assumed

Liabilities, Encumbrances, and Liens that the Stalking Horse Bidder has agreed to permit under

the Agreement and except as otherwise set forth in the Agreement) would adversely impact the

Debtors’ estates, and the sale of Purchased Assets other than one free and clear of all Liens (other

than Assumed Liabilities, Encumbrances, and Liens that the Stalking Horse Bidder has agreed to

permit under the Agreement and except as otherwise set forth in the Agreement) would be of

substantially less value to the Debtors’ estates.



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            X.    The sale of the Purchased Assets outside of a plan of reorganization pursuant to the

Agreement neither impermissibly restructures the rights of the Debtors’ creditors nor

impermissibly dictates the terms of a liquidating plan or reorganization of the Debtors. The Sale

does not constitute a sub rosa chapter 11 plan.

            Y.    The Movants, on behalf of the Debtors’ estates, and the Purchaser have, to the

extent necessary, satisfied the requirements of section 365 of the Bankruptcy Code, including

subsections 365(b)(1)(A), (B) and 365(f), in connection with the sale and the assumption and

assignment of the Assigned JOMR Contracts. The Purchaser has demonstrated adequate assurance

of future performance with respect to the Assigned JOMR Contracts pursuant to section

365(b)(1)(C) of the Bankruptcy Code.

            Z.    The assumption and assignment of the Assigned JOMR Contracts pursuant to the

terms of this Order is integral to the Agreement and is in the best interests of the Debtors, their

estates, their stakeholders and other parties in interest, and represents the exercise by the Movants

of the sound and prudent business judgment of the Debtors’ estates.

            AA.   The Assigned JOMR Contracts are assignable notwithstanding any provisions

contained therein to the contrary. Pursuant to the Agreement, the Purchaser shall have sole

responsibility for paying all Cure Costs required to assume and assign the Assigned JOMR

Contracts to the Purchaser. The notice and opportunity to object provided to the contract

counterparties to such contracts and to other parties in interest, as set forth in the Bidding

Procedures Order and Agreement, fairly and reasonably protects any rights that such contract

counterparties and other parties in interest may have with respect to such contracts.




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            BB.   The notice and opportunity to object provided to the Debtors’ parties in interest, as

set forth in the Bidding Procedures Order and the Agreement, fairly and reasonably protects any

rights of any party in interest.

            CC.   The Movants, on behalf of the Debtors’ estates, and the Purchaser will be acting in

good faith, pursuant to section 363(m) of the Bankruptcy Code, in closing the Transactions

contemplated by the Agreement at any time on or after the entry of this Order and cause has been

shown as to why this Order should not be subject to any stay, including, without limitation, as

provided by Bankruptcy Rules 6004(h), 6006(d) and Local Rule 2081-1(h).

            DD.   Except as otherwise provided in the Agreement, (i) the Transactions contemplated

under the Agreement do not amount to a consolidation, merger, or de facto merger of the

Purchaser, on the one hand, and the Debtors and/or the Debtors’ estates, on the other, (ii) there is

not substantial continuity between the Purchaser, on the one hand, and the Debtors, on the other,

(iii) there is no continuity of enterprise between the Debtors and the Purchaser, neither is the

Purchaser is a mere continuation of the Debtors or their estates, and (ii) the Purchaser is not a

successor to the Debtors or their estates.

            EE.   The Agreement was not entered into, and none of the Movants, on behalf of the

Debtors’ estates, nor the Purchaser, have entered into the Agreement or proposed to consummate

the Transactions contemplated thereby, for the purpose of hindering, delaying or defrauding the

Debtors’ present or future creditors. The total consideration provided by the Purchaser for the

Purchased Assets was the highest or otherwise best offer received by the Movants, on behalf of

the Debtors’ estates, and the Purchase Price and other consideration under the Agreement,

including the assumption of the Assumed Liabilities, Encumbrances, and Liens that the Stalking

Horse Bidder has agreed to permit under the Agreement, or otherwise set forth in the Agreement,



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constitute (a) reasonably equivalent value under the Bankruptcy Code and the Uniform Fraudulent

Transfer Act, (b) fair consideration under the Uniform Fraudulent Conveyance Act, and (c)

reasonably equivalent value, fair consideration, and fair value under any other applicable laws of

the United States, any state, territory or possession, or the District of Columbia, for the Purchased

Assets.

            FF.   Time is of the essence in consummating the Sale. In order to maximize the value

of the Purchased Assets, it is essential that the sale of the Purchased Assets occur within the time

constraints set forth in the Agreement. Accordingly, there is cause to lift the stays contemplated

by Bankruptcy Rules 6004 and 6006.

            GG.   At and effective as of the Closing, the Purchaser shall assume sole responsibility

for paying and satisfying the Assumed Liabilities, Encumbrances, and Liens that the Stalking

Horse Bidder has agreed to permit under the Agreement, or otherwise set forth in the Agreement,

including all liabilities and obligations of Sellers related to or arising under the Assigned JOMR

Contracts. After the Closing, the Debtors shall have no liability whatsoever with respect to the

Assumed Liabilities, Encumbrances, and Liens that the Stalking Horse Bidder has agreed to permit

under the Agreement, or as otherwise set forth in the Agreement. The Purchaser shall have no

obligations with respect to any liabilities of the Debtors other than the Assumed Liabilities,

Encumbrances, and Liens that the Stalking Horse Bidder has agreed to permit under the Agreement

or as otherwise set forth in the Agreement.

    NOW, THEREFORE, BASED UPON ALL OF THE FOREGOING, IT IS HEREBY
ORDERED, ADJUDGED AND DECREED THAT:

            1.    The relief requested in the Sale Motion is GRANTED as set forth herein and the

Agreement is approved, subject to the terms and conditions contained herein.




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            2.   Except as otherwise expressly set forth herein, all objections, responses,

reservations of rights, and requests for continuance concerning the Sale Motion are resolved in

accordance with the terms of this Order and as set forth in the record of the Sale Hearing. To the

extent any such objection, response, reservation of rights, or request for continuance was not

otherwise withdrawn, waived, or settled, it is overruled and denied on the merits with prejudice.

            3.   Notice of the Sale Hearing was fair, equitable, proper, and sufficient under the

circumstances and complied in all respects with section 102(1) of the Bankruptcy Code,

Bankruptcy Rules 2002, 6004, and 6006, the Local Rules, and as required by the Bidding

Procedures Order. For the reasons stated in the Sale Motion and at the Sale Hearing, the Court

grants the Movants’ request for shortened notice with respect to the relief requested in the Sale

Motion.

            4.   The Movants, on behalf of the Debtors, in transferring the Purchased Assets

pursuant to this Order and section 363 of the Bankruptcy Code, are deemed, under section 1107(a)

of the Bankruptcy Code, to have all rights and powers to perform all the functions and duties of a

trustee serving in a bankruptcy case, and will transfer the property pursuant to this Order.

            5.   Subject to the terms of this Order, the sale of the Purchased Assets, the terms and

conditions of the Agreement (including all schedules and exhibits affixed thereto), and the

Transactions contemplated thereby shall be, and hereby are, authorized and approved in all

respects, and shall be enforceable against each of the Parties thereto.

            6.   The failure specifically to include any particular provisions of the Agreement or

any of the documents, ancillary documents, or instruments executed in connection therewith in

this Order shall not diminish or impair the force of such provision, document, Agreement, or

instrument, it being the intent of the Court, the Movants (on behalf of the Debtors’ estates), and



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the Purchaser, that the Agreement and each document, ancillary document, or instrument be

authorized and approved in its entirety with such amendments thereto as may be made by the

parties in accordance with this Order prior to the Closing Date.

            7.    The Agreement and any related ancillary document(s), or other instruments may be

modified, amended, or supplemented by the parties thereto in accordance with the terms thereof

without further order of the Court; provided, that any such modification, amendment, or

supplement is not material and substantially conforms to, and effectuates, the Agreement and any

related ancillary documents.

            8.    The sale of the Purchased Assets and the consideration provided by the Purchaser

under the Agreement are fair and reasonable, the highest or otherwise best offer for the Purchased

Assets and shall be deemed for all purposes to constitute a transfer for reasonably equivalent value

and fair consideration under the Bankruptcy Code and any other applicable law. The Sale of the

Purchased Assets to the Purchaser is a legal, valid and effective transfer of the Purchased Assets

notwithstanding any requirement for approval or consent of any entity.

            9.    The Purchaser is hereby granted and is entitled to all the protections provided to a

good faith purchaser under section 363(m) of the Bankruptcy Code, including with respect to the

transfer of the Assigned JOMR Contracts as part of the sale of the Purchased Assets pursuant to

section 365 of the Bankruptcy Code and this Order.

            10.   The Movants, on behalf of the Debtors’ estates, and their employees, professional

advisors, and agents shall be, and hereby are, authorized and directed to fully assume, perform

under, consummate, and implement the terms of the Agreement together with any and all

additional instruments and documents that may be necessary or desirable in connection with

implementing and effectuating the terms of the Agreement, this Order, and/or the sale of the



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Purchased Assets, including, without limitation, the certificates, deeds, assignments, and other

instruments of transfer, and to take all further actions as may reasonably be requested by the

Purchaser for the purpose of assigning, transferring, granting, conveying, and conferring to the

Purchaser, or reducing to possession, any or all of the Purchased Assets, or Assumed Liabilities,

Encumbrances, and Liens that the Stalking Horse Bidder has agreed to permit under the

Agreement, or otherwise set forth in the Agreement, as may be necessary or appropriate to the

performance of the obligations of the Debtors’ estates in accordance with, or as contemplated by,

the Agreement, without any further corporate action or orders of this Court.

            11.   The Movants, on behalf of the Debtors’ estates, and each other person or entity

having duties or responsibilities under the Agreement, any agreements or instruments related

thereto or this Order, and their respective directors, officers, managers, employees, members,

agents, representatives, attorneys, and other retained professionals are authorized and empowered,

subject to the terms and conditions contained in the Agreement and this Order, to carry out all of

the provisions of the Agreement and any related agreements or instruments; to issue, execute,

deliver, file, and record, as appropriate, the documents evidencing and consummating the

Agreement and any related agreements or instruments; to take any and all actions contemplated by

the Agreement, any related agreements or instruments, or this Order; and to issue, execute, deliver,

file, and record, as appropriate, such other contracts, instruments, releases, indentures, mortgages,

deeds, bills of sale, assignments, leases, or other agreements or documents and to perform such

other acts and execute and deliver such other documents, as are consistent with, and necessary,

desirable or appropriate to implement, effectuate, and consummate, the Agreement, any related

agreements or instruments, and this Order and the Transactions contemplated thereby and hereby,

all without further application to, or order of, the Court or further action by their respective



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directors, officers, managers, employees, members, agents, representatives, and attorneys, and

with like effect as if such actions had been taken by unanimous action of the respective directors,

officers, managers, employees, members, agents, representatives, and attorneys of such entities.

The Chief Restructuring Officer, on behalf of the Chapter 11 Debtor JOMR, and the Trustee, on

behalf of the Chapter 7 Debtors’ estates and the Palm OpCos, shall be, and each hereby is,

authorized to certify or attest to any of the foregoing actions (but no such certification or attestation

shall be required to make any such action valid, binding, and enforceable). The Movants, on behalf

of the Debtors’ estates, and the Purchaser are further authorized and empowered to cause to be

filed with the secretary of state of any state or other applicable officials of any applicable

Governmental Authority at the Purchaser's sole expense any and all certificates, agreements, or

amendments necessary or appropriate to effectuate the Transactions contemplated by the

Agreement, any related agreements and this Order, and all such other actions, filings, or recordings

as may be required under appropriate provisions of the applicable laws of all applicable

Governmental Authorities or as the Movants, on behalf of any of the Debtors, may determine are

necessary or appropriate. The execution of any such document or the taking of any such action

shall be, and hereby is, deemed conclusive evidence of the authority of such person to so act.

Without limiting the generality of the foregoing, this Order shall constitute all approvals and

consents, if any, required by the corporate laws of the states of formation of each corporate Debtor

and all other applicable business, corporation, trust, and other laws of the applicable Governmental

Authorities with respect to the implementation and consummation of the Agreement, any related

agreements or instruments and this Order, and the Transactions contemplated thereby and hereby.

            12.   To the fullest extent permitted by law, effective as of the Closing, (a) the transfer

of the Purchased Assets to the Purchaser, shall constitute a legal, valid, and effective transfer of



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the Purchased Assets notwithstanding any requirement for approval or consent by any Person and

shall vest the Purchaser with all right, title, and interest of the Debtors in and to the Purchased

Assets, free and clear of all Liens of any kind (other than the Assumed Liabilities, Encumbrances,

and Liens that the Stalking Horse Bidder has agreed to permit under the Agreement and except as

otherwise set forth in the Agreement) pursuant to section 363(f) of the Bankruptcy Code, and (b)

the assumption of the Assumed Liabilities, Encumbrances and Liens by the Purchaser shall

constitute a legal, valid and effective delegation and assignment of all Assumed Liabilities,

Encumbrances and Liens to the Purchaser and shall divest the Debtors’ estates of all liability with

respect to any Assumed Liabilities, Encumbrances and Liens. Unless otherwise agreed to by the

Movants, on behalf of the Debtors’ estates, and the Purchaser, the Closing Date shall be March 31,

2020. For the avoidance of doubt, the Purchaser shall be responsible for performing under the

Assigned JOMR Contracts in accordance with the provisions of the applicable Assigned JOMR

Contract.

            13.   The sale of the Purchased Assets is not subject to avoidance pursuant to section

363(n) of the Bankruptcy Code.

            14.   At the Closing, the Movants, on behalf of the Debtors’ estates, shall be, and hereby

are, authorized, empowered, and directed, pursuant to sections 105, 363(b), and 365 of the

Bankruptcy Code, to transfer any such Purchased Assets to the Purchaser. The transfer of the

Purchased Assets shall vest the Purchaser with all right, title and interest of the Debtors to the

Purchased Assets, in each instance, free and clear of any and all Liens (other than the Assumed

Liabilities, Encumbrances, and Liens that the Stalking Horse Bidder has agreed to permit under

the Agreement or except as otherwise set forth in the Agreement) with all such Liens to attach only

to the proceeds of the sale with the same priority, validity, force, and effect, if any, as they now



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have in or against the Purchased Assets, subject to all claims and defenses the Debtors may possess

with respect thereto. Following the Closing Date, no holder of any Liens in the Purchased Assets

(other than the Assumed Liabilities, Encumbrances, and Liens that the Stalking Horse Bidder has

agreed to permit under the Agreement and except as otherwise set forth in the Agreement) shall

interfere with the Purchaser’s enjoyment of the Purchased Assets based on or related to such Liens,

or any actions that the Movants, on behalf of the Debtors’ estates, may take in the Debtors’

bankruptcy cases and no person shall take any action to prevent, interfere with or otherwise enjoin

consummation of the Transactions contemplated in or by the Agreement or this Order.

            15.   The provisions of this Order authorizing the sale of the Purchased Assets free and

clear of Liens (other than the Assumed Liabilities, Encumbrances, and Liens that the Stalking

Horse Bidder has agreed to permit under the Agreement and except as otherwise set forth in the

Agreement) shall be self-executing, and neither the Movants, on behalf of the Debtors’ estates, nor

the Purchaser shall be required to execute or file releases, termination statements, assignments,

consents, or other instruments to effectuate, consummate, and implement the provisions of this

Order. However, the Movants, on behalf of the Debtors’ estates, the Purchaser, and each of their

respective officers, employees, attorneys, other retained professionals, and agents are hereby

authorized and empowered to take all actions and execute and deliver any and all documents and

instruments that either the Movants, on behalf of the Debtors’ estates, or the Purchaser deem

necessary, desirable or appropriate to implement and effectuate the terms of the Agreement and

this Order, including amendments to the Agreement.

            16.   On or before the Closing Date, the Debtors’ creditors are authorized and directed

to execute such documents and take all other actions as may be necessary to release, effective as

of the Closing, any Liens (other than the Assumed Liabilities, Encumbrances, and Liens that the



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Stalking Horse Bidder has agreed to permit under the Agreement and except as otherwise set forth

in the Agreement) of any kind against the Purchased Assets, as such Liens may have been recorded

or may otherwise exist. Except as expressly provided in the Agreement, if any Person that has

filed financing statements or other documents or agreements evidencing any Liens in or against

the Purchased Assets (other than the Assumed Liabilities, Encumbrances, and Liens that the

Stalking Horse Bidder has agreed to permit under the Agreement and except as otherwise set forth

in the Agreement) shall not have delivered to the Movants, on behalf of the Debtors’ estates, prior

to the Closing after request therefor, in proper form for filing and executed by the appropriate

parties, termination statements, instruments of satisfaction, or releases of all such Liens that the

Person has with respect to the Purchased Assets, effective as of the Closing, the Movants, on behalf

of the Debtors’ estates, and the Purchaser are hereby authorized to execute at the Purchaser’s sole

expense such statements, instruments, releases, and other documents on behalf of the Person with

respect to such Purchased Assets prior to the Closing, and the Purchaser is authorized to file such

documents after Closing.

            17.   The Purchaser shall be authorized, as of the Closing Date, to operate under any

license, permit, approval, certificate of occupancy, authorization, operating permit, registration,

plan and the like of any Governmental Authority relating to the Purchased Assets or held by the

Debtors’ estates, and to the greatest extent available under applicable law, all such licenses,

permits, approvals, certificates of occupancy, authorizations, operating permits, registrations,

plans and the like of any Governmental Authority are deemed to have been, and hereby are,

deemed to be transferred to the Purchaser, as of the Closing Date. Furthermore, immediately upon

the Closing, the Purchaser shall be entitled to continue to sell alcoholic beverages at the premises

included in the Purchased Assets upon the same terms such premises are currently selling such



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alcoholic beverages, until such time as the Purchaser has obtained its own Liquor Licenses (as

defined in the Agreement). All applicable state alcoholic beverage control, law enforcement, and

regulatory agencies shall not interrupt any of the Business without first bringing the matter before

this Court. Furthermore, the Business shall continue operating under all existing Liquor Licenses

of the Debtors until such licenses have been changed to the name of the Purchaser, including but

limited to state alcoholic beverage licenses, state food service licenses, local occupational licenses,

and any other licenses need to operate the Business with no interruption to the Business.

            18.   The Purchased Assets to be acquired by the Purchaser under the Agreement shall

be, as of the Closing Date and upon the occurrence of the Closing, transferred to and vested in the

Purchaser. Upon the occurrence of the Closing, this Order shall be considered and shall constitute

for any and all purposes a full and complete general assignment, conveyance, and transfer of the

Debtors’ interest in the Purchased Assets under the Agreement and/or a bill of sale or assignment

transferring good and marketable, indefeasible title and interest in the Purchased Assets to the

Purchaser.

            19.   Except as otherwise provided in the Agreement, the Purchaser is not assuming nor

shall it or any Affiliate of the Purchaser be in any way liable or responsible, as a successor or

otherwise, for any liabilities, debts, or obligations of the Debtors in any way whatsoever relating

to or arising from the Debtors’ ownership or use of the Purchased Assets prior to the Closing Date,

or any liabilities calculable by reference to the Debtors or their operations or the Purchased Assets,

or relating to continuing or other conditions existing on or prior to the Closing Date, which

liabilities, debts, and obligations are hereby extinguished insofar as they may give rise to liability,

successor or otherwise, against the Purchaser or any affiliate of the Purchaser.




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            20.   Except as otherwise expressly provided in the Agreement, all Persons presently or

on or after the Closing Date in possession of some or all of the Purchased Assets are directed to

surrender possession of the Purchased Assets to the Purchaser, as applicable, on the Closing Date

or at such time thereafter as the Purchaser may request.

            21.   Subject to the terms of the Agreement and the occurrence of the Closing Date, the

assumption by the Debtors of the Assigned JOMR Contracts, as provided for or contemplated by

the Agreement, be, and hereby is, authorized and approved pursuant to sections 363 and 365 of

the Bankruptcy Code.

            22.   Unless otherwise provided herein, the Landlords shall be deemed to consent to the

Transactions approved hereby and the Purchaser’s go-forward operation of non-debtors’ subject

premises.

            23.   The Assigned JOMR Contracts shall be deemed valid and binding and in full force

and effect and assumed by the Debtors and assigned to the Purchaser at the Closing, pursuant to

sections 363 and 365 of the Bankruptcy Code, subject only to the payment of the Cure Costs by

the Purchaser.

            24.   Upon the Closing, in accordance with sections 363 and 365 of the Bankruptcy

Code, the Purchaser shall be fully and irrevocably vested in all right, title, and interest in and to

each Assigned JOMR Contracts. The Movants, on behalf of the Debtors’ estates, shall reasonably

cooperate with, and take all actions reasonably requested by, the Purchaser to effectuate the

foregoing.

            25.   Pursuant to sections 365(b)(l)(A) and (B) of the Bankruptcy Code, and except as

otherwise provided in this Order, within seven (7) days of the Closing Date, or such other date that

the Assigned JOMR Contracts are assumed by JOMR and assigned to the Purchaser, the Purchaser



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shall pay or cause to be paid to the non-debtor parties to any Assigned JOMR Contract the requisite

Cure Costs agreed to between the non-Debtor party to the Assigned JOMR Contract and the

Purchaser, or as to be determined by Court order, as the case may be, following the assumption

and assignment thereof. The Cure Costs are hereby fixed at the amounts set forth on the record

of the Sale Hearing, as otherwise agreed between the non-Debtor party to the Assigned JOMR

Contract and the Purchaser, or as determined by Court order, as the case may be, and each non-

debtor party to any Assigned JOMR Contract is forever bound by such Cure Costs applicable to

such Assigned JOMR Contract. For the avoidance of doubt, each counterparty to any of the

Assigned JOMR Contracts shall also forever bound by the Cure Costs applicable to such Assigned

JOMR Contract, except, but solely to the extent, the counterparty timely asserted an objection in

accordance with the provisions of the Bidding Procedures Order.

            26.   All defaults or other obligations under the Assigned JOMR Contracts arising prior

to the Closing Date (without giving effect to any acceleration clauses, assignment fees, increases,

advertising rates, or any other default provisions of the kind specified in section 365(b)(2) of the

Bankruptcy Code) shall be deemed cured by payment of the Cure Costs and the counterparties to

the Assigned JOMR Contracts shall be forever barred and estopped from asserting or claiming

against the Debtors’ estates or the Purchaser that any amounts are due or other defaults exist under

such Assigned JOMR Contract as of the date of the assignment of such Assigned JOMR Contract;

provided, however, but subject to the Agreement and the Bidding Procedures Order, that the

Purchaser shall be responsible for the payment of any accrued but unbilled obligations with respect

to any year-end adjustments or reconciliations when billed in accordance with the terms of the

Assigned JOMR Contracts that become due and owing after the Closing Date (irrespective of

whether such obligations accrued or relate to the period before the Closing Date).



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            27.   Any provision in any Assigned JOMR Contract that purports to declare a breach,

default, or payment right as a result of an assignment or a change of control in respect of the

Debtors is unenforceable, and all Assigned JOMR Contracts shall remain in full force and effect,

subject only to payment of the appropriate Cure Costs, if any. No sections or provisions of any

Assigned JOMR Contract that purport to provide for additional payments, penalties, charges, or

other financial accommodations in favor of the non-debtor party to the Assigned JOMR Contract

shall have any force and effect with respect to the sale transaction and assignments authorized by

this Order, and such provisions constitute unenforceable anti-assignment provisions under section

365(f) of the Bankruptcy Code and/or are otherwise unenforceable under section 365(e) of the

Bankruptcy Code and no assignment of any Assigned JOMR Contract pursuant to the terms of the

Agreement shall in any respect constitute a default under any Assigned JOMR Contract. The non-

debtor party to each Assigned JOMR Contract shall be deemed to have consented to such

assignment under section 365(c)(1)(B) of the Bankruptcy Code, and the Purchaser shall enjoy all

of the Debtors’ rights and benefits under each such Assigned JOMR Contract as of the applicable

date of assumption without the necessity of obtaining such non-debtor party’s written consent to

the assumption or assignment thereof.

            28.   The Movants, on behalf of the Debtors’ estates, and the Purchaser have satisfied all

requirements under sections 365(b)(1) and 365(f)(2) of the Bankruptcy Code to provide adequate

assurance of future performance under the Assigned JOMR Contracts.

            29.   The Debtors and their estates shall have no liability for any claims accruing from

and after the Closing under any of the Assigned JOMR Contracts, pursuant to and in accordance

with section 365(k) of the Bankruptcy Code.




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            30.   Pursuant to sections 105(a), 363, and 365 of the Bankruptcy Code, all parties to the

Assigned JOMR Contracts shall have no claims against the Purchaser relating to any assignment

fee, default, breach or claim or pecuniary loss, or condition to assignment, arising under or related

to the Assigned JOMR Contracts existing as of the Closing Date or arising by reason of the Closing

Date, except for any amounts that are Assumed Liabilities, including Cure Costs, being assumed

by the Purchaser under the Agreement.

            31.   In the event that the Sale does not close, none of the Assigned JOMR Contracts

shall be assumed by virtue of this Order and shall remain subject to further administration in

JOMR’s bankruptcy case.

            32.   Each and every federal, state, and local governmental agency or department is

hereby directed to accept any and all documents and instruments necessary and appropriate to

consummate the Transactions contemplated by the Agreement and this Order. This Order and the

Agreement shall be binding upon and govern the acts of all such federal, state, and local

governmental agencies and departments, including any filing agents, filing officers, title agents,

recording agencies, secretaries of state, and all other persons and entities who may be required by

operation of law, the duties of their office, or contract, to accept, file, register, or otherwise record

or release any documents or instruments, or who may be required to report or insure any title in or

to the Purchased Assets.

            33.   To the extent permitted by section 525 of the Bankruptcy Code, no Governmental

Authority may revoke or suspend any permit or license relating to the operation of the Purchased

Assets sold, transferred, or conveyed to the Purchaser on account of the filing or pendency of the

Debtors’ bankruptcy cases or the consummation of the Transactions contemplated by the

Agreement.



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            34.   The Purchaser has not assumed or is otherwise not obligated for any of the Debtors

liabilities (other than the Assumed Liabilities, Encumbrances, and Liens that the Stalking Horse

Bidder has agreed to permit under the Agreement and except as otherwise set forth in the

Agreement), and the Purchaser has not purchased any of the Debtors’ assets expressly excluded

from the Purchased Assets pursuant to the Agreement (as defined in the Agreement, the “Excluded

Assets”). Consequently, all Persons, Governmental Units (as defined in sections 101(27) and

101(41) of the Bankruptcy Code) and all holders of Liens (other than the Permitted Liens) based

upon or arising out of liabilities retained by the Debtors may not take any action against the

Purchaser, or the Purchased Assets to recover any Liens or on account of any liabilities of the

Debtors (other than the Assumed Liabilities, Encumbrances, and Liens that the Stalking Horse

Bidder has agreed to permit under the Agreement and except as otherwise set forth in the

Agreement). All persons holding or asserting any Liens in the Excluded Assets may not assert or

prosecute such Liens or any cause of action against the Purchaser or the Purchased Assets for any

liability associated with the Excluded Assets.

            35.   Except as otherwise provided by the Agreement, the Purchaser is not a “successor”

to the Debtors or their estates by reason of any theory of law or equity, and the Purchase shall not

assume, or be deemed to assume, or in any way be responsible for any liability or obligation of

any of the Debtors and/or their estates including, but not limited to, any bulk sales law, successor

liability, or similar liability (other than the Assumed Liabilities, Encumbrances, and Liens that the

Stalking Horse Bidder has agreed to permit under the Agreement and except as otherwise set forth

in the Agreement). Except as otherwise provided for in the Agreement, neither the transfer of the

Purchased Assets to the Purchaser, nor the fact that the Purchaser is using any of the Purchased

Assets previously owned by the Debtors, will cause the Purchaser or any of its affiliates, to be



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deemed a successor in any respect to the Debtors’ business within the meaning of any foreign,

federal, state or local revenue, pension, ERISA, tax, labor, employment, environmental, or other

law, rule or regulation (including, without limitation, filing requirements under any such laws,

rules or regulations), or under any products liability law or doctrine with respect to the Debtors’

liability under such law, rule or regulation or doctrine.

            36.   Further, except as otherwise provided in the Agreement, the transfer of title and

possession of the Purchased Assets shall be free and clear of any Claims pursuant to any successor

or successor-in-interest liability theory, including the following: (a) any employment or labor

agreements, (b) all deeds of trust and security interests, (c) any pension or medical benefit plan of

the Debtors, compensation or other employee benefit plan of the Debtors, welfare, agreements,

practices and programs, (d) any other employee, worker's compensation, occupational disease or

unemployment or temporary disability related claim, including, without limitation, Claims that

might otherwise arise under or pursuant to (i) the Employee Retirement Income Security Act of

1974, as amended, (ii) the Fair Labor Standards Act, (iii) Title VII of the Civil Rights Act of 1964,

(iv) the Federal Rehabilitation Act of 1973, (v) the National Labor Relations Act, (vi) the Worker

Adjustment and Retraining Act of 1988, (vii) the Age Discrimination and Employee Act of 1967

and Age Discrimination in Employment Act, as amended, (viii) the Americans with Disabilities

Act of 1990, (ix) the Consolidated Omnibus Budget Reconciliation Act of 1985 (unless otherwise

provided for under such statute and any regulations promulgated thereunder), (x) state

discrimination laws, (xi) state unemployment compensation laws or any other similar state laws,

or (xii) any other state or federal benefits or Claims relating to any employment with the Debtors

or any predecessors, (e) environmental or other Claims or Liens arising from existing conditions

prior to the Closing (including, without limitation, the presence of hazardous, toxic, polluting or



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contaminating substances or waste) that may be asserted on any basis, including, without

limitation, under the Comprehensive Environmental Response, Compensation, and Liability Act,

42 U.S.C. §§ 9601, et seq., or other state or federal statute, (f) any bulk sales or similar law, (g)

any Tax statutes or ordinances, including, without limitation, the Internal Revenue Code of 1986,

as amended, and (h) any and all theories of successor liability, including any theories on successor

products liability grounds or otherwise.

            37.   Except as otherwise provided in the Agreement, pursuant to sections 105 and 363

of the Bankruptcy Code, all Persons including, but not limited to, the Debtors, all debt holders,

equity security holders, the Debtors’ employees or former employees, Governmental Authorities,

lenders, parties to or beneficiaries under any benefit plan, trade and other creditors asserting or

holding a Lien of any kind or nature whatsoever against, in, or with respect to any of the Debtors

or the Purchased Assets (other than the Assumed Liabilities, Encumbrances, and Liens that the

Stalking Horse Bidder has agreed to permit under the Agreement and except as otherwise set forth

in the Agreement), arising under or out of, in connection with, or in any way relating to the Debtors,

the Purchased Assets, the operation of the Debtors’ businesses prior to the Closing Date, or the

transfer of the Purchased Assets to the Purchaser in accordance with the Agreement and this Order,

shall be forever barred and estopped from asserting, prosecuting, or otherwise pursuing such Lien,

including assertion of any right of setoff or subrogation, and enforcement, attachment, or collection

of any judgment, award, decree, or order, against the Purchaser or any of their affiliates, successors

or assigns thereof and each of their respective current and former members, officers, directors,

attorneys, employees, partners, affiliates, financial advisors, and representatives (each of the

foregoing in its individual capacity), with respect to the Purchased Assets.




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            38.   Without limiting the generality of the foregoing, except as otherwise provided in

the Agreement, the Purchaser shall not assume or be obligated to pay, perform or otherwise

discharge any workers’ compensation debts, obligations, and liabilities of the Debtors arising

pursuant to state law or otherwise, and this Order is intended to be all inclusive and shall

encompass, but not be limited to, workers’ compensation Claims or suits of any type, whether now

known or unknown, whenever incurred or filed, which have occurred or which arise from work-

related injuries, diseases, death, exposures, intentional torts, acts of discrimination, or other

incidents, acts, or injuries prior to the Closing Date, including, but not limited to, any and all

workers’ compensation Claims filed or to be filed, or any reopening of such Claims, by or on

behalf of any of the Business’ current or former employees, persons on laid-off, inactive or retired

status, or their respective dependents, heirs or assigns, as well as any and all premiums,

assessments, or other obligations of any nature whatsoever of the Business relating in any way to

workers’ compensation liability, except as otherwise specifically set forth in the Agreement.

            39.   Subject to the terms of the Agreement, the Agreement and any related agreements

and/or instruments may be waived, modified, amended, or supplemented by agreement of the

Movants, on behalf of the Debtors’ estates, and the Purchaser, without further action or order of

the Court; provided, however, that any such waiver, modification, amendment, or supplement is

not materially adverse to the Debtors’ estates and substantially conforms to, and effectuates, the

Agreement and any related agreements and/or instruments and this Order.

            40.   The failure specifically to include any particular provisions of the Agreement or

any related agreements or instruments in this Order shall not diminish or impair the effectiveness

of such provisions, it being the intent of the Court, the Movants, on behalf of the Debtors’ estates,

and the Purchaser that the Agreement and any related agreements and instruments are authorized



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and approved in their entirety with such amendments thereto as may be made by the parties in

accordance with this Order prior to Closing, and each such provision of the Agreement shall be

enforceable by or against each of the Parties thereto.

            41.   Upon the commencement of the Chapter 7 bankruptcy cases by the Chapter 7

Debtors, the Trustee, not in his individual capacity but solely in his capacity as the Trustee of the

estates of the Chapter 7 Debtors, shall be deemed admitted as a member of each of the Palm OpCos

established as a Limited Liability Company (such entities, collectively, the “Palm Opco LLCs”).

To the extent that the commencement of the Chapter 7 cases by the Chapter 7 Debtors caused any

Palm Opco LLCs to dissolve under applicable non-bankruptcy law, such dissolution is hereby

revoked as if it never occurred, and the Trustee, not in his individual capacity but solely in his

capacity as the Trustee of the estates of the Chapter 7 Debtors and on behalf of the Chapter 7

Debtors, shall be deemed a member of the Palm Opco LLCs with the power and authority to

transfer the subject assets to the Purchaser.

            42.   The Sale approved hereby, and the Purchaser’s acquisition of the assets described

herein and in the Agreement, shall not constitute a change of control as such term is used,

understood or implied in any affiliated agreement, contract, lease or similar instrument entered

into by a non-debtor subsidiary of the Company and a third party relating to restaurants operated

by the Palm Opcos.

            43.   Nothing contained in this Order shall affect or impair the claims, rights, and powers

of the United States of America; provided, however, that, except as otherwise provided in the

Agreement, any such claims, rights or powers of the United States of America shall not be

construed in any way as Assumed Liabilities under this Order or the Agreement.




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            44.   No bulk sale law or any similar law of any state or other jurisdiction shall apply in

any way to the sale and the Transactions contemplated by the Agreement.

            45.   This Order and the Agreement shall be binding upon, enforceable against, and

govern the acts of all Persons including, without limitation, the Movants, the Debtors and their

estates, and the Purchaser, their respective successors, and permitted assigns, including, without

limitation, any chapter 11 trustee hereinafter appointed for the Chapter 11 Debtors’ estates, any

committee subsequently appointed in the cases of the Chapter 11 Debtors or any trustee appointed

in a chapter 7 case if the cases of the Chapter 11 Debtors are converted from chapter 11 to a case

under chapter 7 of the Bankruptcy Code, all creditors of any Debtor (whether known or unknown),

filing agents, filing officers, title agents, recording agencies, secretaries of state, and all other

Persons who may be required by operation of law, the duties of their office, or contract, to accept,

file, register, or otherwise record or release any documents or instruments, or who may be required

to report or insure any title in or to the Purchased Assets.

            46.   The Movants, on behalf of the Debtors’ estates, on the one hand, and the Purchaser,

on the other hand, hereby release each other from any and all claims except for such claims that

are set forth in or arise from the Agreement and this Order.

            47.   Nothing in any order of this Court or contained in any plan of reorganization or

liquidation that may be confirmed in the cases of the Chapter 11 Debtors, or in any subsequent or

converted cases of the Chapter 11 Debtors to cases under chapter 7 of the Bankruptcy Code, shall

conflict with or derogate from the provisions of the Agreement or the terms of this Order.

            48.   Notwithstanding Bankruptcy Rules 6004, 6006, and 7062, this Order shall be

effective and enforceable immediately upon entry and its provisions shall be self-executing. In the

absence of any Person obtaining a stay pending appeal, the Movants, on behalf of the Debtors’



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estates, and the Purchaser are free to close under the Agreement at any time, subject to the terms

of the Agreement. In the absence of any Person obtaining a stay pending appeal, if the Movants,

on behalf of the Debtors’ estates, and the Purchaser close under the Agreement, the Movants, the

Sellers and the Purchase shall be deemed to be acting in “good faith” and the Purchaser shall be

entitled to the protections of section 363(m) of the Bankruptcy Code as to all aspects of the

Transactions under and pursuant to the Agreement if this Order or any authorization contained

herein is reversed or modified on appeal.

            49.   The automatic stay provisions of section 362 of the Bankruptcy Code are vacated

and modified to the extent necessary to implement the terms and conditions of the Agreement and

the provisions of this Order.

            50.   The provisions of this Order shall be binding on and inure to the benefit of all

successors and assignees of the Movants, the Sellers and the Purchaser.

            51.   The Movants are authorized to enforce their rights under any confidentiality

agreements they entered into with other potential bidders with respect to the Purchased Assets for

the benefit of the Purchaser for the term of each respective confidentiality agreement.

            52.   The Movants are authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order in accordance with the Sale Motion.

            53.   In the event there is any inconsistency between the Sale Motion or this Order, this

Order shall govern.

            54.   This Court shall retain exclusive jurisdiction to enforce the terms and provisions of

this Order, the Bidding Procedures Order, and the Agreement in all respects and to decide any

disputes concerning this Order, the Agreement, or the rights and duties of the parties hereunder or

thereunder or any issues relating to the Agreement and this Order including, but not limited to, the



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interpretation of the terms, conditions and provisions hereof and thereof, the status, nature and

extent of the Purchased Assets and any Assigned Contracts, and all issues and disputes arising in

connection with the relief authorized herein, inclusive of those concerning the transfer of the

Purchased Assets free and clear of all Liens (other than the Assumed Liabilities, Encumbrances,

and Liens that the Stalking Horse Bidder has agreed to permit under the Agreement and except as

otherwise set forth in the Agreement).

(Christopher Andrew Jarvinen, Esq. is directed to serve a copy of this order on interested parties
who are non-CM/ECF users and to file a proof of service within three days of entry of the order.)




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                          Exhibit “C”

                          Agreement
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                                                                     EXECUTION COPY




                               PURCHASE AGREEMENT

                                      BY AND AMONG

                                GOLDEN NUGGET, LLC,

                                      AS PURCHASER

                                          AND

                        JUST ONE MORE RESTAURANT CORP.
                                         AND
                      ROBERT E. TARDIF, JR., AS TRUSTEE FOR
                    BRUCE E. BOZZI, SR. AND WALTER J. GANZI, JR.,

                                       AS SELLERS




                                  FEBRUARY 20, 2020




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                                                                              EXECUTION COPY


                                  PURCHASE AGREEMENT

        THIS PURCHASE AGREEMENT (this “Agreement”), dated as of February 20, 2020, is
entered into by and among Golden Nugget, LLC, a Nevada limited liability company
(“Purchaser”), on the one hand, and (i) Just One More Restaurant Corp., a New York corporation
and a debtor-in-possession under chapter 11 of the United States Bankruptcy Code (“JOMR”), and
(ii) Robert E. Tardif, Jr., solely in his capacity as Trustee appointed in the chapter 7 bankruptcy
cases of Bruce E. Bozzi, Sr. (“Bozzi”) and Walter J. Ganzi, Jr. (“Ganzi” and together with Bozzi,
each a “Chapter 7 Debtor” and collectively the “Chapter 7 Debtors”; and the Chapter 7 Debtors,
together with JOMR, each a “Debtor” and collectively the “Debtors”) under chapter 7 of the United
States Bankruptcy Code (the “Trustee”, and together with JOMR, each a “Seller” and collectively
“Sellers”), and not individually, on the other hand. Purchaser and Sellers are sometimes
individually referred to in this Agreement as a “Party” and collectively as the “Parties.”

                                              Recitals

        WHEREAS, on March 7, 2019 (the “Chapter 11 Petition Date”), JOMR filed a voluntary
petition for relief under chapter 11 of the United States Bankruptcy Code (the “Bankruptcy Code”)
in the United States District Court for the Middle District of Florida, Fort Myers Division (the
“Bankruptcy Court”), which case is being jointly administered with that of Just One More Holding
Corp. under Case No. 9:19-bk-1947-FMD (the “Chapter 11 Case”), and JOMR is managing its
affairs as a debtor in possession pursuant to Sections 1107(a) and 1108 of the Bankruptcy Code;

        WHEREAS, on October 11, 2019 (the “Chapter 7 Petition Date”), Bozzi filed a voluntary
petition for relief under chapter 7 of the Bankruptcy Code in the Bankruptcy Court, which case is
being administered under Case No. 9:19-bk-09677-FMD (the “Bozzi Chapter 7 Case”);

        WHEREAS, on the Chapter 7 Petition Date, Ganzi filed a voluntary petition for relief under
chapter 7 of the Bankruptcy Code in the Bankruptcy Court, which case is being administered under
Case No. 9:19-bk-09680-FMD (the “Ganzi Chapter 7 Case” and, together with the Bozzi Chapter
7 Case, the “Chapter 7 Cases”; and the Chapter 7 Cases, together with the Chapter 11 Case,
collectively the “Bankruptcy Cases”);

        WHEREAS, the Trustee has been appointed as the Chapter 7 Trustee of the estates of each
of the Chapter 7 Debtors;

        WHEREAS, either or both of the Chapter 7 Debtors own equity interests in each of the
entities identified on Annex I attached hereto (each a “Company” and collectively the
“Companies”);

        WHEREAS, certain of the Companies or their respective Subsidiaries own or lease and
operate full service restaurants featuring steak and lobster under the brand name “Palm Restaurant”
or a derivative thereof (each a “Restaurant” and collectively the “Restaurants”) at the locations set
forth on Exhibit A attached hereto (the “Business”);

       WHEREAS, JOMR owns and, subject to the Decision and Judgment on appeal, licenses to
each of the Operating Companies certain intellectual property used at the Restaurants (as more



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particularly described below as the JOMR IP), including the tradename, trademarks, and design
and décor elements used at the Restaurants; and

       WHEREAS, Sellers desire to sell, transfer, convey, assign and deliver to Purchaser the
Purchased Assets (as defined below) and to assign to Purchaser the Assumed Liabilities (as defined
below), and Purchaser desires to purchase and acquire such Purchased Assets and to assume such
Assumed Liabilities, upon the terms and subject to the conditions set forth herein; and

        WHEREAS, the transactions between JOMR and Purchaser contemplated by this
Agreement with respect to the JOMR IP, and between the Trustee and Purchaser contemplated by
this Agreement with respect to the Equity Interests in the Companies (collectively, the
“Transactions”) are subject to the approval of the Bankruptcy Court and will be consummated
pursuant to a Bidding Procedures Order (as defined below) and a Sale Order (as defined below)
entered in the Bankruptcy Cases under Sections 105(a), 363, 365 and other applicable provisions
of the Bankruptcy Code;

        NOW, THEREFORE, in consideration of the foregoing and the mutual agreements,
covenants, representations, warranties and promises set forth herein, and other good and valuable
considerations, the receipt and adequacy of which are conclusively acknowledged, in order to
prescribe the terms and conditions of such purchase and sale, intending to be legally bound, the
Parties agree as follows:

         1.        Definitions. The following terms, as used herein, have the following meanings:

                          “Accounts Payable Reserve” has the meaning set forth in Section 2.7(c).

                          “Accounts Payable Threshold Amount” has the meaning set forth in Section
         2.7(c).

                          “Accrued Accounts Payable” has the meaning set forth in Section 2.7(c).

                          “Accrued Percentage Rent” has the meaning set forth in Section 2.7(b)(iv).

                          “Additional Percentage Rent” has the meaning set forth in Section
         2.7(b)(iv).

                         “Affiliate” means, with respect to any Person, any other Person directly or
         indirectly controlling, controlled by, or under common control with, such other Person.

                          “Agreement” has the meaning set forth in the preamble.

                          “Allocation Notice of Objection” has the meaning set forth in Section
         2.6(b).

                       “Alternative Transaction” means a transaction or series of transactions
         pursuant to which the Trustee or any Debtor, (i) pursuant to the Bidding Procedures Order,
         accepts a Qualified Bid, other than that of Purchaser, as the highest or best offer for the
         Purchased Assets, or (ii) sells, transfers, leases, or otherwise disposes of, directly or

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         indirectly, including through an asset sale, stock sale, merger, reorganization, or other
         similar transaction (by any Seller or otherwise), including pursuant to a chapter 11 plan or
         refinancing, all or any portion of the Purchased Assets to a Person or Persons other than
         Purchaser, including the sale of the Purchased Assets to a Person other than Purchaser
         pursuant to the Auction.

                        “Applicable Law” means any Law to which a specified Person or property
         is subject.

                        “Assigned JOMR Contracts” has the meaning set forth in Section 2.1(c).

                        “Assumed Liabilities” has the meaning set forth in Section 2.3.

                        “Auction” has the meaning set forth in the Bidding Procedures Motion.

                        “Backup Bid” has the meaning set forth in Section 7.5(c)(ii).

                        “Backup Bidder” has the meaning set forth in Section 7.5(c)(ii).

                        “Bankruptcy Cases” has the meaning set forth in the Recitals.

                        “Bankruptcy Causes of Action” has the meaning set forth in Section 2.2(j).

                        “Bankruptcy Code” has the meaning set forth in the Recitals.

                        “Bankruptcy Court” has the meaning set forth in the Recitals.

                        “Benefit Plans” means each “employee benefit plan,” as defined in Section
         3(3) of ERISA and each and every other written, unwritten, formal or informal plan,
         agreement, program, policy, or other arrangement involving direct or indirect
         compensation (other than workers’ compensation, unemployment compensation, and other
         government programs), employment, severance, consulting, disability benefits,
         supplemental unemployment benefits, vacation benefits, retirement benefits, deferred
         compensation, profit-sharing, bonuses, stock options, stock appreciation rights, other forms
         of incentive compensation, post-retirement insurance benefits, or other benefits, entered
         into, maintained or contributed to by any Company or any Subsidiary, or to which any
         Company or any Subsidiary has or may in the future have any Liabilities (contingent or
         otherwise).

                         “Bidding Procedures” means the bidding procedures, required under
         Section 7.5 of this Agreement, approved pursuant to the Bidding Procedures Order.

                        “Bidding Procedures Motion” means a motion filed by the Debtors with the
         Bankruptcy Court seeking the entry of the Bidding Procedures Order. For the avoidance of
         doubt, the Bidding Procedures Motion may be filed as one motion with the Sale Motion.




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                      “Bidding Procedures Order” means an Order of the Bankruptcy Court,
         approving, among other things, the Bidding Procedures, in the form attached hereto as
         Exhibit C.

                       “Bozzi” has the meaning set forth in the preamble.

                      “Bozzi and Ganzi Notes” means (i) the $1,000,000 Secured Promissory
         Note, dated July 5, 2019, made by PMC to Bozzi and (ii) the $1,000,000 Secured
         Promissory Noted, dated July 5, 2019, made by PMC to Ganzi.

                       “Bozzi Chapter 7 Case” has the meaning set forth in the Recitals.

                       “Breakup Fee” has the meaning set forth in Section 7.5(c)(i).

                       “Business” has the meaning set forth in the Recitals.

                     “Business Day” means a day other than Saturday, Sunday or other day on
         which commercial banks in Naples, Florida are authorized or required by Law to close.

                       “Chapter 7 Cases” has the meaning set forth in the Recitals.

                       “Chapter 7 Debtor” has the meaning set forth in the preamble.

                       “Chapter 7 Petition Date” has the meaning set forth in the Recitals.

                       “Chapter 11 Petition Date” has the meaning set forth in the Recitals.

                       “Chapter 11 Case” has the meaning set forth in the Recitals.

                       “Claim” means a “claim” as defined in Section 101 of the Bankruptcy Code.

                       “Closing” means the consummation of the purchase and sale and
         assignment of the Purchased Assets and assumption of the Assumed Liabilities, as
         contemplated by this Agreement, on the Closing Date.

                        “Closing Date” means the date on which the Closing occurs, as determined
         pursuant to Section 2.9.

                       “Closing Statement” has the meaning set forth in Section 2.10(n).

                       “Closure Payables” has the meaning set forth in Section 7.9.

                       “Code” means the Internal Revenue Code of 1986, as amended.

                       “Company” has the meaning set forth in the Recitals.

                       “Company Assignments” has the meaning set forth in Section 5.1.



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                        “Company Permitted Liens and Encumbrances” means (i) Liens granted by
         Purchaser at or after the Closing in connection with any financing of Purchaser related to
         the purchase of the Purchased Assets pursuant to this Agreement (or otherwise arising by,
         through or under the Purchaser); (ii) Liens that arise under zoning, building codes, land
         use, and other similar Laws, and utility and other easements granted to third parties, none
         of which would materially interfere with the ownership or operation by Purchaser or the
         Companies of the Business following the Closing in substantially the manner as owned and
         operated by the Companies immediately prior to the execution of this Agreement; (iii)
         Liens for Taxes not yet due and payable; (iv) matters of record and matters appearing on
         any Title Commitment that do not render title to the PMC Real Property unmarketable or
         uninsurable or are not timely objected to or waived by Purchaser; and (v) with respect to
         leased or licensed property, Liens arising under, or pursuant to the other terms and
         conditions of the lease or license applicable thereto.

                        “Competing Bid” has the meaning set forth in Section 7.5(a).

                       “Confidentiality Agreement” means the Confidentiality Agreement dated
         January 8, 2020 between Sellers and Purchaser.

                        “Contract” means any contract, agreement, lease, license, purchase order,
         commitment or other legally binding arrangement with respect to which any one or more
         of the Companies is a party (inclusive of all amendments, modifications, supplements,
         extensions, renewals, assignments, easements, restatements, and exhibits thereto).

                        “Cure Costs” means, for the Assigned JOMR Contracts, all amounts that
         must be paid as determined by a final and non-appealable order of the Bankruptcy Court,
         pursuant to Sections 365(b)(1)(A) and (B) of the Bankruptcy Code, in connection with
         either or both the assumption and assignment of the Assigned JOMR Contracts to
         Purchaser as provided herein.

                       “Data Room” means the project identified as The Palm in the Merrill
         DataSiteOne electronic data room located at https://datasiteone.merrill.corp.com/global/
         projects.

                        “Debtor” has the meaning set forth in the preamble.

                        “Decision and Judgment” means that certain Decision After Non-Jury Trial
         entered on November 13, 2018 and that certain Judgment entered on January 25, 2019,
         both in the case titled Gary Ganzi, Claire Breen and Gary Ganzi and Claire Breen, as
         Attorneys-in-Fact for the Estate of Charles Cook, individually and derivatively on behalf
         of nominal defendants Just One More Restaurant Corporation and Just One More Holding
         Corporation, Plaintiffs, vs. Walter Ganzi, Jr. and Bruce Bozzi, Sr., Defendants, and Just
         One More Restaurant Corporation, a New York corporation, and Just One More Holding
         Corporation, a New York corporation, Nominal Defendants, in the Supreme Court of The
         State of New York, County of New York, Index No. 653074/2012, as appealed to the
         Appellate Division, First Judicial Department, Supreme Court of the State of New York
         (Index 2018-5759, 2019-565 and 2019-1084).


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                        “Derivative Action Causes of Action” has the meaning set forth in Section
         2.2(l).

                       “Designated LLC” means each of Palm Beverly Hills Restaurant, LLC, and
         Palm Philadelphia Restaurant, LLC.

                        “Earnest Money Deposit” has the meaning set forth in Section 2.8(a).

                      “Equity Interests” means the equity interests of each of Bozzi and Ganzi in
         each Company, whether as a shareholder or stockholder, a general or limited partner, a
         member, or the holder of any other form of equity security or ownership interest in a
         Company as reflected on attached Schedule 3.14.

                        “ERISA” means the Employment Retirement Income Security Act of 1974,
         as amended.

                        “ERISA Affiliate” means, with respect to an Person, any other Person that
         together with such Person would be deemed a “single employer” within the meaning of
         Section 414(b), (c), (m) or (o) of the Code.

                        “Escrow Agent” means Berger Singerman LLP.

                        “Escrow Agreement” has the meaning set forth in Section 2.8(a).

                        “Estimated Accounts Payable” has the meaning set forth in Section 2.7(c).

                        “Estimated Credit Card Receivables” has the meaning set forth in Section
         2.7(a).

                        “Estimated Percentage Rent” has the meaning set forth in Section 2.7(b)(iv).

                        “Excluded Assets” has the meaning set forth in Section 2.2.

                        “Excluded Liabilities” has the meaning set forth in Section 2.4.

                        “Execution Date” means the date of this Agreement.

                        “Exercising JV Holders” has the meaning set forth in Section 2.6(c).

                        “Expense Reimbursement” has the meaning set forth in Section 7.5(c)(i).

                        “Final Allocation Statement” has the meaning set forth in Section 2.6(b).

                        “Final Order” means an order of the Bankruptcy Court or any other court as
         to which (i) any appeal or petition for review, rehearing or certiorari that has been taken
         has been finally determined or dismissed, or (ii) the time for appeal or petition for review,
         rehearing or certiorari has expired and no appeal has been filed timely. In the case of an
         order of the Bankruptcy Court, the time for appeal, for purposes of this definition, shall be


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         the time permitted for an appeal to the United States District Court for the Middle District
         of Florida.

                        “Form 1120S” has the meaning set forth in Section 9.3(d)(i).

                        “GAAP” means, at a given time, United States generally accepted
         accounting principles, consistently applied.

                        “Ganzi” has the meaning set forth in the preamble.

                        “Ganzi Chapter 7 Case” has the meaning set forth in the Recitals.

                        “Governmental Approvals” means those approvals, authorizations, and
         exemptions from Governmental Authorities and the making of all necessary registrations
         and filings (including filings with Governmental Authorities) and the taking of all
         reasonable steps as may be necessary to obtain an approval or waiver from, or to avoid an
         action or proceeding to prevent the Closing by, any Governmental Authority, that are
         required to be obtained or taken to consummate the Transactions under Applicable Law.

                         “Governmental Authority” means any federal, state, local, municipal,
         foreign, or other governmental or quasi-governmental authority of any nature (including
         any governmental agency, branch, bureau, commission, department, official, or entity and
         any court or other tribunal), or any administrative, executive, judicial, legislative,
         regulatory, or taxing authority.

                        “Income Tax Returns” has the meaning set forth in Section 9.3(a).

                       “Indemnified Professional Expenses” means all amounts alleged to be due
         to Pre-Closing Company Professionals from the Companies with respect to any services
         provided by the Pre-Closing Company Professionals on or prior to the Closing Date.

                         “Intellectual Property Rights” means all intellectual property rights,
         including: (i) patents, patent applications, and patent rights; (ii) trademarks (registered,
         unregistered, and at common law), trademark registrations and applications, trade names,
         logos, trade dress, brand names, service marks (registered and at common law), service
         mark registrations and applications, websites, social media accounts, domain names, and
         other indicia of source, and all goodwill associated therewith (subject to those restrictions
         under the License Agreements), whether owned or licensed; (iii) works of authorship,
         copyrights, copyright registrations and applications for registration, and moral rights; (iv)
         know-how, trade secrets, customer lists, proprietary information, proprietary processes and
         formulae, recipes, databases, and data collections; (v) all source and object code, software,
         algorithms, architecture, structure, display screens, layouts, inventions, development tools;
         and (vi) all documentation and media constituting, describing, or relating to the above,
         including manuals, memoranda, and records.

                        “JOMR” has the meaning set forth in the preamble.



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                         “JOMR IP” means all Intellectual Property Rights of JOMR, including,
         without limitation, the trademarks, trade names, service marks, design elements (including
         food quality choices and methods of preparation), trade dress, décor, display of
         photographs, artistic caricatures, sketches, cartoons and other elements, including, without
         limitation, those set forth on Exhibit D attached hereto, together with JOMR’s interest (if
         any) in photographs, drawings, paintings, caricatures, sketches, cartoons, and other images
         displayed at the Restaurants.

                        “JOMR Assignment and Assumption Agreement” has the meaning set forth
         in Section 2.10(c).

                        “JOMR IP Assignment” has the meaning set forth in Section 2.10(b).

                      “JV Companies” means Chicago Palm, Inc., Palm Beverly Hills Restaurant,
         LLC, and Palm Philadelphia Restaurant, LLC.

                        “JV Holders” has the meaning set forth in Section 2.6(c).

                        “JV Purchase Price” has the meaning set forth in Section 2.6(c).

                         “Knowledge” with respect to any Seller (or any similar knowledge
         qualification in this Agreement) means facts actually known by the following individuals:
         James Hamilton, Ernesto Mandowsky, Jeff Phillips, and Rose Whitelocke.

                        “Law” means any law, statute, regulation, code, decree, constitution,
         ordinance, treaty, Order of a Governmental Authority administered or enforced by or on
         behalf of any Governmental Authority or any rule of common law.

                         “Leased Real Property” means all of the real property leased or subleased
         by (i) an Operating Company in connection with conducting the Business at the locations
         identified in the column titled “Address of Restaurant” on Exhibit A attached hereto or (ii)
         by PMC.

                        “Legal Proceeding” means any judicial, administrative or arbitral actions,
         suits, proceedings (public or private), or any proceedings by or before a Governmental
         Authority, and any appeal from any of the foregoing.

                          “Liability” means any debt, loss, damage, adverse claim, fine, penalty,
         liability, or obligation (whether direct or indirect, known or unknown, asserted or
         unasserted, absolute or contingent, accrued or unaccrued, matured or unmatured,
         determined or determinable, disputed or undisputed, liquidated or unliquidated, or due or
         to become due, and whether in contract, tort, strict liability or otherwise), whether
         contingent, at law or in equity, or otherwise, including any liability based on successor
         liability theories.

                      “License Agreements” means the Master License Agreement and the
         Mexico License Agreements.


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                         “Lien” means, with respect to any property or asset, any mortgage, lien
         (statutory or otherwise), pledge, security interest, Claim, encumbrance, restriction, charge,
         instrument, preference, priority, option, or right of first refusal, of any kind or nature,
         whether secured or unsecured, choate or inchoate, filed or unfiled, scheduled or
         unscheduled, recorded or unrecorded, contingent or non-contingent, material or non-
         material, known or unknown. For the avoidance of doubt, the definition of Lien shall not
         be deemed to include: (i) the grant of any license or sublicense by any Seller of Intellectual
         Property Rights or (ii) rights granted pursuant to any License Agreement.

                        “Liquor License” has the meaning set forth in Section 7.4(a).

                        “Liquor License Transfer Documents” has the meaning set forth in Section
         7.4(a).

                        “Liquor Management Agreement” has the meaning set forth in Section
         7.4(b).

                       “Management Agreement” means that certain Management Agreement
         dated January 1, 2007, between JOMR and PMC, as amended.

                        “Master License Agreement” means that certain Master License Agreement
         dated as of January 1, 2007, between JOMR, as licensor, and PMC, as licensee, relating to
         the JOMR IP, as it may be amended or modified.

                          “Material Adverse Effect” means an occurrence or event that materially
         adversely affects the value of the Purchased Assets taken as a whole, or that materially
         adversely affects the ability of a Party hereto to perform its obligations under this
         Agreement or timely consummate the Transactions contemplated herein, excluding any
         such effect to the extent resulting from or arising in connection with (i) the pendency or
         consummation of the Transactions contemplated hereby or the public announcement
         thereof; (ii) changes or conditions affecting the industries generally in which Sellers
         operate unless such change has a disproportionate effect on the Business or the Purchased
         Assets; (iii) changes in national or international business, economic, political, or social
         conditions, including the engagement by the United States of America in hostilities,
         whether or not pursuant to the declaration of a national emergency or war, or the occurrence
         of any military or terrorist attack upon the United States of America; (iv) changes in
         financial, banking, or securities markets (including any disruption thereof or any decline
         in the price of securities generally or any market or index); (v) changes in Law or in GAAP
         or interpretations thereof; (vi) changes resulting from the commencement and continuation
         of the Bankruptcy Cases; (vii) failure of any one or more of the Sellers to meet financial
         projections, or (viii) any action taken by any Seller as required or contemplated by this
         Agreement.

                        “Material Contract” has the meaning set forth in Section 3.16.

                       “Mexico License Agreements” means either or both of (i) that certain Palm
         Restaurant License Agreement dated as of March 15, 1999, between JOMR and Hoteles
         Presidente, S.A. de C.V., as amended, and (ii) that certain Palm Restaurant License

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         Agreement dated as of May 1, 2012, between JOMR, Hoteles Presidente, S.A. de C.V.,
         Impulsora de Empresas Turisticas, S.A. de C.V., and Forea S.A P. I de C.V., as amended.

                         “Operating Company” means each Company that operates a Restaurant
         (including a hotel with respect to PMC) and any direct or indirect Subsidiary of a Company
         that operates a Restaurant.

                       “Order” means any award, decision, decree, order, directive, injunction,
         ruling, judgment, or consent of or entered, issued, made or rendered by, any Governmental
         Authority.

                        “Other Causes of Action” has the meaning set forth in Section 2.2(k).

                        “Outside Date” has the meaning set forth in Section 12.1(b).

                          “Permitted Liens and Encumbrances” means (i) Liens granted by Purchaser
         at or after the Closing in connection with any financing of Purchaser related to the purchase
         of the Purchased Assets pursuant to this Agreement (or otherwise arising by, through or
         under the Purchaser); (ii) Liens for Taxes not yet due and payable; and (iii) with respect to
         licensed JOMR IP, Liens arising under, or pursuant to the other terms and conditions of
         the license applicable thereto.

                      “Person” means an individual, corporation, partnership, limited liability
         company, association, joint venture, trust, or other entity or organization, including a
         Governmental Authority.

                       “Phantom Stock Plans” means (i) the Amended and Restated Palm
         Appreciation Plan effective as of January 1, 2009; and (ii) the Amended and Restated Palm
         Long Term Incentive Plan effective as of January 1, 2009.

                       “Philadelphia Equity Interests” means Equity Interests of the Chapter 7
         Debtors in Palm Philadelphia Restaurant Manager, LLC and Palm Philadelphia Investor,
         LLC.

                     “PMC” means Palm Management Corporation, a New York corporation
         and a Company hereunder.

                         “PMC Real Property” means that certain real property owned by PMC at
         the locations in the State of New York as described on Exhibit B attached hereto, one of
         which locations (the “NYC PMC Real Property”) is leased by PMC to another Operating
         Company for the conduct of the business of a Restaurant, and the other of which (the “East
         Hampton PMC Real Property”) is operated by PMC as a Restaurant and hotel, as described
         on Exhibit B.

                        “Post-Closing Period Tax Returns” has the meaning set forth in Section
         9.3(a).

                        “Post-Closing Tax Period” has the meaning set forth in Section 2.7(b)(i).

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                        “Pre-Closing Company Professionals” means the Persons identified on
         Schedule 1.1(c) attached hereto, as supplemented by Sellers within ten (10) days of the
         date of this Agreement.

                       “Pre-Closing Period Tax Returns” has the meaning set forth in Section
         9.3(a).

                       “Pre-Closing Tax Period” means (i) any Tax period ending on or before the
         Closing Date and (ii) with respect to a Tax period that commences before but ends after
         the Closing Date, the portion of such period up to and including the Closing Date.

                       “Pre-Closing Taxes” has the meaning set forth in Section 9.3(b).

                        “Professional Expense Escrow” means a cash escrow for the sole purpose
         of reimbursing Purchaser and the Companies for any Indemnified Professional Expenses
         that Purchaser or any Company is required to pay to the Pre-Closing Company
         Professionals at any time after the Closing.

                         “Professional Expense Escrow Agreement” means an escrow agreement
         among Sellers, Purchaser, and an escrow agent mutually acceptable to Sellers and
         Purchaser, entered into at Closing for purposes of holding and disbursing the Professional
         Expense Escrow, which agreement shall be in form and substance reasonably acceptable
         to Sellers and Purchaser.

                        “Property Taxes” means all real property Taxes and similar ad valorem
         obligations levied with respect to any Leased Real Property or PMC Real Property for any
         Tax period.

                       “Proposed Allocation Statement” has the meaning set forth in Section
         2.6(b).

                       “Proposed Amendment” has the meaning set forth in Section 9.3(d)(ii).

                       “Purchase Price” has the meaning set forth in Section 2.6(a).

                       “Purchased Assets” has the meaning set forth in Section 2.1.

                       “Purchaser” has the meaning set forth in the preamble.

                       “Qualified Bid” has the meaning set forth in the Bid Procedures.

                         “Real Estate Leases” means the leases and subleases for the Leased Real
         Property, as listed on Exhibit E hereto, and all amendments, modifications, supplements,
         extensions, renewals, assignments, guaranties, easements, restatements, and exhibits
         thereto.

                       “Reconciled Accounts Payable” has the meaning set forth in Section 2.7(c).



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                        “Restaurant” has the meaning set forth in the Recitals.

                        “Retention Payment Agreements” means the agreements providing for
         retention payments for non-debtor employees entered into between PMC, on the one hand,
         and each of the non-debtor employees identified in Schedule 1.1(b), on the other hand.

                        “Sale Approval Hearing” means a hearing of the Bankruptcy Court to
         consider the Sale Motion.

                         “Sale Motion” means a motion filed by the Debtors with the Bankruptcy
         Court seeking the entry of the Sale Order. For the avoidance of doubt, the Sale Motion may
         be filed as one motion with the Bidding Procedures Motion.

                         “Sale Order” means an Order of the Bankruptcy Court that has become a
         Final Order in the Bankruptcy Cases consistent with the terms of this Agreement (a)
         authorizing Sellers to close on the terms of this Agreement and the Transactions
         contemplated hereby, in accordance with §363 of the Bankruptcy Code, that finds, among
         other things, that Purchaser is a good-faith purchaser for value and otherwise entitles
         Purchaser to the protections of §363(m) of the Bankruptcy Code, (b) approving the sale of
         the Purchased Assets to Purchaser free and clear of any and all Liens to the maximum
         extent permitted by law (other than Permitted Liens and Encumbrances and Liens that
         Purchaser has agreed to permit or assume hereunder or hereafter) pursuant to §363(f) of
         the Bankruptcy Code; (c) determining (or providing for the procedure to subsequently
         determine) the Cure Costs and approving the assumption and assignment to Purchaser of
         the Assigned JOMR Contracts solely on the terms of such Assigned JOMR Contracts; (d)
         providing that the provisions of Rules 6004(h) and 6006(d) of the Rules are rendered
         inapplicable and there will be no stay of execution of the Sale Order under Rule 62(a) of
         the Federal Rules of Civil Procedure; (e) retaining jurisdiction of the Bankruptcy Court to
         interpret and enforce the terms and provisions of this Agreement; and (f) determining this
         Agreement (as it may be modified prior to the Sale Approval Hearing) to be the highest
         and best bid for the Purchased Assets as a result of the Auction. The form of Sale Order
         that the Seller will propose that the Bankruptcy Court enter is attached hereto as Exhibit F,
         but in any event shall be in form and substance reasonably acceptable to the Parties.

                        “Sale Order Deadline” has the meaning set forth in Section 7.5(d).

                        “Seller” has the meaning set forth in the preamble.

                        “Sellers’ Release” means a release executed by Sellers, the Companies, and
         Subsidiaries pursuant to which Sellers release all Claims Sellers have or may have against
         any Company or Subsidiary excluding any Claims arising under this Agreement that is in
         form and substance acceptable to Sellers and Purchaser.

                         “SSP License Agreement” means that certain Master License Agreement
         dated January 25, 2008 between Palm Airport, LLC, as licensor, and SSP America, Inc.,
         as licensee, as modified or amended.



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                         “Store Level Credit Card Receivables” means all accounts receivable and
         other amounts owed to an Operating Company (whether current or non-current) in
         connection with any customer purchases from any Restaurant operated by such Operating
         Company that are made with credit cards or any other related amounts owing (including
         deposits or holdbacks to secure chargebacks, offsets or otherwise) from credit card
         processors to such Operating Company. Store Level Credit Card Receivables shall
         specifically include all Store Level Credit Card Receivables generated with respect to sales
         occurring during the three days immediately prior to the Closing Date, including any
         amounts received by or payable to an Operating Company with respect to such sales
         occurring during such three days immediately prior to the Closing Date.

                         “Store Level Opening Cash Balances” means (i) store level cash in cash
         registers at each Restaurant on the Closing Date, in customary amounts and consistent with
         past practice, as set forth on Schedule 1.1(a); and (ii) all customer deposits held by any
         Operating Company for any event or booking at any Restaurant or at the hotel owned by
         PMC that has not occurred prior to the Closing Date.

                        “Straddle Period Tax Returns” has the meaning set forth in Section 9.3(b).

                        “Straddle Periods” has the meaning set forth in Section 9.3(b).

                         “Subsidiary” means any Person of which one or more Companies (or other
         specified Person) owns directly or indirectly at least 50% of the outstanding equity interests
         entitled to vote generally or otherwise has the power to elect a majority of the governing
         body of such Person or the legal power to direct the business or policies of such Person.

                      “Sublicense Agreements” means each and both of the SSP License
         Agreement and the TJX License Agreement.

                        “Tax” means (i) any tax, governmental fee, or other like assessment or
         charge of any kind whatsoever (including withholding on amounts paid to or by any
         Person), together with any interest, penalty, addition to tax, or additional amount imposed
         by any Governmental Authority (a “Taxing Authority”) responsible for the imposition of
         any such tax (domestic or foreign), or (ii) liability for the payment of any amounts of the
         type described in clause (i) as a result of being party to any agreement or any express or
         implied obligation to indemnify any other Person.

                        “Tax Arbiter” has the meaning set forth in Section 9.3(d)(iv).

                        “Tax Proceeding” has the meaning set forth in Section 9.3(f)(i).

                         “Title Commitments” means the commitments for owner’s title insurance
         policies for the PMC Real Property issued by Fidelity National Title Insurance Company
         (Commitment Nos. 30623023 and 30623000) as set forth in the Data Room.

                       “TJX License Agreement” means that certain License Agreement dated
         November 1, 2008, between PMC, as licensor, and The TJX Companies, Inc., as licensee,
         as it may be modified or amended.

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                         “Transactions” has the meaning set forth in the Recitals.

                         “Transfer Taxes” has the meaning set forth in Section 9.2.

                         “True-Up” has the meaning set forth in Section 2.7(d).

                         “True-Up Statement” has the meaning set forth in Section 2.7(d).

                         “Trustee” has the meaning set forth in the preamble.

                         “USPTO” has the meaning set forth in Section 3.7(b).

                        “Withholding Reserves” means all amounts (i) withheld from employee
         wages held by any Company pending remittance to the appropriate Governmental
         Authority; and (ii) collected as sale, use, or other Taxes from third parties pending
         remittance to the appropriate Governmental Authority.

         2.      Purchase and Sale.

                2.1.    Purchase and Sale. Subject to the terms and conditions set forth in this
Agreement, at the Closing, Sellers agree to sell, transfer, and deliver to Purchaser, and Purchaser
agrees to purchase, acquire, and accept from Sellers, on an “AS IS, WHERE IS” basis and without
any representation or warranty on the part of Sellers as to fitness, merchantability or (except as
expressly set forth in this Agreement) otherwise, all right, title, and interest of each Seller as of the
Closing Date in and to the following tangible and intangible assets, properties, and rights (the
“Purchased Assets”), but in all cases excluding the Excluded Assets:

                         (a)    the Equity Interests;

                         (b)    the JOMR IP;

                     (c)        the rights of JOMR under the License Agreements (the “Assigned
         JOMR Contracts”);

                        (d)     all books, records, files, and papers of Sellers, including in
         electronic form, relating solely to the Purchased Assets, except to the extent the same
         constitutes an Excluded Asset; and

                         (e)    all utility deposits and other vendor deposits made by any Company
         with third parties.

Pursuant to Section 363(f) of the Bankruptcy Code, the transfer of the Purchased Assets shall be
free and clear (except for Permitted Liens and Encumbrances and the Assumed Liabilities) of any
and all liens (as defined in Section 101(37) of the Bankruptcy Code) and Claims, in each case
pursuant to Section 363(f) of the Bankruptcy Code, whether arising prior to or subsequent to the
Chapter 11 Petition Date or the Chapter 7 Petition Date, as applicable.




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                2.2.   Excluded Assets. Notwithstanding any other provision of this Agreement to
the contrary, the Purchased Assets shall not include any assets, properties or rights not specifically
identified in Section 2.1 or not directly related to the ownership or operation of the Business (the
“Excluded Assets”), including, without limitation:

                        (a)     Except for the Assigned JOMR Contracts, any unexpired lease or
         other contract of any Seller;

                         (b)      all rights of Sellers arising under this Agreement (including without
         limitation, rights to the Purchase Price) or in connection with the Transactions;

                        (c)    any Tax refund or reimbursement due to Sellers with respect to any
         tax period ending on or before the Closing Date;

                        (d)     all amounts owed to any Seller by, and all claims of any Seller
         against, any other Seller, Debtor, or any of their respective Affiliates other than any
         Company or Subsidiary; provided, however, that any claims against a Company or
         Subsidiary shall be released by Sellers at Closing;

                        (e)     Intentionally omitted;

                        (f)     Sellers’ rights and benefits relating to insurance coverages with
         respect to events occurring prior to Closing;

                         (g)    all amounts paid as of the Closing Date to any Seller under any and
         all License Agreements or sublicense agreements between PMC and any third party
         relating to any period prior to the Closing Date;

                        (h)    all minute books, organizational documents, stock records, and
         corporate seals of JOMR;

                        (i)    the equity interests of the Chapter 7 Debtors in any entities not
         identified on Annex I as a “Company”;

                         (j)     all claims, avoidance recovery, subordination, or other causes of
         action arising out of the commencement of, related to, or involving the Bankruptcy Cases,
         including without limitation those arising under chapter 5 of the Bankruptcy Code (e.g., §§
         502(d), 506, 510, 542 - 551 and 553 of the Bankruptcy Code), or arising under applicable
         state Law or otherwise and the proceeds thereof, other than claims and avoidance recovery,
         subordination, or other such actions against the Companies (collectively, the “Bankruptcy
         Causes of Action”);

                        (k)      all claims and causes of action, including, without limitation,
         commercial tort claims, and any proceeds thereof, that any representatives of any of the
         Sellers have the right to bring under applicable state and local Law, by order of the
         Bankruptcy Court, or otherwise, whether relating to the pre- or post-petition time period,
         against Bruce E. Bozzi, Sr., Walter J. Ganzi, Jr., or Victor F. Ganzi, or any of their
         respective Affiliates, or any professionals engaged by any of them, including malpractice

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         and other claims against such professionals, excluding, in all instances, any such claims
         and causes of action against the Companies or any Subsidiary (collectively, the “Other
         Causes of Action”);and

                        (l)    Sellers’ rights and benefits, including any proceeds thereof
         (including, without limitation, any proceeds from available insurance) arising out of,
         related to or involving the Decision and Judgment (the “Derivative Action Causes of
         Action”).

               2.3.    Assumed Liabilities. Upon the terms and subject to the conditions of this
Agreement, Purchaser agrees, effective at the time of the Closing, to assume, pay, perform, and
discharge, promptly when payment or performance is due or required, only the following liabilities
and obligations of Sellers (the “Assumed Liabilities”):

                      (a)     all Liabilities arising in connection with the ownership of the
         Purchased Assets from and after the Closing;

                     (b)       all Liabilities of Sellers related to or arising under the Assigned
         JOMR Contracts;

                       (c)     all Cure Costs in respect of the Assigned JOMR Contracts, if any;
         and

                       (d)     any other Liabilities specifically imposed upon or assumed by
         Purchaser pursuant to this Agreement.

Notwithstanding the foregoing, nothing in this Agreement or the Sale Order shall make or deem
Purchaser responsible for, or otherwise liable for payment or satisfaction of any of, the Liabilities
of the Companies or any Subsidiaries, which Liabilities shall remain the sole obligation of the
applicable Company or Subsidiary.

                2.4.     Excluded Liabilities. Notwithstanding any other provision of this
Agreement to the contrary, except as provided in Section 2.3, Purchaser is not assuming any other
Claim against or Liability of Sellers of whatever nature, whether presently in existence or arising
hereafter. All such other Claims and Liabilities not being assumed (collectively, the “Excluded
Liabilities”) shall be retained by and remain the Liabilities of Sellers; provided, however, that, for
avoidance of doubt, each Company and each Subsidiary shall retain all of its assets and remain
liable for all of its Liabilities, in each case, as existing as of the Closing (provided that any
Liabilities owed by any Company or any Subsidiary to any Seller or any Seller’s Affiliates
(including, without limitation, Bozzi and Ganzi) and any Claims held by any Seller or any Seller’s
Affiliates (including, without limitation, Bozzi and Ganzi) against any Company or Subsidiary
arising prior to Closing shall be released as of the Closing).

               2.5.    Assumption/Assignment of Contracts and Rights. The Assigned JOMR
Contracts shall be assumed by JOMR and assigned to Purchaser at the Closing pursuant to Section
365 of the Bankruptcy Code. Purchaser shall have the sole responsibility for paying all Cure Costs
due in connection with the assumption and assignment of the Assigned JOMR Contracts.
Notwithstanding any other provision of this Agreement to the contrary, this Agreement shall

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constitute an agreement to assign all Assigned JOMR Contracts and rights thereunder to Purchaser
unless a third party objects to the assignment and it is determined by the Bankruptcy Court that
JOMR is incapable as a matter of law of assigning that particular Assigned JOMR Contract.

                 2.6.   Purchase Price; Allocation of Purchase Price.

                        (a)     In addition to the assumption of the Assumed Liabilities, in
         consideration for the sale, transfer, and delivery of the Purchased Assets, Purchaser shall
         pay to Sellers at the times set forth herein Fifty Million Dollars ($50,000,000.00) (the
         “Cash Purchase Price” and together with the Assumed Liabilities, the “Purchase Price”).
         The Cash Purchase Price shall be adjusted in accordance with Section 2.7.

                         (b)     (i)     Within sixty (60) days after the Closing Date, Purchaser will
         deliver to Seller a draft of an allocation statement setting forth the proposed allocation of
         the Purchase Price (and other amounts treated as purchase price for Federal income Tax
         purposes), among the Purchased Assets of each Seller (the “Proposed Allocation
         Statement”). The Proposed Allocation Statement will be prepared in accordance with the
         allocation methodology set forth in Schedule 2.6(b) and Section 1060 of the Code, the
         applicable Treasury regulations promulgated thereunder, and any similar provision of
         applicable State, local, or non-U.S. Applicable Law. Sellers will have thirty (30) Business
         Days following delivery of the Proposed Allocation Statement during which to notify
         Purchaser in writing (an “Allocation Notice of Objection”) of any objections to the
         Proposed Allocation Statement, setting forth in reasonable detail the basis of Sellers’
         respective objections. If Sellers fail to timely deliver an Allocation Notice of Objection in
         accordance with this Section 2.6(b), then the Proposed Allocation Statement will be
         conclusive and binding on all Parties (subject to Section 2.6(b)(ii) below) and will become
         the “Final Allocation Statement.” If Sellers timely submit an Allocation Notice of
         Objection in accordance herewith, then for twenty (20) Business Days after the date
         Purchaser’s receipt of the Allocation Notice of Objection, Purchaser and Sellers will work
         in good faith and use their respective commercially reasonable efforts to agree on the
         allocation. In the event that the Parties are not able to resolve all objections raised in the
         Allocation Notice of Objection within such twenty (20) Business Day period, then the
         Proposed Allocation Statement will be amended to reflect all undisputed items to which
         the Parties have agreed, and all disputed items will be reported by the Parties separately in
         good faith, and the Proposed Allocation Statement as amended to reflect the undisputed
         items will become the Final Allocation Statement, or at the election of either Party, the
         disputed items will be resolved by the Bankruptcy Court and, as amended, become the
         Final Allocation Statement.

                                 (ii)    (A)    Subject to Section 2.6(b)(ii)(B) below, (x) Sellers
                 and Purchaser will report and file (and will cause their respective Affiliates to report
                 and file) Tax returns (including IRS Form 8594) in all respects and for all purposes
                 consistent with the Final Allocation Statement; and (y) neither Sellers nor Purchaser
                 will take any position (or will allow any of their respective Affiliates to take any
                 position) whether in audits, Tax returns, or otherwise that is inconsistent with the
                 Final Allocation Statement, except, in each case, to the extent otherwise required
                 by Applicable Law.

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                                         (B)     In connection with the administration of any Legal
                 Proceeding and the income tax reporting by Sellers, the Bankruptcy Court and
                 Sellers shall not be required to apply the Final Allocation Statement in determining
                 the manner in which the Purchase Price should be allocated as between or among
                 any of the Sellers and Sellers’ respective estates (and no allocation hereunder shall
                 supersede, usurp, or otherwise affect the jurisdiction and authority of the
                 Bankruptcy Court to value the Purchased Assets for purposes of distributions to the
                 Sellers’ respective estates under the Bankruptcy Code). For clarity, any allocation
                 of the Purchase Price among the Sellers that differs from that set forth in the Final
                 Allocation Statement shall not amend or modify the allocation of the Purchase Price
                 between or among the asset classes as expressly set forth in the Final Allocation
                 Statement. Sellers, on the one hand, and Purchaser, on the other hand, each agree
                 to provide the other promptly with any other information required to complete IRS
                 Form 8594.

                                        (C)    Neither Purchaser nor any Seller shall agree to any
                 proposed adjustment based upon or arising out of the Final Allocation Statement
                 by any Governmental Authority (other than the Bankruptcy Court as provided in
                 Section 2.6(b)(ii)(B) above) without first giving the other Party reasonable prior
                 written notice; provided, however, that (x) nothing contained herein shall prevent
                 Purchaser or any Seller from settling any proposed deficiency or adjustment by any
                 Governmental Authority based upon or arising out of the Final Allocation
                 Statement and (y) neither Purchaser nor any Seller shall be required to litigate
                 before any court any proposed deficiency or adjustment by any Governmental
                 Authority based upon or arising out of such Final Allocation Statement.

                                 (iii) The agreements with respect to the Final Allocation
         Statement set forth in this Section 2.6(b) shall survive the Closing.

                         (c)    Purchaser acknowledges that the equity holders in the JV
         Companies include parties other than Sellers (such third parties, collectively, the “JV
         Holders”). Pursuant to the limited liability company agreements or stockholders’
         agreement applicable to a JV Company, the JV Holders may have or claim rights to “tag-
         along” on the sale Transactions contemplated by this Agreement, at values determined as
         provided in the applicable limited liability company agreements or stockholders
         agreement. If any JV Holder shall exercise their tag-along rights (such JV Holder, an
         “Exercising JV Holder”), at the Closing Purchaser shall (i) acquire the equity interest in
         the applicable JV Company of the Exercising JV Holder and (ii) pay to the Exercising JV
         Holder the purchase price payable to the Exercising JV Holder in respect of their equity
         interest in the applicable JV Company (“JV Purchase Price”), all in accordance with the
         applicable JV Company’s limited liability company agreements or stockholders’
         agreement.

               2.7.    Adjustment of Purchase Price. At Closing, the Cash Purchase Price shall
be adjusted as follows:




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                         (a)      The Cash Purchase Price shall be (i) reduced by the estimated Store
         Level Credit Card Receivables received or receivable by the Operating Companies with
         respect to sales occurring during the three (3) days immediately prior to the Closing Date
         (the “Estimated Credit Card Receivables”) and (ii) increased by Store Level Opening Cash
         Balances in excess of those amounts per Restaurant set forth in Schedule 1.1(a) hereto.
         Sellers shall deliver to Purchaser a calculation of the Estimated Credit Card Receivables at
         least one (1) Business Day prior to Closing.

                         (b)     The following expenses relating to the Leased Real Property and the
         PMC Real Property shall be pro-rated to the date of Closing, based upon the number of
         days elapsed in the applicable period in which the Closing occurs that are prior to the
         Closing Date and the number of days on and after the Closing Date that are remaining in
         the applicable period in which the Closing occurs, with Purchaser being treated as the
         owner of the Leased Real Property and PMC Real Property on the Closing Date. To the
         extent Seller or an Operating Company is required by the terms of this Section to pay
         certain amounts to third parties (such as rent, Taxes, and assessments) and Seller or such
         Operating Company does not so pay such amounts then due at Closing, Purchaser may
         elect to receive a credit at Closing for such unpaid amounts.

                                  (i)    All Property Taxes (A) in respect of the PMC Real Property
                 (other than any PMC Real Property in respect of which the Property Taxes are paid
                 by the tenant under the Real Estate Lease of such PMC Real Property) and (B) in
                 respect of Leased Real Property, to the extent the tenant under the related Real
                 Estate Lease is required to pay Property Taxes and not as part of rent that is pro-
                 rated pursuant to Section 2.7(b)(ii), for a Tax period that includes (but does not end
                 on) the Closing Date shall be apportioned between the Trustee, on the one hand,
                 and Purchaser, on the other hand, based on the number of days of such Tax period
                 included in the Pre-Closing Tax Period and the number of days of such Tax period
                 after the Closing Date (with respect to any such Tax period, the “Post-Closing Tax
                 Period”). The Trustee shall be liable for the proportionate amount of such Property
                 Taxes that is attributable to the Pre-Closing Tax Period, and Purchaser shall be
                 liable for the proportionate amount of such Property Taxes that is attributable to the
                 Post-Closing Tax Period. Property Taxes shall be prorated based on the current
                 year’s tax. If Closing occurs at a date when the current year’s millage is not fixed
                 and current year’s assessment is available, Property Taxes will be prorated based
                 upon such assessment and prior year’s millage. If current year’s assessment is not
                 available, then Property Taxes will be prorated on the prior year’s tax.

                                (ii)    Rent (inclusive of all common area maintenance, Taxes,
                 insurance, and all other amounts paid or payable to a landlord under the applicable
                 Real Estate Lease), exclusive of percentage rent, as provided for under each
                 applicable Real Estate Lease for each Leased Real Property for the month in which
                 the Closing occurs that has been prepaid by a Company shall be pro-rated based
                 upon the number of days of the month prior to Closing and the number of days of
                 the month that remain after the Closing (including the Closing Date ). No post-
                 Closing adjustments in respect of overpayments or underpayments of common area
                 maintenance shall be made, and Purchaser shall retain all refunds of common area

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                 maintenance from landlords and shall be liable to landlords for all underpayments
                 of common area maintenance that are adjusted after Closing.

                                  (iii) Utilities and similar expenses (A) in respect of the PMC Real
                 Property (other than any PMC Real Property in respect of which the utilities and
                 similar expenses are payable by the tenant under the Real Estate Lease of such PMC
                 Real Property) and (B) in respect of Leased Real Property, to the extent the tenant
                 under the related Real Estate Lease is required to pay utilities and similar expenses
                 and not as part of rent that is pro-rated pursuant to Section 2.7(b)(ii), will be
                 apportioned based upon the number of calendar days occurring before the Closing
                 Date and after (and including) the Closing Date during the billing period for each
                 such charge. Final meter readings on all utilities charged to the PMC Real Property
                 and Leased Real Property shall be made as of the day preceding the Closing Date
                 if feasible. The Trustee shall use reasonable efforts to arrange for and shall pay for
                 final billings of utilities to the day preceding the Closing Date, and Purchaser shall
                 be responsible for utilities used on or after the Closing Date. Any prepaid water,
                 sewer, and other utility charges allocable to the period from and after the Closing
                 Date shall be credited to the Trustee and any unpaid water, sewer, and other utility
                 charges allocable to the period prior to the Closing Date shall be credited to
                 Purchaser. The Trustee and Purchaser shall deliver written notices to the applicable
                 utility companies notifying them of the change in ownership. Notwithstanding the
                 above, no proration of utility accounts will occur should Purchaser open new
                 accounts under its own name.

                                  (iv)   Prior to the Closing, the Trustee and Purchaser shall agree
                 on the estimated amount of rent (the “Estimated Percentage Rent”) accrued under
                 any of the Real Estate Leases immediately prior to the Closing with respect to rent
                 that is based on a percentage of the sales of the Business generated prior to Closing
                 (the “Accrued Percentage Rent”). Sellers shall deliver to Purchaser a calculation
                 of Estimated Percentage Rent at least one (1) Business Day prior to Closing. To
                 the extent that any Estimated Percentage Rent is not yet due and payable to a
                 landlord or has not been paid at or prior to Closing, Purchaser shall receive a credit
                 at Closing against the Purchase Price for such amounts and Purchaser shall be
                 responsible for the payments of such amounts following Closing. If the Accrued
                 Percentage Rent, once finally agreed upon with the applicable landlords, does not
                 equal the Estimated Percentage Rent, the Trustee or Purchaser, as applicable, shall
                 promptly pay to the other the amount of such difference, provided that in no event
                 shall Sellers, in the aggregate, be liable to Purchaser for payment of more than an
                 additional amount of $250,000 (the “Additional Percentage Rent”) in respect of
                 Accrued Percentage Rent. At Closing, the Trustee shall retain and not disburse
                 from the Closing proceeds $250,000 in respect of the Additional Percentage Rent
                 and the Trustee shall make disbursements from such funds (up to the aggregate
                 amount of the Additional Percentage Rent) upon submission by Purchaser of
                 requests (together with supporting documentation in reasonable detail) for
                 additional amounts of Accrued Percentage Rent payable by Purchaser to landlords
                 in respect of periods prior to the Closing. To the extent that there are undisbursed
                 funds held by the Trustee pursuant to this Section 2.7(b)(iv) on May 31, 2020 (as

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                 to which Purchaser has not requested disbursement), such amounts shall be
                 disbursed by the Trustee in accordance with the Orders of the Bankruptcy Court,
                 and Purchaser shall have no further rights relating to any amounts of Accrued
                 Percentage Rent. The provisions of this Section 2.7(b)(iv) shall survive the
                 Closing.

                           (c)    Within three (3) Business Days after the date of the Auction (or three
         (3) Business Days after Sellers’ determination that there will not be an Auction), the
         Trustee and Purchaser shall agree on the estimated aggregate amount of trade accounts
         payable and accrued liabilities (excluding liabilities relating to gift cards and frequent diner
         or other loyalty programs) of the Operating Companies (the “Estimated Accounts
         Payable”) accruing, accrued, or to be accrued by the Operating Companies as of the
         Closing Date with respect to the Business and excluding (x) amounts payable to the
         Chapter 7 Debtors, Victor F. Ganzi, or their respective Affiliates, (y) Indemnified
         Professional Expenses, and (z) Pre-Closing Taxes that are payable by Sellers with respect
         to any Straddle Period pursuant to Section 9.3(b) (the “Accrued Accounts Payable”). All
         accounts payable and accrued liabilities of the Operating Companies, excluding (w)
         liabilities relating to gift cards and frequent diner or other loyalty programs, (x) amounts
         payable to the Chapter 7 Debtors, Victor F. Ganzi or their respective Affiliates, (y)
         Indemnified Professional Expenses, and (z) Pre-Closing Taxes that are payable by Sellers
         with respect to any Straddle Period pursuant to Section 9.3(b), shall be current in
         accordance with their respective terms as of the Closing. For avoidance of doubt, Accrued
         Accounts Payable shall be calculated as of the Closing using and applying the Company’s
         accounting methods. Within sixty (60) days after the Closing, Purchaser shall deliver to
         the Trustee a reconciliation of the Accrued Accounts Payable (the “Reconciled Accounts
         Payable”) together with supporting documentation in reasonable detail for Accrued
         Accounts Payable as of the Closing, and using the same accounting policies and
         methodology of calculation as used to determine the Estimated Accounts Payable;
         provided, however, that if the Philadelphia Equity Interests are excluded from Purchased
         Assets pursuant to Section 7.9, Estimated Accounts Payable and Accrued Accounts
         Payable shall each be reduced by the amount of Closure Payables. Unless the Trustee
         notifies the Purchaser in writing within thirty (30) days after receipt by the Trustee of the
         Reconciled Accounts Payable of any objections thereto (specifying in reasonable detail the
         basis therefor), the Reconciled Accounts Payable shall be final and binding for all purposes.
         If the Trustee timely notifies the Purchaser of any such objection, Purchaser and the Trustee
         shall attempt in good faith to reach an agreement as to the matter in dispute. If the Parties
         shall have failed to resolve any such dispute within twenty (20) Business Days after receipt
         of timely notice of such objection, then any such disputed matter may, at the election of
         Purchaser or the Trustee, be submitted to the Bankruptcy Court for resolution, which
         resolution shall be final and binding upon the Parties. If the Reconciled Accounts Payable,
         as initially submitted (if no objection is timely made) or as modified by agreement of the
         Parties or by the Bankruptcy Court after timely objection, reflects that Reconciled
         Accounts Payable exceed Estimated Accounts Payable by more than $200,000 (the
         “Accounts Payable Threshold Amount”), then the Trustee shall promptly pay to Purchaser
         an amount equal to the Reconciled Accounts Payable less the Estimated Accounts Payable,
         provided that in no event shall Sellers, in the aggregate, be liable to Purchaser for payment
         of more than an additional amount of $2,000,000 (the “Accounts Payable Reserve”) in

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         respect of Accrued Accounts Payable. If Reconciled Accounts Payable do not exceed
         Estimated Accounts Payable by more than the Accounts Payable Threshold Amount, then
         Sellers shall not be liable to Purchaser for any additional amounts with respect to
         Additional Accounts Payable. At Closing, the Trustee shall retain and not disburse from
         the Closing proceeds the amount of the Accounts Payable Reserve and the Trustee shall
         make disbursements to the Purchaser, if any, from the Accounts Payable Reserve (up to
         the aggregate amount of the Accounts Payable Reserve) within ten (10) Business Days
         after final determination of the Reconciled Accounts Payable. To the extent that there are
         undisbursed funds held by the Trustee in the Accounts Payable Reserve after payment of
         any amounts required to be paid to Purchaser, such amounts shall be disbursed by the
         Trustee in accordance with the Orders of the Bankruptcy Court, and Purchaser shall have
         no further rights to the Accounts Payable Reserve or on account of the Reconciled
         Accounts Payable. The provisions of this Section 2.7(c) shall survive the Closing.

                          (d)     Within thirty (30) days after the Closing Date, Purchaser shall cause
         to be prepared, at Purchaser’s expense, a reconciliation of the Estimated Credit Card
         Receivables with the actual Credit Card Receivables for the same period (together with
         supporting calculations in reasonable detail, the “True-Up Statement”) which shall show
         the amount of such expenses payable by Sellers and the amount payable by Purchaser (the
         “True-Up”), using the same accounting policies and methodology of calculation as used to
         determine the Estimated Credit Card Receivables. Upon completion of such statement,
         Purchaser shall deliver the True-Up Statement to Sellers. If Purchaser fails to timely
         deliver a True-Up Statement, Sellers may cause to be prepared and delivered to Purchaser
         a True-Up Statement within forty-five (45) days following the Closing Date. If none of the
         Parties timely delivers a True-Up Statement, no True-Up of the Estimated Credit Card
         Receivables shall be made. Upon completion of such statement, Purchaser shall deliver
         the True-Up Statement to Sellers. Unless the Party receiving the True-Up Statement
         notifies the other Party in writing within thirty (30) days after receipt by it of the True-Up
         Statement of any objections thereto (specifying in reasonable detail the basis therefor),
         such statement shall be final and binding for all purposes. If the recipient of the True-Up
         Statement timely notifies the delivering Party of any such objection, Purchaser and Sellers
         shall attempt in good faith to reach an agreement as to the matter in dispute. If the Parties
         shall have failed to resolve any such dispute within twenty (20) Business Days after receipt
         of timely notice of such objection, then any such disputed matter may, at the election of
         Purchaser or Sellers, be submitted to the Bankruptcy Court for resolution, which
         resolutions shall be final and binding upon the Parties. If the True-Up Statement, as
         initially submitted (if no objection is timely made) or as modified by the Bankruptcy Court
         after timely objection, shows that Sellers owe Purchaser, or Purchaser owes Sellers, any
         amounts in respect of Store Level Credit Card Receivables, the Party owing such amount
         shall pay it to the Party to whom it is owed within ten (10) Business Days after (i) receipt
         of the True-Up Statement, if no objection thereto is timely made, or (ii) resolution of the
         True-Up Statement by the Bankruptcy Court, if objection thereto is timely made.

                 2.8.   Earnest Money Deposit.

                        (a)   Not later than 3:00 Eastern Time on February 21, 2020, Purchaser
         shall deposit with Escrow Agent cash in immediately available federal funds by wire

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         transfer to an account or accounts designated in writing by Escrow Agent, an amount equal
         to Five Million Dollars ($5,000,000) (the “Earnest Money Deposit”), being ten percent
         (10%) of the Cash Purchase Price (prior to any adjustments). Escrow Agent shall hold the
         Earnest Money Deposit pursuant to an escrow agreement in the form attached hereto as
         Exhibit G (the “Escrow Agreement”).

                         (b)     If the Closing is consummated, the Earnest Money Deposit shall be
         paid to Sellers as a credit against the Purchase Price.

                        (c)    If the Closing does not occur, the Earnest Money Deposit shall be
         disbursed in accordance with the provisions of the Escrow Agreement and Section 12.2.

                2.9.   Closing. The Closing of the purchase and sale of the Purchased Assets and
the assumption of the Assumed Liabilities shall take place at the offices of the Escrow Agent, on
a date mutually agreeable to the Parties (which date shall be after, but no later than five (5) Business
Days after, satisfaction of the conditions set forth in Section 10 (other than those requiring a
delivery, or the taking of other action, at the Closing), or at such other time or place as Purchaser
and Sellers may agree; provided that the Closing must occur on or before the Outside Date.

              2.10. Deliveries by Sellers. At the Closing, Sellers will deliver or cause to be
delivered to Purchaser or such other Person specified below (unless delivered previously) the
following:

                          (a)     (i) to the extent in the possession of the Chapter 7 Debtors, the
         original certificates representing the Equity Interests, together with (A) in the case of shares
         of stock, original stock powers duly endorsed by the Chapter 7 Debtors in respect of their
         respective Equity Interests, and (B) in the case of limited liability company interests,
         transfer powers (if the interests are certificated) and assignments of limited liability
         company interests in the form attached hereto as Exhibit H-1, duly executed by the Chapter
         7 Debtors in respect of their respective Equity Interests and (ii) to the extent not in the
         possession of the Chapter 7 Debtors, lost certificate affidavits with respect to any Equity
         Interests in the case of any shares of stock or certificated limited liability company interests
         in the form attached hereto as Exhibit H-2;

                       (b)   a duly executed Assignment pursuant to which JOMR shall assign
         to Purchaser the JMOR IP, in the form attached hereto as Exhibit I (the “JOMR IP
         Assignment”);

                        (c)    a duly executed Assignment and Assumption Agreement pursuant
         to which JOMR shall assign to Purchaser the Assigned JOMR Contracts and Purchaser
         shall assume the obligations of JOMR thereunder, in the form attached hereto as Exhibit J
         (the “JOMR Assignment and Assumption Agreement”);

                          (d)     a certificate executed by a duly authorized representative of each
         Seller to the effect that all of the conditions to Closing set forth in Sections 10.2(a), (b) and
         (c) have been satisfied and to Sellers’ actual knowledge, no Material Adverse Effect has
         occurred and is continuing with respect to the Purchased Assets or the Business from the
         date of this Agreement to Closing, in the form attached hereto as Exhibit K;

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                        (e)    if required, such affidavits, documents and certificates reasonably
         required by the Title Company to permit the Title Company to issue its title policy in
         respect of the PMC Real Property to Purchaser subject only to any Company Permitted
         Liens and Encumbrances;

                        (f)    evidence of termination of the Management Agreement;

                        (g)     evidence of the release by Debtors of all Liabilities owed by the
         Companies to Debtors or their respective Affiliates and all claims of Debtors and their
         respective Affiliates against the Companies;

                        (h)    evidence that any licenses relating to the use of the JOMR IP (other
         than the License Agreements, the Sublicense Agreements, and licenses between JOMR and
         any Operating Company) have been terminated;

                         (i)  duly executed resignations of each of the officers, managers, and
         directors of each Company from their respective positions with such Company;

                       (j)     evidence that all actions necessary to terminate the Phantom Stock
         Plans have been taken, that the Phantom Stock Plans has been terminated, and that all
         amounts payable to any employee of any Operating Company (other than the Chapter 7
         Debtors) have been paid in full (which amounts may be paid by Sellers out of proceeds of
         the Cash Purchase Price at Closing);

                       (k)    duly executed consents, authorizations, resolutions, or other
         documentation required to permit the transfer of Equity Interests in the JV Companies to
         Purchaser and the admission of Purchaser or Purchaser’s designee(s) as a member of each
         Designated LLC that are executed by Trustee;

                         (l)     (i) duly executed releases or satisfactions with respect to any
         recorded mortgages on the PMC Real Property, including, without limitation, any
         mortgages in favor of Bozzi and Ganzi, (ii) Form UCC-3 termination statements with
         respect to any Liens on the Purchased Assets, the assets of any Company, or the assets of
         any Subsidiary, and (iii) all evidence of or duly executed documentation to release any
         other Lien existing on the Purchased Assets, including, without limitation, any Liens or
         notice of Liens filed with the USPTO (which may be evidenced by the Sale Order providing
         for the Purchased Assets free and clear of Liens);

                         (m)     an affidavit from Sellers dated as of the Closing Date, in form and
         substance required under the Code issued pursuant to Section 1445 of the Code stating that
         Sellers are not a foreign person as defined in Section 1445 of the Code;

                        (n)     a closing settlement statement, in form and substance reasonably
         acceptable to the Parties (the “Closing Statement”), executed by Sellers;

                       (o)    all passwords, usernames, and any similar access codes used in
         connection with any Purchased Assets or the Companies;


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                       (p)    a certified copy of the Sale Order as entered by the Bankruptcy
         Court on the docket maintained for the Bankruptcy Cases;

                        (q)   any resolutions, consents, agreements, amendments to
         organizational documents, or other documents or filings as may be necessary to revoke the
         dissolution of any Company or Subsidiary or otherwise allow for the continuation of any
         dissolved Company or Subsidiary executed by Trustee;

                         (r)     the duly executed Professional Expense Escrow Agreement;

                      (s)    the duly executed Sellers’ Release, executed by Sellers, the
         Companies, and each Subsidiary;

                         (t)     the duly executed Company Assignments; and

                       (u)    all other customary documents, instruments and writings reasonably
         requested by Purchaser to be delivered by Sellers at or prior to the Closing pursuant to this
         Agreement.

In addition, at Closing, all outstanding mortgages, judgment liens, tax liens, and construction liens,
if any, that encumber any of the PMC Real Property (other than Company Permitted Liens and
Encumbrances) shall be paid in full; provided that such payment may be made from the proceeds
of the Transactions.

               2.11. Deliveries by Purchaser. At the Closing, Purchaser will deliver or cause to
be delivered to Sellers (unless previously delivered) the following:

                         (a)    an amount equal to the Cash Purchase Price (including adjustments
         thereto) less (x) an amount necessary to fund the Professional Expense Escrow and (y) the
         Earnest Money Deposit delivered to Sellers pursuant to Section 2.8, which amount shall be
         delivered by wire transfer of immediately available federal funds to a bank account (or
         accounts) as shall be jointly designated in writing no later than one (1) day prior to the
         Closing Date by the Trustee and JOMR to Purchaser;

                      (b)   a letter authorizing and directing Escrow Agent to release the
         Earnest Money Deposit to Sellers, duly executed by Purchaser;

                         (c)     the JOMR Assignment and Assumption Agreement, duly executed
         by Purchaser;

                        (d)      a certificate executed by a duly authorized representative of
         Purchaser to the effect that all of the conditions to Closing set forth in Sections 10.3(a), (b),
         and (d) have been satisfied, in the form attached hereto as Exhibit L;

                       (e)    resolutions duly adopted by the Board of Directors of Purchaser (and
         any other Persons whose consent is required) authorizing the execution, delivery, and
         performance of this Agreement, and any other agreement or instruments contemplated


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         hereby or thereby, and the consummation of the Transactions contemplated herein by
         Purchaser;

                       (f)     the Closing Statement, duly executed by Purchaser;

                       (g)    such documents as shall be required to be executed by Purchaser to
         admit Purchaser or Purchaser’s designee as a member of each Designated LLC;

                       (h)     the duly executed Professional Expense Escrow Agreement; and

                       (i)    all other documents, instruments and writings reasonably requested
         by Sellers to be delivered by Purchaser at or prior to the Closing pursuant to this
         Agreement.

In addition, at Closing (or thereafter if the Cure Costs payable by Purchaser have not been
determined as of Closing), Purchaser shall pay the Cure Costs in respect of the Assigned JOMR
Contracts in accordance with the Sale Order. Purchaser’s obligation to pay the Cure Costs in
respect of the Assigned JOMR Contracts in accordance with the Sale Order shall survive the
Closing. At Closing, in addition to the Purchase Price, Purchaser shall pay to each Exercising JV
Holder the JV Purchase Price payable to such Exercising JV Holder.

                2.12. Closing Costs. In addition to any other costs to be borne by Sellers pursuant
to this Agreement, Sellers shall pay the cost of obtaining the Bidding Procedures Order and the
Sale Order. In addition to any other costs to be borne by Purchaser pursuant to this Agreement,
Purchaser shall pay all Taxes applicable to, imposed upon or arising out of the sale or transfer of
the Purchased Assets to Purchaser and the other transactions contemplated by this Agreement
(including, but not limited to, sales, use, gross receipts, and intangible Taxes), and all costs and
expenses incurred by Purchaser as a result of any financing obtained by Purchaser. Except as set
forth in this Section or elsewhere in this Agreement, each of the Parties shall bear its own expenses
and the expenses of its counsel and other agents in connection with the Transactions contemplated
hereby.

               2.13. Bulk Sales Laws. Purchaser hereby waives compliance by Sellers with the
requirements and provisions of any “bulk-transfer” Laws of any jurisdiction that may otherwise
be applicable with respect to the sale and transfer of any or all of the Purchased Assets to Purchaser.

          2.14. “AS   IS”   TRANSACTION.    PURCHASER     HEREBY
ACKNOWLEDGES      AND    AGREES   THAT,   NOTWITHSTANDING     THE
REPRESENTATIONS AND WARRANTIES EXPRESSLY PROVIDED IN SECTION 3,
(A) THE CONSENT OF A PARTY TO THE CLOSING SHALL CONSTITUTE A
WAIVER BY SUCH PARTY OF ANY CONDITIONS TO CLOSING NOT SATISFIED AS
OF THE CLOSING DATE, AND (B) FOLLOWING CLOSING SELLERS MAKE NO
REPRESENTATIONS OR WARRANTIES WHATSOEVER, EXPRESS OR IMPLIED,
WITH RESPECT TO ANY MATTER RELATING TO THE PURCHASED ASSETS,
INCLUDING INCOME TO BE DERIVED OR EXPENSES TO BE INCURRED IN
CONNECTION WITH THE PURCHASED ASSETS, THE PHYSICAL CONDITION OF
ANY PERSONAL OR REAL PROPERTY COMPRISING A PART OF THE
PURCHASED ASSETS OR THAT IS THE SUBJECT OF ANY LEASE OR CONTRACT

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TO BE ASSIGNED TO PURCHASER AT THE CLOSING, THE ENVIRONMENTAL
CONDITION OR ANY OTHER MATTER RELATING TO THE PHYSICAL
CONDITION OF ANY REAL PROPERTY OR IMPROVEMENTS, THE ZONING OF
ANY SUCH REAL PROPERTY OR IMPROVEMENTS, THE VALUE OF THE
PURCHASED ASSETS (OR ANY PORTION THEREOF), THE TRANSFERABILITY OF
THE PURCHASED ASSETS, THE TERMS, AMOUNT, VALIDITY OR
ENFORCEABILITY OF ANY ASSUMED LIABILITIES, THE TITLE OF THE
PURCHASED ASSETS (OR ANY PORTION THEREOF), THE MERCHANTABILITY
OR FITNESS OF THE PERSONAL PROPERTY OR ANY OTHER PORTION OF THE
PURCHASED ASSETS FOR ANY PARTICULAR PURPOSE, OR ANY OTHER
MATTER OR THING RELATING TO THE PURCHASED ASSETS OR ANY PORTION
THEREOF. WITHOUT IN ANY WAY LIMITING THE FOREGOING, SELLERS
HEREBY DISCLAIM ANY WARRANTY, EXPRESS OR IMPLIED, OF
MERCHANTABILITY OR FITNESS FOR ANY PARTICULAR PURPOSE AS TO ANY
PORTION    OF   THE   PURCHASED    ASSETS.  PURCHASER   FURTHER
ACKNOWLEDGES THAT PURCHASER HAS CONDUCTED AN INDEPENDENT
INSPECTION AND INVESTIGATION OF THE PHYSICAL CONDITION OF THE
PURCHASED ASSETS, AND ALL SUCH OTHER MATTERS RELATING TO OR
AFFECTING THE PURCHASED ASSETS AS PURCHASER DEEMED NECESSARY OR
APPROPRIATE AND THAT IN PROCEEDING WITH ITS ACQUISITION OF THE
PURCHASED ASSETS, EXCEPT FOR ANY REPRESENTATIONS AND WARRANTIES
EXPRESSLY SET FORTH IN SECTION 3, PURCHASER IS DOING SO BASED
SOLELY UPON SUCH INDEPENDENT INSPECTIONS AND INVESTIGATIONS.
ACCORDINGLY, UPON THE CLOSING DATE, PURCHASER WILL ACCEPT THE
PURCHASED ASSETS AT THE CLOSING IN THEIR “AS IS,” “WHERE IS,” AND
“WITH ALL FAULTS” CONDITION.

        3.      Representations and Warranties of Sellers. Subject to the terms, conditions and
limitations set forth in this Agreement, (i) JOMR, solely with respect to itself and the JOMR IP
and the Assigned JOMR Contracts, and (ii) the Trustee, solely on behalf of the Chapter 7 Debtors
and with respect to the Equity Interests, severally represent and warrant to Purchaser as of the date
of this Agreement as follows:

                 3.1.   Organization.

                         (a)     Each Seller is either a duly appointed Trustee in the Chapter 7 Case
         or an entity validly existing under the Laws of the jurisdiction listed for such Seller in the
         preamble to this Agreement, and has the power and authority to own, lease, and operate
         the Purchased Assets that such Seller owns, leases, or operates.

                         (b)    Each Company is duly formed or organized, as applicable, and
         validly existing in good standing under the Laws of the jurisdiction of such Company’s
         formation or organization, is duly qualified to conduct business in each jurisdiction where
         the failure to do so would have a Material Adverse Effect, and has the power and authority
         to own, lease, and operate the Business (to the extent operated by such Company).




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                 3.2.   Due Authorization. The execution, delivery, and performance by Sellers of
this Agreement and the consummation of the Transactions are within Sellers’ personal, trustee,
corporate, or organizational powers and have been duly authorized by all necessary actions on the
part of Sellers. Subject to entry by the Bankruptcy Court of the Bidding Procedures Order and Sale
Order in the Bankruptcy Cases, this Agreement constitutes a valid and binding agreement of
Sellers that is enforceable in accordance with its terms.

               3.3.    Governmental Authorization. Except as disclosed on Schedule 3.3, the
execution, delivery, and performance by Sellers of this Agreement and the consummation of the
Transactions by Sellers require no action by or in respect of, or filing with, any Governmental
Authority other than (a) consents, approvals, or authorizations of, or declarations or filings with,
the Bankruptcy Court, and (b) any such action or filing as to which the failure to make or obtain
would not be reasonably likely to have a Material Adverse Effect.

                3.4.    Non-contravention. Subject to entry by the Bankruptcy Court of the Bidding
Procedures Order and the Sale Order in the Bankruptcy Cases, and except for Permitted Liens and
Encumbrances and Assumed Liabilities or Liens that will be released at or prior to Closing, the
execution, delivery and performance by Sellers of this Agreement and the consummation of the
Transactions do not and will not (a) violate any Seller’s organizational documents, (b) assuming
compliance with the matters referred to in Section 3.3, violate any Applicable Law, (c) except as
to matters that would not reasonably be likely to have a Material Adverse Effect, and subject to
obtaining the consents described in Section 3.5 and consents required from counterparties under
Material Contracts (including Real Estate Leases), constitute a default under or give rise to any
right of termination, cancellation or acceleration of any right or obligation or to a loss of any benefit
relating to any Purchased Asset to which any Seller is entitled under any provision of any Material
Contract binding upon such Seller except for breaches and defaults referred to in Section 365(b)(2)
of the Bankruptcy Code, or (d) result in the creation or imposition of any other Lien on any
Purchased Asset.

                3.5.   Required Consents. Except for consents, approvals or authorizations of, or
declarations or filings with, the Bankruptcy Court, and as otherwise set forth on Schedule 3.5,
there is no Material Contract binding upon Sellers requiring a consent or other action by any
Governmental Authority as a result of the execution, delivery and performance of this Agreement
which has not been obtained (or will not have been obtained at or prior to Closing), except such
consents or actions as would not, individually or in the aggregate, have a Material Adverse Effect
if not received or taken by the Closing Date.

               3.6.     Litigation. Except as disclosed on Schedule 3.6, as of the date hereof, there
is no action, suit, investigation or proceeding pending against, or to the Knowledge of Sellers,
threatened against or affecting, the Purchased Assets (other than the Bankruptcy Cases) before any
Governmental Authority which is reasonably likely to have a Material Adverse Effect or which in
any manner challenges or seeks to prevent, enjoin, alter or materially delay the Transactions.

                  3.7.   Intellectual Property Rights.

                       (a)    Schedule 3.7(a) sets forth an accurate and complete list of all
         registered JOMR IP, social media accounts, and domain names included in the Purchased


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         Assets and currently used by the Operating Companies in the operation of the Business.
         Except as set forth on Schedule 3.7(a), to the Knowledge of JOMR, there exist (i) no
         outstanding challenges to the ownership and use by JOMR and the Operating Companies
         of the JOMR IP included in the Purchased Assets, (ii) no alleged infringements of such
         Intellectual Property rights by third parties, and (iii) no restrictions on the use of such
         Intellectual Property by JOMR or the Operating Companies. Except as set forth on
         Schedule 3.7(b) and in the License Agreements and Sublicense Agreements, none of the
         JOMR IP included in the Purchased Assets has been licensed by JOMR or PMC to any
         other Person. Pursuant to the Decision and Judgment, the Supreme Court of the State of
         New York determined that the licenses between JOMR and the Companies for the use by
         the Companies of the JOMR IP are void; the Decision and Judgment is currently on appeal
         to the Supreme Court of the State of New York. The JOMR IP is fully transferable and
         will be transferred to Purchaser at the Closing without restriction and, except as provided
         in this Agreement, without payment of any kind to any Person.

                         (b)     All necessary renewals due through the date of this Agreement in
         connection with any registered trademarks included in the JOMR IP have been timely filed.
         All assignments of registered trademarks to JOMR and proper documentation of chain of
         title thereto have been executed in writing and properly recorded with the United States
         Patent and Trademark Office (“USPTO”) or any foreign equivalents in the name of JOMR.
         Except as set forth on Schedule 3.7(b), there are no actions that are required to be taken by
         JOMR within ninety (90) days of the date of this Agreement with respect to the Registered
         Trademarks that if not taken will have a Material Adverse Effect on any registered
         trademarks included in the JOMR IP, or the prosecution of applications or registrations
         relating thereto, including the payment of any registration, maintenance, or renewal fees or
         the filing of any response to USPTO actions or any foreign equivalents.

                  3.8.   License Agreements.

                         (a)     JOMR has delivered to Purchaser true, correct, and complete copies
         of all of the License Agreements, together with all amendments, modifications, or
         supplements thereto. Except as to matters that would not reasonably be likely to have a
         Material Adverse Effect and except as set forth on Schedule 3.8(a), each of the License
         Agreements is in full force and effect and is the legal, valid, and binding obligation of
         JOMR and of the other parties thereto, enforceable against each of them in accordance with
         their respective terms. Except as set forth on Schedule 3.8(a), and except for defaults
         caused by the commencement of the Bankruptcy Cases or that are not reasonably likely to
         have a Material Adverse Effect, to the Knowledge of Sellers, (i) JOMR is not in default
         under any License Agreement, nor, (ii) to the Knowledge of Sellers, is any other party to
         any License Agreement in breach of or default thereunder. Except as set forth on Schedule
         3.8(a), no party to any of the License Agreements has exercised any termination rights with
         respect thereto, and no party has given notice of any dispute with respect to any License
         Agreement that is reasonably likely to have a Material Adverse Effect.

                       (b)    PMC and Palm Airport, LLC have delivered to Purchaser true,
         correct, and complete copies of all of the Sublicense Agreements, together with all
         amendments, modifications, or supplements thereto. Except as to matters that would not

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         reasonably be likely to have a Material Adverse Effect, each of the Sublicense Agreements
         is in full force and effect and is the legal, valid, and binding obligation of PMC and Palm
         Airport, LLC, respectively, and of the other parties thereto, enforceable against each of
         them in accordance with their respective terms. Except for defaults that are not reasonably
         likely to have a Material Adverse Effect, to the Knowledge of Sellers, (i) neither PMC nor
         Palm Airport, LLC is in default under any Sublicense Agreement, nor (ii), to the
         Knowledge of Sellers, is any other party to any Sublicense Agreement in breach of or
         default thereunder. To the Knowledge of Sellers, no party to any of the Sublicense
         Agreements has exercised any termination rights with respect thereto, and no party has
         given notice of any dispute with respect to any Sublicense Agreement that is reasonably
         likely to have a Material Adverse Effect.

                3.9.   Compliance with Laws and Court Orders. To the Knowledge of Sellers, no
Seller or Company is in violation of any Law applicable to the Purchased Assets, except for
violations that would not reasonably be likely to have a Material Adverse Effect.

                3.10. PMC Real Property. PMC owns good and marketable fee simple title to the
PMC Real Property, subject to the Company Permitted Liens and Encumbrances and any Liens
that will be released at Closing. Except for the PMC Real Property owned by PMC, no other
Company owns fee simple title to any real property. To the Knowledge of Sellers, no purchase
option, option to sell, right of first refusal, first offer, or first negotiation to purchase exists with
respect to the PMC Real Property. At the Closing, PMC will own the PMC Real Property free and
clear of any Liens other than Company Permitted Liens and Encumbrances.

               3.11. Environmental Matters. To the Knowledge of Sellers, no Company has
received written notice from any Governmental Authority or third party of any violation of or
failure to comply with any Environmental Laws with respect to the PMC Real Property or any
Leased Real Property that remains uncorrected, or of any obligation to undertake or bear the cost
of any remediation with respect to the PMC Real Property or any Leased Real Property that
remains unperformed.

                3.12. Financial Statements. Copies of the consolidated audited financial
statements of the Palm Restaurant Group for the calendar years ended December 31, 2017, and
2018, have been furnished to Purchaser in the Data Room. Schedule 3.12 contains the unaudited
consolidated balance sheet of the Palm Restaurant Group as of October 31, 2019, and the related
unaudited statement of operations for the ten-month period then ended. The financial statements
referred to in this Section 3.12 are collectively referred to as the “Financial Statements.” Except
as set forth on Schedule 3.12, the Financial Statements have been prepared from the books and
records of the Companies and their Subsidiaries on an accrual basis consistent with the Company’s
internal accounting practices.

               3.13. Subsidiaries. Except as set forth on Schedule 3.13, none of the Companies
has any Subsidiaries or owns equity interests in any other Person. Schedule 3.13 sets forth the
issued and outstanding percentage ownership of each Subsidiary of a Company.

              3.14. Ownership of Equity Interests. Schedule 3.14 sets forth the issued and
outstanding percentage ownership of each Company. The Equity Interests represent all of the


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equity interests of the Companies issued to the Chapter 7 Debtors. All of the Equity Interests have
been duly authorized and validly issued. There are no outstanding options, warrants, calls, rights
of conversion or other rights, agreements, arrangements, or commitments relating to the equity
securities or interests of any Company to which such Company is a party, or by which it is bound,
obligating such Company to issue, deliver, or sell, or cause to be issued, delivered, or sold, any
equity securities or interests of such Company. Except as set forth on Schedule 3.14, there are (a)
no rights, agreements, arrangements, or commitments relating to the equity securities or interests
of any Company to which such Company or any Seller is a party or by which any Company or any
Seller is bound, obligating any Company to repurchase, redeem, or otherwise acquire any issued
and outstanding equity securities or interests of such Company; (b) except for the Phantom Stock
Plan, no outstanding or authorized stock appreciation, phantom stock, profit participation, or other
similar rights with respect to any Company; and (iii) no voting trusts, stockholder agreements,
proxies, or other agreements or understandings in effect to which such Company or Seller is a
party or by which it is bound, with respect to the governance of such Company or the voting or
transfer of any equity interests in such Company.

              3.15. Brokers. Except as set forth on Schedule 3.15, no broker, investment banker
or other Person engaged by Sellers is entitled to any broker’s, finder’s or other similar fee or
commission payable by Purchaser in connection with the Transactions contemplated by this
Agreement based upon arrangements made by or on behalf of Sellers.

                3.16. Material Contracts. To Sellers’ Knowledge, true and complete copies of all
Material Contracts (including, without limitation, copies of all Real Estate Leases) are set forth in
the Data Room and are listed on Schedule 3.16 attached hereto. To Sellers’ Knowledge, except as
to matters that would not reasonably be likely to have a Material Adverse Effect and except as set
forth on Schedule 3.16, each of the Material Contracts is in full force and effect and no party
thereto is in breach of or default thereunder. As used herein, “Material Contract” means the Real
Estate Leases and any other Contract relating to a Restaurant or the Business or the PMC Real
Property that both (a) requires annual payments to the counterparty of more than $100,000 per
year or (b) the uncured breach of which would have or reasonably be likely to have a Material
Adverse Effect.

               3.17. Compliance with Laws. To the Knowledge of Sellers (which qualification
applies to each and every representation made in the subsections below):

                         (a)      Each Company and each Subsidiary that is an Operating Company
         presently complies in all material respects with all Laws applicable to the Business, its
         respective properties and operations. Except as set forth in Schedule 3.17(a), all permits,
         licenses, certificates, registrations, variances, exemptions, orders, approvals, and
         franchises from all Governmental Authorities (“Permits”) required by Law to carry on the
         Business as it is conducted on the date of this Agreement, or that are material to the
         operation of the Business are held by the Operating Companies (and each Operating
         Company is in compliance therewith in all material respects) and are valid and in full force
         and effect. No suspension, cancellation, or modification of any of the Permits is pending
         or threatened, and no investigation or review by any Governmental Authorities with respect
         to any Operating Company is pending or threatened, other than investigations or reviews
         that, individually or in the aggregate, do not and are not reasonably likely to have a Material

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         Adverse Effect. No Operating Company nor any of their respective representatives,
         directors, managers, members, partners, or officers, has (i) used any fund of any Operating
         Company for any unlawful contribution, endorsement, gift, entertainment, or other
         unlawful payment or expense relating to political activity, (ii) made any direct or indirect
         unlawful payment to any domestic government official or employee from any of any
         Operating Company’s funds, or (iii) made any bribe, rebate, payoff, influence payment,
         “kickback,” or other unlawful payment to any Person with respect to any of any Operating
         Company’s matters. Sellers acknowledge and agree that nothing in this representation shall
         reduce or limit any other representation or warranty of Sellers set forth herein that
         specifically addresses any compliance issue.

                         (b)     Schedule 3.17(b) sets forth a true, correct, and complete list of all
         Liquor Licenses held by any Operating Company in connection with the operation of the
         Restaurants. To the extent required by applicable Law or regulation, each Operating
         Company possesses a Liquor License for the Restaurant operated by such Operating
         Company. Each of the Liquor Licenses is in full force and effect and adequate for the
         current conduct of operations by each Operating Company and at the Restaurant for which
         it is issued and has been validly issued. No Restaurant has received any written notice of
         any pending or threatened, modification, suspension, or cancellation of any Liquor License
         or any proceeding relating thereto. There are no (i) pending disciplinary actions or (ii) past
         disciplinary actions that have had or are reasonably likely to have a Material Adverse Effect
         on the current operation of the Business or the nature or level of discipline imposed on
         account of future violations of the Laws related to sales and service of alcoholic beverages.
         No Operating Company is subject to any pending or, to the extent such actions have had
         or are reasonably likely to have a Material Adverse Effect on the current operation of the
         Business or the nature or level of discipline imposed on account of future violations of the
         Laws related to sales and service of alcoholic beverages, past, disciplinary actions for
         violation of any Laws related to sales or service of alcoholic beverages in any state in which
         a Restaurant is located.

                3.18. Real Estate Leases; Personal Property. To the Knowledge of Sellers (which
qualification applies to each and every representation made in the subsections below):

                         (a)    Exhibit E sets forth a true, correct, and complete list of each Real
         Estate Lease, including all amendments in the possession of the Companies, to which any
         Operating Company is a party, beneficiary, or obligor or that relate to the Business or any
         of the Purchased Assets (collectively, the “Real Estate Leases”), along with any guaranties
         of any such Real Estate Leases. The Real Estate Leases constitute all of the real properties
         leased by any Operating Company or used in connection with the Business, and there are
         no co-tenants under any of such Real Estate Leases. Each Real Estate Lease is in full force
         and effect and is valid, binding, and enforceable in accordance with its terms against
         (i) each Operating Company that is party thereto and (ii) the other parties thereto. Except
         as set forth on Schedule 3.18(a), no Operating Company has received any written notice of
         default or termination with respect to any Real Estate Lease. Copies of each Real Estate
         Lease have been made available in the Data Room.



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                      (b)   No Real Estate Lease has been assigned or subleased by any
         Operating Company.

                        (c)     No Operating Company has received any written notice from any
         Governmental Authority to the effect that any condemnation (or action in lieu thereof) or
         any material rezoning proceedings are pending or threatened with respect to any Real
         Estate Leases. There are no proposed or contemplated changes to the configuration or
         layout of any center or common development in which a Real Estate Lease is located, or
         to roads, access ways, or parking areas used in connection with operations at each such
         Real Estate Lease, that would reasonably be likely have a Material Adverse Effect on the
         operations of the Restaurant at such location.

                         (d)     Each Operating Company owns or leases all material furniture,
         fixtures equipment, operating supplies, and other personal property used in connection with
         the Business, in each case free and clear of all Liens other than Company Permitted Liens
         and Encumbrances and Liens that will be released at Closing, subject to (i) any Liens and
         rights in favor of the landlords as set forth in the Real Estate Leases and (ii) any capital
         leases, equipment leases, or other Liens resulting from financings used to acquire such
         personal property.

               3.19. Employment Matters. To the Knowledge of Sellers (which qualification
applies to each and every representation made in the subsections below):

                       (a)      Schedule 3.19(a) sets forth a true, correct, and complete list of each
         material Benefit Plan.

                          (b)     Sellers have made available the following documents to Purchaser
         with respect to each material Benefit Plan: (1) true, correct, and complete copies of all
         documents embodying such Benefit Plan, including, without limitation, all amendments
         thereto, and all related trust documents; (2) a written description of any such Benefit Plan
         that is not set forth in a written document; (3) the most recent summary plan description
         together with the summary or summaries of material modifications thereto, if any; and
         (4) all material correspondence to or from any Governmental Authority received by any
         Operating Company or any Benefit Plan in the last three (3) years.

                         (c)     Each Benefit Plan has been maintained and administered in all
         material respects in compliance with its terms and with the requirements prescribed by any
         and all statutes, orders, rules, and regulations (foreign and domestic), including, without
         limitation, ERISA and the Code, that are applicable to such Benefit Plans. All
         contributions, reserves, or premium payments required to be made or accrued as of the date
         hereof to the Benefit Plans have been timely made or accrued. Each Benefit Plan intended
         to be qualified under Section 401(a) of the Code and each trust intended to qualify under
         Section 501(a) of the Code is so qualified and has obtained a currently effective favorable
         determination notification, advisory or opinion letter, as applicable, as to its qualified status
         (or the qualified status of the master or prototype form on which it is established) from the
         Internal Revenue Service, and no amendment to such Benefit Plan has been adopted since



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         the date of such letter covering such Benefit Plan that would reasonably be expected to
         adversely affect such favorable determination.

                         (d)     The execution of this Agreement and the consummation of the
         transactions contemplated by this Agreement (alone or together with any other event that,
         standing alone, would not by itself trigger such entitlement or acceleration) will not
         (1) entitle any Person to any payment, forgiveness of indebtedness, vesting, distribution,
         or increase in benefits under or with respect to any Benefit Plan, (2) otherwise trigger any
         acceleration (of vesting or payment of benefits or otherwise) under or with respect to any
         Benefit Plan, or (3) trigger any obligation to fund any Benefit Plan.

                         (e)     Except as set forth on Schedule 3.19(e), no Operating Company is a
         party to any collective bargaining agreements and there are no labor unions or other
         organizations representing any employee of the Business or of any Operating Company.
         There are no labor unions or other organizations that have filed a petition with the National
         Labor Relations Board or any other Governmental Authority seeking certification as the
         collective bargaining representative of any employee of any Operating Company, and,
         except as set forth on Schedule 3.19(e), no labor union or organization is engaged in any
         organizing activity with respect to any employee of any Operating Company. In the three
         (3) years prior to the Closing Date there has not been, and there is not now pending or
         threatened, (i) any strike, lockout, slowdown, picketing, or work stoppage with respect to
         the employees of any Operating Company or (ii) any unfair labor practice charge against
         any Operating Company.

                         (f)     Except as set forth on Schedule 3.19(f), each Seller has materially
         complied, and is presently in material compliance, with all statutes, laws, ordinances, rules
         or regulations, or any orders, rulings, decrees, judgments or arbitration awards of any court,
         arbitrator, or any government agency relating to employment, equal opportunity,
         nondiscrimination, immigration, wages, hours, benefits, collective bargaining, the payment
         of social security and similar taxes, income tax withholding, occupational safety and health,
         or privacy rights of employees.

               3.20. Taxes. To the Knowledge of Sellers (which qualification applies to each
and every representation made in the subsections below):

                         (a)     All Tax returns required to be filed by Sellers, the Operating
         Companies, or any other Subsidiary with respect to the Business, the Purchased Assets,
         and the Assumed Liabilities have been duly and timely filed, all such Tax returns were
         true, correct, and complete in all material respects, and all Taxes due with respect to the
         Business, the Purchased Assets, and the Assumed Liabilities have been duly and timely
         paid, except to the extent the failure to file or failure to pay is not reasonably likely,
         individually or in the aggregate, to result in a Material Adverse Effect.

                         (b)    Each of the Companies has withheld all material Taxes required to
         be withheld with respect to any employees, independent contractors, or other third parties
         related to the Business or the Purchased Assets and, to the extent due and payable, has duly
         and timely paid to the appropriate authorities or set aside in an account for such purpose


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         proper and accurate amounts for all periods through the date of this Agreement and through
         the Closing Date in compliance with applicable laws.

                         (c)   There is no Lien for Taxes upon any of the assets of the Operating
         Companies or any other Subsidiary or the Purchased Assets nor is any taxing authority in
         the process of imposing any lien for Taxes on any of assets of the Operating Companies or
         any other Subsidiary or the Purchased Assets, other than liens for Taxes that are not yet
         due and payable.

                         (d)    There is no action, suit, proceeding, investigation, audit, claim, or
         assessment presently in progress or proposed in writing with regard to any Taxes that relate
         to either the Purchased Assets or the Business.

                3.21. Company Litigation. To the Knowledge of Sellers, except as set forth on
Schedule 3.21, there are no claims, actions, suits, proceedings or investigations pending or
threatened against or affecting the Business, any Company or Subsidiary, or any of their respective
properties or assets (i) that, individually or in the aggregate, has or is reasonably likely to (A) have
a Material Adverse Effect or (B) prevent or delay the consummation of the transactions
contemplated by this Agreement or (ii) that in any manner seeks to prevent or enjoin, alter or delay
the transactions contemplated by this Agreement. To the Knowledge of Sellers, there is no Order
of any Governmental Authority or arbitrator outstanding against any Operating Company that has
or is reasonably likely to have a Material Adverse Effect.

               3.22. Condition of Property. To the Knowledge of Sellers, (i) all buildings,
structures, improvements, furniture, fixtures, building systems, and equipment, and all components
thereof, included in the Real Property Leases or as part of the PMC Real Property are structurally
sound, free from material defects, have been maintained in accordance with normal industry
practice, and are in sufficient working order to conduct the Business presently conducted therein
or thereon, subject to normal wear and tear; and (ii) all machinery, equipment and other personal
property used by the Operating Companies in the operation of the Business are free from material
defects, have been maintained in accordance with normal industry practice, and are in sufficient
working order to conduct the Business presently conducted therewith, in each case (with respect
to both clauses (i) and (ii) above) except as would not reasonably be likely to have a Material
Adverse Effect.

               3.23. USA PATRIOT Act. To the Knowledge of Sellers, Sellers and each
Operating Company have complied in all material respects with the International Money
Laundering Abatement and Anti-Terrorist Financing Act of 2001 (as in effect on the date of this
Agreement), which comprises Title III of the Uniting and Strengthening America by Providing
Appropriate Tools Required to Intercept and Obstruct Terrorism Act of 2001 and the regulations
promulgated to date thereunder, and the rules and regulations administered to date by the United
States Department of Treasury’s Office of Foreign Assets Control, to the extent such Laws are
applicable to each such Seller and Operating Company.

       4.      Representations and Warranties of Purchaser.                Purchaser represents and
warrants to Sellers as follows:



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               4.1.    Organization. Purchaser is a limited liability company duly organized,
validly existing and in good standing under the Laws of Nevada and has all limited liability
company powers and all material governmental licenses, authorizations, permits, consents, and
approvals required to carry on its business as now conducted.

                4.2.   Corporate Authorization. The execution, delivery, and performance by
Purchaser of this Agreement and the consummation of the Transactions are within the limited
liability company powers of Purchaser and have been duly authorized by all necessary actions on
the part of Purchaser. This Agreement constitutes a valid and binding agreement of Purchaser that
is enforceable in accordance with its terms.

               4.3.    Governmental Authorization. The execution, delivery and performance by
Purchaser of this Agreement and the consummation of the Transactions by Purchaser require no
action by or in respect of, or filing with, any Governmental Authority other than (a) consents,
approvals or authorizations of, or declarations or filings with, the Bankruptcy Court, and (b) any
such action or filing as to which the failure to make or obtain would not have a material adverse
effect on the Purchaser or its ability to close the Transactions.

                4.4.    Non-contravention. Neither the execution and delivery of this Agreement
nor the consummation of the Transactions will (a) conflict with or result in any breach of any
provision of the organizational documents of Purchaser; (b) require any filing with, or the
obtaining of any permit, authorization, consent or approval of, any Governmental Authority; (c)
violate, conflict with or result in a default (or any event which, with notice or lapse of time or both,
would constitute a default) under, or give rise to any right of termination, cancellation, or
acceleration under, any of the terms, conditions, or provisions of any note, mortgage, other
evidence of indebtedness, guarantee, license, agreement, lease, or other contract, instrument, or
obligation to which Purchaser is a party or by which Purchaser or any of its assets may be bound;
or (d) violate any Law applicable to Purchaser, excluding from the foregoing clauses (b), (c), and
(d) such requirements, violations, conflicts, defaults, or rights that would not adversely affect the
ability of Purchaser to consummate the Transactions.

              4.5.    Financing. Purchaser has sufficient cash, available lines of credit, or other
sources of immediately available funds to enable it to make payment of the Purchase Price and
any other amounts to be paid by it hereunder.

                4.6.   Litigation. There is no action, suit, investigation, or proceeding pending
against or, to the knowledge of Purchaser, threatened against, or affecting Purchaser before any
Governmental Authority that in any manner challenges or seeks to prevent, enjoin, alter, or
materially delay the Transactions.

               4.7.    Brokers. Except as set forth on Schedule 4.7, Purchaser has not employed
any broker, finder, investment banker, or other intermediary or incurred any liability for any
investment banking fees, financial advisory fees, brokerage fees, finders’ fees, or other similar fees
in connection with this Agreement or the Transactions.

               4.8.  Inspections; No Other Representations. Purchaser is an informed and
sophisticated purchaser, and has engaged expert advisors, experienced in the evaluation and


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purchase of properties and assets such as the Purchased Assets and assumption of liabilities such
as the Assumed Liabilities as contemplated hereunder. Purchaser has undertaken such
investigations and has been provided with and has evaluated such documents and information as
it has deemed necessary to enable it to make an informed and intelligent decision with respect to
the execution, delivery, and performance of this Agreement. Purchaser acknowledges that Sellers
have given Purchaser reasonable and open access to the key employees, documents, and facilities
of Sellers, the Companies, the Business, and the PMC Real Property. Purchaser acknowledges
and agrees that the Purchased Assets are being sold on an “AS IS, WHERE IS” basis and
Purchaser agrees to accept the Purchased Assets and the Assumed Liabilities in the condition they
are in on the Closing Date based on its own inspection, examination and determination with respect
to all matters and without reliance upon any express or implied representations or warranties of
any nature made by or on behalf of or imputed to Sellers, except as expressly set forth in this
Agreement, including, without limitation, the representations and warranties of Sellers set forth in
Section 3. Without limiting the generality of the foregoing, Purchaser acknowledges that Sellers
make no representation or warranty with respect to (a) any projections, estimates, or budgets
delivered to or made available to Purchaser of future revenues, future results of operations (or any
component thereof), future cash flows, or future financial condition (or any component thereof) of
the Business or the PMC Real Property or the future prospects or operations of the Business or the
PMC Real Property or (b) any other information or documents made available to Purchaser or its
counsel, accountants, or advisors with respect to the Business or the PMC Real Property, except
as expressly set forth in this Agreement. Purchaser acknowledges and agrees with the provisions
of Section 2.14 herein.

         5.       Covenants of Sellers. Sellers covenant and agree that:

                 5.1.    Purchased Assets. From the date hereof until the earlier of the termination
of this Agreement pursuant to Section 12 and the Closing Date, except (i) as may be required by
the Bankruptcy Court, (ii) for the consequences resulting from the continuation of the Bankruptcy
Cases, or (iii) as may be required or contemplated by this Agreement, each Seller shall (a) maintain
its respective Purchased Assets and cause each Company to maintain such Company’s assets and
operate the Business in the ordinary course, and (b) cause each Company and any Subsidiary to
keep current, in accordance with the terms of, and pay all accounts payable arising from the
operations of the Business in the ordinary course (excluding (x) amounts payable (i) to the Chapter
7 Debtors, Victor F. Ganzi and their respective Affiliates, (ii) to the Pre-Closing Company
Professionals, and (iii) with respect to gift cards and frequent diner and other loyalty programs,
and (y) Indemnified Professional Expenses) and rent obligations as they come due, in each case
(with respect to both clauses (a) and (b) of this Section 5.1 (and all subclauses of those clauses)),
in a manner consistent with prior practice during the pendency of the Bankruptcy Cases and subject
to compliance with the budget approved by the DIP lender in the Bankruptcy Cases.
Notwithstanding the foregoing, Purchaser acknowledges and agrees that, prior to Closing, each
Company shall distribute its cash, other than (1) Store Level Opening Cash Balances, (2)
Withholding Reserves, (3) any amounts held in any accounts for all outstanding and uncashed
checks, drafts, ACH transfers, outgoing wires, or similar transfers from any Companies or any
Subsidiaries, and (4) any amounts held by any JV Companies, and each Company shall assign and
transfer, pursuant to assignments in form and substance reasonably acceptable to Purchaser and
Sellers (collectively, the “Company Assignments”), (a) all amounts owed to it by Sellers, Debtors,
or their respective Affiliates and (b) all of its respective claims (including, without limitation, all

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Other Causes of Action that any of the Companies have the right to bring and Derivative Action
Causes of Action) against any Seller, Debtor, Bruce E. Bozzi, Sr., Walter J. Ganzi, Jr., or Victor
F. Ganzi, or any of their respective Affiliates (excluding the Companies and Subsidiaries), or any
professionals engaged by any of them, including malpractice and other claims against such
professionals, and the proceeds thereof, to JOMR or the Trustee, as applicable, and as designated
by Sellers.

                5.2.   Notices of Certain Events. Sellers shall promptly notify Purchaser of and
deliver copies to Purchaser of:

                        (a)     any notice or other written communication from any Person alleging
         that the consent of such Person is or may be required in connection with the consummation
         of the Transactions;

                        (b)    any material written communication from any Governmental
         Authority in connection with or relating to the Transactions;

                        (c)     the commencement of any actions, suits, investigations or
         proceedings relating to Sellers, any Company, the Business, or any PMC Real Property
         that, if pending on the date of this Agreement, would have been required to have been
         disclosed pursuant to Section 3.6;

                         (d)    any fact or condition that causes or constitutes a breach of any of
         any Sellers’ representations or warranties made as of the date of this Agreement Date or
         the occurrence after the date of this Agreement of any fact or condition that would or would
         be reasonably likely to (except as expressly contemplated by this Agreement) cause or
         constitute a breach of any such representation or warranty had that representation or
         warranty been made as of the time of the occurrence of, or such Seller’s discovery of, such
         fact or condition; provided, however, that such notification shall not limit, affect, waive, or
         modify any rights of Purchaser or obligations of any Seller hereunder; and

                          (e)     the occurrence of any breach of any covenant of any Seller in this
         Agreement or of the occurrence of any event that may make the satisfaction of the
         conditions in Section 10 impossible or unlikely; provided, however, that such notification
         shall not limit, affect, waive, or modify any rights of Purchaser or obligations of any Seller
         hereunder.

             5.3.   Termination of Management Agreement. On or prior to the Closing, JOMR
and PMC shall terminate the Management Agreement.

               5.4.   Termination of Certain License Agreements. Immediately prior to the
Closing, JOMR and each entity owned by Debtors that is not a Company identified on Exhibit A
shall terminate any license agreements between them relating to the JOMR IP (other than the
License Agreements).

                  5.5.   Termination of Phantom Stock Plan; Retention Payments. On or prior to
the Closing:


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                       (a)     Sellers shall cause the Companies to terminate the Phantom Stock
         Plans and pay all amounts payable to any participant in the Phantom Stock Plans (other
         than the Chapter 7 Debtors), which payments may be made out of the proceeds of the Cash
         Purchase Price.

                       (b)    Sellers shall cause the Companies to pay all amounts payable to any
         non-debtor employees under the Retention Payment Agreements, which payments may be
         made out of proceeds of the Cash Purchase Price.

                5.6.   Operation of the Companies. Following the date of this Agreement and
prior to the Closing and except as otherwise permitted or required by the terms of this Agreement,
without the consent of Purchaser, Sellers shall not cause or permit the Companies, any Subsidiary
that is an Operating Company, or any other Subsidiary to do any of the following to the extent that
any such action would have a Material Adverse Effect:

                         (a)   sell, lease, license, transfer, or dispose of (other than in the ordinary
         course of business), or subject to any Lien other than Company Permitted Liens and
         Encumbrances and Liens existing as of the date hereof, any of the material assets or
         properties of such Company or Subsidiary;

                         (b)    terminate, amend, extend, modify, breach, waive, or allow any
         rights to lapse under any Material Contract, other than any modification or amendment of
         the DIP financing loan made in the Bankruptcy Cases;

                        (c)    authorize or enter into any Contract, arrangement, or commitment
         other than a Contract that is both (i) in the ordinary course of business and (ii) not a
         Contract that would constitute a Material Contract if it were effective as of the date of this
         Agreement;

                        (d)   except as provided in this Agreement, amend, modify, or breach the
         organizational documents of any Company or Subsidiary;

                        (e)    enter into any Contract or contractual obligation with any Seller or
         enter into any other Contract that obligates any Company for any payment or amount in
         excess of $100,000 that is not terminable within ninety (90) days;

                        (f)     settle any claims, actions, arbitrations, disputes, or other
         proceedings, unless such amount is payable prior to Closing out of then available cash or
         is covered entirely by insurance or unless such claim, action, arbitration, dispute or other
         proceeding is in favor of Sellers;

                         (g)    other than in the ordinary course of business, authorize, undertake,
         make, or enter into any commitments obligating any Company or Subsidiary to (i) make
         or accelerate any unbudgeted capital expenditures or (ii) undertake or approve any material
         renovation or rehabilitation of any Restaurant;

                        (h)     (i) cancel or compromise any material debt owed to the Company or
         Subsidiary or claim or waive any rights of material value to the Business, any Company or

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         Subsidiary, or any Purchased Asset other than in the ordinary course of business or (ii)
         voluntarily suffer any loss other than in the ordinary course of business;

                        (i)     do any other act that would, to the Knowledge of Sellers, cause any
         representation or warranty of any Seller in this Agreement to be or become untrue in any
         material respect or intentionally omit to take any action necessary to prevent any such
         representation or warranty from being untrue in any material respect; or

                        (j)     authorize or enter into any Contract, agreement, or commitment
         with respect to any of the foregoing.

                5.7.    Maintenance of Permits. Sellers shall cause the Companies to use
commercially reasonable efforts to keep and maintain possession of and compliance with the terms
of all Permits (including Liquor Licenses) necessary or required by Law to own, lease, and operate
each Company’s respective properties and assets and to carry on the Business or that are material
to the operation of the Business or the Purchased Assets, including by taking all actions and
submitting all payments, applications, and filings necessary to renew any such Permit due to expire
at any time before the Closing Date (or within thirty (30) days thereafter).

                5.8.   Maintenance of Insurance. Sellers shall cause the Companies to maintain
insurance coverage (including self-insurance health care arrangements with insurance stop loss
coverages) with financially responsible insurance companies substantially similar in all material
respects to the insurance coverage maintained with respect to the Business and Companies on the
date of this Agreement and shall pay all insurance premiums with respect thereto when due.

                5.9.   Withholding and Other Trust Fund Taxes; Employee Payments. Sellers
shall cause the Companies to: (i) timely remit when payable to the applicable Governmental
Authority (A) all sales Tax, use Tax, liquor Tax, and other Taxes collected or withheld from third
parties and (B) any employee related costs, liabilities, and withholding Taxes; and (ii) to the extent
not payable to an applicable Governmental Authority prior to the Closing, hold all such amounts
withheld or collected as a Withholding Reserve. In addition, Sellers shall cause the Companies to
timely remit when payable, or pay at Closing, any employee related costs, including salaries,
payroll, benefits, bonuses, and any other employee related costs, other than to the Chapter 7
Debtors.

              5.10. Bozzi and Ganzi Notes. At least one (1) Business Day prior to the Closing,
the Trustee shall cause the Bozzi and Ganzi Notes together with all accrued interest and other
amounts due or payable under the Bozzi and Ganzi Notes to be contributed to PMC as a capital
contribution.

                5.11. 401-K Plans. Not less than two (2) Business Days before the anticipated
Closing Date, the board of directors, managers, or other governing body of each Company or
Subsidiary, as applicable, shall adopt resolutions and take such action as is necessary to terminate
any Benefit Plan that is maintained pursuant to Section 401(k) of the Code effective as of the date
prior to the Closing Date. Following the Closing, the assets thereof shall be distributed to the
participants, and Purchaser shall, to the extent permitted by any “eligible retirement plan” (within
the meaning of Section 401(a)(31) of the Code) of Purchaser or any of its subsidiaries (the


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“Purchaser 401(k) Plan”) and consistent with Purchaser policies with respect to Purchaser’s
current employees, permit the employees of each Company or Subsidiary who are then actively
employed to make rollover contributions of “eligible rollover distributions” (within the meaning
of Section 401(a)(31) of the Code, inclusive of loans to participants), in the form of cash (or, in
the case of loans, notes), in an amount equal to the eligible rollover distribution portion of the
account balance distributed to such employee from such terminated Benefit Plan to the Purchaser
401(k) Plan. Purchaser shall be responsible for the post-Closing administration and winding down
of any terminated Benefit Plans maintained pursuant to Section 401(k) of the Code following
termination of such Benefit Plan by the Companies.

         6.       Covenants of Purchaser. Purchaser covenants and agrees that:

                6.1.    Access. On and after the Closing Date, upon reasonable advance notice,
Purchaser will afford promptly to Sellers and their counsel, advisors, and other agents reasonable
access during normal business hours to Purchaser’s books and records relating to the Purchased
Assets to the extent necessary for financial reporting and accounting matters, the preparation and
filing of any Tax returns, reports or forms, the defense of any Tax audit, Claim, or assessment, the
reconciliation of Claims in the Bankruptcy Cases, to permit Sellers to determine any matter relating
to Sellers’ rights and obligations hereunder, any other reasonable business purpose related to the
Excluded Assets or Excluded Liabilities, or in connection with addressing any other issues arising
in connection with or relating to the Bankruptcy Cases, the Bankruptcy Causes of Action, the Other
Causes of Action or the Derivative Action Causes of Action; provided, however, that any such
access by Sellers shall not unreasonably interfere with the conduct of the business of Purchaser.
Sellers will hold, and will use their commercially reasonable efforts to cause their officers,
directors, employees, accountants, counsel, consultants, advisors, and agents to hold, in
confidence, unless compelled to disclose by judicial or administrative process or by other
requirements of Law, all confidential documents and information concerning Purchaser or the
Business provided to them pursuant to this Section 6.1.

         7.       Covenants of Purchaser and Sellers. Purchaser and Sellers agree that:

                7.1.   Access to Information. From the date hereof until the earlier of the
termination of this Agreement pursuant to Section 12 and the Closing Date, Sellers shall continue
to afford to Purchaser and its counsel, accountants, and other representatives, access (at reasonable
times during normal business hours) to the Data Room and officers and other employees of Sellers
on the same basis as previously provided to Purchaser, subject to the terms of the Confidentiality
Agreement. No investigation pursuant to this Section 7.1 shall alter any representation or warranty
given hereunder by any Seller.

                7.2.    Efforts; Further Assurances. Subject to the terms and conditions of this
Agreement, Purchaser and Sellers will use their respective commercially reasonable efforts to take,
or cause to be taken, all actions and to do, or cause to be done, all things necessary or desirable
under Applicable Laws to consummate the Transactions contemplated by this Agreement,
including, without limitation, to obtain all required consents of third parties with respect to any
Real Estate Leases (at no out of pocket cost to Sellers); provided, however, Sellers shall be entitled
to take such actions as are required in connection with the discharge of their fiduciary duties during
the Bankruptcy Cases (including soliciting higher or better offers for the Purchased Assets). Sellers

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and Purchaser agree to execute and deliver such other documents, certificates, agreements, and
other writings and to take such other actions as may be necessary or desirable in order to vest in
Purchaser good title to the Purchased Assets or to evidence the assumption by Purchaser of the
Assumed Liabilities.

                7.3.    Public Announcements. Neither Sellers nor Purchaser shall make any public
announcements or statements concerning the Transactions without the prior written consent of the
other Parties, which consent shall not be unreasonably withheld. Purchaser acknowledges and
agrees that Sellers may provide copies of this Agreement to parties in interest in the Bankruptcy
Cases and to those parties to whom Sellers determine it is necessary to provide copies in connection
with soliciting higher or better bids for the Purchased Assets or as otherwise necessary or desirable
in connection with the Bankruptcy Cases. Sellers also shall be entitled to file copies with the
Bankruptcy Court or as otherwise required by Law and shall be entitled to publish notice of the
contemplated Transactions in any newspaper selected by Sellers.

                  7.4.   Liquor Licenses.

                         (a)     The Trustee, at Purchaser’s sole risk and expense, shall use
         commercially reasonable efforts to cooperate with Purchaser and Purchaser’s Affiliates in
         connection with the preparation of the documents and forms required by any applicable
         Governmental Authority (the “Liquor License Transfer Documents”) to transfer to
         Purchaser or Purchaser’s designees, or to obtain any approvals necessary in connection
         with the change in ownership of the applicable licensee with respect to, all licenses and
         permits that are necessary to serve or sell liquor, beer, wine, and other alcoholic beverages
         from any restaurants, snack bars, bars, mini bars, lounges, and other food and beverage
         sales locations (collectively, the “Liquor Licenses”) in respect of any of the Restaurants or
         the hotel owned by PMC following the Closing or, as applicable, to provide that such
         Liquor Licenses remain in effect notwithstanding the Closing, or the other transactions
         contemplated hereby, and the Trustee shall timely duly execute and deliver the executed
         originals of such Liquor License Transfer Documents to Purchaser or Purchaser’s designee
         as may be requested from time to time.

                           (b)    In the event that a Liquor License cannot be transferred, the required
         approvals in connection with a change in ownership of the applicable licensee, or the
         continuation of any such Liquor License will not continue for any other reason after the
         Closing for the benefit of the Purchaser, Purchaser’s designee, any Operating Company, or
         any other Subsidiary, then, subject to any approvals required by the Bankruptcy Court, the
         Parties shall exercise commercially reasonable efforts to enter into either or both a
         reasonable and customary liquor management agreement and concession agreement (a
         “Liquor Management Agreement”), whereby one Party shall assist in the operation of
         liquor concessions on behalf of the other Party pending the issuance of the Liquor License
         or a temporary permit to operate on behalf of the existing licensee. Any such Liquor
         Management Agreement shall (i) be cost-neutral, (ii) provide that Purchaser will
         indemnify, defend, and hold the other Party harmless from and against any and all claims,
         liabilities, costs and expenses (including, without limitation, reasonable attorneys’ fees and
         costs) arising from such operation or a breach of such Liquor Management Agreement, and
         (iii) require the Purchaser to obtain reasonable insurance coverage for the benefit of the

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         other Party against any liability arising from or relating to the operation of such liquor
         concessions.

                  7.5.   Bankruptcy Issues.

                        (a)     Solicitation of Competing Bids. This Agreement is subject to
         approval by the Bankruptcy Court and the consideration by Sellers of higher or otherwise
         better competing bids in respect of all of the Purchased Assets or separate bids with respect
         to any of the Purchased Assets that, when taken together, constitute a higher or better bid
         (any such competing bid or combination of bids, a “Competing Bid”). Sellers may market
         and pursue a Competing Bid or other Alternative Transaction (it being agreed and
         understood that bidders shall be permitted to bid separately for any of the portion of the
         assets made available for purchase by Sellers (and, in each case, together with any related
         assets)) and may perform any and all acts related thereto subject to and in accordance with
         the Bankruptcy Code, the Bidding Procedures Order and any other Applicable Law.

                       (b)     Filing of Sale and Bidding Procedures Motion. Within two (2)
         Business Day following the execution of this Agreement by the Parties hereto, the Trustee
         and the Chapter 11 Debtor shall file with the Bankruptcy Court (1) the Bidding Procedures
         Motion and (2) the Sale Motion (for the avoidance of doubt, the Bidding Procedures
         Motion and the Sale Motion may be filed as one motion and shall be in form and substance
         reasonably acceptable to the Parties).

                        (c)    Bidding Procedures. The Bidding Procedures, to be approved
         pursuant to the Bankruptcy Court’s entry of the Bidding Procedures Order, shall be in the
         form attached hereto as Exhibit M and otherwise reasonably acceptable to the Parties, and
         include, among other things, the following:

                                  (i)    Breakup Fee. Unless Purchaser is the Backup Bidder
                  pursuant to subsection (ii) below, upon the approval of a sale of all or any portion
                  of the Purchased Assets to any third party (other than Purchaser) for all or any
                  portion of the Purchased Assets, Sellers shall cause the Escrow Agent to return the
                  Earnest Money Deposit to Purchaser. Upon the consummation of an Alternative
                  Transaction, Sellers shall cause the Escrow Agent to return the Earnest Money
                  Deposit to Purchaser (to the extent not previously returned to the Purchaser) and
                  shall pay to Purchaser cash or other immediately available funds in an amount equal
                  to $1,250,000, being 2.5% of the Purchase Price (the “Breakup Fee”) and an
                  expense reimbursement of actual and documented out of pocket expenses
                  associated with this Agreement (including, without limitation, travel, due diligence,
                  and professional fees) of up to a maximum amount of $275,000.00 (the “Expense
                  Reimbursement”); provided, however, the Breakup Fee and Expense
                  Reimbursement shall not be due and payable if Purchaser has committed a material
                  breach of this Agreement prior to consummation of an Alternative Transaction. The
                  Parties agree that the Breakup Fee, the Expense Reimbursement, and the return of
                  the Earnest Money Deposit shall be the full and liquidated damages of Purchaser
                  arising out of any termination of this Agreement pursuant to Sections 12.1(h) or
                  12.1(j). The provisions of this Section 7.5(c)(i) shall survive any termination of

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                  this Agreement pursuant to Sections 12.1(h) or 12.1(j). The Breakup Fee and the
                  Expense Reimbursement shall be approved in the Bidding Procedures Order as an
                  allowed administrative expense claim in the Bankruptcy Cases, and shall be paid to
                  Purchaser within three (3) Business Days following the closing of an Alternative
                  Transaction.

                                  (ii)    Backup Bid. At the conclusion of the Auction, if any, Sellers
                  shall identify and certify the bid that constitutes the second highest or best offer for
                  the Purchased Assets (the “Backup Bid” and the Qualified Bidder submitting such
                  bid, the “Backup Bidder”). The Backup Bidder may be required by Sellers to close
                  on the Backup Bid no later than thirty (30) days after the conclusion of the Auction
                  and no sooner than ten (10) Business Days after the date the Backup Bidder receives
                  written notice of the requirement to close on the Backup Bid, which notice shall be
                  given no later than thirty (30) days after the Auction. In the event that the Backup
                  Bidder fails to close on the transaction contemplated in the Backup Bid, Sellers
                  shall be permitted to retain the Backup Bidder’s good faith deposit as liquidated
                  damages and that shall be Sellers’ sole and exclusive remedy in connection with
                  such failure. Purchaser agrees to serve as Backup Bidder if required by the Bidding
                  Procedures and this Agreement, as modified at the Auction, shall constitute
                  Purchaser’s bid.

                         (d)    Sale Order. The Sellers shall request that the Sale Order, in
         substantially the form attached hereto as Exhibit F, be entered no later than three (3) days
         after the Sale Approval Hearing (the “Sale Order Deadline”). The Sale Order presented to
         the Bankruptcy Court shall, in any event, be in form and substance acceptable to Purchaser,
         the Trustee, and the Chapter 11 Debtor in their reasonable discretion.

                          (e)     Bankruptcy Court Approval of Sale. Sellers and Purchaser shall
         cooperate, assist, and consult with each other and each use commercially reasonable efforts
         to secure the entry of the Sale Order, including furnishing affidavits, declarations, or other
         documents or information for filing with the Bankruptcy Court; provided, however, Sellers
         shall be entitled to take such actions as may be required in connection with the discharge
         of their fiduciary duties in the Bankruptcy Cases (including soliciting higher or better offers
         for the Purchased Assets). In connection with the assumption and assignment of the
         Assigned JOMR Contracts pursuant to Section 365 of the Bankruptcy Code, Purchaser
         shall take all actions reasonably required or otherwise as directed by the Bankruptcy Court
         to provide “adequate assurance of future performance” by Purchaser under the Assigned
         JOMR Contracts after the Closing. The Sale Order shall also indicate that the Transactions
         may be consummated immediately upon entry of the Sale Order and any stays provided by
         the Bankruptcy Rules, including those set forth in Fed. R. Bankr. P. 6004(h) and 6006(d),
         shall be waived. In the event the Sale Order is appealed, Sellers shall use their
         commercially reasonable efforts to oppose any such appeal.

                        (f)     Consents. Debtors and Purchaser shall use their commercially
         reasonable efforts prior to Closing to obtain all required consents of third parties whose
         consent is required under §365 of the Bankruptcy Code in order for Debtors to validly
         assign the Assigned JOMR Contracts to Purchaser at Closing (other than those obviated by

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         the Sale Order). Notwithstanding the foregoing or anything contained herein to the
         contrary, this Agreement shall not constitute an agreement to assign any lease or contract
         or any claim or right or any benefit arising thereunder or resulting therefrom if an attempted
         assignment thereof, notwithstanding the Sale Order or without the consent of a third party
         thereto, would constitute a default thereunder or in any way materially adversely affect the
         rights of Purchaser thereunder. If such consent is not obtained, or if an attempted
         assignment thereof would be ineffective or would materially adversely affect the rights of
         Purchaser thereunder, Debtors shall use their commercially reasonable efforts after
         Closing, and at Purchaser’s expense, to provide to Purchaser the benefits under any such
         lease or contract. Purchaser shall pay any Cure Costs relating to any Assigned JOMR
         Contracts. Purchaser shall be responsible for complying with the provisions of
         §365(b)(1)(C)) of the Bankruptcy Code.

               7.6.    Notices. If at any time (a) Purchaser actually becomes aware of any
material breach by Sellers of any representation, warranty, covenant or agreement contained herein
and such breach is capable of being cured by Sellers, or (b) Sellers actually become aware of any
breach by Purchaser of any representation, warranty, covenant or agreement contained herein and
such breach is capable of being cured by Purchaser, the Party becoming aware of such breach shall
promptly notify the other Party, in accordance with Section 13.1, in writing of such breach. Upon
such notice of breach, the breaching Party shall have until the earlier of (y) ten (10) days after
receiving such notice, and (z) the Outside Date, to cure such breach prior to the exercise of any
remedies in connection therewith.

                7.7.     Payments Received. Sellers and Purchaser each agree that after the Closing
they will hold in trust and as fiduciary for the other, and will promptly transfer and deliver to the other
from time to time as and when received by them and in the exact form received by them, any cash,
checks (with appropriate endorsement where necessary to permit collection), or other property that
they may receive on or after the Closing that properly belongs to the other party (as determined in
accordance with the provisions of this Agreement), including, without limitation, payments from
account debtors in respect of accounts receivable outstanding as of the Closing, and each Party will
account to the other for all such receipts. The provisions of this Section shall survive the Closing.

               7.8.   Chicago Restaurant. At least five (5) days prior to Closing, Sellers shall
determine to the reasonable satisfaction of Purchaser whether (i) the Chapter 7 Debtors directly
own stock of Chicago Palm, Inc. constituting, in the aggregate, 81.62% of the issued and
outstanding stock of Chicago Palm, Inc. or (ii) WG Chicago LLC and BB Chicago LLC own stock
of Chicago Palm, Inc. constituting, in the aggregate, 81.62% of the issued and outstanding stock
of Chicago Palm, Inc. In the event a determination is made that the stock of Chicago Palm, Inc. is
owned individually by the Chapter 7 Debtors, such stock will constitute Equity Interests hereunder
and be acquired by Purchaser or Purchaser’s designee at Closing, and, in such case, Purchaser will
have the option to exclude any Equity Interests in WG Chicago LLC or BB Chicago LLC from
Purchased Assets.

                  7.9.




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         8.       [Intentionally Omitted].

         9.       Tax Matters.

                9.1.   Tax Cooperation. Purchaser and Sellers agree to furnish or cause to be
furnished to each other, upon request, as promptly as practicable, such information and assistance
relating to the Business and the Purchased Assets (including access to books and records) as is
reasonably necessary for the preparation and filing of all Tax returns, the making of any election
relating to Taxes, the preparation for any audit by any Taxing Authority, and the prosecution or
defense of any Claim, suit or proceeding relating to any Tax. Sellers and Purchaser shall cooperate
with each other in good faith in the conduct of any Tax Proceedings involving the Companies, the
Purchased Assets, or the Business.

               9.2.    Transfer Taxes. Purchaser will be responsible for all documentary, stamp,
transfer (including real property transfer), motor vehicle registration, sales, use, value added,
excise and other similar non-income Taxes and all filing and recording fees (and any interest,
penalties and additions with respect to such Taxes and fees) arising from the Closing (collectively,
“Transfer Taxes”), regardless of the Party on whom Liability is imposed under the provisions of
the Applicable Laws relating to such Transfer Taxes. Sellers and Purchaser will consult and
cooperate on a reasonable basis in preparing and timely filing all Tax Returns with respect to any
Transfer Taxes and will cooperate on a reasonable basis and otherwise take commercially
reasonable efforts to obtain any available exemptions from or reductions in such Transfer Taxes.
To the extent any Seller is required by Applicable Law to pay any Transfer Taxes to a Taxing
Authority (including pursuant to a post-Closing adjustment or Order ), Purchaser will remit an
amount equal to such Transfer Taxes to such Seller not less than five Business Days prior to the
due date for such payment.

                  9.3.   Tax Returns.

                         (a)     Tax Returns. The Parties agree that for purposes of any Tax
         imposed on the income of the Companies the taxable year of each of the Companies shall
         terminate as of the Closing Date and the Parties shall make any elections permitted or
         required under the Code, including, without limitation, under Section 1377(a)(2) of the
         Code, or other applicable Law to provide for the termination of each Company’s taxable
         year on the Closing Date. Sellers shall, at Sellers’ expense, prepare and file, or cause to be
         prepared and filed, all Tax returns (including such Tax returns filed pursuant to any valid
         extension of time to file and any amendments thereto “Income Tax Returns”) required to
         be filed by each Company with respect to any Pre-Closing Tax Period (“Pre-Closing Period


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         Tax Returns”), and the applicable Sellers shall be liable for all Taxes and any related
         Liabilities, including audit defense costs, with respect to such Pre-Closing Period Tax
         Returns (and any other Taxes attributable to a Pre-Closing Tax Period). Such Pre-Closing
         Period Tax Returns shall be prepared on a basis consistent with the Income Tax Returns
         previously filed by each Company, unless otherwise required by applicable Law.
         Purchaser shall furnish any information reasonably requested by the Trustee necessary for
         the preparation of the Pre-Closing Period Tax Returns. Purchaser shall prepare and file all
         Income Tax Returns required to be filed by each Company for all taxable periods beginning
         after the Closing Date (“Post-Closing Period Tax Returns”), and Purchaser shall pay, or
         cause to be paid, all Taxes and any related Liabilities, including audit defense costs, with
         respect to such Post-Closing Period Tax Returns.

                          (b)    Straddle Period Tax Returns. Purchaser shall, at Purchaser’s
         expense, prepare and file, or cause to be prepared and filed, any Tax returns (other than
         Income Tax Returns) required to be filed by each Company for any taxable periods that
         include but do not end on the Closing Date (“Straddle Periods”) (such Tax returns,
         “Straddle Period Tax Returns”), and Purchaser shall pay, or cause to be paid, all Taxes and
         any related Liabilities, including audit defense costs, with respect to such Straddle Period
         Tax Returns, subject to the responsibility of the Sellers for the Taxes and any related
         Liabilities, including audit defense costs, of such Straddle Period attributable to the portion
         of the Straddle Period ending at the close of business on the Closing Date (“Pre-Closing
         Taxes”) as determined in accordance with this Agreement. Purchaser shall provide a copy
         of each Straddle Period Tax Return and a statement certifying the amount of Pre-Closing
         Taxes shown on such Straddle Period Tax Return, if any, that are chargeable to Sellers for
         review and comment for a reasonable period of time (such reasonable period to be not less
         than twenty (20) days in the case of Taxes other than sales or use Taxes and not less than
         five (5) days in the case of sales or use Taxes) before such Straddle Period Tax Return is
         filed, and shall consider in good faith any comments provided by Sellers. Sellers shall pay
         to Purchaser any Pre-Closing Taxes for which the Companies are responsible pursuant to
         this Section within ten (10) Business Days after Purchaser’s written notification to Seller
         of the Pre-Closing Taxes liability.

                          (c)    Calculation of Taxes for Straddle Period Tax Returns. Pre-Closing
         Taxes for Straddle Period Tax Returns shall be calculated based on a closing of the taxable
         period of each Company as of the close of business on the Closing Date; provided,
         however, that in the case of a Tax not based on income, receipts, proceeds, profits, payroll,
         purchases, sales, or similar items, Pre-Closing Taxes shall be equal to the amount of Tax
         for the entire Straddle Period, multiplied by a fraction the numerator of which is the total
         number of days from the beginning of the Straddle Period through and including the
         Closing Date and the denominator of which is the total number of days in the Straddle
         Period.

                         (d)    Amendments and Modifications.

                               (i)    After the Closing Date, Purchaser and its Affiliates (A) shall
                  not amend any income Tax Return filed by any Company with respect to any Pre-
                  Closing Tax Period without the advance written consent of the applicable Sellers,

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                  which the applicable Sellers may grant or withhold in their sole discretion;
                  provided, however, that Purchaser or its Affiliates shall have the right to propose
                  an amendment to a Form 1120S, U.S. Income Tax Return for an S Corporation
                  (“Form 1120S”), filed by any Company with respect to any Pre-Closing Tax Period
                  if, based on the advice of a qualified Tax advisor, Purchaser or its Affiliates
                  determine that such an amendment is required by applicable Law to reflect that
                  such Company did not qualify as a “small business corporation” within the meaning
                  of Section 1361(b) of the Code and the Treasury Regulations thereunder for such
                  period, and, in such event, the provisions of clause (ii) below shall apply; and (B)
                  shall not amend any other Tax Return filed by any Company with respect to any
                  Pre-Closing Tax Period without the advance written consent of the Sellers, which
                  consent shall not be unreasonably withheld, conditioned or delayed.

                                  (ii)   In the event that, after the Closing Date, Purchaser or its
                  Affiliate determines in its reasonable judgment and upon the advice of a qualified
                  Tax advisor that, in accordance with the terms and conditions of clause (i) above,
                  it is necessary to amend, modify or otherwise change any Form 1120S filed by a
                  Company with respect to any Pre-Closing Tax Period (each, a “Proposed
                  Amendment”), Purchaser shall give written notice thereof to the Sellers, together
                  with supportive documentation with respect to Purchaser’s determination that such
                  Proposed Amendment is required by Law. The Sellers shall have thirty (30) days
                  following receipt of such delivery during which to notify Purchaser of any dispute
                  of any item contained in the Proposed Amendment, which notice shall set forth in
                  reasonable detail the basis for such dispute. During such thirty (30) day period,
                  Purchaser shall provide the Sellers and their advisors with reasonable access during
                  normal business hours to the applicable employees and advisors of Purchaser and
                  such books and records of Purchaser as may be reasonably requested by Sellers to
                  verify the information contained in the Proposed Amendment and the contents
                  thereof. At any time within such thirty (30) day period, the Sellers shall be entitled
                  to agree with any or all of the items set forth in the Proposed Amendment.

                                   (iii) If the Sellers do not notify Purchaser of any such dispute
                  within such thirty (30) day period, or notify Purchaser of their agreement with the
                  Proposed Amendment prior to the expiration of the thirty (30) day period, Purchaser
                  shall file the Proposed Amendment.

                                  (iv)    If the Sellers notify Purchaser of any such dispute within
                  such thirty (30) day period, such dispute regarding the Proposed Amendment shall
                  be resolved as follows: (A) Purchaser and Sellers shall cooperate in good faith to
                  resolve any such dispute as promptly as possible; (B) in the event Purchaser and
                  Sellers are unable to resolve any such dispute within fifteen (15) days (or such
                  longer period as Purchaser and Sellers shall mutually agree in writing) of notice of
                  such dispute, such dispute and each Party’s work papers related thereto shall be
                  submitted to, and all issues having a bearing on such dispute shall be resolved by,
                  an independent tax accountant mutually appointed by the Purchaser and the
                  Companies (the “Tax Arbiter”). Purchaser and Sellers shall cooperate fully with
                  the Tax Arbiter at their own cost and expense. The Tax Arbiter’s resolution shall

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                  be final and binding on the Parties, be based solely on presentations of Purchaser
                  and Sellers and not on the Tax Arbiter’s independent review of any other documents
                  or information, shall be limited to only those matters in dispute, shall affirm in all
                  respects the presentations of only one Party on any specific issue, and reject in all
                  respects the presentations of the other on such issue. Purchaser and Sellers shall
                  use commercially reasonable efforts to cause the Tax Arbiter to complete its work
                  within thirty (30) days following its engagement. Purchaser shall file any Proposed
                  Amendment which the Tax Arbiter determines, in accordance with the terms and
                  conditions hereof, is required by Law to be filed. The fees, costs, and expenses of
                  the Tax Arbiter shall be paid one-half by Purchaser and one-half by Sellers.

                        (e)     Cooperation. Sellers and Purchaser shall cooperate fully, as and to
         the extent reasonably requested by the other Party, in connection with the preparation and
         filing of Tax Returns pursuant to this Section and any Tax Proceeding (as defined below).
         Such cooperation shall include signing any Tax Returns, amended Tax Returns, claims or
         other documents necessary to settle any Tax Proceeding, the retention and (upon the other
         Party’s request) the provision of records and information which are reasonably relevant to
         any such Tax Proceeding and making employees available on a mutually convenient basis
         to provide additional information and explanation of any material provided hereby.

                          (f)     Tax Proceedings.

                                  (i)     After the Closing, Purchaser shall promptly notify the
                  applicable Sellers in writing of the proposed assessment or the commencement of
                  any Tax audit or administrative or judicial proceeding or of any demand or claim
                  on Purchaser or any Company (a “Tax Proceeding”) that, if determined adversely
                  to the taxpayer or after the lapse of time, could be grounds for payment of Taxes
                  by the applicable Sellers or their respective beneficial owners; provided, however,
                  that a failure by Purchaser to provide such notice shall not relieve any Sellers of
                  any Liability hereunder except to the extent that such failure actually and materially
                  prejudices the defense of such Tax Proceeding. After the Closing, the applicable
                  Sellers shall promptly notify Purchaser in writing of any Tax Proceeding relating
                  to any Company, notice of which is received by such applicable Seller. Notices
                  required to be given by or to Purchaser or Sellers shall contain factual information
                  (to the extent known to Purchaser or Sellers, as the case may be) describing the
                  asserted Tax Liability in reasonable detail and shall include copies of any notice or
                  other document received from any Governmental Authority in respect of any such
                  asserted Tax Liability.

                                 (ii)    In the case of a Tax Proceeding that relates solely to any Pre-
                  Closing Tax Period, but excluding any Straddle Periods and excluding any Tax
                  Proceeding that may result in criminal, equitable, or other non-monetary sanctions
                  against a Company, Sellers shall have the right to direct and control the conduct of
                  such Tax Proceeding; provided, however, that the Purchaser shall have the right to
                  participate (at such Purchaser’s own expense) in any such Tax Proceeding.
                  Purchaser’s right to participate shall include, but shall not be limited to, the right to
                  receive copies of all correspondence from any Governmental Authority relating to

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                  such Tax Proceeding, attend meetings, and review and comment on submissions
                  relating to any such Tax Proceeding, and Sellers shall consider in good faith any
                  comments provided by Purchaser and shall not settle any such Tax Proceedings
                  without the advance written consent of Purchaser (such consent not to be
                  unreasonably withheld, delayed, or conditioned). Sellers may elect to waive in
                  writing their right under this Section to direct and control any Tax Proceeding for
                  a Pre-Closing Tax Period. In the event that any Seller does not have a right, or
                  waives its right, to direct and control a Tax Proceeding for a Pre-Closing Tax
                  Period, Purchaser shall assume control of such Tax Proceeding, and such Seller
                  shall be liable to Purchaser for all costs and expenses reasonably incurred in the
                  conduct of such Tax Proceeding. With respect to any such Tax Proceeding
                  controlled by Purchaser, such Seller shall have the right to participate (at Seller’s
                  own expense) in any such Tax Proceeding. Such Seller’s right to participate shall
                  include, but shall not be limited to, the right to receive copies of all correspondence
                  from any Governmental Authority relating to such Tax Proceeding, attend
                  meetings, and review and comment on submissions relating to any such Tax
                  Proceeding, and Purchaser shall consider in good faith any comments provided by
                  such Seller and shall not settle any such Tax Proceeding without the advance
                  written consent of such Seller (such consent not to be unreasonably withheld,
                  delayed or conditioned).

                                  (iii) In the case of a Tax Proceeding that relates to any Straddle
                  Periods, Purchaser shall have the right to control the conduct of such Tax
                  Proceeding; provided, however, that the applicable Sellers shall have the right to
                  participate (at each such Seller’s own expense) in any such Tax Proceeding
                  involving any asserted Tax Liability for such Straddle Period with respect to which
                  payment may be sought from such Seller pursuant to this Agreement. Such Seller’s
                  right to participate shall include, but shall not be limited to, the right to receive
                  copies of all correspondence from any Governmental Authority relating to such Tax
                  Proceeding, attend meetings, and review and comment on submissions relating to
                  any Tax Proceeding, and Purchaser shall consider in good faith any comments
                  provided by such Seller and, solely to the extent that any amounts payable in
                  connection with the Tax Proceeding could be grounds for the payment of Taxes by
                  the applicable Seller or its beneficial owners hereunder, shall not settle any such
                  Tax Proceeding without the advance written consent of such Seller (such consent
                  not to be unreasonably withheld, delayed or conditioned).

                  9.4.   Stock Sale.

                 (a)     Section 338(h)(10) Election. In connection with the sale to Purchaser of the
         Equity Interests in those Companies that are classified as associations taxable as “S
         corporations” for federal tax purposes, at the written request of Purchaser (the “338
         Election Notice”), Sellers and Purchaser (or Purchaser’s applicable designee) shall (i) join
         in making an election under Section 338(h)(10) of the Code (and any election
         corresponding to Section 338(h)(10) of the Code under state or local Tax Law) (the
         “Section 338(h)(10) Election”) with respect to the purchase of all of the outstanding stock
         or other equity interests of each Company identified by Purchaser in a 338 Election Notice

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         (the “Target Companies”); (ii) provide to the other Party the necessary information to
         permit the Section 338(h)(10) Election to be made; and (iii) take all actions necessary and
         appropriate (including filing any necessary forms, returns, elections, schedules, and other
         documents) as may be required to effect and preserve timely the Section 338(h)(10)
         Election in accordance with the provisions of Treasury Regulations Section 1.338(h)(10)-
         1 (or any comparable regulations under state or local Tax Law). Any 338 Election Notice
         shall be delivered on or before 5:00 p.m. Eastern Time on the sixtieth (60th) day after the
         Closing, with time of the essence. If Purchaser fails to timely deliver a 338 Election Notice,
         then Purchaser’s right to require a Section 338(h)(10) Election hereunder with respect to
         any applicable Company shall lapse, automatically, without further action by any Party.

                  (b)    Adjustment Base.

                          (i)      If Purchaser timely delivers a 338 Election Notice, then, within
                  forty-five (45) days after the Parties’ preparation of the Final Allocation Statement
                  pursuant to Section 2.6(b), Sellers shall deliver to Purchaser Sellers’ determination
                  of the excess, if any (any such excess, the “Adjustment Base”), of the following
                  (the “Proposed 338 Adjustment Schedule”): (A) the total federal, state, and local
                  income Taxes payable by Sellers in the aggregate with respect to the sale of the
                  Target Companies pursuant to this Agreement; over (B) the total federal, state, and
                  local income Taxes that would have been payable by Sellers in the aggregate with
                  respect to the sale of the Target Companies pursuant to this Agreement if the Parties
                  had not made the Section 338(h)(10) Election. Sellers shall include with the
                  Proposed 338 Adjustment Schedule the “ADSP Allocation Schedule” as defined
                  herein and such schedules, computations, and other documents as are reasonably
                  necessary to verify the computation of the Adjustment Base. If Sellers fail to timely
                  deliver a Proposed 338 Adjustment Schedule as provided herein, then Sellers’ right
                  to assert a claim to a “338 Gross-Up Payment” as defined and provided herein shall
                  lapse, automatically, without further action by any Party.

                          (ii)    The computation of the Adjustment Base under this Section 9.4 shall
                  be based on the Final Allocation Statement. In connection therewith, the
                  “aggregate deemed sales price” (as defined in Treasury Regulations Section 1.338-
                  4) (the “ADSP”) and the “adjusted gross-up basis” (as defined in Treasury
                  Regulations Section 1.338-5) shall be allocated among the assets of the Target
                  Companies in accordance with Treasury Regulations Section 1.338-7 (such
                  allocation, the “ADSP Allocation Schedule”).

                          (iii) Purchaser shall have forty-five (45) days following receipt of the
                  Proposed 338 Adjustment Schedule during which to notify Sellers of any dispute
                  of any item contained in the 338 Adjustment Schedule, which notice shall set forth
                  in reasonable detail the basis for such dispute (the “Responsive 338 Adjustment
                  Schedule”).

                          (iv)    If, within ten (10) days of Sellers’ receipt of the Responsive 338
                  Adjustment Schedule, Sellers do not notify Purchaser in writing of any dispute with
                  respect to the Responsive 338 Adjustment Schedule, or Sellers notify Purchaser in

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                  writing of Sellers’ agreement with the adjustments set forth in the Responsive 338
                  Adjustment Schedule, the Responsive 338 Adjustment Schedule shall be deemed
                  to be final and binding on the Parties.

                          (v)     If Sellers notify Purchaser in writing of any dispute with respect to
                  the Responsive 338 Adjustment Schedule within ten (10) days of Sellers’ receipt
                  thereof, then such dispute regarding the Responsive 338 Adjustment Schedule shall
                  be resolved as follows: (A) Sellers and Purchaser shall cooperate in good faith to
                  seek to resolve any such dispute as promptly as possible; and (B) if Sellers and
                  Purchaser are unable to resolve any such dispute within fifteen (15) days of Sellers’
                  delivery of timely written notice to Purchaser of such dispute (or such longer period
                  as Sellers and Purchaser mutually may agree in writing), such dispute, together with
                  the Proposed 338 Adjustment Schedule, the Responsive 338 Adjustment Schedule,
                  and each Party’s work papers related thereto, shall be submitted to, and all issues
                  having a bearing on such dispute shall be resolved by, the Tax Arbiter. Sellers and
                  Purchaser shall use commercially reasonable efforts to cooperate with the Tax
                  Arbiter at their own cost and expense. The Tax Arbiter’s resolution shall be final
                  and binding on the Parties, shall be based solely on the submissions of Sellers and
                  Purchaser and not on the Tax Arbiter’s independent review of any other documents
                  or information, shall be limited to only those matters in dispute, shall affirm in all
                  respects the computations and determinations of only one Party on any specific
                  issue, and shall reject in all respects the presentations of the other Party on such
                  issue. Sellers and Purchaser shall use commercially reasonable efforts to cause the
                  Tax Arbiter to complete its work within thirty (30) days following its engagement.
                  The fees, costs, and expenses of the Tax Arbiter shall be paid one-half by Purchaser
                  and one-half by Sellers.

                           (vi)   Purchaser shall prepare and Sellers and Purchaser shall file, on or
                  before any deadline prescribed by the Treasury Regulations promulgated under
                  Section 338 of the Code, IRS Form 8023 and IRS Form 8883 and any other state
                  and local forms required to make or perfect the Section 338(h)(10) Election in
                  accordance herewith. The Parties agree not to take any position inconsistent with
                  the final ADSP Allocation Schedule as determined hereunder for Tax reporting
                  purposes; provided, however, that notwithstanding the foregoing or any other
                  provision of this Section 9.4 to the contrary, (i) Purchaser’s cost for the assets that
                  it is deemed to acquire may differ from the total amount allocated hereunder to
                  reflect the inclusion in the total cost of items (for example, capitalized acquisition
                  costs) not included in the amount so allocated; (ii) the amount realized by Sellers
                  may differ from the total amount allocated hereunder to reflect transaction costs
                  that reduce the amount realized for federal income tax purposes; and (iii) the
                  provisions of Section 2.6(b)(ii)(B) shall apply in connection with a Section
                  338(h)(10) Election hereunder.

                (c)     Cooperation. In connection with the determination of the Adjustment Base,
         Purchaser shall provide Sellers and Sellers’ advisors with reasonable access during normal
         business hours to the Target Companies’ books, records, and schedules reasonably
         requested by Sellers in connection with the preparation of any Proposed 338 Adjustment

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         Schedule or verify the information and calculations set forth in any Responsive 338
         Adjustment Schedule.

                 (c)    Gross-Up Payment. Within five (5) days of the determination of the final
         ADSP Allocation Schedule hereunder, Purchaser shall pay and remit to Sellers an amount
         (the “Gross-Up Payment”) equal to the sum of (i) the Adjustment Base, if any, plus (ii) the
         product of the Adjustment Base, if any, multiplied by the combined federal, state, and local
         effective income tax rate of Sellers applicable to the net taxable income and gain of net
         taxable income and gain of the Target Companies allocable to Sellers and arising from the
         Section 338(h)(10) Election. For the avoidance of doubt, Purchaser’s obligation to pay the
         Gross-Up Payment hereunder shall apply in the event that the Adjustment Base is positive,
         without regard to the application of any net operating losses, credits, deductions, or other
         income tax attributes of any Seller. The Gross-Up Payment, if any, shall constitute
         additional Purchase Price hereunder.

                9.5.   Sellers’ Representative. The Trustee shall be the sole representative and
contact for all notices and deliveries to and from Sellers relating to the matters set forth in this
Section 9, and shall have the sole authority for the determination and resolutions of all Tax matters
under this Agreement.

         10.      Closing Conditions.

              10.1. Conditions to Obligations of Purchaser and Sellers. The obligations of
Purchaser and Sellers to consummate the Closing are subject to the satisfaction of the following
conditions:

                         (a)     The Bankruptcy Court shall have entered the Sale Order in the
         Bankruptcy Cases, authorizing the Transactions and approving this Agreement under
         Sections 105(a), 363, and 365, of the Bankruptcy Code, in form and substance reasonably
         acceptable to Sellers and Purchaser, and as of the Closing Date the Sale Order shall be in
         full force and effect, shall not then be stayed, and shall not have been vacated or reversed;
         and

                        (b)     No injunction, stay, or similar Order issued by any Governmental
         Authority shall be in effect that restrains, enjoins, stays, or prohibits the consummation of
         the Transactions.

                10.2. Conditions to Obligations of Purchaser. The obligation of Purchaser to
consummate the Closing is subject to the satisfaction (or waiver by Purchaser) of the following
further conditions:

                        (a)     Sellers shall have performed in all material respects all of their
         obligations, covenants, and agreements hereunder required to be performed or complied
         with by Sellers on or prior to the Closing Date;

                         (b)    the representations and warranties of Sellers contained in this
         Agreement shall be true and correct at and as of the Closing Date, as if made at and as of
         such date (or to the extent such representations and warranties speak as of an earlier date,

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         they shall be true and correct as of such earlier date), with only such exceptions as would
         not in the aggregate reasonably be likely to have a Material Adverse Effect;

                         (c)     Sellers shall have delivered all of the items required by Section 2.10;
         and

                        (d)     No Material Adverse Effect shall have occurred and be continuing
         with respect to the Purchased Assets or the Business.

             10.3. Conditions to Obligations of Sellers. The obligation of Sellers to
consummate the Closing is subject to the satisfaction (or waiver by Sellers) of the following further
conditions:

                        (a)    Purchaser shall have performed in all material respects all of its
         obligations hereunder required to be performed by it at or prior to the Closing Date;

                          (b)     the representations and warranties of Purchaser contained in this
         Agreement shall be true and correct in all material respects at and as of the Closing Date,
         as if made at and as of such date (or to the extent such representations and warranties speak
         as of an earlier date, they shall be true and correct in all material respects as of such earlier
         date);

                        (c)    Sellers shall have received all documents they may reasonably
         request relating to the existence of Purchaser and the authority of Purchaser for this
         Agreement, all in form and substance reasonably satisfactory to Sellers; and

                         (d)     Purchaser shall have delivered all of the items required by
         Section 2.11.

               10.4. Waiver of Closing Conditions. Notwithstanding anything to the contrary
contained herein, if any of the conditions to Closing were not fulfilled at or prior to the Closing
and the Parties hereto agree to close the Transactions contemplated by this Agreement, then
following the Closing all such conditions to Closing shall be deemed to have been waived effective
as of the Closing.

        11.     Survival. The (a) representations and warranties of Sellers, and (b) the covenants
and agreements of Sellers and Purchaser that by their terms are to be performed before Closing,
contained in this Agreement or in any certificate or other writing delivered in connection herewith,
shall not survive the Closing. The covenants and agreements of Sellers and Purchaser contained
herein that by their terms are to be performed after Closing shall survive the Closing.

         12.      Termination.

                12.1. Grounds for Termination. This Agreement may be terminated at any time
prior to the Closing:

                         (a)     by mutual written agreement of Sellers and Purchaser;


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                        (b)     by Sellers or Purchaser, if the Closing shall not have been
         consummated on or before March 31, 2020 (the “Outside Date”), unless the Party seeking
         termination is in breach of its obligations hereunder; provided, however, that the Sellers
         may extend the Outside Date until no later than April 17, 2020 in response to circumstances
         beyond Sellers’ reasonable control;

                         (c)     by Sellers or Purchaser, if any condition set forth in Section 10.1 is
         incapable of being satisfied, or through no fault of the Party seeking termination, is not
         satisfied, by the Outside Date;

                         (d)      by Purchaser, if any condition set forth in Section 10.2 is incapable
         of being satisfied, or through no fault of Purchaser, is not satisfied, by the Outside Date;

                         (e)     by Sellers, if any condition set forth in Section 10.3 is incapable of
         being satisfied, or through no fault of Sellers, is not satisfied, by the Outside Date;

                         (f)     by Purchaser, if any Seller breaches any of its representations
         warranties or covenants and agreements set forth in this Agreement and fails to cure the
         same within ten (10) days after written notice thereof from Purchaser to Sellers (other than
         Sellers’ failure to close the Transactions for which no notice shall be required and no cure
         period afforded), unless Purchaser is in breach of its obligations hereunder;

                        (g)     by Sellers, if Purchaser breaches any of its representations
         warranties or covenants and agreements set forth in this Agreement and fails to cure the
         same within ten (10) days after written notice thereof from Sellers to Purchaser (other than
         Purchaser’s failure to close the Transactions for which no notice shall be required and no
         cure period afforded), unless any Seller is in breach of its obligations hereunder;

                        (h)    by Sellers or Purchaser if the Bankruptcy Court enters an Order in
         the Bankruptcy Cases approving the sale of all or a portion of the Purchased Assets to a
         Person other than Purchaser;

                      (i)     by Purchaser if the Sale Order shall not have been entered by the
         Bankruptcy Court on or before March 13, 2020 (subject to adjournment of the Sale
         Approval Hearing for circumstances beyond Sellers’ reasonable control); or

                        (j)    automatically and without any action or notice by Sellers to
         Purchaser, or Purchaser to Sellers, immediately upon:

                                 (i)    approval by the Bankruptcy Court of an Alternative
                  Transaction, unless Purchaser is designated a Backup Bidder; or

                              (ii)    if Purchaser is designated a Backup Bidder, the
                  consummation of an Alternative Transaction.

The Party desiring to terminate this Agreement pursuant to this Section 12.1 (other than pursuant
to Sections 12.1(a) and (j)) shall give notice of such termination to the other Party and to Escrow
Agent under the Escrow Agreement in accordance with Section 13.1.

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                12.2. Effect of Termination. If this Agreement is terminated by Purchaser or
Sellers pursuant to Section 12.1 for any reason other than pursuant to Section 12.1(g), the Earnest
Money Deposit shall be returned to Purchaser within five (5) Business Days after any termination
of this Agreement. If this Agreement is terminated by Sellers pursuant to Section 12.1(g), the
Earnest Money Deposit shall be paid to Sellers as liquidated damages. If the Earnest Money
Deposit is paid to Sellers pursuant to this Section 12.2, the Earnest Money Deposit will be deemed
liquidated damages in favor of Sellers and not as a penalty; it being agreed that Sellers’ actual
damages are impossible to estimate and that the amount of liquidated damages is a good faith
estimate of the actual damages that would be suffered by Sellers as a result of a termination of this
Agreement pursuant to Section 12.1(g), and that such liquidated damages shall be in lieu of any
other right or remedy of Sellers (at law or in equity) and shall constitute the sole and exclusive
remedy of Sellers whether at law or in equity. If this Agreement is terminated as permitted by
Section 12.1, such termination shall be without liability of any Party (or any stockholder, director,
officer, employee, agent, consultant, or representative of such Party) to the other Party to this
Agreement except as expressly provided in this Section 12.2. The provisions of Sections 2.6, 11.2,
12.2, 12.3, 12.4, 13.1, 13.4, 13.5, 13.6, 13.7, 13.8, 13.9, and 13.11 shall survive any termination
hereof pursuant to Section 12.1.

               12.3. Expenses. Except as otherwise set forth expressly herein, all costs and
expenses incurred in connection with this Agreement or the Transactions shall be paid by the Party
incurring such cost or expense.

                  12.4.   Exclusive Remedies.

                         (a)    Effective as of Closing, Purchaser waives irrevocably any rights and
         Claims Purchaser may have against Sellers, whether in Law or in equity, relating to (i) any
         breach of a representation, warranty, covenant or agreement contained herein and occurring
         on or prior to the Closing, or (ii) the Purchased Assets, the Assumed Liabilities, or the
         Business. Purchaser and Sellers acknowledge and agree that if this Agreement is terminated
         pursuant to Section 12.1, the provisions of Section 12.2 and this Section 12.4 set forth the
         sole and exclusive remedies of the Parties.

                        (b)      Sellers acknowledge and agrees that any breach of this Agreement
         would give rise to irreparable harm for which monetary damages would not be an adequate
         remedy. Sellers accordingly agree that after entry of the Sale Order, Purchaser, provided
         Purchaser is not in breach of this Agreement and is then capable of fulfilling Sellers’
         conditions to Closing, shall be entitled to enforce the terms of this Agreement by decree of
         specific performance without the necessity of proving the inadequacy of monetary damages
         as a remedy and to obtain preliminary, temporary, and permanent injunctive relief against
         any breach or threatened beach of this Agreement, without posting any bond or other
         undertaking.

         13.      Miscellaneous.

                13.1. Notices. All notices, requests, demands, claims, and other communications
hereunder shall be in writing except as expressly provided herein. Any notice, request demand,
claim, or other communication hereunder shall be deemed duly given (i) when delivered personally


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to the recipient; (ii) one (1) Business Day after being sent to the recipient by reputable overnight
courier service (charges prepaid); (iii) when sent by email (with written confirmation of
transmission); or (iv) three (3) Business Days after being mailed to the recipient by certified or
registered mail, return receipt requested and postage prepaid, and addressed to the intended
recipient as set forth below:

                  if to Purchaser, to:

                  Golden Nugget, LLC
                  c/o Landry’s Inc.
                  1510 West Loop South
                  Houston, TX 77027
                  Attn:          Steven L. Scheinthal
                  E-mail:        SScheinthal@ldry.com

                  with a copy to (that shall not constitute notice):

                  Young Conaway Stargatt & Taylor, LLP
                  Rodney Square
                  1000 N. King Street
                  Wilmington, DE 19801
                  Attn:         Craig D. Grear, Esq.
                  E-mail:       cgrear@ycst.com

                  if to Sellers, to:

                  Robert E. Tardif, Jr.
                  1601 Jackson Street, Suite 105
                  Fort Myers, Florida 33901
                  E-mail:       rtardif@comcast.net

                  and

                  Gerard A. McHale, CPA
                  1601 Jackson Street, Suite 200
                  Fort Myers, Florida 33901
                  E-mail:       jerrym@thereceiver.net


                  with copies to (that shall not constitute notice):

                  Berger Singerman LLP
                  1450 Brickell Avenue, Suite 1900
                  Miami, Florida 33131
                  Attn: Paul Steven Singerman, Esq.
                  E-mail:       singerman@bergersingerman.com


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All such notices, requests and other communications shall be deemed received on the date of
receipt by the recipient thereof if received prior to 5:00 p.m. in the place of receipt and such day
is a Business Day in the place of receipt. Otherwise, any such notice, request, or communication
shall be deemed not to have been received until the next succeeding Business Day in the place of
receipt.

               13.2. Waivers. No failure or delay by any Party in exercising any right, power, or
privilege hereunder shall operate as a waiver thereof nor shall any single or partial exercise thereof
preclude any other or further exercise thereof or the exercise of any other right, power, or privilege.
The rights and remedies herein provided shall be cumulative and not exclusive of any rights or
remedies provided by Law.

                13.3. Successors and Assigns. The provisions of this Agreement shall be binding
upon and inure to the benefit of the Parties and their respective successors and assigns; provided,
however, that Sellers may not assign, delegate or otherwise transfer any of their rights or
obligations under this Agreement without the written consent of the Purchaser; and provided,
further, that Purchaser may assign all or any portion of its rights hereunder to one or more Persons
without the consent of Sellers, provided that Purchaser shall remain liable to Sellers for any
obligations hereunder.

                13.4. Governing Law. This Agreement shall be governed by and construed in
accordance with the internal Laws of the State of Florida and any applicable provisions of the
Bankruptcy Code, without regard to the principles of conflicts of Law that would provide for
application of another Law.

                  13.5.   Jurisdiction.

                         (a)     Prior to the closing of the Bankruptcy Cases, the Parties hereto agree
         that any suit, action, or proceeding seeking to enforce any provision of, or based on any
         matter arising out of or in connection with, this Agreement or the Transactions shall be
         brought exclusively in the Bankruptcy Court, and each of the Parties hereby irrevocably
         consents to the jurisdiction of the Bankruptcy Court (and of the appropriate appellate courts
         therefrom) in any such suit, action, or proceeding and irrevocably waives, to the fullest
         extent permitted by Law, any objection that it may now or hereafter have to the laying of
         the venue of any such suit, action, or proceeding in the Bankruptcy Court or that any such
         suit, action or proceeding that is brought in the Bankruptcy Court has been brought in an
         inconvenient forum. Process in any such suit, action, or proceeding may be served on any
         Party anywhere in the world, whether within or without the jurisdiction of the Bankruptcy
         Court. Without limiting the foregoing, each Party agrees that service of process on such
         Party as provided in Section 13.1 shall be deemed effective service of process on such
         Party.

                         (b)     After the closing of the Bankruptcy Cases, except as otherwise
         expressly provided in this Agreement, the Parties hereto agree that any suit, action, or
         proceeding seeking to enforce any provision of, or based on any matter arising out of or in
         connection with, this Agreement or the Transactions may be brought in any court having
         subject matter jurisdiction over such suit, action, or proceeding, and that any cause of action


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         arising out of this Agreement shall be deemed to have arisen from a transaction of business
         in the State of Florida, and each of the Parties hereby irrevocably consents to the
         jurisdiction of such courts (and of the appropriate appellate courts therefrom) in any such
         suit, action, or proceeding and irrevocably waives, to the fullest extent permitted by Law,
         any objection that it may now or hereafter have to the laying of the venue of any such suit,
         action, or proceeding in any such court or that any such suit, action, or proceeding that is
         brought in any such court has been brought in an inconvenient forum. Process in any such
         suit, action, or proceeding may be served on any Party anywhere in the world, whether
         within or without the jurisdiction of any such court. Without limiting the foregoing, each
         Party agrees that service of process on such Party as provided in Section 13.1 shall be
         deemed effective service of process on such Party.

          13.6. Waiver of Jury Trial. EACH OF THE PARTIES HERETO HEREBY
IRREVOCABLY WAIVES ANY AND ALL RIGHT TO TRIAL BY JURY IN ANY LEGAL
PROCEEDING ARISING OUT OF OR RELATED TO THIS AGREEMENT OR THE
TRANSACTIONS.

               13.7. No Third-Party Beneficiaries. No provision of this Agreement is intended
to confer upon any Person other than the Parties hereto any rights or remedies hereunder.

               13.8. Entire Agreement; Amendments; Counterparts. This Agreement (including
the Schedules and Exhibits hereto) and the Confidentiality Agreement set forth the entire
agreement among the Parties with respect to the subject matter hereof and may be amended only
by a writing executed by Purchaser and Sellers. This Agreement may be executed in counterparts,
each of which when taken together shall constitute an original. This Agreement shall become
effective when each Party hereto shall have received a counterpart hereof signed by the other Party
hereto. This Agreement may be delivered by electronic transmission with the same effect as
delivery of an original.

                13.9. Headings, Interpretation. The headings contained in this Agreement are for
convenience of reference only and shall not affect the meaning or interpretation of this Agreement.
Whenever the words “include,” “includes” or “including” are used in this Agreement, they shall
be deemed to be followed by the words “without limitation.” In the event an ambiguity or question
of intent or interpretation arises, this Agreement shall be construed as if drafted jointly by the
Parties and no presumption or burden of proof shall arise favoring or disfavoring any Party by
virtue of authorship of any provisions of this Agreement.

               13.10. Disclosure Schedules. The Parties acknowledge and agree that (i) the
Schedules to this Agreement may include certain items and information solely for informational
purposes for the convenience of Purchaser and (ii) the disclosure by Sellers of any matter in the
Schedules shall not be deemed to constitute an acknowledgment by Sellers that the matter is
required to be disclosed by the terms of this Agreement or that the matter is material. If any
Schedule discloses an item or information, the matter shall be deemed to have been disclosed in
all other Schedules for which such information is reasonably apparent, notwithstanding the
omission of an appropriate cross-reference to such other Schedules.




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                13.11. No Recourse. Notwithstanding anything that may be expressed or implied
in this Agreement or any other document executed or delivered in connection with this Agreement,
and notwithstanding the fact that any party to any such transaction document may be a partnership
or limited liability company, each Party, by its acceptance of the benefits of this Agreement,
covenants, agrees, and acknowledges that no Persons other than the Persons that are expressly
parties to this Agreement will have any obligation thereunder and that it has no rights of recovery
thereunder against, and no recourse thereunder or in respect of, any oral representations made or
alleged to be made in connection therewith will be had against, any former, current, or future
Affiliate, incorporator, controlling Person, fiduciary, representative, co-owner, or equity holder of
any Party (other than another Party), or any of their respective successors or permitted assignees
(each, a “Party Affiliate”), whether by or through attempted piercing of the corporate veil, by or
through a claim (whether in tort, contract, or otherwise) by or on behalf of such Person against the
Party Affiliates, by the enforcement of any assessment or by any legal or equitable proceeding, or
by virtue of any statute, regulation, or other Law, or otherwise; it being expressly agreed and
acknowledged that no personal liability whatsoever will attach to, be imposed on or otherwise be
incurred by any Party Affiliate, as such, for any obligations of the applicable Person under any
document governing the Transactions or the transaction contemplated thereby, under any
documents or instruments delivered contemporaneously therewith, in respect of any oral
representations made or alleged to be made in connection therewith, or for any claim (whether in
tort, contract or otherwise) based on, in respect of, or by reason of, such obligations or their
creation.
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       IN WITNESS WHEREOF, the Parties hereto have caused this Agreement to be duly
executed by their respective authorized officers as of the day and year first above written.

                                              PURCHASER:


                                              GOLDEN NUGGET,LLC



                                              By:_
                                              Name:
                                              Title:



                                              SELLERS:



                                              JUST ONE MORE RESTAURANT CORP.



                                              By:
                                                  Gerard A. McHale
                                                  Chief Restructuring Officer




                                              ROBERT E. TARDIF, JR.,
                                              in his capacity as Trustee appointed in the
                                              Bankruptcy Cases of Bruce E. Bozzi, Sr. and
                                              Walter J. Ganzi, Jr. under chapter 7 of the U.S.
                                              Bankruptcy Code




                              [SIGNATURE PAGE TO PURCHASE AGREEMENT]
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       IN WITNESS WHEREOF, the Parties hereto have caused this Agreement to be duly
executed by their respective authorized officers as of the day and year first above written.

                                             PURCHASER;


                                              GOLDEN NUGGET,LLC



                                              By:_
                                              Name:
                                              Title:



                                              SELLERS:



                                              JUST ONE MORE RESTAURANT CORP.



                                              By:
                                                  Gerard A. McHale
                                                  Chief Restructuring Officer




                                              ROBERT E. TARDIF, JR.,
                                              in his capacity as Trustee appointed in the
                                              Bankmptcy Cases of Bruce E. Bozzi, Sr. and
                                              Walter J. Ganzi, Jr. under chapter 7 of the U.S.
                                              Bankruptcy Code




                              [StGNATURE PAGE TO PURCHASE AGREEMENT]
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                                                                                       EXECUTION COPY


                                                   ANNEX I

                                                COMPANIES

Atlanta Palm Food Corporation, a Georgia corporation
Atlantic City Palm, LLC, a New Jersey limited liability company
BB Chicago, LLC, a Delaware limited liability company1
Boston Palm Corporation, a Massachusetts corporation
Charlotte Palm Corporation, a North Carolina corporation
Denver Palm Corporation, a Colorado corporation
L.A. Downtown Palm, LLC, a California limited liability company
Miami Palm Restaurant, Inc., a Florida corporation
Nashville Palm Restaurant, L.L.C., a Tennessee limited liability company
Palm Airport, LLC, a Delaware limited liability company
Palm Beverly Hills Restaurant Manager, LLC, a Delaware limited liability company2
Palm Management Corporation, a New York corporation
Palm New York Downtown, LLC, a New York limited liability company
Palm Orlando Corporation, a Florida corporation
Palm Philadelphia Investor, LLC, a Delaware limited liability company3
Palm Philadelphia Manager, LLC, a Delaware limited liability company4
Palm Restaurant Inc., a New York corporation
Palm Restaurant of Houston, Inc., a Texas corporation
Palm Restaurant of Las Vegas, Inc., a Nevada corporation
Palm Tysons Too, Inc., a Virginia corporation
Palm West Corporation, a New York corporation
San Antonio Palm Restaurant, Inc., a Texas corporation
The Washington Palm, Inc., a District of Columbia corporation
WG Chicago, LLC, a Delaware limited liability company5




1
  Owns stock of Chicago Palm, Inc.
2
  Owns limited liability company interest in Palm Beverly Hills Restaurant, LLC.
3
  Owns limited liability company interest in Palm Philadelphia Restaurant, LLC.
4
  Manager of Palm Philadelphia Restaurant, LLC.
5
  Owns stock of Chicago Palm, Inc.


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                                                                         EXECUTION COPY


LIST OF EXHIBITS:

A        Operating Companies and Restaurant Locations
B        PMC Real Property
C        Form of Bidding Procedures Order
D        JOMR IP
E        Real Estate Leases of Operating Companies
F        Form of Sale Order
G        Escrow Agreement
H-1      Form of Assignment of Limited Liability Company Interests
H-2      Form of Lost Certificate Affidavit
I        Form of JOMR IP Assignment
J        Form of JOMR Assignment and Assumption Agreement
K        Seller’s Closing Certificate
L        Purchaser’s Closing Certificate
M        Bidding Procedures




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                                                    EXHIBIT A


              OPERATING COMPANY                                     ADDRESS OF RESTAURANT


    Atlanta Palm Food Corporation                            The Westin Hotel
                                                             3391 Peachtree Road, N.E.
                                                             Atlanta, GA 30326


    Atlantic City Palm, LLC                                  The Quarter at Tropicana Hotel & Casino
                                                             2801 Pacific Avenue, Ste. 102
                                                             Atlantic City, NJ 08401


    Boston Palm Corporation                                  200 Dartmouth Street
                                                             Boston, MA 02116


    Charlotte Palm Corporation                               6705-B Phillips Place Court
                                                             Charlotte, NC 28210


    Chicago Palm, Inc.                                       Swissotel
                                                             323 East Wacker Drive
                                                             Chicago, IL 606011


    Denver Palm Corporation                                  The Westin Downtown Hotel
                                                             1672 Lawrence Street
                                                             Denver, CO 80202


    L.A. Downtown Palm, LLC                                  1100 S. Flower Street
                                                             Los Angeles, CA 90015


    Miami Palm Restaurant, Inc.                              9560 E. Bay Harbor Drive
                                                             Bay Harbor Islands, FL 33154


    Nashville Palm Restaurant, L.L.C.                        140 5th Avenue South
                                                             Nashville, TN 37203


1
    This location is leased to and operated by Chicago Palm, Inc., equity interests in which are owned by WG Chicago,
     LLC, BB Chicago, LLC and third parties.



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    Palm Airport, LLC                                        JFK Airport – Terminal 4
                                                             Jamaica, NY 114302


    Palm Beverly Hills Restaurant, LLC                       267 N. Canon Drive
                                                             Beverly Hills, CA 902103


    Palm Management Corporation                              The Huntting Inn
                                                             94 Main Street
                                                             East Hampton, NY 11937


    Palm New York Downtown, LLC                              206 West Street
                                                             New York, NY 10282


    Palm Orlando Corporation                                 5800 Universal Boulevard
                                                             Hard Rock Hotel @ Universal Orlando
                                                             Orlando, FL 32819


    Palm Philadelphia Restaurant, LLC                        200 South Broad Street
                                                             Philadelphia, PA 191024


    Palm Restaurant Inc.                                     838 Second Avenue
                                                             New York, NY 100175


    Palm Restaurant of Las Vegas, Inc.                       3500 Las Vegas Blvd. South Ste. A7
                                                             Las Vegas, NV 89109


    Palm Restaurant of Houston, Inc.                         6100 Westheimer Road
                                                             Houston, TX 77057

    Palm Tysons Too, Inc.                                    1750 Tysons Boulevard
                                                             McLean, VA 22102


2
    This location is leased to and operated by a third party pursuant to a License Agreement between Palm Airport
    LLC and SSP America, Inc.
3
    This location is leased to and operated by Palm Beverly Hills Restaurant, LLC, a subsidiary of Palm Beverly Hills
    Restaurant Manager, LLC.
4
    This location is leased to and operated by Palm Philadelphia Restaurant, LLC, a subsidiary of Palm Philadelphia
    Investor, LLC.
5
    The real property at this location is owned by Palm Management Corporation.


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 Palm West Corporation                          250 West 50th Street
                                                New York, NY 10019


 San Antonio Palm Restaurant, Inc.              233 East Houston Street
                                                San Antonio, TX 78205


 The Washington Palm, Inc.                      1225 19th Street N.W.
                                                Washington, DC 20036




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                                            EXHIBIT B

                                         PMC Real Property


1.       All that certain plot, piece or parcel of land situate, lying and being in the Borough of
         Manhattan, County of New York, City of New York and State of New York, bounded and
         described as follows:

         BEGINNING at a point on the Easterly side of Second Avenue, distant one hundred
         twenty-seven feet, five inches Northerly of the Northeasterly corner of Second Avenue and
         Forty-fourth Street; thence Easterly and parallel with Forty-fourth Street and part of the
         way through a party wall, seventy feet; thence Northerly and parallel with Second Avenue,
         eighteen feet; thence Westerly and again parallel with Forty-fourth Street, and part of the
         way through a party wall seventy feet to the Easterly side of Second Avenue; thence
         Southerly along the Easterly side of Second Avenue, eighteen feet to the point or place of
         BEGINNING.

         Having an address of 838 Second Avenue, New York, New York.

2.       All that certain plot, piece or parcel of land situate, lying and being in the Incorporated
         Village of East Hampton, Town of East Hampton, County of Suffolk and State of New
         York, bounded and described as follows:

         BEGINNING at the corner formed by the intersection of the southeasterly side of Main
         Street and the southerly side of Huntting Lane and from said point of beginning running
         thence along the southerly side of Huntting Lane, South 68 degrees 51 minutes 02 seconds
         East 352.71 feet to a concrete monument and land now or formerly of Shirley M. Pitt;
         running thence along said land South 19 degrees 02 minutes 55 seconds West 210.46 feet
         to the land now or formerly of Thomas R. Burns; running thence along said land now or
         formerly of Thomas R. Burns and land now or formerly of Amelia Reininger and land now
         or formerly of Bessie E. and David H. Smith the following three courses and distances: (1)
         North 70 degrees 14 minutes 05 seconds West 228.93 feet; (2) North 69 degrees 35 minutes
         05 seconds West 183.38 feet; and (3) North 55 degrees 22 minutes 45 seconds West 55.99
         feet to the southeasterly side of Main Street; running thence along the southeasterly side of
         Main Street, North 48 degrees 31 minutes 55 seconds East 231.02 feet to the corner first
         above mentioned, the point or place of BEGINNING.

         Having an address of 94 Main Street, East Hampton, New York.




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                                       EXHIBIT C

                              Form of Bidding Procedures Order

                                       (See attached)




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Contract Procedures, and (VI) Granting Related Relief 'RFBBB  WKH³0RWLRQ´ ILOHGE\-XVW

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GHHPHG DQ DFWXDO DQG QHFHVVDU\ FRVW RI SUHVHUYLQJ WKH 'HEWRUV¶ HVWDWHV ZLWKLQ WKH PHDQLQJ RI

VHFWLRQ E RIWKH%DQNUXSWF\&RGH LLL LVRIVXEVWDQWLDOEHQHILWWRWKH'HEWRUV¶HVWDWHV LY LV

UHDVRQDEOHDQGDSSURSULDWHLQFOXGLQJLQOLJKWRIWKHVL]HDQGQDWXUHRIWKHVDOHDQGWKHHIIRUWVWKDW

KDYHEHHQRUZLOOEHH[SHQGHGE\WKH6WDONLQJ+RUVH%LGGHUQRWZLWKVWDQGLQJWKDWWKHSURSRVHG

VDOHLVVXEMHFWWRKLJKHURURWKHUZLVHEHWWHURIIHUVIRUWKH3XUFKDVHG$VVHWV Y ZDVQHJRWLDWHGE\

WKHSDUWLHVDWDUP¶VOHQJWKDQGLQJRRGIDLWKDQG YL LVQHFHVVDU\WRHQVXUHWKDWWKH6WDONLQJ+RUVH

%LGGHUZLOOFRQWLQXHWRSXUVXHLWVSURSRVHGDFTXLVLWLRQRIWKH3XUFKDVHG$VVHWVFRQWHPSODWHGE\

WKH$JUHHPHQW7KH7HUPLQDWLRQ)HHLVDPDWHULDOLQGXFHPHQWIRUDQGDFRQGLWLRQRIWKH6WDONLQJ

+RUVH%LGGHU¶VHQWU\LQWRWKH$JUHHPHQW

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         .     7KH SURFHGXUHV IRU WKH DVVXPSWLRQ DQG DVVLJQPHQW RI WKH $VVLJQHG -205

&RQWUDFWVDUHIDLUUHDVRQDEOHDQGDSSURSULDWHDQGFRPSO\ZLWKWKHSURYLVLRQVRIVHFWLRQRI

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WKHUHOLHIUHTXHVWHGWKHUHLQWKDWKDYHQRWEHHQZLWKGUDZQZDLYHGRUVHWWOHGDQGDOOUHVHUYDWLRQV

RIULJKWVLQFOXGHGWKHUHLQDUHRYHUUXOHGDQGGHQLHGRQWKHPHULWVZLWKSUHMXGLFH

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WKHLU HQWLUHW\ DUH LQFRUSRUDWHG KHUHLQ E\ UHIHUHQFH DQG VKDOO JRYHUQ WKH ELGV DQG SURFHHGLQJV

UHODWHGWRWKHVDOHDQGWKH$XFWLRQ7KH%LGGLQJ3URFHGXUHV.H\'DWHVDWWDFKHGKHUHWRDV([KLELW

³´ DUH KHUHE\ DSSURYHG LQ WKHLU HQWLUHW\  7KH IDLOXUH WR UHFLWH RU UHIHUHQFH DQ\ SDUWLFXODU

SURYLVLRQ RI WKH %LGGLQJ 3URFHGXUHV LQ WKLV 2UGHU VKDOO QRW GLPLQLVK WKH HIIHFWLYHQHVV RI VXFK

SURYLVLRQLWEHLQJWKHLQWHQWRIWKLV&RXUWWKDWWKH%LGGLQJ3URFHGXUHVEHDXWKRUL]HGDQGDSSURYHG

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              7KH0RYDQWVDUHDXWKRUL]HGWRWDNHDQ\DQGDOODFWLRQVQHFHVVDU\WRLPSOHPHQWWKH

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$JUHHPHQWDWWDFKHGDV([KLELW³&´WRWKH6DOH0RWLRQDQGWKH$JUHHPHQWLQVXEVWDQWLDOO\VXFK

IRUPLVKHUHE\DSSURYHGSURYLGHGWKDWWKHULJKWVRIDOOSDUWLHVWRREMHFWWRWKH6DOHFRQWHPSODWHG

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             ,I WKH 0RYDQWV UHFHLYH PRUH WKDQ RQH 4XDOLILHG %LG DV GHILQHG LQ WKH %LGGLQJ

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$YHQXH 6XLWH  0LDPL )ORULGD  RU VXFK RWKHU SODFH DQG WLPH DV WKH 0RYDQWV VKDOO

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%LGGHUDQGRWKHULQYLWHHVLQDFFRUGDQFHZLWKWKH%LGGLQJ3URFHGXUHVDQGIRUWKHDYRLGDQFHRIDQ\

GRXEWWKH$XFWLRQLVVXEMHFWWRWKHULJKWRIWKH0RYDQWVLQWKHH[HUFLVHRIWKHUHDVRQDEOHEXVLQHVV

MXGJPHQWRIWKH'HEWRUVWRDGMRXUQWKH$XFWLRQWRDODWHUGDWH7KH$XFWLRQVKDOOEHFRQGXFWHG

LQDFFRUGDQFHZLWKWKH%LGGLQJ3URFHGXUHV(DFK4XDOLILHG%LGGHUSDUWLFLSDWLQJLQWKH$XFWLRQ

PXVWFRQILUPWKDWLW D KDVQRWHQJDJHGLQDQ\FROOXVLRQZLWKUHVSHFWWRWKHELGGLQJRUVDOHRIDQ\

RIWKHDVVHWVGHVFULEHGKHUHLQ E KDVUHYLHZHGXQGHUVWDQGVDQGDFFHSWVWKH%LGGLQJ3URFHGXUHV

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IRUWKH3XUFKDVHG$VVHWVVXEMHFWWRWKHWHUPVRIWKH$JUHHPHQWQRWZLWKVWDQGLQJDQ\WKLQJFRQWUDU\

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UHYLHZ UHVHDUFK DQG DQDO\VLV UHJDUGLQJ WKH &RPSDQ\¶V DVVHWV DQG WKH QHJRWLDWLRQV DQG

GRFXPHQWDWLRQRIWKH$JUHHPHQW7KH7HUPLQDWLRQ)HHVKDOOFRQVWLWXWHDQDOORZHGDGPLQLVWUDWLYH

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&RGH7KHREOLJDWLRQRIWKH'HEWRUVWRSD\WKH7HUPLQDWLRQ)HHVKDOOVXUYLYHWHUPLQDWLRQRIWKH

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             7KH7HUPLQDWLRQ)HHVKDOOEHSD\DEOHE\WKH'HEWRUV¶HVWDWHVRXWRIWKHSURFHHGV

RI DQ $OWHUQDWLYH 7UDQVDFWLRQ ZLWKLQ WKUHH   EXVLQHVV GD\V IROORZLQJ WKH FORVLQJ WKHUHRI DQG

VKDOOEHSDLGWRWKH6WDONLQJ+RUVH%LGGHUSULRUWRWKHSD\PHQWRIWKHSURFHHGVRIVXFKVDOHWRDQ\

WKLUGSDUW\DVVHUWLQJD/LHQRQWKH3XUFKDVHG$VVHWV DQGQR/LHQRIDQ\WKLUGSDUW\VKDOODWWDFKWR

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IURPWKLV&RXUWVKDOOEHUHTXLUHGLQRUGHUWRJLYHHIIHFWWRVXFKSURYLVLRQVUHODWLQJWRWKHWHUPVRI

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REOLJDWHG WR FRPSO\ ZLWK DQ\ SURYLVLRQV RI WKH %DQNUXSWF\ &RGH UHJDUGLQJ &RXUW DSSURYDO RI

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6DOH+HDULQJWRDODWHUGDWHVXEMHFWWRWKHDYDLODELOLW\RIWKH&RXUW,IWKHUHLVQR$XFWLRQWKH

0RYDQWVZLOOILOHVHUYHDQGILOHDQRWLFHZLWKWKLV&RXUWQRWODWHUWKDQ0DUFKDWSP

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IRUZDUGZLWKWKH6DOH+HDULQJRQ0DUFKDWBBBBDPSP SUHYDLOLQJ(DVWHUQ7LPH 

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DQG LL bankruptcy counsel for JOMR and JOMH%HUJHU6LQJHUPDQ//3%ULFNHOO$YHQXH

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FDXVHWKH6DOH1RWLFHDQGWKLV2UGHUWREHVHUYHGE\(&)QRWLILFDWLRQ ZKHUHDSSOLFDEOH DQGE\

ILUVWFODVVPDLOWRWKHIROORZLQJ D DOOFUHGLWRUVRUWKHLUFRXQVHONQRZQWRWKH'HEWRUVWRDVVHUWD

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SRWHQWLDOELGGHUVSUHYLRXVO\LGHQWLILHGRURWKHUZLVHNQRZQWRWKH0RYDQWV

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0RYDQWV¶ UHTXHVW IRU VKRUWHQHG QRWLFH ZLWK UHVSHFW WR WKH UHOLHI UHTXHVWHG LQ WKH 0RWLRQ

&RPSOLDQFHZLWKWKHIRUHJRLQJQRWLFHSURYLVLRQVVKDOOFRQVWLWXWHVXIILFLHQWQRWLFHRIWKH'HEWRUV¶

SURSRVHG VDOH RI WKH 3XUFKDVHG $VVHWV IUHH DQG FOHDU RI FHUWDLQ OLHQV FODLPV LQWHUHVWV DQG

HQFXPEUDQFHV DV VHW IRUWK LQ WKH $JUHHPHQW SXUVXDQW WR %DQNUXSWF\ &RGH VHFWLRQ  I  DQG

RWKHUZLVH DQG H[FHSW DV VHW IRUWK LQ WKLV 2UGHU QR RWKHU RU IXUWKHU QRWLFH RI WKH VDOH VKDOO EH

UHTXLUHGWREHSURYLGHGE\WKH0RYDQWV

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VKDOOEHHQWLWOHGWRDFUHGLWLQWKHDPRXQWRIWKH7HUPLQDWLRQ)HH

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&RXUWRQWKHGDWHVFKHGXOHGIRUVXFKKHDULQJRUDQQRXQFHGE\WKH0RYDQWVLQRSHQFRXUW

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       WKHLQYHVWRUVZKRHQWHUHGLQWRQRQGLVFORVXUHDJUHHPHQWVZLWKWKH0RYDQWVDQGWKH0RYDQWVDUHDXWKRUL]HGWR
       ILOHXQGHUVHDOWKDWSDUWRIWKHVHUYLFHOLVWSURYLGLQJWKHQDPHVDQGPDLOLQJDGGUHVVHVIRUDOOVXFKSDUWLHVZKLFK
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DUH4XDOLILHG%LGGHUV E GHWHUPLQHZKLFK%LGVDUH4XDOLILHG%LGV F GHWHUPLQHZKLFK4XDOLILHG

%LG LV WKH KLJKHVW RU RWKHUZLVH EHVW SURSRVDO DQG ZKLFK LV WKH QH[W KLJKHVW RU RWKHUZLVH EHVW

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FRQWUDU\WRWKHEHVWLQWHUHVWVRIWKH&RPSDQ\WKH'HEWRUVDQGWKHLUHVWDWHV H LPSRVHDGGLWLRQDO

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JUDQWHGSXUVXDQWWRWKLV2UGHULQDFFRUGDQFHZLWKWKH0RWLRQ

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DQDGYHUVDU\SURFHHGLQJ

(Christopher Andrew Jarvinen, Esq. is directed to serve a copy of this order on interested parties
who are non-CM/ECF users and to file a proof of service within three days of entry of the order.)
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        2Q )HEUXDU\   WKH Joint Motion for Entry of an Order (I) Approving Bidding
Procedures, (II) Scheduling the Bid Deadlines and the Auction, (III) Scheduling a Hearing to
Consider the Transaction, (IV) Approving the Form and Manner of Notice Thereof, (V) Approving
Contract Procedures, and (VI) Granting Related Relief 'RF BBB  WKH ³%LGGLQJ 3URFHGXUHV
0RWLRQ´ ZDVILOHGE\WKH&KDSWHU'HEWRUVWKURXJK*HUDUG$0F+DOH-UQRWLQKLVLQGLYLGXDO
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GHWHUPLQHWKHKLJKHVWRURWKHUZLVHEHVWSULFHIRUWKH3XUFKDVHG$VVHWVWKURXJKWKHSURFHVVDQG
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       8QOHVV H[SUHVVO\ LQGLFDWHG WKH IROORZLQJ %LGGLQJ 3URFHGXUHV DSSO\ WR DOO ELGGHUV
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LQIRUPDWLRQUHJDUGLQJWKH&RPSDQ\DQGWKH'HEWRUV FROOHFWLYHO\WKH³'LOLJHQFH0DWHULDOV´ D
SDUW\PXVWGHOLYHUWRWKH0RYDQWVDQH[HFXWHGFRQILGHQWLDOLW\DJUHHPHQWLQWKHIRUPDQGVXEVWDQFH
VDWLVIDFWRU\LQWKHVROHGLVFUHWLRQRIWKH0RYDQWV WKH³&RQILGHQWLDOLW\$JUHHPHQW´ DQGHYLGHQFH
GHPRQVWUDWLQJDSDUW\¶VILQDQFLDOFDSDELOLW\WRFORVHDWUDQVDFWLRQLQYROYLQJVRPHVXEVWDQWLDOO\




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DOORUDOORIWKH3XUFKDVHG$VVHWV D³$OWHUQDWLYH7UDQVDFWLRQ´ DVGHWHUPLQHGE\WKH0RYDQWVLQ
FRQVXOWDWLRQZLWK',3/HQGHU WKH³&RQVXOWDWLRQ3DUW\´ 

       $SDUW\ZKRTXDOLILHVIRUDFFHVVWR'LOLJHQFH0DWHULDOV HDFKD³3UHOLPLQDU\,QWHUHVWHG
,QYHVWRU´ PD\SURFHHGWRFRQGXFWGXHGLOLJHQFH DQGXOWLPDWHO\VXEPLWD%LGDVGHILQHGLQWKH
%LGGLQJ3URFHGXUHV2QO\3UHOLPLQDU\,QWHUHVWHG,QYHVWRUVPD\VXEPLW%LGV

        $OOGXHGLOLJHQFHUHTXHVWVPXVWEHGLUHFWHGWR5D\PRQG-DPHV7RWKHH[WHQWUHDVRQDEO\
SUDFWLFDEOH 5D\PRQG -DPHV ZLOO DOVR IDFLOLWDWH PHHWLQJV EHWZHHQ DQ\ LQWHUHVWHG 3UHOLPLQDU\
,QWHUHVWHG ,QYHVWRU DQG WKH &RPSDQ\¶V PDQDJHPHQW WHDP ZKLFK PHHWLQJV ZLOO SURFHHG LQ D
PDQQHUGHWHUPLQHGE\WKH0RYDQWVLQWKHLUVROHGLVFUHWLRQ

         7KHGXHGLOLJHQFHSHULRGZLOOHQGRQWKH%LG'HDGOLQHDVGHILQHGEHORZDQGVXEVHTXHQW
WR WKH %LG 'HDGOLQH WKH 0RYDQWV DQG WKHLU UHSUHVHQWDWLYHV LQFOXGLQJ EXW QRW OLPLWHG WR WKH
'HEWRUV¶$GYLVRUVZLOOKDYHQRREOLJDWLRQWRIXUQLVKDQ\GXHGLOLJHQFHLQIRUPDWLRQWRDQ\SDUW\
)RUWKHDYRLGDQFHRIGRXEWQRGXHGLOLJHQFHZLOOFRQWLQXHDIWHUWKH%LG'HDGOLQH

        1HLWKHU WKH 0RYDQWV QRU DQ\ RI WKHLU UHVSHFWLYH UHSUHVHQWDWLYHV LQFOXGLQJ WKH 'HEWRUV¶
$GYLVRUVZLOOEHREOLJDWHGWRIXUQLVKDQ\LQIRUPDWLRQUHODWLQJWRWKH3XUFKDVHG$VVHWVRWKHUWKDQ
WR 3UHOLPLQDU\ ,QWHUHVWHG ,QYHVWRUV  7KH 0RYDQWV DQG WKH 'HEWRUV¶ $GYLVRUV PDNH QR
UHSUHVHQWDWLRQVRUZDUUDQW\DVWRWKHLQIRUPDWLRQWREHSURYLGHGWKURXJKWKLVGXHGLOLJHQFHSURFHVV
RURWKHUZLVHDFFHSWWRWKHH[WHQWVHWIRUWKLQWKH$JUHHPHQWRULQDQ\RWKHUGHILQLWLYHDJUHHPHQW
D6XFFHVVIXO%LGGHUH[HFXWHGDQGGHOLYHUHGWRWKH0RYDQWV

       7KH 0RYDQWV DQG WKH 'HEWRUV¶ $GYLVRUV ZLOO FRRUGLQDWH DOO UHDVRQDEOH UHTXHVWV IURP
3UHOLPLQDU\,QWHUHVWHG,QYHVWRUVIRUDGGLWLRQDOLQIRUPDWLRQDQGGXHGLOLJHQFHDFFHVVSURYLGHGWKDW
WKH0RYDQWVPD\GHFOLQHWRSURYLGHVXFKLQIRUPDWLRQWR3UHOLPLQDU\,QWHUHVWHG,QYHVWRUVZKRDW
VXFKWLPHDQGLQWKH0RYDQWV¶H[HUFLVHRIWKH'HEWRUV¶EXVLQHVVMXGJPHQWKDYHQRWHVWDEOLVKHG
RUZKRKDYHUDLVHGGRXEWWKDWVXFK3UHOLPLQDU\,QWHUHVWHG,QYHVWRULQWHQGVLQJRRGIDLWKWRRUKDV
WKHFDSDFLW\WRFRQVXPPDWHDQ$OWHUQDWLYH7UDQVDFWLRQ

        )RUDQ\3UHOLPLQDU\,QWHUHVWHG,QYHVWRURU4XDOLILHG%LGGHUZKRLVDFRPSHWLWRURI
WKH&RPSDQ\RULVDIILOLDWHGZLWKDQ\FRPSHWLWRURIWKH&RPSDQ\WKH0RYDQWVUHVHUYHWKH
ULJKWWRZLWKKROGRUWRGHOD\SURYLGLQJLQWKHLUVROHGLVFUHWLRQDQ\'LOLJHQFH0DWHULDOVWKDW
WKH0RYDQWVGHWHUPLQHDUHEXVLQHVVVHQVLWLYHRURWKHUZLVHLQDSSURSULDWHIRUGLVFORVXUHWR
VXFK3UHOLPLQDU\,QWHUHVWHG,QYHVWRURU4XDOLILHG%LGGHUDWDQ\VXFKWLPH

       $OOSDUWLHV3UHOLPLQDU\,QWHUHVWHG,QYHVWRUVDQG4XDOLILHG%LGGHUVDUHSURKLELWHG
IURPFRPPXQLFDWLQJZLWKDQ\RIWKH&RPSDQ\¶VHPSOR\HHVGLUHFWRUVRIILFHUVODQGORUGV
YHQGRUVVXSSOLHUVDJHQWVH[LVWLQJOHQGHU V  LQFOXGLQJEXWQRWOLPLWHGWRWKH',3/HQGHU 
RUZLWKDQ\RWKHUSRWHQWLDOELGGHU3UHOLPLQDU\,QWHUHVWHG,QYHVWRURU4XDOLILHG%LGGHUZLWK
UHVSHFW WR DQ\ %LG RU $OWHUQDWLYH 7UDQVDFWLRQ DEVHQW WKH SULRU ZULWWHQ FRQVHQW RI WKH
0RYDQWV SURYLGHG WKDW LI VXFK FRQVHQW LV JLYHQ D UHSUHVHQWDWLYH RI WKH 0RYDQWV VKDOO EH

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     1RWZLWKVWDQGLQJDQ\WKLQJLQWKH%LGGLQJ3URFHGXUHVWRWKHFRQWUDU\WKH0RYDQWVZLOOQRWFRQVXOWZLWKRUSURYLGH
       FRSLHVRIDQ\ELGVRUFRQILGHQWLDOLQIRUPDWLRQWRWKH',3/HQGHULIWKH',3/HQGHUEHFRPHVDQDFWLYHELGGHUDW
       DQ\WLPHIRUDQ\RIWKH3XUFKDVHG$VVHWV

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SUHVHQWIRURUSDUW\WRDQ\VXFKFRPPXQLFDWLRQV XQOHVVRWKHUZLVHDJUHHGE\WKH0RYDQWV
LQWKHLUVROHGLVFUHWLRQ 

       (DFK3UHOLPLQDU\,QWHUHVWHG,QYHVWRUDQG4XDOLILHG%LGGHUVKDOOFRPSO\ZLWKDOOUHDVRQDEOH
UHTXHVWV IRU DGGLWLRQDO LQIRUPDWLRQ DQG GXH GLOLJHQFH DFFHVV E\ WKH 0RYDQWV RU WKH 'HEWRUV¶
$GYLVRUVUHJDUGLQJVXFK3UHOLPLQDU\,QWHUHVWHG,QYHVWRURU4XDOLILHG%LGGHU

       1RWZLWKVWDQGLQJDQ\WKLQJWRWKHFRQWUDU\KHUHLQWKH',3/HQGHUDQGWKH6WDONLQJ+RUVH
%LGGHUVKDOOHDFKEHD3UHOLPLQDU\,QWHUHVWHG,QYHVWRUDQGD4XDOLILHG%LGGHU

                                       %LG4XDOLILFDWLRQ3URFHVV

,      %LG'HDGOLQH

        $3UHOLPLQDU\,QWHUHVWHG,QYHVWRUWKDWGHVLUHVWRPDNHDSURSRVDOVROLFLWDWLRQRURIIHUIRU
VRPHRUDOORIWKH3XUFKDVHG$VVHWV HDFKD³%LG´ VKDOOWUDQVPLWVXFKSURSRVDOVROLFLWDWLRQRU
RIIHUYLDHPDLO LQSGIRUVLPLODUIRUPDW VRDVWREHDFWXDOO\UHFHLYHGE\WKHIROORZLQJSDUWLHVRQ
RUEHIRUH0DUFKDWSP SUHYDLOLQJ(DVWHUQ7LPH  WKH³%LG'HDGOLQH´ 

         D    Bankruptcy Counsel to JOMR and JOMH and transaction counsel to the Trustee
                %HUJHU6LQJHUPDQ//3%ULFNHOO$YHQXH6XLWH0LDPL)ORULGD
                $WWQ3DXO6WHYHQ6LQJHUPDQ VLQJHUPDQ#EHUJHUVLQJHUPDQFRP DQG&KULVWRSKHU
                $QGUHZ-DUYLQHQ FMDUYLQHQ#EHUJHUVLQJHUPDQFRP 

         E    The CRO for the Chapter 11 Debtors: 0F+DOH3$-DFNVRQ6WUHHW6XLWH
                 )RUW 0\HUV )ORULGD  $WWQ *HUDUG $ 0F+DOH -U
                 MHUU\P#WKHUHFHLYHUQHW 

         F    The Trustee5REHUW(7DUGLI-U32%R[1R)RUW0\HUV)ORULGD
                 UWDUGLI#FRPFDVWQHW DQG

         G    The Investment Banker for the Chapter 11 Debtors and the Trustee: 5D\PRQG
                -DPHV  $VVRFLDWHV ,QF  &DULOORQ 3DUNZD\ 6W 3HWHUVEXUJ )ORULGD 
                $WWQ  *HRIIUH\ 5LFKDUGV *HRIIUH\5LFKDUGV#5D\PRQG-DPHVFRP  DQG 5REHUW
                $UQROG 5RE$UQROG#5D\PRQG-DPHVFRP  DV GHILQHG 5D\PRQG -DPHV DQG
                WRJHWKHUZLWK%HUJHU6LQJHUPDQ//3FROOHFWLYHO\WKH³'HEWRUV¶$GYLVRUV´ 

,,     %LG5HTXLUHPHQWV

        7R EH HOLJLEOH WR SDUWLFLSDWH LQ WKH $XFWLRQ GHILQHG EHORZ  HDFK %LG E\ D 3UHOLPLQDU\
,QWHUHVWHG ,QYHVWRU D³%LGGHU´ PXVWEHVXEPLWWHGLQZULWLQJDQGVDWLVI\HDFKRIWKHIROORZLQJ
UHTXLUHPHQWV FROOHFWLYHO\ WKH ³%LG 5HTXLUHPHQWV´  DV GHWHUPLQHG E\ WKH 0RYDQWV LQ
FRQVXOWDWLRQZLWKWKH&RQVXOWDWLRQ3DUW\ 

         D    6DPHRU%HWWHU7HUPV7KH%LGPXVWEHRQWHUPVWKDWDUHVXEVWDQWLDOO\WKHVDPHRU
                EHWWHUWKDQWKHWHUPVRIWKH$JUHHPHQWDVGHWHUPLQHGE\WKH0RYDQWVLQWKHLUVROH
                GLVFUHWLRQ LQFRQVXOWDWLRQZLWKWKH&RQVXOWDWLRQ3DUW\ DQGWKH%LGPXVWLGHQWLI\
                ZKLFK DVVHWV WKH %LGGHU LQWHQGV WR SXUFKDVH DQG LQFOXGH H[HFXWHG WUDQVDFWLRQ

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               GRFXPHQWV DVGHILQHGKHUHLQDQ$OWHUQDWLYH7UDQVDFWLRQ $%LGVKDOOLQFOXGHERWK
               D FOHDQ YHUVLRQ LQ 06:RUG  DQG D EODFNOLQH DJDLQVW WKH $JUHHPHQW PDUNHG WR
               VKRZDOOFKDQJHVUHTXHVWHGE\WKH%LGGHU$%LGZLOOQRWEHFRQVLGHUHGTXDOLILHG
               IRU WKH $XFWLRQ LI L  VXFK %LG FRQWDLQV DGGLWLRQDO PDWHULDO UHSUHVHQWDWLRQV DQG
               ZDUUDQWLHV FRYHQDQWV FORVLQJ FRQGLWLRQV WHUPLQDWLRQ ULJKWV ILQDQFLQJ RU GXH
               GLOLJHQFHFRQWLQJHQFLHVRWKHUWKDQDVPD\EHLQFOXGHGLQWKH$JUHHPHQW LWEHLQJ
               DJUHHG DQG XQGHUVWRRG WKDW VXFK %LG VKDOO PRGLI\ WKH $JUHHPHQW DV QHHGHG WR
               FRPSO\LQDOOUHVSHFWVZLWKWKH%LGGLQJ3URFHGXUHV2UGHU LQFOXGLQJUHPRYLQJDQ\
               WHUPLQDWLRQULJKWVLQFRQIOLFWZLWKWKH%LGGLQJ3URFHGXUHV2UGHU DQGZLOOUHPRYH
               SURYLVLRQVWKDWDSSO\RQO\WRWKH6WDONLQJ+RUVH%LGGHUDVWKHVWDONLQJKRUVHELGGHU
               VXFKDVWKH7HUPLQDWLRQ)HH  LL VXFK%LGLVQRWUHFHLYHGE\WKH0RYDQWVLQZULWLQJ
               RQRUSULRUWRWKH%LG'HDGOLQHDQG LLL VXFK%LGGRHVQRWFRQWDLQHYLGHQFHWKDW
               WKH %LGGHU V  KDVKDYH UHFHLYHG XQFRQGLWLRQDO GHEW DQGRU HTXLW\ IXQGLQJ
               FRPPLWPHQWV RU KDV XQUHVWULFWHG DQG IXOO\ DYDLODEOH FDVK  VXIILFLHQW LQ WKH
               DJJUHJDWHWRILQDQFHWKHSXUFKDVHFRQWHPSODWHGWKHUHE\LQFOXGLQJSURRIWKDWWKH
               (DUQHVW0RQH\'HSRVLW GHILQHGEHORZ KDVEHHQPDGH

         E   $PRXQWRI%LG(DFK%LGPD\EHIRUDOORUDSRUWLRQRIWKH3XUFKDVHG$VVHWVDQG
               VKDOO FOHDUO\ VKRZ WKH DPRXQW RI WKH SXUFKDVH SULFH  ,Q DGGLWLRQ D %LG
                D  PXVW SURSRVH D SXUFKDVH SULFH HTXDO WR RU JUHDWHU WKDQ WKH DJJUHJDWH RI WKH
               VXPRI L WKHYDOXHRIWKH%LGVHWIRUWKLQWKH$JUHHPHQWH[HFXWHGE\WKH6WDONLQJ
               +RUVH%LGGHUDVGHWHUPLQHGE\WKH0RYDQWVLQWKHLUVROHGLVFUHWLRQ LQFRQVXOWDWLRQ
               ZLWKWKH&RQVXOWDWLRQ3DUW\ plus LL WKHGROODUYDOXHRIWKH7HUPLQDWLRQ)HHLQ
               FDVK plus LLL   WKH LQLWLDO RYHUELG DPRXQW  LQ FDVK DQG E  PXVW
               REOLJDWHWKH%LGGHUWRSD\WRWKHH[WHQWSURYLGHGLQWKH$JUHHPHQWDOODPRXQWV
               ZKLFKWKH6WDONLQJ+RUVH%LGGHUXQGHUWKH$JUHHPHQWKDVDJUHHGWRSD\LQFOXGLQJ
               DOO$VVXPHG/LDELOLWLHVprovided thatDQ\%LGIRU3XUFKDVHG$VVHWVWKDWFRQVWLWXWH
               FROODWHUDOVXEMHFWWRWKH',3/RDQ)DFLOLW\PXVW D SURYLGHIRUSD\PHQWVROHO\LQ
               FDVKXQOHVVDQGXQWLOWKHREOLJDWLRQVVXEMHFWWRWKH',3/RDQ)DFLOLW\ DVGHILQHG
               LQ DQ\ LQWHULP RU ILQDO RUGHU DSSURYLQJ WKH ',3 /RDQ )DFLOLW\  KDYH EHHQ RU
               SXUVXDQW WR VXFK %LG ZLOO EH LQGHIHDVLEO\ SDLG LQ FDVK LQ IXOO RU E  KDYH WKH
               FRQVHQWRIWKH',3/HQGHU

         F   (DUQHVW 0RQH\ 'HSRVLW  (DFK %LG RWKHU WKDQ WKH $JUHHPHQW PXVW EH
               DFFRPSDQLHG E\ D FDVK GHSRVLW LQ WKH DPRXQW HTXDO WR WHQ   SHUFHQW RI WKH
               DJJUHJDWHYDOXHRIWKHFDVKDQGQRQFDVKFRQVLGHUDWLRQRIWKH%LGWREHKHOGLQDQ
               HVFURZ DFFRXQW WR EH LGHQWLILHG DQG HVWDEOLVKHG E\ WKH 0RYDQWV WKH ³(DUQHVW
               0RQH\'HSRVLW´ provided thatWKH',3/HQGHUZLOOQRWEHUHTXLUHGWRSURYLGHD
               GHSRVLWZLWKUHVSHFWWRWKHSRUWLRQRIDQ\%LGWKDWLVD&UHGLW%LG

         G   3URRIRI)LQDQFLDO$ELOLW\WR3HUIRUP7KH%LGPXVWLQFOXGHZULWWHQHYLGHQFHWKDW
               WKH0RYDQWVFRQFOXGHLQWKHLUVROHGLVFUHWLRQGHPRQVWUDWHVWKDWWKH%LGGHUKDVWKH
               QHFHVVDU\ ILQDQFLDO DELOLW\ WR FORVH WKH $OWHUQDWLYH 7UDQVDFWLRQ DQG WR SURYLGH
               DGHTXDWHDVVXUDQFHRIIXWXUHSHUIRUPDQFHXQGHU DOOFRQWUDFWVWREHDVVXPHGDQG
               DVVLJQHGLQVXFK$OWHUQDWLYH7UDQVDFWLRQ



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         H   ,GHQWLW\(DFK%LGPXVWIXOO\GLVFORVHWKHLGHQWLW\RIHDFKSHUVRQDQGHQWLW\WKDW
               ZLOOEHELGGLQJRURWKHUZLVHSDUWLFLSDWLQJLQFRQQHFWLRQZLWKVXFK%LG LQFOXGLQJ
               HDFKHTXLW\KROGHURURWKHUILQDQFLDOEDFNHURIWKH%LGGHULQFOXGLQJLIVXFK%LGGHU
               LV DQ HQWLW\ IRUPHG IRU WKH SXUSRVH RI FRQVXPPDWLQJ WKH SURSRVHG $OWHUQDWLYH
               7UDQVDFWLRQ FRQWHPSODWHG E\ VXFK %LG  DQG WKH FRPSOHWH WHUPV RI DQ\ VXFK
               SDUWLFLSDWLRQ  8QGHU QR FLUFXPVWDQFHV VKDOO DQ\ XQGLVFORVHG SULQFLSDOV HTXLW\
               KROGHUV RU ILQDQFLDO EDFNHUV EH DVVRFLDWHG ZLWK DQ\ %LG  (DFK %LG PXVW DOVR
               LQFOXGH FRQWDFW LQIRUPDWLRQ IRU WKH VSHFLILF SHUVRQ V  DQG FRXQVHO ZKRP WKH
               'HEWRUV¶ $GYLVRUV VKRXOG FRQWDFW UHJDUGLQJ VXFK %LG 1RWKLQJ KHUHLQ VKDOO
               SUHFOXGH PXOWLSOH 3UHOLPLQDU\ ,QWHUHVWHG ,QYHVWRUV IURP VXEPLWWLQJ D MRLQW %LG
               VXEMHFWWRWKH0RYDQWV¶SULRUZULWWHQFRQVHQWWRVXFKVXEPLVVLRQDQGWKHGLVFORVXUH
               UHTXLUHPHQWVVHWIRUWKKHUHLQ

         I   $XWKRUL]DWLRQ(DFK%LGPXVWFRQWDLQZULWWHQHYLGHQFHDFFHSWDEOHWRWKH0RYDQWV
               LQ WKHLU VROH GLVFUHWLRQ WKDW WKH %LGGHU KDV REWDLQHG DSSURSULDWH DXWKRUL]DWLRQ RU
               DSSURYDOIURPLWVERDUGRIGLUHFWRUV RUDFRPSDUDEOHJRYHUQLQJERG\ ZLWKUHVSHFW
               WRWKHVXEPLVVLRQRILWV%LGDQGWKHFRQVXPPDWLRQRIWKH$OWHUQDWLYH7UDQVDFWLRQ
               FRQWHPSODWHGLQVXFK%LG

         J   &RQWLQJHQFLHV  $ %LG ZLOO QRW EH FRQVLGHUHG TXDOLILHG IRU WKH $XFWLRQ LI LW L 
               FRQWDLQVDQ\RIWKH FRQWLQJHQFLHVVHWIRUWKDERYHLQVXESDUDJUDSK³D´RU LL LV
               FRQGLWLRQHGRQREWDLQLQJILQDQFLQJRUDQ\LQWHUQDODSSURYDORURQWKHRXWFRPHRU
               UHYLHZRIGXHGLOLJHQFHEXWPD\EHVXEMHFWWRWKHDFFXUDF\LQDOOPDWHULDOUHVSHFWV
               RIVSHFLILHGUHSUHVHQWDWLRQVDQGZDUUDQWLHVDWWKH&ORVLQJ

         K   ,UUHYRFDEOH$%LGPXVWEHLUUHYRFDEOHWKURXJKWKH$XFWLRQSURYLGHGKRZHYHU
               WKDWLIVXFK%LGLVDFFHSWHGDVWKH6XFFHVVIXO%LGRUD%DFNXS%LG HDFKDVGHILQHG
               KHUHLQ  VXFK %LG VKDOO FRQWLQXH WR UHPDLQ LUUHYRFDEOH VXEMHFW WR WKH WHUPV DQG
               FRQGLWLRQVRIWKH%LGGLQJ3URFHGXUHV

         L   $GHTXDWH $VVXUDQFHRI )XWXUH3HUIRUPDQFH7RWKHH[WHQW DSSOLFDEOH HDFK%LG
               PXVW FRQWDLQ HYLGHQFH WKDW WKH %LGGHU KDV WKH DELOLW\ WR FRPSO\ ZLWK WKH
               UHTXLUHPHQWVRIDGHTXDWHDVVXUDQFHRIIXWXUHSHUIRUPDQFHXQGHUVHFWLRQ E  
               RIWKH%DQNUXSWF\&RGH WKH³$GHTXDWH$VVXUDQFH,QIRUPDWLRQ´ 6XFK$GHTXDWH
               $VVXUDQFH ,QIRUPDWLRQPD\LQFOXGH L LQIRUPDWLRQDERXWWKH%LGGHU¶VILQDQFLDO
               FRQGLWLRQ VXFK DV IHGHUDO WD[ UHWXUQV IRU WZR   \HDUV D FXUUHQW  ILQDQFLDO
               VWDWHPHQW RU EDQN DFFRXQW VWDWHPHQWV LL  LQIRUPDWLRQ GHPRQVWUDWLQJ DV
               GHWHUPLQHGE\WKH0RYDQWVLQWKHLUH[HUFLVHRIWKH'HEWRUV¶UHDVRQDEOHEXVLQHVV
               MXGJPHQW LQ FRQVXOWDWLRQ ZLWK WKH &RQVXOWDWLRQ  3DUW\  WKDW WKH %LGGHU KDV WKH
               ILQDQFLDO FDSDFLW\ WR FRQVXPPDWH WKH SURSRVHG $OWHUQDWLYH 7UDQVDFWLRQ LLL 
               HYLGHQFHWKDWWKH%LGGHUKDVREWDLQHGDXWKRUL]DWLRQRUDSSURYDOIURPLWVERDUGRI
               GLUHFWRUV RUFRPSDUDEOHJRYHUQLQJERG\ ZLWKUHVSHFWWRWKHVXEPLVVLRQRILWV%LG
                LY WKHLGHQWLW\DQGH[DFWQDPHRIWKH%LGGHU LQFOXGLQJDQ\HTXLW\KROGHURURWKHU
               ILQDQFLDOEDFNHULIWKH%LGGHULVDQHQWLW\IRUPHGIRUWKHSXUSRVHRIFRQVXPPDWLQJ
               WKHSURSRVHG$OWHUQDWLYH7UDQVDFWLRQ Y VXFKDGGLWLRQDOLQIRUPDWLRQUHJDUGLQJWKH
               %LGGHUDVWKH%LGGHUPD\HOHFWWRLQFOXGHDQG YL VXFKRWKHUGRFXPHQWDWLRQWKDW
               WKH 0RYDQWV PD\ UHTXHVW  %\ VXEPLWWLQJ D %LG WKH %LGGHU V  DJUHH WKDW WKH

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                  0RYDQWV PD\ GLVVHPLQDWH WKHLU $GHTXDWH $VVXUDQFH ,QIRUPDWLRQ WR DIIHFWHG
                  ODQGORUGVDQGFRQWUDFWFRXQWHUSDUWLHVLQWKHHYHQWWKDWWKH0RYDQWVGHWHUPLQHVXFK
                  %LGWREHD4XDOLILHG%LG

         M      $V,V :KHUH,V (DFK %LG PXVW LQFOXGH D ZULWWHQ DFNQRZOHGJHPHQW DQG
                  UHSUHVHQWDWLRQWKDWWKH%LGGHU  KDVKDGDQRSSRUWXQLW\WRFRQGXFWDQ\DQGDOO
                  GXHGLOLJHQFHUHJDUGLQJWKHDVVHWVSULRUWRPDNLQJLWV%LG  KDVUHOLHGVROHO\XSRQ
                  LWV RZQ LQGHSHQGHQW UHYLHZ LQYHVWLJDWLRQ DQGRU LQVSHFWLRQ RI DQ\ GRFXPHQWV
                  DQGRUWKHDVVHW V LQPDNLQJLWV%LGDQG  GLGQRWUHO\XSRQDQ\ZULWWHQRURUDO
                  VWDWHPHQWV UHSUHVHQWDWLRQV SURPLVHV ZDUUDQWLHV RU JXDUDQWLHV ZKDWVRHYHU
                  ZKHWKHUH[SUHVVLPSOLHGE\RSHUDWLRQRIODZRURWKHUZLVHUHJDUGLQJWKHDVVHWVRU
                  WKH FRPSOHWHQHVV RI DQ\ LQIRUPDWLRQ SURYLGHG LQ FRQQHFWLRQ WKHUHZLWK RU WKH
                  $XFWLRQH[FHSWDVH[SUHVVO\VWDWHGLQWKH%LGGHU¶VPDUNXSRIWKH$JUHHPHQW

         N      $IILUPDWLYH6WDWHPHQW(DFK%LGVKDOOEHDFFRPSDQLHGE\DQDIILUPDWLYHVWDWHPHQW
                  LQZKLFKWKH%LGGHUH[SOLFLWO\DJUHHVWKDW L LWKDVDQGZLOOFRQWLQXHWRFRPSO\ZLWK
                  WKHVH%LGGLQJ3URFHGXUHV LL WKH%LGLWVXEPLWVGRHVQRWHQWLWOHVXFK%LGGHU DQG
                  LI LW EHFRPHV D 4XDOLILHG %LGGHU  WR DQ\ EUHDNXS IHH WHUPLQDWLRQ IHH H[SHQVH
                  UHLPEXUVHPHQWRUVLPLODUW\SHRISD\PHQWRU UHLPEXUVHPHQWDQG LLL LW ZDLYHV
                  DQ\VXEVWDQWLDOFRQWULEXWLRQDGPLQLVWUDWLYHH[SHQVHFODLPVXQGHU%DQNUXSWF\&RGH
                  VHFWLRQ E UHODWHGWRELGGLQJIRUWKH3XUFKDVHG$VVHWV

       %\ VXEPLWWLQJLWV %LG HDFK %LGGHU LV DJUHHLQJ DQG VKDOO EH GHHPHG WR KDYH DJUHHG WR
DELGHE\DQGKRQRUWKHWHUPVRIWKH%LGGLQJ3URFHGXUHVLQFOXGLQJEXWQRWOLPLWHGWRUHIUDLQLQJ
IURPDIWHUWKHFRQFOXVLRQRIWKH$XFWLRQHLWKHUVXEPLWWLQJD%LGRUVHHNLQJWRUHRSHQWKH$XFWLRQ
7KH VXEPLVVLRQ RI D %LG VKDOO FRQVWLWXWH D ELQGLQJ DQG LUUHYRFDEOH RIIHU WR DFTXLUH WKH
3XUFKDVHG$VVHWV RUDVVHWV DVUHIOHFWHGLQVXFK%LG

,,,    'HVLJQDWLRQRI4XDOLILHG%LGGHUV

       7KH0RYDQWVZLOOUHYLHZHDFK%LGUHFHLYHGIURPD%LGGHU$%LGZLOOEHFRQVLGHUHGD
³4XDOLILHG %LG´ DQG HDFK %LGGHU WKDW VXEPLWV D4XDOLILHG %LG ZLOO EH FRQVLGHUHG D ³4XDOLILHG
%LGGHU´ LI WKH 0RYDQWV GHWHUPLQH LQ WKHLU VROH GLVFUHWLRQ DQG LQ WKH H[HUFLVH RI WKH 'HEWRUV¶
EXVLQHVVMXGJPHQW LQFRQVXOWDWLRQZLWKWKH&RQVXOWDWLRQ3DUW\ WKDWVXFK%LGZDVUHFHLYHGEHIRUH
WKH%LG'HDGOLQHDQGVDWLVILHVWKH%LG5HTXLUHPHQWVVHWIRUWKDERYH

        1RWZLWKVWDQGLQJDQ\WKLQJKHUHLQWRWKHFRQWUDU\WKH$JUHHPHQWVXEPLWWHGE\WKH6WDONLQJ
+RUVH%LGGHUVKDOOEHGHHPHGD4XDOLILHG%LGDQGWKH6WDONLQJ+RUVH%LGGHULVD4XDOLILHG%LGGHU
IRUHDFKSKDVHRIWKH$XFWLRQ

        1RODWHUWKDQWZR  EXVLQHVVGD\VDIWHUWKHUHFHLSWRID%LGWKH0RYDQWVZLOOQRWLI\WKH
UHOHYDQW%LGGHUZKHWKHURUQRWLWV%LGKDVEHHQGHVLJQDWHGDVD4XDOLILHG%LG1RWZLWKVWDQGLQJ
DQ\WKLQJWRWKHFRQWUDU\KHUHLQDQGZLWKRXWOLPLWLQJWKHSURYLVLRQVRI6HFWLRQ,9 ³5LJKWWR&UHGLW
%LG´ KHUHLQZLWKUHVSHFWWRFUHGLWELGVWKH',3/HQGHUVKDOOEHD4XDOLILHG%LGGHUDQGWRWKH
H[WHQWWKDWWKH',3/HQGHUVXEPLWVD%LGWKDWLVUHFHLYHGE\WKH%LG'HDGOLQHVXFK%LGVKDOOEHD
4XDOLILHG%LG

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        8SRQWKHUHFHLSWRIDQ\FRPSHWLQJ%LG V WKH0RYDQWVVKDOOLPPHGLDWHO\SURYLGHFRXQVHO
IRUWKH6WDONLQJ+RUVH%LGGHUFRSLHVRIDQ\EODFNOLQHRIWKH$JUHHPHQWUHFHLYHGE\WKH0RYDQWV
IURPVXFK%LGGHU V 

        ,IDQ\%LGLVGHWHUPLQHGE\WKH0RYDQWVQRWWREHD4XDOLILHG%LGWKH0RYDQWVZLOOUHIXQG
VXFK%LGGHU¶V(DUQHVW0RQH\'HSRVLWRQWKHGDWHWKDWLVWKUHH  EXVLQHVVGD\VDIWHUWKH0RYDQWV
LQIRUP WKH %LGGHU WKDW LWV %LG LV QRW D 4XDOLILHG %LG RU DV VRRQ DV LV UHDVRQDEO\ SUDFWLFDEOH
WKHUHDIWHU

       %HWZHHQWKHGDWHWKDWWKH0RYDQWVQRWLI\D%LGGHUWKDWLWLVD4XDOLILHG %LGGHUDQGWKH
$XFWLRQWKH0RYDQWVPD\GLVFXVVQHJRWLDWHRUVHHNFODULILFDWLRQRIDQ\4XDOLILHG%LGIURPD
4XDOLILHG%LGGHU:LWKRXWWKHSULRUZULWWHQFRQVHQWRIWKH0RYDQWVD4XDOLILHG%LGGHUPD\QRW
PRGLI\DPHQGRUZLWKGUDZLWV4XDOLILHG%LGH[FHSWIRUSURSRVHGDPHQGPHQWVWRLQFUHDVHWKH
SXUFKDVHSULFHRURWKHUZLVHLPSURYHWKHWHUPVRIWKH4XDOLILHG%LGGXULQJWKHSHULRGWKDWVXFK
4XDOLILHG %LG UHPDLQV ELQGLQJ DV VSHFLILHG LQ WKHVH %LGGLQJ 3URFHGXUHV SURYLGHG WKDW DQ\
4XDOLILHG%LGPD\EHLPSURYHGDWWKH$XFWLRQDVVHWIRUWKKHUHLQ$Q\LPSURYHG4XDOLILHG%LG
PXVW FRQWLQXH WR FRPSO\ ZLWK WKH UHTXLUHPHQWV IRU 4XDOLILHG %LGV VHW IRUWK LQ WKHVH %LGGLQJ
3URFHGXUHV

,9     5LJKWWR&UHGLW%LG

        7KH',3/HQGHUVKDOOKDYHWKHULJKWWRFUHGLWELGDOORUDSRUWLRQRIWKHYDOXHRIVXFK',3
/HQGHU¶VVHFXUHGFODLPVSXUVXDQWWRVHFWLRQ N RIWKH%DQNUXSWF\&RGHDQGDQ\VXFKFUHGLW
ELGZLOOEHFRQVLGHUHGD4XDOLILHG%LGWRWKHH[WHQWVXFKELGLVUHFHLYHGE\WKH%LG'HDGOLQH

       ,QWKHHYHQWWKH',3/HQGHUVXEPLWVD%LG ZKHWKHULWEHD4XDOLILHG%LGDFUHGLWELGRU
RWKHUZLVH  WKH ',3 /HQGHU VKDOO QR ORQJHU EH D &RQVXOWDWLRQ 3DUW\ DQG VKDOO DXWRPDWLFDOO\ EH
GHHPHGH[FOXGHGIURPWKHGHILQLWLRQRI&RQVXOWDWLRQ3DUW\

9      7KH$XFWLRQ

        ,IRQHRUPRUH4XDOLILHG%LGV RWKHUWKDQWKH$JUHHPHQWVXEPLWWHGE\WKH6WDONLQJ+RUVH
%LGGHU DUHUHFHLYHGE\WKH%LG'HDGOLQHWKH0RYDQWVZLOOFRQGXFWDQDXFWLRQ WKH³$XFWLRQ´ WR
GHWHUPLQH WKH KLJKHVW RU RWKHUZLVH EHVW 4XDOLILHG %LG  ,I QR 4XDOLILHG %LG RWKHU WKDQ WKH
$JUHHPHQW LVUHFHLYHGE\WKH%LG'HDGOLQHQR$XFWLRQVKDOOEHFRQGXFWHGDQGWKH$JUHHPHQW
VKDOOEHGHHPHGWREHWKH6XFFHVVIXO%LGDQGWKH6WDONLQJ+RUVH%LGGHUVKDOOEHGHHPHGWREHWKH
6XFFHVVIXO%LGGHU2QO\4XDOLILHG%LGGHUVPD\SDUWLFLSDWHLQWKH$XFWLRQ

        1RODWHUWKDQ0DUFKDWSP SUHYDLOLQJ(DVWHUQ7LPH WKH0RYDQWVZLOO
QRWLI\DOO4XDOLILHG%LGGHUVRIWKHKLJKHVWRURWKHUZLVHEHVW4XDOLILHG%LGDVGHWHUPLQHGE\WKH
0RYDQWVLQWKHLUH[HUFLVHRIWKH'HEWRUV¶EXVLQHVVMXGJPHQWLQFRQVXOWDWLRQZLWKWKH&RQVXOWDWLRQ
3DUW\ WKH ³$XFWLRQ %DVHOLQH %LG´  DQG ZLOO SURYLGH FRSLHV RI WKH GRFXPHQWV VXSSRUWLQJ WKH
$XFWLRQ%DVHOLQH%LGWRDOO4XDOLILHG%LGGHUV

        7KHGHWHUPLQDWLRQRIZKLFK4XDOLILHG%LGFRQVWLWXWHVWKH$XFWLRQ%DVHOLQH%LGDQGZKLFK
4XDOLILHG%LGFRQVWLWXWHVWKH6XFFHVVIXO%LG GHILQHGKHUHLQ VKDOOWDNHLQWRDFFRXQWDQ\IDFWRUV
WKDWWKH0RYDQWVGHHPLQWKHLUVROHGLVFUHWLRQWREHUHOHYDQWWRWKHYDOXHRIWKH4XDOLILHG%LGWR
WKH'HEWRUV¶HVWDWHVDQGWKH&RPSDQ\LQFOXGLQJDPRQJRWKHUWKLQJV D WKHW\SHDQGDPRXQWRI

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3XUFKDVHG$VVHWV RUDVVHWV VRXJKWWREHSXUFKDVHGLQWKH%LG E WKHDPRXQWDQGQDWXUHRIWKH
WRWDOFRQVLGHUDWLRQ F WKHOLNHOLKRRGRIWKH4XDOLILHG%LGGHU¶VDELOLW\WRFORVHDWUDQVDFWLRQDQG
WKHWLPLQJWKHUHRI G WKHQHWHFRQRPLFHIIHFWRIDQ\FKDQJHVWRWKHYDOXHWREHUHFHLYHGE\WKH
'HEWRUV¶ HVWDWHV IURP WKH WUDQVDFWLRQ FRQWHPSODWHG E\ WKH $XFWLRQ %DVHOLQH %LG H  WKH WD[
FRQVHTXHQFHV RI VXFK 4XDOLILHG %LG I  WKH DVVXPSWLRQ RI REOLJDWLRQV LQFOXGLQJ FRQWUDFWV DQG
OHDVHV J WKHFXUHDPRXQWVWREHSDLGDQG K WKHLPSDFWRQHPSOR\HHVLQFOXGLQJWKHQXPEHURI
HPSOR\HHVSURSRVHGWREHWUDQVIHUUHGDQGHPSOR\HHUHODWHGREOLJDWLRQVWREHDVVXPHGLQFOXGLQJ
WKHDVVXPSWLRQRIFROOHFWLYHEDUJDLQLQJDJUHHPHQWV FROOHFWLYHO\WKH³%LG$VVHVVPHQW&ULWHULD´ 

        7KH$XFWLRQ LIDQ\ VKDOOWDNHSODFHRQ0DUFKDWDP SUHYDLOLQJ(DVWHUQ
7LPH DWWKHRIILFHVRI%HUJHU6LQJHUPDQ//3%ULFNHOO$YHQXH6XLWH0LDPL)ORULGD
RUVXFKRWKHUGDWHDQGWLPHDQGRUSODFHDVVHOHFWHGE\WKH0RYDQWV LQFRQVXOWDWLRQZLWK
WKH&RQVXOWDWLRQ3DUW\ VKDOOQRWLI\DOO4XDOLILHG %LGGHUVLQFOXGLQJWKH6WDONLQJ+RUVH%LGGHU
FRXQVHO IRU WKH 6WDONLQJ +RUVH %LGGHU DQG RWKHU LQYLWHHV LQ DFFRUGDQFH ZLWK WKHVH %LGGLQJ
3URFHGXUHVDQGIRUWKHDYRLGDQFHRIDQ\GRXEWWKH$XFWLRQLVVXEMHFWWRWKHULJKWRIWKH0RYDQWV
LQWKHH[HUFLVHRIWKHUHDVRQDEOHEXVLQHVVMXGJPHQWRIWKH'HEWRUVWRDGMRXUQWKH$XFWLRQWRD
ODWHUGDWH

         7KH$XFWLRQVKDOOEHFRQGXFWHGDFFRUGLQJWRWKHIROORZLQJSURFHGXUHV

         D    7KH0RYDQWV6KDOO&RQGXFWWKH$XFWLRQ

        7KH0RYDQWVDQGWKHLUSURIHVVLRQDOVLQFOXGLQJEXWQRWOLPLWHGWRWKH'HEWRUV¶$GYLVRUV
VKDOOGLUHFWDQGSUHVLGHRYHUWKH$XFWLRQ$WWKHVWDUWRIWKH$XFWLRQWKH0RYDQWVVKDOODQQRXQFH
ZKLFK4XDOLILHG%LG V LVDUHGHHPHGWREHWKH$XFWLRQ%DVHOLQH%LG

        2QO\ L WKH0RYDQWV LL WKH6WDONLQJ+RUVH%LGGHU LLL DQ\RWKHU4XDOLILHG%LGGHU LY 
WKH&RQVXOWDWLRQ3DUW\ LHWKH',3/HQGHU DQG Y ZLWKUHVSHFWWR L WKURXJK LY HDFKRIWKHLU
UHVSHFWLYHUHSUHVHQWDWLYHVDQGOHJDODQGILQDQFLDODGYLVRUVVKDOOEHHQWLWOHGWRDWWHQGWKH$XFWLRQ
DQGWKH4XDOLILHG%LGGHUVVKDOODSSHDUDWWKH$XFWLRQLQSHUVRQDQGPD\VSHDNRUELGWKHPVHOYHV
RUWKURXJKGXO\DXWKRUL]HGUHSUHVHQWDWLYHV

         E    1R&ROOXVLRQ*RRG)DLWKBona Fide2IIHU

        (DFK4XDOLILHG%LGGHUSDUWLFLSDWLQJDWWKH$XFWLRQZLOOEHUHTXLUHGWRFRQILUPRQWKHUHFRUG
DWWKH$XFWLRQWKDW L LWKDVQRWHQJDJHGLQDQ\FROOXVLRQZLWKUHVSHFWWRWKHELGGLQJRUVDOHRIWKH
3XUFKDVHG $VVHWV DQG LL  LWV 4XDOLILHG %LG LV D JRRGIDLWK ERQD ILGH RIIHU DQG LW LQWHQGV WR
FRQVXPPDWH WKH SURSRVHG WUDQVDFWLRQ IRU WKH 3XUFKDVHG $VVHWV LI VHOHFWHG DV WKH 6XFFHVVIXO
%LGGHU

         F    7HUPVRI2YHUELGV

       $Q³2YHUELG´PHDQVDQ\ELGPDGHDWWKH$XFWLRQE\D4XDOLILHG%LGGHUVXEVHTXHQWWRWKH
0RYDQWV¶DQQRXQFHPHQWRIWKH$XFWLRQ%DVHOLQH%LG7RVXEPLWDQ2YHUELGIRUSXUSRVHVRIWKLV
$XFWLRQD%LGGHUPXVWFRPSO\ZLWKWKHIROORZLQJFRQGLWLRQV

                 L      0LQLPXP 2YHUELG ,QFUHPHQW  $Q\ 2YHUELG IROORZLQJ WKH $XFWLRQ


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                        %DVHOLQH %LG VKDOO EH QR OHVV WKDQ WKH YDOXH RI WKH  DV
                        GHWHUPLQHG E\ WKH 0RYDQWV LQ WKHLU H[HUFLVH RI WKH 'HEWRUV¶ EXVLQHVV
                        MXGJPHQW$GGLWLRQDOFRQVLGHUDWLRQLQH[FHVVRIWKHDPRXQWVHWIRUWKLQDQ
                        $XFWLRQ%DVHOLQH%LGPD\LQFOXGHFDVKDQGRUQRQFDVKFRQVLGHUDWLRQ)RU
                        SXUSRVHVRIWKH2YHUELGWKH6WDONLQJ+RUVH%LGGHUVKDOOEHHQWLWOHGWRFUHGLW
                        LQWKHDPRXQWRIWKH7HUPLQDWLRQ)HH

                 LL    5HPDLQLQJ WHUPV DUH WKH VDPH DV IRU 4XDOLILHG %LGV ([FHSW DV PRGLILHG
                        KHUHLQDQ2YHUELGPXVWFRPSO\ZLWKWKHFRQGLWLRQVIRUD4XDOLILHG%LGVHW
                        IRUWKDERYHSURYLGHGKRZHYHUWKDWWKH%LG'HDGOLQHVKDOOQRWDSSO\$Q\
                        2YHUELGPXVWUHPDLQRSHQDQGELQGLQJRQWKH%LGGHUXQWLODQGXQOHVVWKH
                        0RYDQWV DFFHSW D KLJKHU 2YHUELG $Q 2YHUELG PD\ FRQWDLQ DOWHUDWLRQV
                        PRGLILFDWLRQV DGGLWLRQV RU GHOHWLRQV RI DQ\ WHUPV RI WKH %LG QR OHVV
                        IDYRUDEOH WR WKH &RPSDQ\ DQGRU WKH 'HEWRUV¶ HVWDWHV WKDQ DQ\ SULRU
                        4XDOLILHG%LGRU2YHUELGDVGHWHUPLQHGE\WKH0RYDQWVLQWKHLUH[HUFLVHRI
                        WKH'HEWRUV¶EXVLQHVVMXGJPHQWEXWVKDOORWKHUZLVHFRPSO\ZLWKWKHWHUPV
                        RIWKHVH%LGGLQJ3URFHGXUHV

         G    &RQVLGHUDWLRQRI2YHUELGV

        7KH0RYDQWVUHVHUYHWKHULJKWLQWKHLUH[HUFLVHRIWKH'HEWRUV¶EXVLQHVVMXGJPHQWDQGLQ
FRQVXOWDWLRQ ZLWK WKH &RQVXOWDWLRQ 3DUW\ WR DGMRXUQ WKH $XFWLRQ RQH RU PRUH WLPHV WR DPRQJ
RWKHUWKLQJVWR L IDFLOLWDWHGLVFXVVLRQVEHWZHHQWKH0RYDQWVDQGWKH4XDOLILHG%LGGHUV LL DOORZ
4XDOLILHG%LGGHUVWRFRQVLGHUKRZWKH\ZLVKWRSURFHHGDQG LLL SURYLGH4XDOLILHG%LGGHUVWKH
RSSRUWXQLW\WRSURYLGHWKH0RYDQWVZLWKVXFKDGGLWLRQDOHYLGHQFHDVWKH0RYDQWVLQWKHLUH[HUFLVH
RIWKH'HEWRUV¶EXVLQHVVMXGJPHQWPD\UHTXLUHWKDWWKHUHOHYDQW4XDOLILHG%LGGHUKDVVXIILFLHQW
LQWHUQDO UHVRXUFHV RU KDV UHFHLYHG VXIILFLHQW QRQFRQWLQJHQW GHEW DQGRU HTXLW\ IXQGLQJ
FRPPLWPHQWV WR FRQVXPPDWH WKH SURSRVHG SXUFKDVH RI WKH 3XUFKDVHG $VVHWV DW WKH SUHYDLOLQJ
2YHUELGDPRXQW

       8SRQWKHVROLFLWDWLRQRIHDFKURXQGRI2YHUELGVWKH0RYDQWVPD\DQQRXQFHDGHDGOLQH DV
WKH0RYDQWVPD\LQWKHLUH[HUFLVHRIWKH'HEWRUV¶EXVLQHVVMXGJPHQWH[WHQGIURPWLPHWRWLPH
WKH³2YHUELG5RXQG'HDGOLQH´ E\ZKLFKWLPHDQ\2YHUELGVPXVWEHVXEPLWWHGWRWKH0RYDQWV

        6XEVHTXHQW WR HDFK 2YHUELG 5RXQG 'HDGOLQH WKH 0RYDQWV VKDOO DQQRXQFH ZKHWKHU WKH
0RYDQWVKDYHLGHQWLILHG D LQWKHLQLWLDO2YHUELGURXQGDQ2YHUELGDVEHLQJKLJKHURURWKHUZLVH
EHWWHUWKDQWKH$XFWLRQ%DVHOLQH%LGRU E LQVXEVHTXHQWURXQGVDQ2YHUELGDVEHLQJKLJKHURU
RWKHUZLVHEHWWHUWKDQWKH2YHUELGSUHYLRXVO\GHVLJQDWHGE\WKH0RYDQWVDVWKHSUHYDLOLQJKLJKHVW
RURWKHUZLVHEHVW%LG WKH³3UHYDLOLQJ+LJKHVW%LG´ 7KH0RYDQWVVKDOOGHVFULEHWRDOO4XDOLILHG
%LGGHUV WKH PDWHULDO WHUPV RI DQ\ QHZ 2YHUELG GHVLJQDWHG E\ WKH 0RYDQWV DV WKH 3UHYDLOLQJ
+LJKHVW%LGDVZHOODVWKHYDOXHDWWULEXWDEOHE\WKH0RYDQWVWRVXFK3UHYDLOLQJ+LJKHVW%LGEDVHG
RQDPRQJRWKHUWKLQJVWKH%LG$VVHVVPHQW&ULWHULD

         H    %DFNXS%LGGHU

      1RWZLWKVWDQGLQJ DQ\WKLQJ LQ WKH %LGGLQJ 3URFHGXUHV WR WKH FRQWUDU\ LI DQ $XFWLRQ LV
FRQGXFWHG WKH SDUW\ ZLWK WKH QH[W KLJKHVW RU RWKHUZLVH EHVW 4XDOLILHG %LG DW WKH $XFWLRQ DV

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GHWHUPLQHGE\WKH0RYDQWVLQWKHLUH[HUFLVHRIWKH'HEWRUV¶EXVLQHVVMXGJPHQW LQFRQVXOWDWLRQ
ZLWK WKH &RQVXOWDWLRQ 3DUW\  ZLOO EH GHVLJQDWHG DV WKH EDFNXS ELGGHU WKH ³%DFNXS %LGGHU´ 
6XEMHFWWRWKH$JUHHPHQWLQFOXGLQJ6HFWLRQ F LL RIWKH$JUHHPHQWWKH%DFNXS%LGGHUVKDOO
EHUHTXLUHGWRNHHSLWVLQLWLDO%LG RULIWKH%DFNXS%LGGHUVXEPLWWHGRQHRUPRUH2YHUELGVDWWKH
$XFWLRQLWVILQDO2YHUELG  WKH³%DFNXS%LG´ RSHQDQGLUUHYRFDEOHXQWLOWKHHDUOLHURISP
 SUHYDLOLQJ(DVWHUQ7LPH RQWKHGDWHWKDWLVWKLUW\  GD\VDIWHUWKHFRQFOXVLRQRIWKH$XFWLRQ
 WKH ³2XWVLGH %DFNXS 'DWH´  RU WKH FORVLQJ RI WKH $OWHUQDWLYH 7UDQVDFWLRQ ZLWK WKH 6XFFHVVIXO
%LGGHU

        )ROORZLQJ WKH 6DOH +HDULQJ LI WKH 6XFFHVVIXO %LGGHU IDLOV WR FRQVXPPDWH DQ DSSURYHG
WUDQVDFWLRQEHFDXVHRIDEUHDFKRUIDLOXUHWRSHUIRUPRQWKHSDUWRIVXFK6XFFHVVIXO%LGGHUWKH
0RYDQWVPD\GHVLJQDWH LQFRQVXOWDWLRQZLWKWKH&RQVXOWDWLRQ3DUW\ WKH%DFNXS%LGGHUWREHWKH
QHZ6XFFHVVIXO%LGGHUDQGWKH0RYDQWVZLOOEHDXWKRUL]HGEXWQRWUHTXLUHGWRFRQVXPPDWHWKH
WUDQVDFWLRQZLWKWKH%DFNXS%LGGHU$KHDULQJWRDXWKRUL]HDVDOHWRWKH%DFNXS%LGGHUZLOOEH
KHOGE\WKH%DQNUXSWF\&RXUWRQQROHVVWKDQWKUHH  GD\V¶QRWLFHZLWKVXSSOHPHQWDOREMHFWLRQV
GXHDWOHDVWWZR  GD\VSULRUWRVXFKKHDULQJ WKH³%DFNXS6DOH+HDULQJ´ )RUWKHDYRLGDQFHRI
GRXEWRQO\SDUWLHVZKRWLPHO\ILOHGDQREMHFWLRQWRWKH6DOHE\WKH6DOH2EMHFWLRQ'HDGOLQHPD\
VXSSOHPHQW WKHLU REMHFWLRQ WR WKH %DFNXS %LGGHU DQG DOO VXFK LVVXHV VKDOO EH OLPLWHG WR LVVXHV
UHODWLQJ WR WKH LGHQWLW\ RI WKH %DFNXS %LGGHU  ,Q VXFK FDVH WKH GHIDXOWLQJ 6XFFHVVIXO %LGGHU¶V
(DUQHVW0RQH\'HSRVLWVKDOOEHIRUIHLWHGWRWKH0RYDQWVRQEHKDOIRIWKH'HEWRUV¶HVWDWHVDQGWKH
0RYDQWVRQEHKDOIRIWKH'HEWRUVVSHFLILFDOO\UHVHUYHWKHULJKWWRVHHNDOODYDLODEOHGDPDJHVIURP
WKHGHIDXOWLQJ6XFFHVVIXO%LGGHU7KH(DUQHVW0RQH\'HSRVLWRIWKH%DFNXS%LGGHUVKDOOEHKHOG
E\WKH0RYDQWVXQWLOWKHHDUOLHURIRQH  EXVLQHVVGD\DIWHU L WKHFORVLQJRIWKHWUDQVDFWLRQZLWK
WKH6XFFHVVIXO%LGGHUDQG LL WKH2XWVLGH%DFNXS'DWH

         I     $GGLWLRQDODQG0RGLILHG3URFHGXUHV

        7KH0RYDQWV LQFRQVXOWDWLRQZLWKWKH&RQVXOWDWLRQ3DUW\ PD\DQQRXQFHDWWKH$XFWLRQ
DGGLWLRQDO RU PRGLILHG UXOHV DQG SURFHGXUHV WKDW DUH UHDVRQDEOH XQGHU WKH FLUFXPVWDQFHV HJ
OLPLWDWLRQVRQWKHDPRXQWRIWLPHWRPDNHVXEVHTXHQW2YHUELGVFKDQJHVLQPLQLPXP2YHUELG
LQFUHPHQWVHWF IRUFRQGXFWLQJWKH$XFWLRQVRORQJDVVXFKUXOHVDUHQRWLQFRQVLVWHQWZLWKWKH
%LGGLQJ3URFHGXUHVRUWKH$JUHHPHQW

         J     &RQVHQWWR-XULVGLFWLRQDV&RQGLWLRQWR%LGGLQJ

       7KH6WDONLQJ+RUVH%LGGHUDQG DOO4XDOLILHG%LGGHUVDWWKH$XFWLRQVKDOOEHGHHPHGWR
KDYHFRQVHQWHGWRWKHFRUHMXULVGLFWLRQRIWKH%DQNUXSWF\&RXUWDQGZDLYHGDQ\ULJKWWRDMXU\WULDO
LQFRQQHFWLRQDQ\GLVSXWHVUHODWLQJWRWKHVH%LGGLQJ3URFHGXUHVWKH$XFWLRQRUWKHFRQVWUXFWLRQ
DQGHQIRUFHPHQWRIDQ\GRFXPHQWVUHODWLQJWRDQ$OWHUQDWLYH7UDQVDFWLRQ

         K     &ORVLQJWKH$XFWLRQ

       7KH$XFWLRQVKDOOFRQWLQXHXQWLOWKH0RYDQWVGHWHUPLQHLQWKHLUH[HUFLVHRIWKH'HEWRUV¶
UHDVRQDEOHEXVLQHVVMXGJPHQW LQFRQVXOWDWLRQZLWK&RQVXOWDWLRQ3DUW\ WKDWWKHUHLVDKLJKHVWRU
RWKHUZLVHEHVW4XDOLILHG%LGRU4XDOLILHG%LGVDWWKH$XFWLRQIRUVRPHVXEVWDQWLDOO\DOORUDOORI
WKH3XUFKDVHG$VVHWV HDFKD³6XFFHVVIXO%LG´DQGHDFK%LGGHUVXEPLWWLQJVXFK6XFFHVVIXO%LGD

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³6XFFHVVIXO%LGGHU´ 7KH$XFWLRQVKDOOQRWFORVHXQOHVVDQGXQWLODOO%LGGHUVZKRKDYHVXEPLWWHG
4XDOLILHG%LGVKDYHEHHQJLYHQDUHDVRQDEOHRSSRUWXQLW\WRVXEPLWDQ2YHUELGDWWKH$XFWLRQWR
WKH WKHQH[LVWLQJ 2YHUELGV DQG WKH 6XFFHVVIXO %LGGHU KDV VXEPLWWHG IXOO\ H[HFXWHG VDOH DQG
WUDQVDFWLRQ GRFXPHQWV PHPRULDOL]LQJ WKH WHUPV RI WKH 6XFFHVVIXO %LG  :LWKLQ VL[   KRXUV
IROORZLQJWKHFRQFOXVLRQRIWKH$XFWLRQWKH0RYDQWVVKDOOILOHDQRWLFHRQWKH%DQNUXSWF\&RXUW¶V
GRFNHWLQHDFKRIWKHFDVHVRIWKH&KDSWHU'HEWRUVDQGLQWKHOHDGFDVHIRUWKH&KDSWHU'HEWRUV
LGHQWLI\LQJ ZLWKVSHFLILFLW\ WKH6XFFHVVIXO%LGGHUIRUWKH3XUFKDVHG$VVHWVDQGDQ\DSSOLFDEOH
%DFNXS%LGGHUV7KH0RYDQWVVKDOOQRWFRQVLGHUDQ\%LGVVXEPLWWHGDIWHUWKHFRQFOXVLRQRIWKH
$XFWLRQDQGDQ\DQGDOOVXFK%LGVVKDOOEHGHHPHGXQWLPHO\DQGVKDOOXQGHUQRFLUFXPVWDQFHV
FRQVWLWXWHD4XDOLILHG%LG

       6XFK DFFHSWDQFH E\ WKH 0RYDQWV RQ EHKDOI RI WKH 'HEWRUV RI WKH 6XFFHVVIXO %LG LV
FRQGLWLRQHGXSRQDSSURYDOE\WKH%DQNUXSWF\&RXUWRIWKH6XFFHVVIXO%LG

       7KH 0RYDQWV VKDOO PDLQWDLQ D ZULWWHQ WUDQVFULSW RI DOO %LGV PDGH DQG DQQRXQFHG DW WKH
$XFWLRQ LQFOXGLQJ WKH $XFWLRQ %DVHOLQH %LG DOO 2YHUELGV DOO 3UHYDLOLQJ +LJKHVW %LGV WKH
6XFFHVVIXO%LGDQGDQ\%DFNXS%LG

9,     7HUPLQDWLRQ)HH

       7KH6WDONLQJ+RUVH%LGGHULVHQWLWOHGWRSD\PHQWRILWV7HUPLQDWLRQ)HHSXUVXDQWWRWKH
WHUPVRIWKH$JUHHPHQW

         7KH0RYDQWVUHFRJQL]HWKHYDOXHDQGEHQHILWVWKDWWKH6WDONLQJ+RUVH%LGGHUKDVSURYLGHG
WR WKH 'HEWRUV¶ HVWDWHV E\ HQWHULQJ LQWR WKH $JUHHPHQW DV ZHOO DV WKH 6WDONLQJ +RUVH %LGGHU¶V
H[SHQGLWXUHRIWLPHHQHUJ\DQGUHVRXUFHV7KHUHIRUHVXEMHFWWRWKHWHUPVRIWKH$JUHHPHQWWKH
0RYDQWVVKDOOSD\WKH%UHDNXS)HHDQGWKH([SHQVH5HLPEXUVHPHQWRXWRIWKHSURFHHGVRIDQ
$OWHUQDWLYH7UDQVDFWLRQWRWKH6WDONLQJ+RUVH%LGGHUE\ZLUHWUDQVIHURI LPPHGLDWHO\DYDLODEOH
IXQGVWRWKHDFFRXQWVSHFLILHGE\WKH6WDONLQJ+RUVH%LGGHUWRWKH0RYDQWVLQZULWLQJDQGVKDOO
EHSDLGWRWKH6WDONLQJ+RUVH%LGGHUSULRUWRWKHSD\PHQWRIWKHSURFHHGVRIVXFKVDOHWRDQ\WKLUG
SDUW\DVVHUWLQJDOLHQRQWKH3XUFKDVHG$VVHWV DQGQR/LHQRIDQ\WKLUGSDUW\VKDOODWWDFKWRWKH
SRUWLRQRIWKHVDOHSURFHHGVUHSUHVHQWLQJWKH%UHDNXS)HHDQGWKH([SHQVH5HLPEXUVHPHQW 

        7KH %UHDNXS )HH VKDOO EH SDLG WKUHH   EXVLQHVV GD\V IROORZLQJ WKH FORVLQJ RI DQ
$OWHUQDWLYH 7UDQVDFWLRQ 3ULRU WR SD\PHQW RI WKH ([SHQVH 5HLPEXUVHPHQW WKH 6WDONLQJ +RUVH
%LGGHUVKDOOSURYLGHWKH0RYDQWVZLWKLQYRLFHVGHWDLOLQJLWVGRFXPHQWHGRXWRISRFNHWH[SHQVHV
DQG WKH 0RYDQWV VKDOO KDYH WKUHH   EXVLQHVV GD\V WR REMHFW WKH ³([SHQVH 5HLPEXUVHPHQW
2EMHFWLRQ 'HDGOLQH´  WR WKH UHDVRQDEOHQHVV RI WKH H[SHQVHV LQFXUUHG  7KH ([SHQVH
5HLPEXUVHPHQW VKDOO EH SDLG ZLWKLQ WKUHH   EXVLQHVV GD\V IROORZLQJ WKH H[SLUDWLRQ RI WKH
([SHQVH5HLPEXUVHPHQW2EMHFWLRQ'HDGOLQHLIQRREMHFWLRQVDUHUHFHLYHG

       7KH7HUPLQDWLRQ)HHVKDOOFRQVWLWXWHDQDOORZHGDGPLQLVWUDWLYHH[SHQVHFODLPDJDLQVWWKH
'HEWRUV¶EDQNUXSWF\HVWDWHV

       ([FHSW IRU WKH 6WDONLQJ +RUVH %LGGHU QR RWKHU SDUW\ VXEPLWWLQJ DQ RIIHU RU %LG IRU WKH
3XUFKDVHG$VVHWVRUD4XDOLI\LQJ%LGVKDOOEHHQWLWOHGWRDQ\H[SHQVHUHLPEXUVHPHQWEUHDNXSIHH
WHUPLQDWLRQRUVLPLODUIHHRUSD\PHQW

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        ,QWKHHYHQWQR4XDOLILHG%LGRWKHUWKDQWKH6WDONLQJ+RUVH%LGLVUHFHLYHGWKH0RYDQWV
UHVHUYHWKHULJKWWRUHTXHVW LQFRQVXOWDWLRQZLWKWKH&RQVXOWDWLRQ3DUW\ WKDWWKH%DQNUXSWF\&RXUW
DGYDQFHWKHGDWHRIWKH6DOH+HDULQJDQGSURYLGHQRWLFHRIVXFKQHZGDWHWRWKRVHSDUWLHVLQLQWHUHVW
HQWLWOHGWRQRWLFHWKHUHRI

         7KH6DOH+HDULQJPD\EHDGMRXUQHGRUUHVFKHGXOHGIURPWLPHWRWLPH

9,, 6DOH+HDULQJ

        2EMHFWLRQVLIDQ\WRWKH6DOHDQGRUWKHVDOHRIWKH3XUFKDVHG$VVHWVWRWKH6XFFHVVIXO
%LGGHUDQGWKHWUDQVDFWLRQFRQWHPSODWHGE\WKH$JUHHPHQWPXVWEHLQZULWLQJDQGILOHGZLWKWKH
%DQNUXSWF\ &RXUW QR ODWHU WKDQ  SP SUHYDLOLQJ (DVWHUQ 7LPH  RQ 0DUFK   WKH
³6DOH2EMHFWLRQ'HDGOLQH´ DQGEHVHUYHGVXFKWKDWWKH\DUHDFWXDOO\UHFHLYHGE\WKHIROORZLQJ
SDUWLHVSULRUWRWKH6DOH2EMHFWLRQ'HDGOLQH  JOMR and JOMHFR L WKH&KLHI5HVWUXFWXULQJ
2IILFHU0F+DOH3$-DFNVRQ6WUHHW6XLWH)RUW0\HUV)/ $WWQ*HUDUG$
0F+DOH -U MHUU\P#WKHUHFHLYHUQHW DQG 9HURQLFD /DUULYD YHURQLFDO#WKHUHFHLYHUQHW  DQG LL 
bankruptcy counsel for JOMR and JOMH%HUJHU6LQJHUPDQ//3%ULFNHOO$YHQXH6XLWH
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DQG&KULVWRSKHU$QGUHZ-DUYLQHQ(VT FMDUYLQHQ#EHUJHUVLQJHUPDQFRP    L the Trustee
5REHUW(7DUGLI-U32%R[1R)RUW0\HUV)/ $WWQ5REHUW(7DUGLI-U(VT
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 VLQJHUPDQ#EHUJHUVLQJHUPDQFRP             DQG    &KULVWRSKHU     $QGUHZ     -DUYLQHQ     (VT
 FMDUYLQHQ#EHUJHUVLQJHUPDQFRP   FRXQVHOIRUWKH6WDONLQJ+RUVH%LGGHU<RXQJ&RQDZD\
6WDUJDWW 7D\ORU//31RUWK.LQJ6WUHHW:LOPLQJWRQ'HODZDUH $WWQ0LFKDHO5
1HVWRU(VT PQHVWRU#\FVWFRP DQG$QGUHZ/0DJD]LQHU(VT DPDJD]LQHU#\FVWFRP DQG
  counsel for the DIP Lender5HHG6PLWK//37KUHH/RJDQ6TXDUH$UFK6WUHHW6XLWH
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        ,I QR $XFWLRQ LV WR EH KHOG WKH 0RYDQWV ZLOO ILOH D QRWLFH QR ODWHU WKDQ  SP
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WKH0RYDQWVLQWKHH[HUFLVHRIWKHUHDVRQDEOHEXVLQHVVMXGJPHQWRIWKH'HEWRUVWRDGMRXUQWKH
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WKH6DOH+HDULQJ1RIXUWKHUQRWLFHRIDQ\VXFKFRQWLQXDQFHZLOOEHUHTXLUHGWREHSURYLGHG
WRDQ\SDUW\

       7KHDSSURYHG6DOHVKDOOFORVHQRWODWHUWKDQ0DUFKXQOHVVWKH0RYDQWVLQWKH
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        7KH(DUQHVW0RQH\'HSRVLWVIRUHDFK4XDOLILHG%LGGHU L VKDOOEHKHOGLQRQHRUPRUH
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EHKDOIRIWKH'HEWRUV¶HVWDWHV LL VKDOOQRWEHFRPHSURSHUW\RIWKH'HEWRUV¶HVWDWHVDEVHQWIXUWKHU
RUGHURIWKH%DQNUXSWF\&RXUWDQG LLL VKDOOEHUHWXUQHG RWKHUWKDQZLWKUHVSHFWWRWKH6XFFHVVIXO
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       8SRQ WKH UHWXUQ RI WKH (DUQHVW 0RQH\ 'HSRVLW WKH DSSOLFDEOH 4XDOLILHG %LGGHUV VKDOO
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        ,ID6XFFHVVIXO%LGGHUIDLOVWRFRQVXPPDWHDSURSRVHGWUDQVDFWLRQEHFDXVHRIDEUHDFKE\
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        1RWZLWKVWDQGLQJ DQ\WKLQJ WR WKH FRQWUDU\ FRQWDLQHG KHUHLQ QRWKLQJ LQ WKH %LGGLQJ
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ILGXFLDU\GXWLHVXQGHUDSSOLFDEOHODZ

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SURFHGXUDOUXOHVWKDWWKH0RYDQWVGHWHUPLQHZLOOEHWWHUSURPRWHWKHJRDOVRIWKHELGGLQJSURFHVV
LQFOXGLQJ EXW QRW OLPLWHG WR DGGLQJ SURFHGXUDO UXOHV WKDW DUH UHDVRQDEO\ QHFHVVDU\ RU DGYLVDEOH
XQGHUWKH FLUFXPVWDQFHV IRUFRQGXFWLQJWKH$XFWLRQ J H[WHQGWKHGHDGOLQHVVHWIRUWKLQWKHVH
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ELGLIWKH0RYDQWVLQWKHH[HUFLVHRIWKH'HEWRUV¶UHDVRQDEOHEXVLQHVVMXGJPHQWWKDWFRQVXOWLQJ
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Bidding Procedures, (II) Scheduling the Bid Deadlines and the Auction, (III) Scheduling a Hearing
to Consider the Transaction, (IV) Approving the Form and Manner of Notice Thereof, (V)
Approving Contract Procedures, and (VI) Granting Related Relief 'RF BBB  WKH ³%LGGLQJ
3URFHGXUHV 2UGHU´  HQWHUHG E\ WKH 8QLWHG 6WDWHV %DQNUXSWF\ &RXUW IRU WKH 0LGGOH 'LVWULFW RI
)ORULGD WKH³&RXUW´ RQ)HEUXDU\BB-XVW2QH0RUH5HVWDXUDQW&RUS ³-205´ DQG-XVW
2QH 0RUH +ROGLQJ &RUS ³-20+´ DQG WRJHWKHU ZLWK -205 FROOHFWLYHO\ WKH ³&KDSWHU 
'HEWRUV´ WKURXJK*HUDUG$0F+DOH-UQRWLQKLVLQGLYLGXDOFDSDFLW\EXWVROHO\LQKLVFDSDFLW\
DVWKH&KLHI5HVWUXFWXULQJ2IILFHURIWKH&KDSWHU'HEWRUV WKH³&52´ DQG5REHUW(7DUGLI
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                                          EXHIBIT D

                                            JOMR IP

Registered Trademarks:

Palm
Palm with tree design
Palm Restaurant est. 1926 with tree design (without the circle)
Palm Restaurant with tree design in circle
Tree design
The Original Cool
837 Club
Prime Bites
Palm Bar & Grille with tree design in circle
Palm Pak




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                                             EXHIBIT E

                            Real Estate Leases of Operating Companies

Restaurant Lease Agreement dated November 11, 1994 between CCSH Atlanta LLC, as successor landlord
to SNH Ackerman Associates, L.P., as landlord, and Atlanta Palm Food Corporation, as tenant, as amended

Indenture of Lease dated November 19, 2002 between Tropicana Atlantic City Corp., as successor landlord
to Adamar of New Jersey, Inc. as landlord, and Atlantic City Palm, LLC, as tenant, as amended

Leased dated October 7, 2013 between 267 North Canon Drive LLC, as landlord, and Palm Beverly Hills
Restaurant, LLC, as tenant

Lease dated March 30, 2012 between Fort Hill Square I Owner LLC, as landlord, and Boston Palm
Corporation, as tenant, as amended

Lease Agreement dated March 5, 1997 between Phillips Place Partners, LLC, as successor landlord to The
Harris Group of Carolinas, Inc., as landlord, and Charlotte Palm Corporation, as tenant, as amended

Restaurant Lease Agreement dated August 7, 1995 between CCSH Chicago LLC, as successor landlord to
SNH Chicago, Inc., as landlord, and Chicago Palm, Inc., as tenant, as amended

Shopping Center Lease dated December 15, 1995 between CCP/MS SSIII Denver Tabor Center 1 Property
Owner LLC, as successor landlord to Tabor Center Associates, L.P., as landlord, and Denver Palm
Corporation, as tenant, as amended

Lease Agreement dated October 25, 2012 between Briargrove Retail, L.P., as landlord, and Palm Restaurant
of Houston, Inc., as tenant, as amended

1100 South Flower Building Lease dated May 9, 2001 between PSP Investment Group, LLC, as successor
landlord to Flower Holdings, LLC, as landlord, and L.A. Downtown Palm, LLC, as tenant, as amended

Lease dated October 23, 2014 between Forum Shops, LLC, as landlord, and Palm Restaurant of Las Vegas,
Inc., as tenant, as amended

Lease dated August 19, 1987 between BHI Hotel, LLC, as successor landlord to The Sand Joint Venture,
as landlord, and Miami Palm Restaurant, Inc., as tenant, as amended

Lease dated as of June 14, 2000 between Turnberry/Nashville Arena Hotel, LP, as landlord, and Nashville
Palm Restaurant, L.L.C., as tenant, as amended

Lease dated December 21, 2007 between 200 Chambers, LLC, as successor landlord to West-Chambers
Street Associates, LLC, as landlord, and Palm New York Downtown, LLC, as tenant, as amended

Agreement of Lease dated July 21, 1999 between UCF Hotel Venture, as landlord, and Palm Orlando
Corporation, as tenant

Agreement of Lease dated January 1, 2016 between Palm Management Corporation, as landlord, and Palm
Restaurant, Inc., as tenant (for ground floor and basement in building known as 838 Second Avenue, NY,
NY)



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Agreement of Lease dated January 23, 1990 between Katherine Seidner, as successor landlord to Anthony
J. Mansucci and Marcy Belli, Trustees, as landlord, and Palm Restaurant, Inc., as tenant, as amended (for
ground floor and basement in building known as 836 Second Avenue, NY, NY)

Lease Agreement dated August 29, 1972 between Janice Peterson Family GST Trust, Jeffrey Peterson
Family GST Trust, and David Peterson Family GST Trust, as successor landlord to Pasqualina Peterson, as
landlord, and La Pace Restaurant, Inc., as tenant, as amended (for ground floor and basement in building
known as 840 Second Avenue, NY, NY)

Agreement of Lease dated November 17, 1998 between AvalonBay Communities, Inc., as successor
landlord to Resnick Eighth Avenue Associates, LLC, as landlord, and Palm West Corporation, as tenant,
as amended

Enclosed Mall Lease dated September 21, 2016 between Bellevue Associates, as landlord, and Palm
Philadelphia Restaurant, LLC, as tenant, as amended

Lease Agreement dated November 11, 1998 between GrayStreet Houston – 229 E. Houston Street, LLC,
as successor landlord to Street Retail San Antonio, LP, as landlord, and San Antonio Palm Restaurant, Inc.,
as tenant, as amended

Lease dated February 25, 1999 between TYE Development Company, LLC, as successor landlord to MDM
Development Company, L.L.C., as landlord, and Palm Tysons Too, Inc., as tenant, as amended

Lease Agreement dated November 15, 2005 between MCP II Jefferson, LLC, as successor landlord to
Metropolitan Life Insurance Company, as landlord, and Washington Palm, Inc., as tenant, as amended

Lease dated February 21, 2019 between MSC Sand Lake IV, Inc., as landlord, and Palm Management
Corp., as tenant, as amended (office space)

Office Lease dated April 24, 1980, between Jefferson Limited Partnership and Washington Palm, Inc.




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                                         EXHIBIT F

                                      Form of Sale Order

                                        (See attached)




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(I) Approving Purchase Agreement and Authorizing the Sale of Certain Assets of the Debtors

Outside the Ordinary Course of Business, (II) Authorizing the Sale of Assets Free and Clear of All

Claims and Liens Except for Permitted Liens, Encumbrances and Assumed Liabilities, (III)

Authorizing the Assumption and Assignment of Certain Executory Contracts of Chapter 11 Debtor

JOMR, and (IV) Granting Related Relief 'RFBBB  WKH³6DOH0RWLRQ´ ILOHGE\-XVW2QH0RUH

5HVWDXUDQW&RUS ³-205´ DQG-XVW2QH0RUH+ROGLQJ&RUS ³-20+´DQGWRJHWKHUZLWK-205

FROOHFWLYHO\ WKH ³&KDSWHU  'HEWRUV´  WKURXJK *HUDUG $ 0F+DOH -U QRW LQ KLV LQGLYLGXDO

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&RXUW¶VOrder Approving Joint Motion for Entry of an Order (I) Approving Bidding Procedures,

(II) Scheduling the Bid Deadlines and the Auction, (III) Scheduling a Hearing to Consider the

Transaction, (IV) Approving the Form and Manner of Notice Thereof, (V) Approving Contract

Procedures, and (VI) Granting Related Relief 'RFBB  WKH³%LGGLQJ3URFHGXUHV2UGHU´ WKLV

&RXUWKDYLQJDXWKRUL]HGWKH6HOOHUVWRHQWHULQWRWKDWFHUWDLQ3XUFKDVH$JUHHPHQWE\DQGEHWZHHQ

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UHTXHVWVIRUQRWLFHVXQGHU%DQNUXSWF\5XOH E RUZHUHHQWLWOHGWRQRWLFHXQGHU%DQNUXSWF\

5XOHRU/RFDO5XOH YL DOOFUHGLWRUV ZKHWKHUWKHLU&ODLPVDUHOLTXLGDWHGFRQWLQJHQW

RU XQPDWXUHG  RI WKH 'HEWRUV YLL  DOO LQWHUHVWHG JRYHUQPHQWDO DXWKRULWLHV LQ WKH 'HEWRUV¶

EDQNUXSWF\FDVHV YLLL WKH2IILFHRIWKH8QLWHG6WDWHV7UXVWHHIRUWKH0LGGOH'LVWULFWRI)ORULGD

DQG L[ DOOHQWLWLHVWKDWKHUHWRIRUHHQWHUHGLQWRQRQGLVFORVXUHDJUHHPHQWVZLWKWKH0RYDQWVZLWK

UHVSHFWWRSRWHQWLDOSXUFKDVHRIWKH'HEWRUV¶LQWHUHVWVLQWKH&RPSDQ\2WKHUSDUWLHVLQWHUHVWHGLQ

ELGGLQJ RQ WKH 3XUFKDVHG $VVHWV ZHUH SURYLGHG SXUVXDQW WR WKH %LGGLQJ 3URFHGXUHV 2UGHU

VXIILFLHQWLQIRUPDWLRQWRPDNHDQLQIRUPHGMXGJPHQWRQZKHWKHUWRELGRQWKH3XUFKDVHG$VVHWV

         +     7KH3XUFKDVHG$VVHWVDUHSURSHUW\RIWKH'HEWRUV¶HVWDWHVDQGWLWOHWKHUHWRLVYHVWHG

LQWKH'HEWRUV¶HVWDWHV

         ,     7KH0RYDQWVLQWKHH[HUFLVHRIWKH'HEWRUV¶UHDVRQDEOHEXVLQHVVMXGJPHQWKDYH

GHPRQVWUDWHG D VXIILFLHQW EDVLV DQG WKH H[LVWHQFH RI UHDVRQDEOH DSSURSULDWH DQG FRPSHOOLQJ

FLUFXPVWDQFHVUHTXLULQJWKHPRQEHKDOIRIWKH'HEWRUV¶HVWDWHVWRHQWHULQWRWKH$JUHHPHQWWR

WUDQVIHU WKH 3XUFKDVHG $VVHWV DQG DVVXPH DQG DVVLJQ WKH $VVLJQHG -205 &RQWUDFWV WR WKH

3XUFKDVHUXQGHUVHFWLRQVDQGRIWKH%DQNUXSWF\&RGHDQGVXFKDFWLRQVDUHDSSURSULDWH

H[HUFLVHVRIWKH'HEWRUV¶UHDVRQDEOHEXVLQHVVMXGJPHQWDQGLQWKHEHVWLQWHUHVWVRIWKH'HEWRUV

WKHLUHVWDWHVDQGWKHLUVWDNHKROGHUV

         -     7KH %LGGLQJ 3URFHGXUHV VHW IRUWK LQ WKH %LGGLQJ 3URFHGXUHV 2UGHU ZHUH QRQ

FROOXVLYHVXEVWDQWLYHO\DQGSURFHGXUDOO\IDLUWRDOORIWKHUHOHYDQWSDUWLHV



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         .      7KH0RYDQWVDQGWKHLUSURIHVVLRQDOVKDYHFRPSOLHGLQJRRGIDLWKLQDOOUHVSHFWV

ZLWK WKH %LGGLQJ 3URFHGXUHV 2UGHU $V GHPRQVWUDWHG E\ L  WKH WHVWLPRQ\ DQG RWKHU HYLGHQFH

SURIIHUHGRUDGGXFHGDWWKH6DOH+HDULQJRUVXEPLWWHGE\DIILGDYLWRUGHFODUDWLRQDWRUSULRUWRWKH

6DOH+HDULQJDQG LL WKHUHSUHVHQWDWLRQVRIFRXQVHOPDGHRQWKHUHFRUGDWWKH6DOH+HDULQJWKURXJK

PDUNHWLQJ HIIRUWV DQG D FRPSHWLWLYH VDOH SURFHVV FRQGXFWHG LQ DFFRUGDQFH ZLWK WKH %LGGLQJ

3URFHGXUHV 2UGHU WKH 0RYDQWV D  DIIRUGHG LQWHUHVWHG LQYHVWRUV D IXOO IDLU DQG UHDVRQDEOH

RSSRUWXQLW\WRTXDOLI\DVELGGHUVDQGVXEPLWWKHLUKLJKHVWRURWKHUZLVHEHVWRIIHUWRSXUFKDVHDOO

RI WKH 'HEWRUV¶ LQWHUHVWV LQ WKH &RPSDQ\ LH WKH 3XUFKDVHG $VVHWV  E  SURYLGHG LQWHUHVWHG

LQYHVWRUVXSRQUHTXHVWVXIILFLHQWLQIRUPDWLRQWRHQDEOHWKHPWRPDNHDQLQIRUPHGMXGJPHQWRQ

ZKHWKHUWRELGRQWKH3XUFKDVHG$VVHWVDQG F FRQVLGHUHGDQ\ELGVVXEPLWWHGRQRUEHIRUHWKH

GHDGOLQHWRVXEPLWELGVDVVHWIRUWKLQWKH%LGGLQJ3URFHGXUHV WKH³%LG'HDGOLQH´ 

         /      7KH3XUFKDVHUKDVSXWIRUWKWKHKLJKHVWRURWKHUZLVHEHVWRIIHUIRUWKH3XUFKDVHG

$VVHWVSXUVXDQWWRWKHWHUPVRIWKH%LGGLQJ3URFHGXUHV2UGHU7KH%LGGLQJ3URFHGXUHVREWDLQHG

WKHKLJKHVWRUEHVWYDOXHIRUWKH3XUFKDVHG$VVHWVIRUWKH'HEWRUVDQGWKHLUHVWDWHV

         0      7KH RIIHU RI WKH 3XUFKDVHU XSRQ WKH WHUPV DQG FRQGLWLRQV VHW IRUWK LQ WKH

$JUHHPHQWLQFOXGLQJWKHIRUPDQGWRWDOFRQVLGHUDWLRQWREHUHDOL]HGE\WKH'HEWRUVSXUVXDQWWR

WKH$JUHHPHQW L LVWKHKLJKHVWRUEHVWRIIHUUHFHLYHGE\WKH'HEWRUVDQGWKHLUHVWDWHV LL LVIDLU

DQGUHDVRQDEOH LLL LVLQWKHEHVWLQWHUHVWVRIWKH'HEWRUV¶VWDNHKROGHUVDQGHVWDWHV LY FRQVWLWXWHV

IXOODQGIDLUFRQVLGHUDWLRQDQGUHDVRQDEO\HTXLYDOHQWYDOXHIRUWKH3XUFKDVHG$VVHWVDQG Y ZLOO

SURYLGHDJUHDWHUUHFRYHU\IRUWKH'HEWRUV¶FUHGLWRUVDQGRWKHULQWHUHVWHGSDUWLHVWKDQZRXOGEH

SURYLGHGE\DQ\RWKHUSUDFWLFDOO\DYDLODEOHDOWHUQDWLYH1RRWKHUHQWLW\RUJURXSRIHQWLWLHVKDV

RIIHUHGWRSXUFKDVHWKH3XUFKDVHG$VVHWVIRUJUHDWHUHFRQRPLFYDOXHWRWKH'HEWRUV¶HVWDWHVWKDQ

WKH3XUFKDVHU



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         1    7KH3XUFKDVHULVQRWDQ³LQVLGHU´RU³DIILOLDWH´RIWKH'HEWRUVDVWKRVHWHUPVDUH

GHILQHGLQWKH%DQNUXSWF\&RGHDQGWKHGHFLVLRQVWKHUHXQGHU7KH3XUFKDVHULVDSXUFKDVHULQ

³JRRG IDLWK´ DV WKDW WHUP LV XVHG LQ WKH %DQNUXSWF\ &RGH DQG WKH GHFLVLRQV WKHUHXQGHU DQG LV

HQWLWOHGWRWKHSURWHFWLRQVRIVHFWLRQ P DQG Q RIWKH%DQNUXSWF\&RGHZLWKUHVSHFWWRWKH

3XUFKDVHG$VVHWV7KH$JUHHPHQWZDVQHJRWLDWHGDQGHQWHUHGLQWRLQJRRGIDLWKEDVHGXSRQDUP¶V

OHQJWKEDUJDLQLQJDQGZLWKRXWFROOXVLRQRUIUDXGRIDQ\NLQG1HLWKHUWKH0RYDQWVRQEHKDOIRI

WKH 'HEWRUV¶ HVWDWHV QRU WKH 3XUFKDVHU KDV HQJDJHG LQ DQ\ FRQGXFW WKDW ZRXOG SUHYHQW WKH

DSSOLFDWLRQRIVHFWLRQ P RIWKH%DQNUXSWF\&RGHRUFDXVHWKHDSSOLFDWLRQRIRULPSOLFDWH

VHFWLRQ  Q  RI WKH %DQNUXSWF\ &RGH WR WKH $JUHHPHQW RU WR WKH FRQVXPPDWLRQ RI WKH VDOH

WUDQVDFWLRQ DQG WUDQVIHU RI WKH 3XUFKDVHG $VVHWV DQG WKH $VVLJQHG -205 &RQWUDFWV WR WKH

3XUFKDVHU  7KH 3XUFKDVHU LV SXUFKDVLQJ WKH 3XUFKDVHG $VVHWV LQFOXGLQJ WKH $VVLJQHG -205

&RQWUDFWV LQJRRGIDLWKDQGLVDJRRGIDLWKSXUFKDVHUZLWKLQWKHPHDQLQJRIVHFWLRQ P RIWKH

%DQNUXSWF\&RGHDQGLVWKHUHIRUHHQWLWOHGWRWKHSURWHFWLRQRIWKDWSURYLVLRQDQGRWKHUZLVHKDV

SURFHHGHGLQJRRGIDLWKLQDOOUHVSHFWVLQFRQQHFWLRQZLWKWKLVSURFHHGLQJLQWKDW L WKH3XUFKDVHU

UHFRJQL]HGWKDWWKH0RYDQWVRQEHKDOIRIWKH'HEWRUV¶HVWDWHVZHUHIUHHWRGHDOZLWKDQ\RWKHU

SDUW\LQWHUHVWHGLQDFTXLULQJWKH3XUFKDVHG$VVHWV LL WKH3XUFKDVHUFRPSOLHGZLWKWKHSURYLVLRQV

LQ WKH %LGGLQJ 3URFHGXUHV 2UGHU LLL  DOO FRQVLGHUDWLRQ WR EH SDLG E\ WKH 3XUFKDVHU DQG RWKHU

DJUHHPHQWVRUDUUDQJHPHQWVHQWHUHGLQWRE\WKH3XUFKDVHULQFRQQHFWLRQZLWKWKHVDOHKDYHEHHQ

GLVFORVHG LY WKH3XUFKDVHUKDVQRWYLRODWHGVHFWLRQ Q RIWKH%DQNUXSWF\&RGHE\DQ\DFWLRQ

RULQDFWLRQDQG Y WKHQHJRWLDWLRQVDQGH[HFXWLRQRIWKH$JUHHPHQWDQGDQ\RWKHUDJUHHPHQWVRU

LQVWUXPHQWVUHODWHGWKHUHWRZHUHLQJRRGIDLWK

         2    7KH 'HEWRUV¶ HVWDWHV KDYH IXOO FRUSRUDWH SRZHU DQG DXWKRULW\ WR H[HFXWH WKH

$JUHHPHQW DQGDOORWKHUGRFXPHQWVFRQWHPSODWHGWKHUHE\ DQGWRFRQVXPPDWHWKH7UDQVDFWLRQV



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FRQWHPSODWHGWKHUHLQDQGWKHVDOHRUWUDQVIHURIWKH3XUFKDVHG$VVHWVKDVEHHQGXO\DQGYDOLGO\

DXWKRUL]HGE\DOOQHFHVVDU\FRUSRUDWHDFWLRQVRQWKHSDUWRIWKH'HEWRUV¶HVWDWHV1RFRQVHQWVRU

DSSURYDOV RWKHU WKDQ DV PD\ EH H[SUHVVO\ SURYLGHG IRU LQ WKH $JUHHPHQW DUH UHTXLUHG E\ WKH

'HEWRUV¶HVWDWHVWRFRQVXPPDWHVXFK7UDQVDFWLRQV

         3    7KH 0RYDQWV RQ EHKDOI RI WKH 'HEWRUV¶ HVWDWHV KDYH DGYDQFHG VRXQG EXVLQHVV

UHDVRQVIRUHQWHULQJLQWRWKH$JUHHPHQWDQGWUDQVIHUULQJRUDVVXPLQJDQGDVVLJQLQJ ZLWKUHVSHFW

WRWKH$VVLJQHG-205&RQWUDFWV WKH3XUFKDVHG$VVHWVDVPRUHIXOO\VHWIRUWKLQWKH6DOH0RWLRQ

DQGWKH$JUHHPHQWDQGDVGHPRQVWUDWHGDWWKH6DOH+HDULQJDQGLWLVDUHDVRQDEOHH[HUFLVHE\WKH

0RYDQWVRIWKH'HEWRUV¶EXVLQHVVMXGJPHQWWRWUDQVIHURUDVVXPHDQGDVVLJQ ZLWKUHVSHFWWRWKH

$VVLJQHG -205 &RQWUDFWV  WKH 3XUFKDVHG $VVHWV WR WKH 3XUFKDVHU DQG WR FRQVXPPDWH WKH

7UDQVDFWLRQV FRQWHPSODWHG E\ WKH $JUHHPHQW ZLWK WKH 3XUFKDVHU  1RWZLWKVWDQGLQJ DQ\

UHTXLUHPHQW IRU DSSURYDO RU FRQVHQW E\ DQ\ SHUVRQ WKH WUDQVIHU RI WKH 3XUFKDVHG $VVHWV WR WKH

3XUFKDVHUDQGWKHDVVXPSWLRQDQGDVVLJQPHQWRIWKH$VVLJQHG-205&RQWUDFWVUHSUHVHQWDOHJDO

YDOLGDQGHIIHFWLYHWUDQVIHURIWKH3XUFKDVHG$VVHWV

         4    7KH WHUPV DQG FRQGLWLRQV RI WKH $JUHHPHQW LQFOXGLQJ WKH FRQVLGHUDWLRQ WR EH

UHDOL]HG E\ WKH 'HEWRUV¶ HVWDWHV SXUVXDQW WR WKH $JUHHPHQW DUH IDLU DQG UHDVRQDEOH DQG WKH

7UDQVDFWLRQVFRQWHPSODWHGE\WKH$JUHHPHQWDQGUHIOHFWHGLQWKLV2UGHUDUHLQWKHEHVWLQWHUHVWV

RIWKH'HEWRUV¶HVWDWHV

         5    ([FHSWZLWKUHVSHFWWRWKH$VVXPHG/LDELOLWLHV(QFXPEUDQFHVDQG/LHQVWKDWWKH

6WDONLQJ+RUVH%LGGHUKDVDJUHHGWRSHUPLWXQGHUWKH$JUHHPHQWDQGH[FHSWDVRWKHUZLVHVHWIRUWK

LQWKH$JUHHPHQWWKH3XUFKDVHG$VVHWVVKDOOEHVROGIUHHDQGFOHDURIDQ\DQGDOOOLHQV VWDWXWRU\

RURWKHUZLVHLQFOXGLQJZLWKRXWOLPLWDWLRQPHFKDQLFVPDWHULDOPHQV¶DQGRWKHUFRQVHQVXDODQG

QRQFRQVHQVXDO OLHQV DQG VWDWXWRU\ OLHQV  K\SRWKHFDWLRQV HQFXPEUDQFHV VHFXULW\ LQWHUHVWV



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PRUWJDJHV GHEWV OHYLHV LQGHQWXUHV SOHGJHV UHVWULFWLRQV ZKHWKHU RQ YRWLQJ VDOH WUDQVIHU

GLVSRVLWLRQ RU RWKHUZLVH  FKDUJHV LQVWUXPHQWV SUHIHUHQFHV SULRULWLHV VHFXULW\ DJUHHPHQWV

FRQGLWLRQDOVDOHVDJUHHPHQWVWLWOHUHWHQWLRQFRQWUDFWVRSWLRQV&ODLPVMXGJPHQWVRIIVHWVULJKWV

RI UHFRYHU\ ULJKWV RI SUHHPSWLRQ ULJKWV RI ILUVW UHIXVDO RU RWKHU WKLUG SDUW\ ULJKWV &ODLPV IRU

UHLPEXUVHPHQW RWKHUWKDQWKH6HOOHUV¶ULJKWVDQGFODLPVLQWKH$JUHHPHQWDQGRWKHUGRFXPHQWV

H[HFXWHG E\ WKH 3XUFKDVHU LQ FRQQHFWLRQ ZLWK WKH 7UDQVDFWLRQV  FRQWULEXWLRQ LQGHPQLW\

H[RQHUDWLRQSURGXFWVOLDELOLW\DOWHUHJRHQYLURQPHQWDORU7D[ LQFOXGLQJ&ODLPVIRUDQ\DQGDOO

IRUHLJQIHGHUDOVWDWHDQGORFDO7D[HV GHFUHHVRIDQ\FRXUWRUIRUHLJQRUGRPHVWLFJRYHUQPHQWDO

HQWLW\RUGHUVRIDQ\*RYHUQPHQWDO$XWKRULW\RIDQ\NLQGRUQDWXUH LQFOXGLQJ L DQ\FRQGLWLRQDO

VDOHRURWKHUWLWOHUHWHQWLRQDJUHHPHQWDQGDQ\OHDVHKDYLQJVXEVWDQWLDOO\WKHVDPHHIIHFWDVDQ\RI

WKHIRUHJRLQJ LL DQ\DVVLJQPHQWRUGHSRVLWDUUDQJHPHQWLQWKHQDWXUHRIDVHFXULW\GHYLFHDQG

 LLL DQ\&ODLPEDVHGRQDQ\WKHRU\WKDWHLWKHUWKH3XUFKDVHULVDVXFFHVVRURUDFRQWLQXDWLRQRIWKH

'HEWRUV RU WKH 'HEWRUV¶ EXVLQHVV  UHFODPDWLRQ &ODLPV REOLJDWLRQV OLDELOLWLHV GHPDQGV DQG

JXDUDQWLHV ZKHWKHU NQRZQ RU XQNQRZQ FKRDWH RU LQFKRDWH ILOHG RU XQILOHG VFKHGXOHG RU

XQVFKHGXOHGQRWLFHGRUXQQRWLFHGUHFRUGHGRUXQUHFRUGHGSHUIHFWHGRUXQSHUIHFWHGDOORZHGRU

GLVDOORZHG FRQWLQJHQW RU QRQFRQWLQJHQW OLTXLGDWHG RU XQOLTXLGDWHG PDWXUHG RU XQPDWXUHG

PDWHULDO RU QRQPDWHULDO GLVSXWHG RU XQGLVSXWHG ZKHWKHU DULVLQJ SULRU WR RU VXEVHTXHQW WR WKH

FRPPHQFHPHQWRIWKHEDQNUXSWF\FDVHVDQGZKHWKHULPSRVHGE\DJUHHPHQWXQGHUVWDQGLQJODZ

HTXLW\ RU RWKHUZLVH LQFOXGLQJ &ODLPV RWKHUZLVH DULVLQJ XQGHU GRFWULQHV RI VXFFHVVRU OLDELOLW\

 FROOHFWLYHO\DVGHILQHGLQWKH$JUHHPHQWWKH³/LHQV´ 

         6     ([FHSWZLWKUHVSHFWWRWKH$VVXPHG/LDELOLWLHV(QFXPEUDQFHVDQG/LHQVWKDWWKH

6WDONLQJ+RUVH%LGGHUKDVDJUHHGWRSHUPLWXQGHUWKH$JUHHPHQWDQGH[FHSWDVRWKHUZLVHVHWIRUWK

LQWKH$JUHHPHQWWKH/LHQVVKDOODWWDFKWRWKHFRQVLGHUDWLRQWREHUHFHLYHGE\WKH'HEWRUVLQWKH



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VDPHSULRULW\DQGVXEMHFWWRWKHVDPHGHIHQVHVDQGDYRLGDELOLW\LIDQ\DVEHIRUHWKHFORVLQJRIWKH

7UDQVDFWLRQVFRQWHPSODWHGE\WKH$JUHHPHQW WKH³&ORVLQJ´ DQGWKH3XUFKDVHUZRXOGQRWHQWHU

LQWRWKH$JUHHPHQWWRSXUFKDVHWKH3XUFKDVHG$VVHWVRUSURFHHGWRWKH&ORVLQJRWKHUZLVH

         7    7KHWUDQVIHURIWKH3XUFKDVHG$VVHWVWRWKH3XUFKDVHUXQGHUWKLV$JUHHPHQWDQGWKH

2UGHUZLOOEHDOHJDOYDOLGDQGHIIHFWLYHWUDQVIHURIWKH3XUFKDVHG$VVHWVWRWKH3XUFKDVHUZLWK

DOOULJKWWLWOHDQGLQWHUHVWRIWKH'HEWRUVWRWKH3XUFKDVHG$VVHWVIUHHDQGFOHDURIDQ\DQGDOO

/LHQV RWKHUWKDQ$VVXPHG/LDELOLWLHV(QFXPEUDQFHVDQG/LHQVWKDWWKH6WDONLQJ+RUVH%LGGHU

KDVDJUHHGWRSHUPLWXQGHUWKH$JUHHPHQWDQGH[FHSWDVRWKHUZLVHVHWIRUWKLQWKH$JUHHPHQW 

([FHSWDVVSHFLILFDOO\SURYLGHGLQWKH$JUHHPHQWRUWKLV2UGHUWKH3XUFKDVHUVKDOOQRWDVVXPHRU

EHFRPHOLDEOHIRUDQ\/LHQV RWKHUWKDQ$VVXPHG/LDELOLWLHV(QFXPEUDQFHVDQG/LHQVWKDWWKH

6WDONLQJ+RUVH%LGGHUKDVDJUHHGWRSHUPLWXQGHUWKH$JUHHPHQWDQGH[FHSWDVRWKHUZLVHVHWIRUWK

LQWKH$JUHHPHQW UHODWLQJWRWKH3XUFKDVHG$VVHWVEHLQJVROGE\WKH'HEWRUV

         8    7KHWUDQVIHURIWKH3XUFKDVHG$VVHWVWRWKH3XUFKDVHUIUHHDQGFOHDURIDOO/LHQV

 RWKHU WKDQ $VVXPHG /LDELOLWLHV (QFXPEUDQFHV DQG /LHQV WKDW WKH 6WDONLQJ +RUVH %LGGHU KDV

DJUHHGWRSHUPLWXQGHUWKH$JUHHPHQWDQGH[FHSWDVRWKHUZLVHVHWIRUWKLQWKH$JUHHPHQW ZLOO

QRWUHVXOWLQDQ\XQGXHEXUGHQRUSUHMXGLFHWRDQ\KROGHUVRIDQ\/LHQVEHFDXVHDOOVXFK/LHQVRI

DQ\NLQGRUQDWXUHZKDWVRHYHUVKDOODWWDFKWRWKHQHWSURFHHGVRIWKHVDOHRIWKH3XUFKDVHG$VVHWV

UHFHLYHGE\WKH'HEWRUVLQWKHRUGHURIWKHLUSULRULW\ZLWKWKHVDPHYDOLGLW\IRUFHDQGHIIHFWZKLFK

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ZKDWVRHYHU DJDLQVW RU LQ DQ\ RI WKH 'HEWRUV WKH 3XUFKDVHG $VVHWV VKDOO EH IRUHYHU EDUUHG DQG

HVWRSSHGIURPSXUVXLQJRUDVVHUWLQJVXFK/LHQV RWKHUWKDQ$VVXPHG/LDELOLWLHV(QFXPEUDQFHV

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         9    7KH'HEWRUVPD\VHOOWKH3XUFKDVHG$VVHWVIUHHDQGFOHDURIDOO/LHQVRIDQ\NLQG

RUQDWXUHZKDWVRHYHU RWKHUWKDQ$VVXPHG/LDELOLWLHV(QFXPEUDQFHVDQG/LHQVWKDWWKH6WDONLQJ

+RUVH%LGGHUKDVDJUHHGWRSHUPLWXQGHUWKH$JUHHPHQWDQGH[FHSWDVRWKHUZLVHVHWIRUWKLQWKH

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%DQNUXSWF\&RGHKDVEHHQVDWLVILHG7KH L KROGHUVRI/LHQVDQG LL QRQGHEWRUSDUWLHVWRWKH

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RUUHVROYHG7KRVHKROGHUVRI/LHQVZKRGLGREMHFWIDOOZLWKLQRQHRUPRUHRIWKHRWKHUVXEVHFWLRQV

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'HEWRUV¶HVWDWHVDQGWKHVDOHRI3XUFKDVHG$VVHWVRWKHUWKDQRQHIUHHDQGFOHDURIDOO/LHQV RWKHU

WKDQ$VVXPHG/LDELOLWLHV(QFXPEUDQFHVDQG/LHQVWKDWWKH6WDONLQJ+RUVH%LGGHUKDVDJUHHGWR

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$JUHHPHQW QHLWKHU LPSHUPLVVLEO\ UHVWUXFWXUHV WKH ULJKWV RI WKH 'HEWRUV¶ FUHGLWRUV QRU

LPSHUPLVVLEO\GLFWDWHVWKHWHUPVRIDOLTXLGDWLQJSODQRUUHRUJDQL]DWLRQRIWKH'HEWRUV7KH6DOH

GRHVQRWFRQVWLWXWHDsub rosaFKDSWHUSODQ

         <    7KH 0RYDQWV RQ EHKDOI RI WKH 'HEWRUV¶ HVWDWHV DQG WKH 3XUFKDVHU KDYH WR WKH

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DVVLJQPHQWRIWKH$VVLJQHG-205&RQWUDFWV7KH3XUFKDVHUKDVGHPRQVWUDWHGDGHTXDWHDVVXUDQFH

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HVWDWHVWKHLUVWDNHKROGHUVDQGRWKHUSDUWLHVLQLQWHUHVWDQGUHSUHVHQWVWKHH[HUFLVHE\WKH0RYDQWV

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         $$   7KH $VVLJQHG -205 &RQWUDFWV DUH DVVLJQDEOH QRWZLWKVWDQGLQJ DQ\ SURYLVLRQV

FRQWDLQHG WKHUHLQ WR WKH FRQWUDU\  3XUVXDQW WR WKH $JUHHPHQW WKH 3XUFKDVHU VKDOO KDYH VROH

UHVSRQVLELOLW\ IRU SD\LQJ DOO &XUH &RVWV UHTXLUHG WR DVVXPH DQG DVVLJQ WKH $VVLJQHG -205

&RQWUDFWV WR WKH 3XUFKDVHU  7KH QRWLFH DQG RSSRUWXQLW\ WR REMHFW SURYLGHG WR WKH FRQWUDFW

FRXQWHUSDUWLHV WR VXFK FRQWUDFWV DQG WR RWKHU SDUWLHV LQ LQWHUHVW DV VHW IRUWK LQ WKH %LGGLQJ

3URFHGXUHV 2UGHU DQG $JUHHPHQW IDLUO\ DQG UHDVRQDEO\ SURWHFWV DQ\ ULJKWV WKDW VXFK FRQWUDFW

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VHWIRUWKLQWKH%LGGLQJ3URFHGXUHV2UGHUDQGWKH$JUHHPHQWIDLUO\DQGUHDVRQDEO\SURWHFWVDQ\

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FRQWHPSODWHGE\WKH$JUHHPHQWDWDQ\WLPHRQRUDIWHUWKHHQWU\RIWKLV2UGHUDQGFDXVHKDVEHHQ

VKRZQDVWRZK\WKLV2UGHUVKRXOGQRWEHVXEMHFWWRDQ\VWD\LQFOXGLQJZLWKRXWOLPLWDWLRQDV

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'HEWRUV¶HVWDWHVQRUWKH3XUFKDVHUKDYHHQWHUHGLQWRWKH$JUHHPHQWRUSURSRVHGWRFRQVXPPDWH

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3XUFKDVHG$VVHWVZDVWKHKLJKHVWRURWKHUZLVHEHVWRIIHUUHFHLYHGE\WKH0RYDQWVRQEHKDOIRI

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FRQVWUDLQWVVHWIRUWKLQWKH$JUHHPHQW$FFRUGLQJO\WKHUHLVFDXVHWROLIWWKHVWD\VFRQWHPSODWHG

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+RUVH%LGGHUKDVDJUHHGWRSHUPLWXQGHUWKH$JUHHPHQWRURWKHUZLVHVHWIRUWKLQWKH$JUHHPHQW

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&RQWUDFWV$IWHUWKH&ORVLQJWKH'HEWRUVVKDOOKDYHQROLDELOLW\ZKDWVRHYHUZLWKUHVSHFWWRWKH

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             6XEMHFWWRWKHWHUPVRIWKLV2UGHUWKHVDOHRIWKH3XUFKDVHG$VVHWVWKHWHUPVDQG

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7UDQVDFWLRQV FRQWHPSODWHG WKHUHE\ VKDOO EH DQG KHUHE\ DUH DXWKRUL]HG DQG DSSURYHG LQ DOO

UHVSHFWVDQGVKDOOEHHQIRUFHDEOHDJDLQVWHDFKRIWKH3DUWLHVWKHUHWR

             7KHIDLOXUHVSHFLILFDOO\WRLQFOXGHDQ\SDUWLFXODU SURYLVLRQVRIWKH$JUHHPHQWRU

DQ\RIWKHGRFXPHQWVDQFLOODU\GRFXPHQWVRULQVWUXPHQWVH[HFXWHGLQFRQQHFWLRQWKHUHZLWKLQ

WKLV 2UGHU VKDOO QRW GLPLQLVK RU LPSDLU WKH IRUFH RI VXFK SURYLVLRQ GRFXPHQW $JUHHPHQW RU

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DXWKRUL]HG DQG DSSURYHG LQ LWV HQWLUHW\ ZLWK VXFK DPHQGPHQWV WKHUHWR DV PD\ EH PDGH E\ WKH

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             7KH$JUHHPHQWDQGDQ\UHODWHGDQFLOODU\GRFXPHQW V RURWKHULQVWUXPHQWVPD\EH

PRGLILHGDPHQGHGRUVXSSOHPHQWHGE\WKHSDUWLHVWKHUHWRLQDFFRUGDQFHZLWKWKHWHUPVWKHUHRI

ZLWKRXW IXUWKHU RUGHU RI WKH &RXUW SURYLGHG WKDW DQ\ VXFK PRGLILFDWLRQ DPHQGPHQW RU

VXSSOHPHQWLVQRWPDWHULDODQGVXEVWDQWLDOO\FRQIRUPVWRDQGHIIHFWXDWHVWKH$JUHHPHQWDQGDQ\

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XQGHUWKH$JUHHPHQWDUHIDLUDQGUHDVRQDEOHWKHKLJKHVWRURWKHUZLVHEHVWRIIHUIRUWKH3XUFKDVHG

$VVHWVDQGVKDOOEHGHHPHGIRUDOOSXUSRVHVWRFRQVWLWXWHDWUDQVIHUIRUUHDVRQDEO\HTXLYDOHQWYDOXH

DQGIDLUFRQVLGHUDWLRQXQGHUWKH%DQNUXSWF\&RGHDQGDQ\RWKHUDSSOLFDEOHODZ7KH6DOHRIWKH

3XUFKDVHG$VVHWVWRWKH3XUFKDVHULVDOHJDOYDOLGDQGHIIHFWLYHWUDQVIHURIWKH3XUFKDVHG$VVHWV

QRWZLWKVWDQGLQJDQ\UHTXLUHPHQWIRUDSSURYDORUFRQVHQWRIDQ\HQWLW\

             7KH3XUFKDVHULVKHUHE\JUDQWHGDQGLVHQWLWOHGWRDOOWKHSURWHFWLRQVSURYLGHGWRD

JRRGIDLWKSXUFKDVHUXQGHUVHFWLRQ P RIWKH%DQNUXSWF\&RGHLQFOXGLQJZLWKUHVSHFWWRWKH

WUDQVIHURIWKH$VVLJQHG-205&RQWUDFWVDVSDUWRIWKHVDOHRIWKH3XUFKDVHG$VVHWVSXUVXDQWWR

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DGYLVRUVDQGDJHQWVVKDOOEHDQGKHUHE\DUHDXWKRUL]HGDQGGLUHFWHGWRIXOO\DVVXPHSHUIRUP

XQGHU FRQVXPPDWH DQG LPSOHPHQW WKH WHUPV RI WKH $JUHHPHQW WRJHWKHU ZLWK DQ\ DQG DOO

DGGLWLRQDO LQVWUXPHQWV DQG GRFXPHQWV WKDW PD\ EH QHFHVVDU\ RU GHVLUDEOH LQ FRQQHFWLRQ ZLWK

LPSOHPHQWLQJ DQG HIIHFWXDWLQJ WKH WHUPV RI WKH $JUHHPHQW WKLV 2UGHU DQGRU WKH VDOH RI WKH



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3XUFKDVHG $VVHWV LQFOXGLQJ ZLWKRXW OLPLWDWLRQ WKH FHUWLILFDWHV GHHGV DVVLJQPHQWV DQG RWKHU

LQVWUXPHQWV RI WUDQVIHU DQG WR WDNH DOO IXUWKHU DFWLRQV DV PD\ UHDVRQDEO\ EH UHTXHVWHG E\ WKH

3XUFKDVHUIRUWKHSXUSRVHRI DVVLJQLQJWUDQVIHUULQJJUDQWLQJFRQYH\LQJDQGFRQIHUULQJWRWKH

3XUFKDVHURUUHGXFLQJWRSRVVHVVLRQDQ\RUDOORIWKH3XUFKDVHG$VVHWVRU$VVXPHG/LDELOLWLHV

(QFXPEUDQFHV DQG /LHQV WKDW WKH 6WDONLQJ +RUVH %LGGHU KDV DJUHHG WR SHUPLW XQGHU WKH

$JUHHPHQWRURWKHUZLVHVHWIRUWKLQWKH$JUHHPHQWDVPD\EHQHFHVVDU\RUDSSURSULDWHWRWKH

SHUIRUPDQFHRIWKHREOLJDWLRQVRIWKH'HEWRUV¶HVWDWHVLQDFFRUGDQFHZLWKRUDVFRQWHPSODWHGE\

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KDYLQJ GXWLHV RU UHVSRQVLELOLWLHV XQGHU WKH $JUHHPHQW DQ\ DJUHHPHQWV RU LQVWUXPHQWV UHODWHG

WKHUHWR RU WKLV 2UGHU DQG WKHLU UHVSHFWLYH GLUHFWRUV RIILFHUV PDQDJHUV HPSOR\HHV PHPEHUV

DJHQWVUHSUHVHQWDWLYHVDWWRUQH\VDQGRWKHUUHWDLQHGSURIHVVLRQDOVDUHDXWKRUL]HGDQGHPSRZHUHG

VXEMHFWWRWKHWHUPVDQGFRQGLWLRQVFRQWDLQHGLQWKH$JUHHPHQWDQGWKLV2UGHUWRFDUU\RXWDOORI

WKH SURYLVLRQV RI WKH $JUHHPHQW DQG DQ\ UHODWHG DJUHHPHQWV RU LQVWUXPHQWV WR LVVXH H[HFXWH

GHOLYHU ILOH DQG UHFRUG DV DSSURSULDWH WKH GRFXPHQWV HYLGHQFLQJ DQG FRQVXPPDWLQJ WKH

$JUHHPHQWDQGDQ\UHODWHGDJUHHPHQWVRULQVWUXPHQWVWRWDNHDQ\DQGDOODFWLRQVFRQWHPSODWHGE\

WKH$JUHHPHQWDQ\UHODWHGDJUHHPHQWVRULQVWUXPHQWVRUWKLV2UGHUDQGWRLVVXHH[HFXWHGHOLYHU

ILOHDQGUHFRUGDVDSSURSULDWHVXFKRWKHUFRQWUDFWVLQVWUXPHQWVUHOHDVHVLQGHQWXUHVPRUWJDJHV

GHHGVELOOVRIVDOHDVVLJQPHQWVOHDVHVRURWKHUDJUHHPHQWVRUGRFXPHQWVDQGWRSHUIRUPVXFK

RWKHUDFWVDQGH[HFXWHDQGGHOLYHUVXFKRWKHUGRFXPHQWVDVDUHFRQVLVWHQWZLWKDQGQHFHVVDU\

GHVLUDEOHRUDSSURSULDWHWRLPSOHPHQWHIIHFWXDWHDQGFRQVXPPDWHWKH$JUHHPHQWDQ\UHODWHG

DJUHHPHQWVRULQVWUXPHQWVDQGWKLV2UGHUDQGWKH7UDQVDFWLRQVFRQWHPSODWHGWKHUHE\DQGKHUHE\

DOO ZLWKRXW IXUWKHU DSSOLFDWLRQ WR RU RUGHU RI WKH &RXUW RU IXUWKHU DFWLRQ E\ WKHLU UHVSHFWLYH



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GLUHFWRUV RIILFHUV PDQDJHUV HPSOR\HHV PHPEHUV DJHQWV UHSUHVHQWDWLYHV DQG DWWRUQH\V DQG

ZLWKOLNHHIIHFWDVLIVXFKDFWLRQVKDGEHHQWDNHQE\XQDQLPRXVDFWLRQRIWKHUHVSHFWLYHGLUHFWRUV

RIILFHUVPDQDJHUVHPSOR\HHVPHPEHUVDJHQWVUHSUHVHQWDWLYHVDQGDWWRUQH\VRIVXFKHQWLWLHV

7KH&KLHI5HVWUXFWXULQJ2IILFHURQEHKDOIRIWKH&KDSWHU'HEWRU-205DQGWKH7UXVWHHRQ

EHKDOI RI WKH &KDSWHU  'HEWRUV¶ HVWDWHV DQG WKH 3DOP 2S&RV VKDOO EH DQG HDFK KHUHE\ LV

DXWKRUL]HGWRFHUWLI\RUDWWHVWWRDQ\RIWKHIRUHJRLQJDFWLRQV EXWQRVXFKFHUWLILFDWLRQRUDWWHVWDWLRQ

VKDOOEHUHTXLUHGWRPDNHDQ\VXFKDFWLRQYDOLGELQGLQJDQGHQIRUFHDEOH 7KH0RYDQWVRQEHKDOI

RIWKH'HEWRUV¶HVWDWHVDQGWKH3XUFKDVHUDUHIXUWKHUDXWKRUL]HGDQGHPSRZHUHGWRFDXVHWREH

ILOHG ZLWK WKH VHFUHWDU\ RI VWDWH RI DQ\ VWDWH RU RWKHU DSSOLFDEOH RIILFLDOV RI DQ\ DSSOLFDEOH

*RYHUQPHQWDO$XWKRULW\DWWKH3XUFKDVHU VVROHH[SHQVHDQ\DQGDOOFHUWLILFDWHVDJUHHPHQWVRU

DPHQGPHQWV QHFHVVDU\ RU DSSURSULDWH WR HIIHFWXDWH WKH 7UDQVDFWLRQV FRQWHPSODWHG E\ WKH

$JUHHPHQWDQ\UHODWHGDJUHHPHQWVDQGWKLV2UGHUDQGDOOVXFKRWKHUDFWLRQVILOLQJVRUUHFRUGLQJV

DV PD\ EH UHTXLUHG XQGHU DSSURSULDWH SURYLVLRQV RI WKH DSSOLFDEOH ODZV RI DOO DSSOLFDEOH

*RYHUQPHQWDO$XWKRULWLHVRUDVWKH0RYDQWVRQEHKDOIRIDQ\RIWKH'HEWRUVPD\GHWHUPLQHDUH

QHFHVVDU\RUDSSURSULDWH7KHH[HFXWLRQRIDQ\VXFKGRFXPHQWRUWKHWDNLQJRIDQ\VXFKDFWLRQ

VKDOO EH DQG KHUHE\ LV GHHPHG FRQFOXVLYH HYLGHQFH RI WKH DXWKRULW\ RI VXFK SHUVRQ WR VR DFW

:LWKRXW OLPLWLQJ WKH JHQHUDOLW\ RI WKH IRUHJRLQJ WKLV 2UGHU VKDOO FRQVWLWXWH DOO DSSURYDOV DQG

FRQVHQWVLIDQ\UHTXLUHGE\WKHFRUSRUDWHODZVRIWKHVWDWHVRIIRUPDWLRQRIHDFKFRUSRUDWH'HEWRU

DQGDOORWKHUDSSOLFDEOHEXVLQHVVFRUSRUDWLRQWUXVWDQGRWKHUODZVRIWKHDSSOLFDEOH*RYHUQPHQWDO

$XWKRULWLHVZLWKUHVSHFWWRWKHLPSOHPHQWDWLRQDQGFRQVXPPDWLRQRIWKH$JUHHPHQWDQ\UHODWHG

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WKH3XUFKDVHG$VVHWVQRWZLWKVWDQGLQJDQ\UHTXLUHPHQWIRUDSSURYDORUFRQVHQWE\DQ\3HUVRQDQG

VKDOOYHVWWKH3XUFKDVHUZLWKDOOULJKWWLWOHDQGLQWHUHVWRIWKH'HEWRUVLQDQGWRWKH3XUFKDVHG

$VVHWVIUHHDQGFOHDURIDOO/LHQVRIDQ\NLQG RWKHUWKDQWKH$VVXPHG/LDELOLWLHV(QFXPEUDQFHV

DQG/LHQVWKDWWKH6WDONLQJ+RUVH%LGGHUKDVDJUHHGWRSHUPLWXQGHUWKH$JUHHPHQWDQGH[FHSWDV

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WKH DVVXPSWLRQ RI WKH $VVXPHG /LDELOLWLHV (QFXPEUDQFHV DQG /LHQV E\ WKH 3XUFKDVHU VKDOO

FRQVWLWXWH D OHJDO YDOLG DQG HIIHFWLYH GHOHJDWLRQ DQG DVVLJQPHQW RI DOO $VVXPHG /LDELOLWLHV

(QFXPEUDQFHVDQG/LHQVWRWKH3XUFKDVHUDQGVKDOOGLYHVWWKH'HEWRUV¶HVWDWHVRIDOOOLDELOLW\ZLWK

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$VVLJQHG-205&RQWUDFWVLQDFFRUGDQFHZLWKWKHSURYLVLRQVRIWKHDSSOLFDEOH$VVLJQHG-205

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%DQNUXSWF\ &RGH WR WUDQVIHU DQ\ VXFK 3XUFKDVHG $VVHWV WR WKH 3XUFKDVHU  7KH WUDQVIHU RI WKH

3XUFKDVHG $VVHWV VKDOO YHVW WKH 3XUFKDVHU ZLWK DOO ULJKW WLWOH DQG LQWHUHVWRI WKH 'HEWRUV WR WKH

3XUFKDVHG$VVHWVLQHDFKLQVWDQFHIUHHDQGFOHDURIDQ\DQGDOO/LHQV RWKHUWKDQWKH$VVXPHG

/LDELOLWLHV(QFXPEUDQFHVDQG/LHQVWKDWWKH6WDONLQJ+RUVH%LGGHUKDVDJUHHGWRSHUPLWXQGHU

WKH$JUHHPHQWRUH[FHSWDVRWKHUZLVHVHWIRUWKLQWKH$JUHHPHQW ZLWKDOOVXFK/LHQVWRDWWDFKRQO\

WRWKHSURFHHGVRIWKHVDOHZLWKWKHVDPHSULRULW\YDOLGLW\IRUFHDQGHIIHFWLIDQ\DVWKH\QRZ



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KDYHLQRUDJDLQVWWKH3XUFKDVHG$VVHWVVXEMHFWWRDOOFODLPVDQGGHIHQVHVWKH'HEWRUVPD\SRVVHVV

ZLWKUHVSHFWWKHUHWR)ROORZLQJWKH&ORVLQJ'DWHQRKROGHURIDQ\/LHQVLQWKH3XUFKDVHG$VVHWV

 RWKHUWKDQWKH$VVXPHG/LDELOLWLHV(QFXPEUDQFHVDQG/LHQVWKDWWKH6WDONLQJ+RUVH%LGGHUKDV

DJUHHGWRSHUPLWXQGHUWKH$JUHHPHQWDQGH[FHSWDVRWKHUZLVHVHWIRUWKLQWKH$JUHHPHQW VKDOO

LQWHUIHUHZLWKWKH3XUFKDVHU¶VHQMR\PHQWRIWKH3XUFKDVHG$VVHWVEDVHGRQRUUHODWHGWRVXFK/LHQV

RU DQ\ DFWLRQV WKDW WKH 0RYDQWV RQ EHKDOI RI WKH 'HEWRUV¶ HVWDWHV PD\ WDNH LQ WKH 'HEWRUV¶

EDQNUXSWF\FDVHVDQGQRSHUVRQVKDOOWDNHDQ\DFWLRQWRSUHYHQWLQWHUIHUHZLWKRURWKHUZLVHHQMRLQ

FRQVXPPDWLRQRIWKH7UDQVDFWLRQVFRQWHPSODWHGLQRUE\WKH$JUHHPHQWRUWKLV2UGHU

            7KHSURYLVLRQVRIWKLV2UGHUDXWKRUL]LQJWKHVDOHRIWKH3XUFKDVHG$VVHWVIUHHDQG

FOHDU RI /LHQV RWKHU WKDQ WKH $VVXPHG /LDELOLWLHV (QFXPEUDQFHV DQG /LHQV WKDW WKH 6WDONLQJ

+RUVH%LGGHUKDVDJUHHGWRSHUPLWXQGHUWKH$JUHHPHQWDQGH[FHSWDVRWKHUZLVHVHWIRUWKLQWKH

$JUHHPHQW VKDOOEHVHOIH[HFXWLQJDQGQHLWKHUWKH0RYDQWVRQEHKDOIRIWKH'HEWRUV¶HVWDWHVQRU

WKH3XUFKDVHUVKDOOEHUHTXLUHGWRH[HFXWHRUILOHUHOHDVHVWHUPLQDWLRQVWDWHPHQWVDVVLJQPHQWV

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2UGHU+RZHYHUWKH0RYDQWVRQEHKDOIRIWKH'HEWRUV¶HVWDWHVWKH3XUFKDVHUDQGHDFKRIWKHLU

UHVSHFWLYH RIILFHUV HPSOR\HHV DWWRUQH\V RWKHU UHWDLQHG SURIHVVLRQDOV DQG DJHQWV DUH KHUHE\

DXWKRUL]HGDQGHPSRZHUHGWRWDNHDOODFWLRQVDQGH[HFXWHDQGGHOLYHUDQ\DQGDOOGRFXPHQWVDQG

LQVWUXPHQWV WKDW HLWKHU WKH 0RYDQWV RQ EHKDOI RI WKH 'HEWRUV¶ HVWDWHV RU WKH 3XUFKDVHU GHHP

QHFHVVDU\GHVLUDEOHRUDSSURSULDWHWRLPSOHPHQWDQGHIIHFWXDWHWKHWHUPVRIWKH$JUHHPHQWDQG

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WRH[HFXWHVXFKGRFXPHQWVDQGWDNHDOORWKHUDFWLRQVDVPD\EHQHFHVVDU\WRUHOHDVHHIIHFWLYHDV

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6WDONLQJ+RUVH%LGGHUKDVDJUHHGWRSHUPLWXQGHUWKH$JUHHPHQWDQGH[FHSWDVRWKHUZLVHVHWIRUWK

LQWKH$JUHHPHQW RIDQ\NLQGDJDLQVWWKH3XUFKDVHG$VVHWVDVVXFK/LHQVPD\KDYHEHHQUHFRUGHG

RUPD\RWKHUZLVHH[LVW([FHSWDVH[SUHVVO\SURYLGHGLQWKH$JUHHPHQWLIDQ\3HUVRQWKDWKDV

ILOHGILQDQFLQJVWDWHPHQWVRURWKHUGRFXPHQWVRUDJUHHPHQWVHYLGHQFLQJDQ\/LHQVLQRUDJDLQVW

WKH 3XUFKDVHG $VVHWV RWKHU WKDQ WKH $VVXPHG /LDELOLWLHV (QFXPEUDQFHV DQG /LHQV WKDW WKH

6WDONLQJ+RUVH%LGGHUKDVDJUHHGWRSHUPLWXQGHUWKH$JUHHPHQWDQGH[FHSWDVRWKHUZLVHVHWIRUWK

LQWKH$JUHHPHQW VKDOOQRWKDYHGHOLYHUHGWRWKH0RYDQWVRQEHKDOIRIWKH'HEWRUV¶HVWDWHVSULRU

WR WKH &ORVLQJ DIWHU UHTXHVW WKHUHIRU LQ SURSHU IRUP IRU ILOLQJ DQG H[HFXWHG E\ WKH DSSURSULDWH

SDUWLHVWHUPLQDWLRQVWDWHPHQWVLQVWUXPHQWVRIVDWLVIDFWLRQRUUHOHDVHVRIDOOVXFK/LHQVWKDWWKH

3HUVRQKDVZLWKUHVSHFWWRWKH3XUFKDVHG$VVHWVHIIHFWLYHDVRIWKH&ORVLQJWKH0RYDQWVRQEHKDOI

RIWKH'HEWRUV¶HVWDWHVDQGWKH3XUFKDVHUDUHKHUHE\DXWKRUL]HGWRH[HFXWHDWWKH3XUFKDVHU¶VVROH

H[SHQVHVXFKVWDWHPHQWVLQVWUXPHQWVUHOHDVHVDQGRWKHUGRFXPHQWVRQEHKDOIRIWKH3HUVRQZLWK

UHVSHFWWRVXFK3XUFKDVHG$VVHWVSULRUWRWKH&ORVLQJDQGWKH3XUFKDVHULVDXWKRUL]HGWRILOHVXFK

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OLFHQVHSHUPLWDSSURYDOFHUWLILFDWHRIRFFXSDQF\DXWKRUL]DWLRQRSHUDWLQJSHUPLWUHJLVWUDWLRQ

SODQDQGWKHOLNHRIDQ\*RYHUQPHQWDO$XWKRULW\UHODWLQJWRWKH3XUFKDVHG$VVHWVRUKHOGE\WKH

'HEWRUV¶ HVWDWHV DQG WR WKH JUHDWHVW H[WHQW DYDLODEOH XQGHU DSSOLFDEOH ODZ DOO VXFK OLFHQVHV

SHUPLWV DSSURYDOV FHUWLILFDWHV RI RFFXSDQF\ DXWKRUL]DWLRQV RSHUDWLQJ SHUPLWV UHJLVWUDWLRQV

SODQV DQG WKH OLNH RI DQ\ *RYHUQPHQWDO $XWKRULW\ DUH GHHPHG WR KDYH EHHQ DQG KHUHE\ DUH

GHHPHGWREHWUDQVIHUUHGWRWKH3XUFKDVHUDVRIWKH&ORVLQJ'DWH)XUWKHUPRUHLPPHGLDWHO\XSRQ

WKH&ORVLQJWKH3XUFKDVHUVKDOOEHHQWLWOHGWRFRQWLQXHWRVHOODOFRKROLFEHYHUDJHVDWWKHSUHPLVHV

LQFOXGHGLQWKH3XUFKDVHG$VVHWVXSRQWKHVDPHWHUPVVXFKSUHPLVHVDUHFXUUHQWO\VHOOLQJVXFK



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GHILQHGLQWKH$JUHHPHQW $OODSSOLFDEOHVWDWHDOFRKROLFEHYHUDJHFRQWUROODZHQIRUFHPHQWDQG

UHJXODWRU\DJHQFLHVVKDOOQRWLQWHUUXSWDQ\RIWKH%XVLQHVVZLWKRXWILUVWEULQJLQJWKHPDWWHUEHIRUH

WKLV&RXUW)XUWKHUPRUHWKH%XVLQHVVVKDOOFRQWLQXHRSHUDWLQJXQGHUDOOH[LVWLQJ/LTXRU/LFHQVHV

RIWKH'HEWRUVXQWLOVXFKOLFHQVHVKDYHEHHQFKDQJHGWRWKHQDPHRIWKH3XUFKDVHULQFOXGLQJEXW

OLPLWHGWRVWDWHDOFRKROLFEHYHUDJHOLFHQVHVVWDWHIRRGVHUYLFHOLFHQVHVORFDORFFXSDWLRQDOOLFHQVHV

DQGDQ\RWKHUOLFHQVHVQHHGWRRSHUDWHWKH%XVLQHVVZLWKQRLQWHUUXSWLRQWRWKH%XVLQHVV

             7KH3XUFKDVHG$VVHWVWREHDFTXLUHGE\WKH3XUFKDVHUXQGHUWKH$JUHHPHQWVKDOO

EHDVRIWKH&ORVLQJ'DWHDQGXSRQWKHRFFXUUHQFHRIWKH&ORVLQJWUDQVIHUUHGWRDQGYHVWHGLQWKH

3XUFKDVHU8SRQWKHRFFXUUHQFHRIWKH&ORVLQJWKLV2UGHUVKDOOEHFRQVLGHUHGDQGVKDOOFRQVWLWXWH

IRUDQ\DQGDOOSXUSRVHVDIXOODQGFRPSOHWHJHQHUDODVVLJQPHQWFRQYH\DQFHDQGWUDQVIHURIWKH

'HEWRUV¶LQWHUHVWLQWKH3XUFKDVHG$VVHWVXQGHUWKH$JUHHPHQWDQGRUDELOORIVDOHRUDVVLJQPHQW

WUDQVIHUULQJ JRRG DQG PDUNHWDEOH LQGHIHDVLEOH WLWOH DQG LQWHUHVW LQ WKH 3XUFKDVHG $VVHWV WR WKH

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             ([FHSWDVRWKHUZLVHSURYLGHGLQWKH$JUHHPHQWWKH3XUFKDVHULVQRWDVVXPLQJQRU

VKDOO LW RU DQ\ $IILOLDWH RI WKH 3XUFKDVHU EH LQ DQ\ ZD\ OLDEOH RU UHVSRQVLEOH DV D VXFFHVVRU RU

RWKHUZLVHIRUDQ\OLDELOLWLHVGHEWVRUREOLJDWLRQVRIWKH'HEWRUVLQDQ\ZD\ZKDWVRHYHUUHODWLQJ

WRRUDULVLQJIURPWKH'HEWRUV¶RZQHUVKLSRUXVHRIWKH3XUFKDVHG$VVHWVSULRUWRWKH&ORVLQJ'DWH

RUDQ\OLDELOLWLHVFDOFXODEOHE\UHIHUHQFHWRWKH'HEWRUVRUWKHLURSHUDWLRQVRUWKH3XUFKDVHG$VVHWV

RU UHODWLQJ WR FRQWLQXLQJ RU RWKHU FRQGLWLRQV H[LVWLQJ RQ RU SULRU WR WKH &ORVLQJ 'DWH ZKLFK

OLDELOLWLHVGHEWVDQGREOLJDWLRQVDUHKHUHE\H[WLQJXLVKHGLQVRIDUDVWKH\PD\JLYHULVHWROLDELOLW\

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RQRUDIWHUWKH&ORVLQJ'DWHLQSRVVHVVLRQRIVRPHRUDOORIWKH3XUFKDVHG$VVHWVDUHGLUHFWHGWR

VXUUHQGHUSRVVHVVLRQRIWKH3XUFKDVHG$VVHWVWRWKH3XUFKDVHUDVDSSOLFDEOHRQWKH&ORVLQJ'DWH

RUDWVXFKWLPHWKHUHDIWHUDVWKH3XUFKDVHUPD\UHTXHVW

              6XEMHFWWRWKHWHUPVRIWKH$JUHHPHQWDQGWKHRFFXUUHQFHRIWKH&ORVLQJ'DWHWKH

DVVXPSWLRQE\WKH'HEWRUVRIWKH$VVLJQHG-205&RQWUDFWVDVSURYLGHGIRURUFRQWHPSODWHGE\

WKH$JUHHPHQWEHDQGKHUHE\LVDXWKRUL]HGDQGDSSURYHGSXUVXDQWWRVHFWLRQVDQGRI

WKH%DQNUXSWF\&RGH

              8QOHVVRWKHUZLVHSURYLGHGKHUHLQWKH/DQGORUGVVKDOOEHGHHPHGWRFRQVHQWWRWKH

7UDQVDFWLRQVDSSURYHGKHUHE\DQGWKH3XUFKDVHU¶VJRIRUZDUGRSHUDWLRQRIQRQGHEWRUV¶VXEMHFW

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              7KH$VVLJQHG-205&RQWUDFWVVKDOOEHGHHPHGYDOLGDQGELQGLQJDQGLQIXOOIRUFH

DQGHIIHFWDQGDVVXPHGE\WKH'HEWRUVDQGDVVLJQHGWRWKH3XUFKDVHUDWWKH&ORVLQJSXUVXDQWWR

VHFWLRQVDQGRIWKH%DQNUXSWF\&RGHVXEMHFWRQO\WRWKHSD\PHQWRIWKH&XUH&RVWVE\

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              8SRQ WKH &ORVLQJ LQ DFFRUGDQFH ZLWK VHFWLRQV  DQG  RI WKH %DQNUXSWF\

&RGHWKH3XUFKDVHUVKDOOEHIXOO\DQGLUUHYRFDEO\YHVWHGLQDOOULJKWWLWOHDQGLQWHUHVWLQDQGWR

HDFK$VVLJQHG-205&RQWUDFWV7KH0RYDQWVRQEHKDOIRIWKH'HEWRUV¶HVWDWHVVKDOOUHDVRQDEO\

FRRSHUDWH ZLWK DQG WDNH DOO DFWLRQV UHDVRQDEO\ UHTXHVWHG E\ WKH 3XUFKDVHU WR HIIHFWXDWH WKH

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RWKHUZLVHSURYLGHGLQWKLV2UGHUZLWKLQVHYHQ  GD\VRIWKH&ORVLQJ'DWHRUVXFKRWKHUGDWHWKDW

WKH$VVLJQHG-205&RQWUDFWVDUHDVVXPHGE\-205DQGDVVLJQHGWRWKH3XUFKDVHUWKH3XUFKDVHU



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VKDOOSD\RUFDXVHWREHSDLGWRWKHQRQGHEWRUSDUWLHVWRDQ\$VVLJQHG-205&RQWUDFWWKHUHTXLVLWH

&XUH &RVWV DJUHHG WR EHWZHHQ WKH QRQ'HEWRU SDUW\ WR WKH $VVLJQHG -205 &RQWUDFW DQG WKH

3XUFKDVHURUDVWREHGHWHUPLQHGE\&RXUWRUGHUDVWKHFDVHPD\EHIROORZLQJWKHDVVXPSWLRQ

DQGDVVLJQPHQWWKHUHRI7KH&XUH&RVWVDUHKHUHE\IL[HGDWWKHDPRXQWVVHWIRUWKRQWKHUHFRUG

RIWKH6DOH+HDULQJDV RWKHUZLVHDJUHHGEHWZHHQWKHQRQ'HEWRUSDUW\WRWKH$VVLJQHG-205

&RQWUDFWDQGWKH3XUFKDVHURUDVGHWHUPLQHGE\&RXUWRUGHUDVWKHFDVHPD\EHDQGHDFKQRQ

GHEWRUSDUW\WRDQ\$VVLJQHG-205&RQWUDFWLVIRUHYHUERXQGE\VXFK&XUH&RVWVDSSOLFDEOHWR

VXFK $VVLJQHG -205 &RQWUDFW )RU WKH DYRLGDQFH RI GRXEW HDFK FRXQWHUSDUW\ WR DQ\ RI WKH

$VVLJQHG-205&RQWUDFWVVKDOODOVRIRUHYHUERXQGE\WKH&XUH&RVWVDSSOLFDEOHWRVXFK$VVLJQHG

-205&RQWUDFWH[FHSWEXWVROHO\WRWKHH[WHQWWKHFRXQWHUSDUW\WLPHO\DVVHUWHGDQREMHFWLRQLQ

DFFRUGDQFHZLWKWKHSURYLVLRQVRIWKH%LGGLQJ3URFHGXUHV2UGHU

            $OOGHIDXOWVRURWKHUREOLJDWLRQVXQGHUWKH$VVLJQHG-205&RQWUDFWVDULVLQJSULRU

WRWKH&ORVLQJ'DWH ZLWKRXWJLYLQJHIIHFWWRDQ\DFFHOHUDWLRQFODXVHVDVVLJQPHQWIHHVLQFUHDVHV

DGYHUWLVLQJUDWHVRUDQ\RWKHUGHIDXOWSURYLVLRQVRIWKHNLQGVSHFLILHGLQVHFWLRQ E  RIWKH

%DQNUXSWF\&RGH VKDOOEHGHHPHGFXUHGE\SD\PHQWRIWKH&XUH&RVWVDQGWKHFRXQWHUSDUWLHVWR

WKH$VVLJQHG-205&RQWUDFWVVKDOOEHIRUHYHU EDUUHGDQG HVWRSSHGIURPDVVHUWLQJRU FODLPLQJ

DJDLQVWWKH'HEWRUV¶HVWDWHVRUWKH3XUFKDVHUWKDWDQ\DPRXQWVDUHGXHRURWKHUGHIDXOWVH[LVWXQGHU

VXFK$VVLJQHG-205&RQWUDFWDVRIWKHGDWHRIWKHDVVLJQPHQWRIVXFK$VVLJQHG-205&RQWUDFW

SURYLGHG KRZHYHU EXW VXEMHFW WR WKH $JUHHPHQW DQG WKH %LGGLQJ 3URFHGXUHV 2UGHU WKDW WKH

3XUFKDVHUVKDOOEHUHVSRQVLEOHIRUWKHSD\PHQWRIDQ\DFFUXHGEXWXQELOOHGREOLJDWLRQVZLWKUHVSHFW

WRDQ\\HDUHQGDGMXVWPHQWVRUUHFRQFLOLDWLRQVZKHQELOOHGLQDFFRUGDQFHZLWKWKHWHUPVRIWKH

$VVLJQHG -205 &RQWUDFWV WKDW EHFRPH GXH DQG RZLQJ DIWHU WKH &ORVLQJ 'DWH LUUHVSHFWLYH RI

ZKHWKHUVXFKREOLJDWLRQVDFFUXHGRUUHODWHWRWKHSHULRGEHIRUHWKH&ORVLQJ'DWH 



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GHIDXOW RU SD\PHQW ULJKW DV D UHVXOW RI DQ DVVLJQPHQW RU D FKDQJH RI FRQWURO LQ UHVSHFW RI WKH

'HEWRUVLVXQHQIRUFHDEOHDQGDOO$VVLJQHG-205&RQWUDFWVVKDOOUHPDLQLQIXOOIRUFHDQGHIIHFW

VXEMHFWRQO\WRSD\PHQWRIWKHDSSURSULDWH&XUH&RVWVLIDQ\1RVHFWLRQVRUSURYLVLRQVRIDQ\

$VVLJQHG-205&RQWUDFWWKDWSXUSRUWWRSURYLGHIRUDGGLWLRQDOSD\PHQWVSHQDOWLHVFKDUJHVRU

RWKHUILQDQFLDODFFRPPRGDWLRQVLQIDYRURIWKHQRQGHEWRUSDUW\WRWKH$VVLJQHG-205&RQWUDFW

VKDOOKDYHDQ\IRUFHDQGHIIHFWZLWKUHVSHFWWRWKHVDOHWUDQVDFWLRQDQGDVVLJQPHQWVDXWKRUL]HGE\

WKLV2UGHUDQGVXFKSURYLVLRQVFRQVWLWXWHXQHQIRUFHDEOHDQWLDVVLJQPHQWSURYLVLRQVXQGHUVHFWLRQ

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%DQNUXSWF\&RGHDQGQRDVVLJQPHQWRIDQ\$VVLJQHG-205&RQWUDFWSXUVXDQWWRWKHWHUPVRIWKH

$JUHHPHQWVKDOOLQDQ\UHVSHFWFRQVWLWXWHDGHIDXOWXQGHUDQ\$VVLJQHG-205&RQWUDFW7KHQRQ

GHEWRU SDUW\ WR HDFK $VVLJQHG -205 &RQWUDFW VKDOO EH GHHPHG WR KDYH FRQVHQWHG WR VXFK

DVVLJQPHQWXQGHUVHFWLRQ F  % RIWKH%DQNUXSWF\&RGHDQGWKH3XUFKDVHUVKDOOHQMR\DOO

RIWKH'HEWRUV¶ULJKWVDQGEHQHILWVXQGHUHDFKVXFK$VVLJQHG-205&RQWUDFWDVRIWKHDSSOLFDEOH

GDWHRIDVVXPSWLRQZLWKRXWWKHQHFHVVLW\RIREWDLQLQJVXFKQRQGHEWRUSDUW\¶VZULWWHQFRQVHQWWR

WKHDVVXPSWLRQRUDVVLJQPHQWWKHUHRI

             7KH0RYDQWVRQEHKDOIRIWKH'HEWRUV¶HVWDWHVDQGWKH3XUFKDVHUKDYHVDWLVILHGDOO

UHTXLUHPHQWVXQGHUVHFWLRQV E  DQG I  RIWKH%DQNUXSWF\&RGHWRSURYLGHDGHTXDWH

DVVXUDQFHRIIXWXUHSHUIRUPDQFHXQGHUWKH$VVLJQHG-205&RQWUDFWV

             7KH'HEWRUVDQGWKHLUHVWDWHVVKDOOKDYHQROLDELOLW\IRUDQ\FODLPVDFFUXLQJIURP

DQGDIWHUWKH&ORVLQJXQGHUDQ\RIWKH$VVLJQHG-205&RQWUDFWVSXUVXDQWWRDQGLQDFFRUGDQFH

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$VVLJQHG-205&RQWUDFWVVKDOOKDYHQRFODLPVDJDLQVWWKH3XUFKDVHUUHODWLQJWRDQ\DVVLJQPHQW

IHHGHIDXOWEUHDFKRUFODLPRUSHFXQLDU\ORVVRUFRQGLWLRQWRDVVLJQPHQWDULVLQJXQGHURUUHODWHG

WRWKH$VVLJQHG-205&RQWUDFWVH[LVWLQJDVRIWKH&ORVLQJ'DWHRUDULVLQJE\UHDVRQRIWKH&ORVLQJ

'DWHH[FHSWIRUDQ\DPRXQWVWKDWDUH$VVXPHG/LDELOLWLHVLQFOXGLQJ&XUH&RVWVEHLQJDVVXPHG

E\WKH3XUFKDVHUXQGHUWKH$JUHHPHQW

            ,QWKHHYHQWWKDWWKH6DOHGRHVQRWFORVHQRQHRIWKH$VVLJQHG-205&RQWUDFWV

VKDOO EH DVVXPHG E\ YLUWXH RI WKLV 2UGHU DQG VKDOO UHPDLQ VXEMHFW WR IXUWKHU DGPLQLVWUDWLRQ LQ

-205¶VEDQNUXSWF\FDVH

            (DFK DQG HYHU\ IHGHUDO VWDWH DQG ORFDO JRYHUQPHQWDO DJHQF\ RU GHSDUWPHQW LV

KHUHE\ GLUHFWHG WR DFFHSW DQ\ DQG DOO GRFXPHQWV DQG LQVWUXPHQWV QHFHVVDU\ DQG DSSURSULDWH WR

FRQVXPPDWHWKH7UDQVDFWLRQVFRQWHPSODWHGE\WKH$JUHHPHQWDQGWKLV2UGHU7KLV2UGHUDQGWKH

$JUHHPHQW VKDOO EH ELQGLQJ XSRQ DQG JRYHUQ WKH DFWV RI DOO VXFK IHGHUDO VWDWH DQG ORFDO

JRYHUQPHQWDODJHQFLHVDQGGHSDUWPHQWVLQFOXGLQJDQ\ILOLQJDJHQWVILOLQJRIILFHUVWLWOHDJHQWV

UHFRUGLQJDJHQFLHVVHFUHWDULHVRIVWDWHDQGDOORWKHUSHUVRQVDQGHQWLWLHVZKRPD\EHUHTXLUHGE\

RSHUDWLRQRIODZWKHGXWLHVRIWKHLURIILFHRUFRQWUDFWWRDFFHSWILOHUHJLVWHURURWKHUZLVHUHFRUG

RUUHOHDVHDQ\GRFXPHQWVRULQVWUXPHQWVRUZKRPD\EHUHTXLUHGWRUHSRUWRULQVXUHDQ\WLWOHLQRU

WRWKH3XUFKDVHG$VVHWV

            7RWKHH[WHQWSHUPLWWHGE\VHFWLRQRIWKH%DQNUXSWF\&RGHQR*RYHUQPHQWDO

$XWKRULW\PD\UHYRNHRUVXVSHQGDQ\SHUPLWRUOLFHQVHUHODWLQJWRWKHRSHUDWLRQRIWKH3XUFKDVHG

$VVHWVVROGWUDQVIHUUHGRUFRQYH\HGWRWKH3XUFKDVHURQDFFRXQWRIWKHILOLQJRUSHQGHQF\RIWKH

'HEWRUV¶ EDQNUXSWF\ FDVHV RU WKH FRQVXPPDWLRQ RI WKH 7UDQVDFWLRQV FRQWHPSODWHG E\ WKH

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OLDELOLWLHV RWKHUWKDQWKH$VVXPHG/LDELOLWLHV(QFXPEUDQFHVDQG/LHQVWKDWWKH6WDONLQJ+RUVH

%LGGHU KDV DJUHHG WR SHUPLW XQGHU WKH $JUHHPHQW DQG H[FHSW DV RWKHUZLVH VHW IRUWK LQ WKH

$JUHHPHQW DQGWKH3XUFKDVHUKDVQRWSXUFKDVHGDQ\RIWKH'HEWRUV¶DVVHWVH[SUHVVO\H[FOXGHG

IURPWKH3XUFKDVHG$VVHWVSXUVXDQWWRWKH$JUHHPHQW DVGHILQHGLQWKH$JUHHPHQWWKH³([FOXGHG

$VVHWV´  &RQVHTXHQWO\ DOO 3HUVRQV *RYHUQPHQWDO 8QLWV DV GHILQHG LQ VHFWLRQV    DQG

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XSRQ RU DULVLQJ RXW RI OLDELOLWLHV UHWDLQHG E\ WKH 'HEWRUV PD\ QRW WDNH DQ\ DFWLRQ DJDLQVW WKH

3XUFKDVHU RU WKH 3XUFKDVHG $VVHWV WR UHFRYHU DQ\ /LHQV RU RQ DFFRXQW RI DQ\ OLDELOLWLHV RI WKH

'HEWRUV RWKHU WKDQ WKH $VVXPHG /LDELOLWLHV (QFXPEUDQFHV DQG/LHQV WKDW WKH 6WDONLQJ +RUVH

%LGGHU KDV DJUHHG WR SHUPLW XQGHU WKH $JUHHPHQW DQG H[FHSW DV RWKHUZLVH VHW IRUWK LQ WKH

$JUHHPHQW $OOSHUVRQVKROGLQJRUDVVHUWLQJDQ\/LHQVLQWKH([FOXGHG$VVHWVPD\QRWDVVHUWRU

SURVHFXWHVXFK/LHQVRUDQ\FDXVHRIDFWLRQDJDLQVWWKH3XUFKDVHURUWKH3XUFKDVHG$VVHWVIRUDQ\

OLDELOLW\DVVRFLDWHGZLWKWKH([FOXGHG$VVHWV

             ([FHSWDVRWKHUZLVHSURYLGHGE\WKH$JUHHPHQWWKH3XUFKDVHULVQRWD³VXFFHVVRU´

WRWKH'HEWRUVRUWKHLUHVWDWHVE\UHDVRQRIDQ\WKHRU\RIODZRUHTXLW\DQGWKH3XUFKDVHVKDOOQRW

DVVXPHRUEHGHHPHGWRDVVXPHRULQDQ\ZD\EHUHVSRQVLEOHIRUDQ\OLDELOLW\RUREOLJDWLRQRI

DQ\RIWKH'HEWRUVDQGRUWKHLUHVWDWHVLQFOXGLQJEXWQRWOLPLWHGWRDQ\EXONVDOHVODZVXFFHVVRU

OLDELOLW\RUVLPLODUOLDELOLW\ RWKHUWKDQWKH$VVXPHG/LDELOLWLHV(QFXPEUDQFHVDQG/LHQVWKDWWKH

6WDONLQJ+RUVH%LGGHUKDVDJUHHGWRSHUPLWXQGHUWKH$JUHHPHQWDQGH[FHSWDVRWKHUZLVHVHWIRUWK

LQWKH$JUHHPHQW ([FHSWDVRWKHUZLVHSURYLGHGIRULQWKH$JUHHPHQWQHLWKHUWKHWUDQVIHURIWKH

3XUFKDVHG$VVHWVWRWKH3XUFKDVHUQRUWKHIDFWWKDWWKH3XUFKDVHULVXVLQJDQ\RIWKH3XUFKDVHG

$VVHWVSUHYLRXVO\RZQHGE\WKH'HEWRUVZLOOFDXVHWKH3XUFKDVHURUDQ\RILWVDIILOLDWHVWREH



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GHHPHGDVXFFHVVRULQDQ\UHVSHFWWRWKH'HEWRUV¶EXVLQHVVZLWKLQWKHPHDQLQJRIDQ\IRUHLJQ

IHGHUDOVWDWHRUORFDOUHYHQXHSHQVLRQ(5,6$WD[ODERUHPSOR\PHQWHQYLURQPHQWDORURWKHU

ODZ UXOH RU UHJXODWLRQ LQFOXGLQJ ZLWKRXW OLPLWDWLRQ ILOLQJ UHTXLUHPHQWV XQGHU DQ\ VXFK ODZV

UXOHVRUUHJXODWLRQV RUXQGHUDQ\SURGXFWVOLDELOLW\ODZRUGRFWULQHZLWKUHVSHFWWRWKH'HEWRUV¶

OLDELOLW\XQGHUVXFKODZUXOHRUUHJXODWLRQRUGRFWULQH

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SRVVHVVLRQRIWKH3XUFKDVHG$VVHWVVKDOOEHIUHHDQGFOHDURIDQ\&ODLPVSXUVXDQWWRDQ\VXFFHVVRU

RU VXFFHVVRULQLQWHUHVW OLDELOLW\ WKHRU\ LQFOXGLQJ WKH IROORZLQJ D  DQ\ HPSOR\PHQW RU ODERU

DJUHHPHQWV E DOOGHHGVRIWUXVWDQGVHFXULW\LQWHUHVWV F DQ\SHQVLRQRUPHGLFDOEHQHILWSODQRI

WKH'HEWRUVFRPSHQVDWLRQRURWKHUHPSOR\HHEHQHILWSODQRIWKH'HEWRUVZHOIDUHDJUHHPHQWV

SUDFWLFHVDQGSURJUDPV G DQ\RWKHUHPSOR\HHZRUNHU VFRPSHQVDWLRQRFFXSDWLRQDOGLVHDVHRU

XQHPSOR\PHQW RU WHPSRUDU\ GLVDELOLW\ UHODWHG FODLP LQFOXGLQJ ZLWKRXW OLPLWDWLRQ &ODLPV WKDW

PLJKWRWKHUZLVHDULVHXQGHURUSXUVXDQWWR L WKH(PSOR\HH5HWLUHPHQW,QFRPH6HFXULW\$FWRI

DVDPHQGHG LL WKH)DLU/DERU6WDQGDUGV$FW LLL 7LWOH9,,RIWKH&LYLO5LJKWV$FWRI

 LY WKH)HGHUDO5HKDELOLWDWLRQ$FWRI Y WKH1DWLRQDO/DERU5HODWLRQV$FW YL WKH:RUNHU

$GMXVWPHQWDQG5HWUDLQLQJ$FWRI YLL WKH$JH'LVFULPLQDWLRQDQG(PSOR\HH$FWRI

DQG$JH'LVFULPLQDWLRQLQ(PSOR\PHQW$FWDVDPHQGHG YLLL WKH$PHULFDQVZLWK'LVDELOLWLHV

$FWRI L[ WKH&RQVROLGDWHG2PQLEXV%XGJHW5HFRQFLOLDWLRQ$FWRI XQOHVVRWKHUZLVH

SURYLGHG IRU XQGHU VXFK VWDWXWH DQG DQ\ UHJXODWLRQV SURPXOJDWHG WKHUHXQGHU  [  VWDWH

GLVFULPLQDWLRQODZV [L VWDWHXQHPSOR\PHQWFRPSHQVDWLRQODZVRUDQ\RWKHUVLPLODUVWDWHODZV

RU [LL DQ\RWKHUVWDWHRUIHGHUDOEHQHILWVRU&ODLPVUHODWLQJWRDQ\HPSOR\PHQWZLWKWKH'HEWRUV

RUDQ\SUHGHFHVVRUV H HQYLURQPHQWDORURWKHU&ODLPVRU/LHQVDULVLQJIURPH[LVWLQJFRQGLWLRQV

SULRUWRWKH&ORVLQJ LQFOXGLQJZLWKRXWOLPLWDWLRQWKHSUHVHQFHRIKD]DUGRXVWR[LFSROOXWLQJRU



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FRQWDPLQDWLQJ VXEVWDQFHV RU ZDVWH  WKDW PD\ EH DVVHUWHG RQ DQ\ EDVLV LQFOXGLQJ ZLWKRXW

OLPLWDWLRQXQGHUWKH&RPSUHKHQVLYH(QYLURQPHQWDO5HVSRQVH&RPSHQVDWLRQDQG/LDELOLW\$FW

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DQ\7D[VWDWXWHVRURUGLQDQFHVLQFOXGLQJZLWKRXWOLPLWDWLRQWKH,QWHUQDO5HYHQXH&RGHRI

DVDPHQGHGDQG K DQ\DQGDOOWKHRULHVRIVXFFHVVRUOLDELOLW\LQFOXGLQJDQ\WKHRULHVRQVXFFHVVRU

SURGXFWVOLDELOLW\JURXQGVRURWKHUZLVH

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RIWKH%DQNUXSWF\&RGHDOO3HUVRQVLQFOXGLQJEXWQRWOLPLWHGWRWKH'HEWRUVDOOGHEWKROGHUV

HTXLW\VHFXULW\KROGHUVWKH'HEWRUV¶HPSOR\HHVRUIRUPHUHPSOR\HHV*RYHUQPHQWDO$XWKRULWLHV

OHQGHUVSDUWLHVWRRUEHQHILFLDULHVXQGHUDQ\EHQHILWSODQWUDGHDQGRWKHUFUHGLWRUVDVVHUWLQJRU

KROGLQJD/LHQRIDQ\NLQGRUQDWXUHZKDWVRHYHUDJDLQVWLQRUZLWKUHVSHFWWRDQ\RIWKH'HEWRUV

RUWKH3XUFKDVHG$VVHWV RWKHUWKDQWKH$VVXPHG/LDELOLWLHV(QFXPEUDQFHVDQG/LHQVWKDWWKH

6WDONLQJ+RUVH%LGGHUKDVDJUHHGWRSHUPLWXQGHUWKH$JUHHPHQWDQGH[FHSWDVRWKHUZLVHVHWIRUWK

LQWKH$JUHHPHQW DULVLQJXQGHURURXWRILQFRQQHFWLRQZLWKRULQDQ\ZD\UHODWLQJWRWKH'HEWRUV

WKH3XUFKDVHG$VVHWVWKHRSHUDWLRQRIWKH'HEWRUV¶EXVLQHVVHVSULRUWRWKH&ORVLQJ'DWHRUWKH

WUDQVIHURIWKH3XUFKDVHG$VVHWVWRWKH3XUFKDVHULQDFFRUGDQFHZLWKWKH$JUHHPHQWDQGWKLV2UGHU

VKDOOEHIRUHYHUEDUUHGDQGHVWRSSHGIURPDVVHUWLQJSURVHFXWLQJRURWKHUZLVHSXUVXLQJVXFK/LHQ

LQFOXGLQJDVVHUWLRQRIDQ\ULJKWRIVHWRIIRUVXEURJDWLRQDQGHQIRUFHPHQWDWWDFKPHQWRUFROOHFWLRQ

RIDQ\MXGJPHQWDZDUGGHFUHHRURUGHUDJDLQVWWKH3XUFKDVHURUDQ\RIWKHLUDIILOLDWHVVXFFHVVRUV

RU DVVLJQV WKHUHRI DQG HDFK RI WKHLU UHVSHFWLYH FXUUHQW DQG IRUPHU PHPEHUV RIILFHUV GLUHFWRUV

DWWRUQH\V HPSOR\HHV SDUWQHUV DIILOLDWHV ILQDQFLDO DGYLVRUV DQG UHSUHVHQWDWLYHV HDFK RI WKH

IRUHJRLQJLQLWVLQGLYLGXDOFDSDFLW\ ZLWKUHVSHFWWRWKH3XUFKDVHG$VVHWV




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WKH $JUHHPHQW WKH 3XUFKDVHU VKDOO QRW DVVXPH RU EH REOLJDWHG WR SD\ SHUIRUP RU RWKHUZLVH

GLVFKDUJH DQ\ ZRUNHUV¶ FRPSHQVDWLRQ GHEWV REOLJDWLRQV DQG OLDELOLWLHV RI WKH 'HEWRUV DULVLQJ

SXUVXDQW WR VWDWH ODZ RU RWKHUZLVH DQG WKLV 2UGHU LV LQWHQGHG WR EH DOO LQFOXVLYH DQG VKDOO

HQFRPSDVVEXWQRWEHOLPLWHGWRZRUNHUV¶FRPSHQVDWLRQ&ODLPVRUVXLWVRIDQ\W\SHZKHWKHUQRZ

NQRZQRUXQNQRZQZKHQHYHULQFXUUHGRUILOHGZKLFKKDYHRFFXUUHGRUZKLFKDULVHIURPZRUN

UHODWHG LQMXULHV GLVHDVHV GHDWK H[SRVXUHV LQWHQWLRQDO WRUWV DFWV RI GLVFULPLQDWLRQ RU RWKHU

LQFLGHQWV DFWV RU LQMXULHV SULRU WR WKH &ORVLQJ 'DWH LQFOXGLQJ EXW QRW OLPLWHG WR DQ\ DQG DOO

ZRUNHUV¶ FRPSHQVDWLRQ &ODLPV ILOHG RU WR EH ILOHG RU DQ\ UHRSHQLQJ RI VXFK &ODLPV E\ RU RQ

EHKDOIRIDQ\RIWKH%XVLQHVV¶FXUUHQWRUIRUPHUHPSOR\HHVSHUVRQVRQODLGRIILQDFWLYHRUUHWLUHG

VWDWXV RU WKHLU UHVSHFWLYH GHSHQGHQWV KHLUV RU DVVLJQV DV ZHOO DV DQ\ DQG DOO SUHPLXPV

DVVHVVPHQWVRURWKHUREOLJDWLRQVRIDQ\QDWXUHZKDWVRHYHURIWKH%XVLQHVVUHODWLQJLQDQ\ZD\WR

ZRUNHUV¶FRPSHQVDWLRQOLDELOLW\H[FHSWDVRWKHUZLVHVSHFLILFDOO\VHWIRUWKLQWKH$JUHHPHQW

             6XEMHFWWRWKHWHUPVRIWKH$JUHHPHQWWKH$JUHHPHQWDQGDQ\UHODWHGDJUHHPHQWV

DQGRU LQVWUXPHQWV PD\ EH ZDLYHG PRGLILHG DPHQGHG RU VXSSOHPHQWHG E\ DJUHHPHQW RI WKH

0RYDQWVRQEHKDOIRIWKH'HEWRUV¶HVWDWHVDQGWKH3XUFKDVHUZLWKRXWIXUWKHUDFWLRQRURUGHURI

WKH&RXUWSURYLGHGKRZHYHUWKDWDQ\VXFKZDLYHUPRGLILFDWLRQDPHQGPHQWRUVXSSOHPHQWLV

QRWPDWHULDOO\DGYHUVHWRWKH'HEWRUV¶HVWDWHVDQGVXEVWDQWLDOO\FRQIRUPVWRDQGHIIHFWXDWHVWKH

$JUHHPHQWDQGDQ\UHODWHGDJUHHPHQWVDQGRULQVWUXPHQWVDQGWKLV2UGHU

             7KHIDLOXUHVSHFLILFDOO\WRLQFOXGHDQ\SDUWLFXODU SURYLVLRQVRIWKH$JUHHPHQWRU

DQ\UHODWHGDJUHHPHQWVRULQVWUXPHQWVLQWKLV2UGHUVKDOOQRWGLPLQLVKRULPSDLUWKHHIIHFWLYHQHVV

RIVXFKSURYLVLRQVLWEHLQJWKHLQWHQWRIWKH&RXUWWKH0RYDQWVRQEHKDOIRIWKH'HEWRUV¶HVWDWHV

DQGWKH3XUFKDVHUWKDWWKH$JUHHPHQWDQGDQ\UHODWHGDJUHHPHQWVDQGLQVWUXPHQWVDUHDXWKRUL]HG



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DQGDSSURYHGLQWKHLUHQWLUHW\ZLWKVXFKDPHQGPHQWVWKHUHWRDVPD\EHPDGHE\WKHSDUWLHVLQ

DFFRUGDQFHZLWKWKLV2UGHUSULRUWR&ORVLQJDQGHDFKVXFKSURYLVLRQRIWKH$JUHHPHQWVKDOOEH

HQIRUFHDEOHE\RUDJDLQVWHDFKRIWKH3DUWLHVWKHUHWR

             8SRQ WKH FRPPHQFHPHQW RI WKH &KDSWHU  EDQNUXSWF\ FDVHV E\ WKH &KDSWHU 

'HEWRUVWKH7UXVWHHQRWLQKLVLQGLYLGXDOFDSDFLW\EXWVROHO\LQKLVFDSDFLW\DVWKH7UXVWHHRIWKH

HVWDWHVRIWKH&KDSWHU'HEWRUVVKDOOEHGHHPHGDGPLWWHGDVDPHPEHURIHDFKRIWKH3DOP2S&RV

HVWDEOLVKHGDVD/LPLWHG/LDELOLW\&RPSDQ\ VXFKHQWLWLHVFROOHFWLYHO\WKH³3DOP2SFR//&V´ 

7RWKHH[WHQWWKDWWKHFRPPHQFHPHQWRIWKH&KDSWHUFDVHVE\WKH&KDSWHU'HEWRUVFDXVHGDQ\

3DOP 2SFR //&V WR GLVVROYH XQGHU DSSOLFDEOH QRQEDQNUXSWF\ ODZ VXFK GLVVROXWLRQ LV KHUHE\

UHYRNHGDVLILWQHYHURFFXUUHGDQGWKH7UXVWHHQRWLQKLVLQGLYLGXDOFDSDFLW\EXWVROHO\LQKLV

FDSDFLW\ DV WKH 7UXVWHH RI WKH HVWDWHV RI WKH &KDSWHU  'HEWRUV DQG RQ EHKDOI RI WKH &KDSWHU 

'HEWRUV VKDOO EH GHHPHG D PHPEHU RI WKH 3DOP 2SFR //&V ZLWK WKH SRZHU DQG DXWKRULW\ WR

WUDQVIHUWKHVXEMHFWDVVHWVWRWKH3XUFKDVHU

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KHUHLQ DQG LQ WKH $JUHHPHQW VKDOO QRW FRQVWLWXWH D FKDQJH RI FRQWURO DV VXFK WHUP LV XVHG

XQGHUVWRRGRULPSOLHGLQDQ\ DIILOLDWHG DJUHHPHQWFRQWUDFWOHDVHRUVLPLODULQVWUXPHQW HQWHUHG

LQWRE\DQRQGHEWRUVXEVLGLDU\RIWKH&RPSDQ\DQGDWKLUGSDUW\UHODWLQJWRUHVWDXUDQWVRSHUDWHG

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RI WKH 8QLWHG 6WDWHV RI $PHULFD SURYLGHG KRZHYHU WKDW H[FHSW DV RWKHUZLVH SURYLGHG LQ WKH

$JUHHPHQW DQ\ VXFK FODLPV ULJKWV RU SRZHUV RI WKH 8QLWHG 6WDWHV RI $PHULFD VKDOO QRW EH

FRQVWUXHGLQDQ\ZD\DV$VVXPHG/LDELOLWLHVXQGHUWKLV2UGHURUWKH$JUHHPHQW




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DQ\ZD\WRWKHVDOHDQGWKH7UDQVDFWLRQVFRQWHPSODWHGE\WKH$JUHHPHQW

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JRYHUQWKHDFWVRIDOO3HUVRQVLQFOXGLQJZLWKRXWOLPLWDWLRQWKH0RYDQWVWKH'HEWRUVDQGWKHLU

HVWDWHVDQGWKH3XUFKDVHUWKHLUUHVSHFWLYHVXFFHVVRUVDQGSHUPLWWHGDVVLJQVLQFOXGLQJZLWKRXW

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FRPPLWWHHVXEVHTXHQWO\DSSRLQWHGLQWKHFDVHVRIWKH&KDSWHU'HEWRUVRUDQ\WUXVWHHDSSRLQWHG

LQDFKDSWHUFDVHLIWKHFDVHVRIWKH&KDSWHU'HEWRUVDUHFRQYHUWHGIURPFKDSWHUWRDFDVH

XQGHUFKDSWHURIWKH%DQNUXSWF\&RGHDOOFUHGLWRUVRIDQ\'HEWRU ZKHWKHUNQRZQRUXQNQRZQ 

ILOLQJ DJHQWV ILOLQJ RIILFHUV WLWOH DJHQWV UHFRUGLQJ DJHQFLHV VHFUHWDULHV RI VWDWH DQG DOO RWKHU

3HUVRQVZKRPD\EHUHTXLUHGE\RSHUDWLRQRIODZWKHGXWLHVRIWKHLURIILFHRUFRQWUDFWWRDFFHSW

ILOHUHJLVWHURURWKHUZLVHUHFRUGRUUHOHDVHDQ\GRFXPHQWVRULQVWUXPHQWVRUZKRPD\EHUHTXLUHG

WRUHSRUWRULQVXUHDQ\WLWOHLQRUWRWKH3XUFKDVHG$VVHWV

             7KH0RYDQWVRQEHKDOIRIWKH'HEWRUV¶HVWDWHVRQWKHRQHKDQGDQGWKH3XUFKDVHU

RQWKHRWKHUKDQGKHUHE\UHOHDVHHDFKRWKHUIURPDQ\DQGDOOFODLPVH[FHSWIRUVXFKFODLPVWKDW

DUHVHWIRUWKLQRUDULVHIURPWKH$JUHHPHQWDQGWKLV2UGHU

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OLTXLGDWLRQWKDWPD\EHFRQILUPHGLQWKHFDVHVRIWKH&KDSWHU'HEWRUVRULQDQ\VXEVHTXHQWRU

FRQYHUWHGFDVHVRIWKH&KDSWHU'HEWRUVWRFDVHVXQGHUFKDSWHURIWKH%DQNUXSWF\&RGHVKDOO

FRQIOLFWZLWKRUGHURJDWHIURPWKHSURYLVLRQVRIWKH$JUHHPHQWRUWKHWHUPVRIWKLV2UGHU

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HIIHFWLYHDQGHQIRUFHDEOHLPPHGLDWHO\XSRQHQWU\DQGLWVSURYLVLRQVVKDOOEHVHOIH[HFXWLQJ,QWKH

DEVHQFHRIDQ\3HUVRQREWDLQLQJDVWD\SHQGLQJDSSHDOWKH0RYDQWVRQEHKDOIRIWKH'HEWRUV¶



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LQWHUSUHWDWLRQ RI WKH WHUPV FRQGLWLRQV DQG SURYLVLRQV KHUHRI DQG WKHUHRI WKH VWDWXV QDWXUH DQG

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FRQQHFWLRQ ZLWK WKH UHOLHI DXWKRUL]HG KHUHLQ LQFOXVLYH RI WKRVH FRQFHUQLQJ WKH WUDQVIHU RI WKH

3XUFKDVHG$VVHWVIUHHDQGFOHDURIDOO/LHQV RWKHUWKDQWKH$VVXPHG/LDELOLWLHV(QFXPEUDQFHV

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RWKHUZLVHVHWIRUWKLQWKH$JUHHPHQW 

  (Christopher Andrew Jarvinen, Esq. is directed to serve a copy of this order on interested parties
who are non-CM/ECF users and to file a proof of service within three days of entry of the order.)
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                                              EXHIBIT G

                                           Escrow Agreement



                                                 ____________, 2020


Name
Address



         Re:      Escrow Agreement

Gentlemen:

       The undersigned appoint you as escrow agent (“Escrow Agent” or “you”) under the
following terms and conditions:

        1.     Escrow Agent shall receive from _________________, a _____________
(“Purchaser”), pursuant to the terms of that certain Purchase Agreement dated _________, 2020
(the “Purchase Agreement”) among Purchaser, on the one hand, and (i) Just One More Restaurant
Corp., a New York corporation and a debtor-in-possession under chapter 11 of the United States
Bankruptcy Code (“JOMR”), and (ii) Robert E. Tardif, Jr., in his capacity as Trustee appointed in
the chapter 7 bankruptcy cases of Bruce E. Bozzi, Sr. (“Bozzi”) and Walter J. Ganzi, Jr. (“Ganzi”)
under chapter 7 of the United States Bankruptcy Code, and not individually (the “Trustee”, and
together with JOMR and PMC, each a “Seller” and collectively “Sellers”), on the other hand, and
hold in escrow and disburse pursuant to the terms of the Purchase Agreement and this agreement
(the “Escrow Agreement”) or as otherwise set forth in an Order of the Bankruptcy Court entered
in the Bankruptcy Case, the amount of $___________ (the “Deposit” or the “Escrow Funds”).
Purchaser shall deliver the Deposit to Escrow Agent by cashier’s check or wire transfer of funds
to the account set forth on Exhibit “A” attached hereto.

       2.    (a)     Escrow Agent shall hold the Escrow Funds and shall not deliver or disperse
the Escrow Funds, other than:

                          (i)     pursuant to written instructions executed by Sellers alone that are
                  delivered to both Purchaser and Escrow Agent in the event (A) if there is no Auction
                  or if Purchaser is designated as the Successful Bidder (as defined in the Bidding
                  Procedures) at the Auction and, in each instance, Purchaser fails to close on the
                  purchase of Sellers’ assets, and the terms of the Purchase Agreement permit Sellers
                  to retain any deposit made by Purchaser as a result of such failure to close; or (B)
                  Purchaser is designated as the Backup Bidder at the Auction, the prevailing highest
                  bid fails to close on the purchase of Sellers’ assets, Purchaser fails to close on the



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                  purchase of Sellers’ assets, and the terms of the Purchase Agreement permit Seller
                  to retain any deposit made by Purchaser as a result of such failure to close; provided,
                  however, that Escrow Agent shall not make any disbursement with respect to such
                  request until the expiration of five (5) Business Days after Escrow Agent’s receipt
                  of such written instructions;

                          (ii)  upon receipt of, and in accordance with, a Joint Written Direction.
                  Such Joint Written Direction shall contain complete payment instructions,
                  including funds transfer instructions or an address to which a check or wire shall
                  be sent;

                         (iii)   pursuant to a final Order of the Bankruptcy Court;

                          (iv)   by delivering the Escrow Funds into the Bankruptcy Court pursuant
                  to the provisions of Section 4;

                         (v)      by delivering the Escrow Funds to a successor escrow agent
                  pursuant to this Escrow Agreement; or

                          (vi)    pursuant to written instructions by Purchaser, if Purchaser is not
                  designated by Sellers as the Successful Bidder or the Backup Bidder at the Auction,
                  to disburse the Deposit to Purchaser at the account designated on Exhibit A attached
                  hereto.

        3.      (a)     In the event a written objection by Purchaser to disbursement of the Escrow
Funds is received by Escrow Agent within four (4) Business Days after Escrow Agent’s receipt of
Sellers’ instructions pursuant to Section 2(a)(i), Escrow Agent will pay the Escrow Funds into the
Bankruptcy Court pursuant to the provisions of Section 4.

                 (b)     Upon Escrow Agent’s receipt of written instructions given to Escrow Agent
         pursuant to Section 2(a)(i) (other than in the case of Escrow Agent’s receipt of a written
         objection from Purchaser that is governed by Section 3(a) above), Section 2(a)(ii), or
         Section 2(a)(vi), or upon the entry of a final Order of the Bankruptcy Court pursuant to
         Section 2(a)(iii), Escrow Agent shall deliver the Escrow Funds in accordance with such
         instructions or Order, as applicable, and Escrow Agent shall not be subject to any liability
         to any party for doing so, except for Escrow Agent’s own willful misconduct or gross
         negligence. Purchaser and Sellers each agree not to assert any claim against Escrow Agent
         for making a disbursement or payment in accordance with this Section 3(b), except to the
         extent such claim arises out of Escrow Agent’s willful misconduct or gross negligence.

                 (c)     For purposes of this Escrow Agreement, “Joint Written Direction” shall
         mean a written direction identified as a “Joint Written Direction” and indicating that is
         being delivered pursuant to Section 2(a)(ii) of this Escrow Agreement, that is executed by
         both Purchaser and Sellers and delivered to Escrow Agent that directs you as to the
         disposition of the Escrow Funds then held by you pursuant to this Escrow Agreement.




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        4.     In the event of a dispute between the Purchaser and Sellers as to the proper
disposition of all or a portion of the Escrow Funds, or if the Escrow Agent is uncertain as to the
proper disposition of the Escrow Funds, Escrow Agent shall (i) deliver the Escrow Funds in
accordance with a Joint Written Direction (including, for this purpose, an instruction to Escrow
Agent to retain the Escrow Funds) or a final Order of the Bankruptcy Court, or (ii) in the absence
of a Joint Written Direction or final Order, deliver the Escrow Funds into the Bankruptcy Court,
and upon the taking of such action, Escrow Agent shall be relieved of all further responsibility.
Escrow Agent shall give prompt written notice to Purchaser and Sellers of the action taken by
Escrow Agent pursuant to this Section 4.

      5.     Investment of the Escrow Funds and taxation of any earnings with respect to the
Escrow Funds shall be as follows:

                 (a)    Upon Escrow Agent’s receipt of the tax information required by this Section
         5, Escrow Agent shall, within five (5) Business Days of the later of the date of this Escrow
         Agreement and Escrow Agent’s receipt of the tax information required by this Section 5,
         invest the Escrow Funds in an interest bearing account or accounts customarily maintained
         by Escrow Agent with any bank or trust company with an office in Fort Lauderdale or
         Miami, Florida. Until Escrow Agent’s receipt of the income tax information required
         pursuant to Section 5(b), the Escrow Funds shall be held in a non-interest bearing account.
         Purchaser shall be entitled to the interest earned on the Escrow Funds.

                 (b)     The Escrow Agent will not have any interest in the Escrow Funds but is
         serving as escrow holder only and has only possession thereof. Sellers and Purchaser agree
         that, for purposes of federal and other taxes based on income, Purchaser will be treated as
         the owner of the Escrow Funds. Upon execution of this Escrow Agreement, Purchaser
         shall provide Escrow Agent with Purchaser’s taxpayer identification number and the
         appropriate forms for or with respect to the reporting of such income for tax purposes
         together with any “know your customer” documentation requested by the Escrow Agent.

        6.      The undersigned severally represent and warrant to you that the execution, delivery
and performance of this Escrow Agreement has been duly authorized, and does not violate or
conflict with any statute, regulation, order, judgment, or writ that is binding upon the representing
party or its assets.

         7.       To induce you to act as escrow agent hereunder, the undersigned agree as follows:

                 (a)      You shall not in any way be bound or affected by any notice of modification
         or cancellation of this Escrow Agreement unless in writing and signed by the parties hereto,
         nor shall you be bound by any modification hereof unless the same shall be satisfactory to
         you. You shall be entitled to rely upon any judgment, order, notice, certification, demand
         or other writing delivered to you hereunder by any party hereto, and to rely upon and
         comply with any order, writ, judgment or decree which you determine is binding upon you
         or relates to the Escrow Funds, without being required to determine the authenticity or the
         correctness of any fact stated therein, the propriety or validity of the service thereof, or the
         jurisdiction of the court issuing any judgment or order.



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                (b)     You shall not be under any duty to give the property held by you hereunder
         any greater degree of care than you give your own similar property. Your duties with
         respect to the Escrow Funds shall be fully performed by delivering such funds, in the
         manner provided for notices below (other than by fax) or pursuant to wire instructions
         furnished by the party entitled thereto, to the party entitled thereto.

                 (c)     You may act in reliance upon any signature (whether original or facsimile)
         believed by you to be genuine, and may assume that any person purporting to give any
         notice, instructions or receipt, or make any statements in connection with the provisions
         hereof, has been duly authorized to do so.

                (d)     You may act relative hereto in reliance upon advice of counsel in reference
         to any matter connected herewith, and shall not be liable for any mistake of fact or error of
         judgment, or for any acts or omissions of any kind, unless caused by your willful
         misconduct or gross negligence.

                 (e)     You may resign and be discharged of your duties as escrow agent hereunder
         by giving twenty (20) days’ written notice to the parties hereto. Upon receipt of such
         notice, the parties shall attempt to designate a successor escrow agent satisfactory to them
         by delivery of a joint signed notice of such designation to you. Your resignation shall take
         effect twenty (20) days after the giving of your notice of resignation, or upon receipt by
         you of an instrument of acceptance executed by a successor escrow agent and upon delivery
         by you to such successor of the Escrow Funds then held by you. However, if such a
         successor escrow agent has not been designated as aforesaid by the end of such 20-day
         period, then you shall act in accordance with Section 4, above.

                 (f)     Purchaser and Sellers hereby agree to jointly and severally indemnify and
         hold harmless you, and each of your partners, employees, attorneys, and agents from and
         against any and all fines, penalties, losses, claims, liabilities, costs and expenses, including
         the fees and expenses of counsel, arising out of or related to this Escrow Agreement,
         including in connection with the performance of your duties hereunder, except in case of
         your own gross negligence or willful misconduct. Purchaser and Sellers shall bear equally
         and pay directly to you, any reasonable and documented charges and expenses, as escrow
         agent, in administering the Escrow Funds. Escrow Agent shall not charge a separate fee
         for acting as escrow agent under this Escrow Agreement.

                 (g)     Your duties and obligations shall be determined solely by the express
         provisions of this Escrow Agreement and those of the Purchase Agreement applicable to
         the Escrow Funds, and you shall have no implied duties or obligations and shall not be
         charged with knowledge or notice of any fact or circumstance not specifically set forth
         herein. Nothing contained herein shall be deemed to obligate you to deliver any funds,
         instrument, documents, or any other property referred to herein unless the same shall have
         first been received by you pursuant to this Escrow Agreement.




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        8.      Any notice, direction, request, or instruction to be given hereunder by any party to
another shall be in writing, shall be delivered personally or sent by overnight courier service, next
business day delivery guaranteed, or by certified mail, return receipt requested, or by email in each
case with all postage and fees paid by the party sending the same, to the respective party or parties
at the respective addresses and email addresses set forth under their names below, and shall be
deemed to have been given when received. Any party may change its address by written notice to
each of the other parties.

        9.      Subject to Section 7 of this Escrow Agreement, the parties acknowledge and agree
that Escrow Agent serves as counsel to the Sellers, and may continue to do so in connection with
the Purchase Agreement, the pending bankruptcy proceedings of JOMR, Ganzi and Bozzi, this
Escrow Agreement, and any dispute arising in connection herewith or therewith (including but not
limited to any interpleader or other proceeding relating to the Escrow Funds). Nothing contained
herein or any performance by you or any party hereunder shall impair or affect your ability and
full right and authority to represent the Sellers or any of them in connection with any matter
(including, without limitation, in connection with the Purchase Agreement or any interpleader
action instituted by you arising from this Escrow Agreement), whether or not related to the subject
matter hereof, nor shall your agreement to act as escrow agent hereunder create any impropriety
or conflict of interest (or any appearance thereof) in connection with your representation of the
Sellers in any matter.

        10.     This Escrow Agreement may be signed in counterparts, all of which, taken together,
shall be deemed one and the same agreement. This Escrow Agreement may be delivered by
electronic transmission with the same effect as delivery of an originally signed document.

       11.     This Escrow Agreement shall be construed in accordance with and governed by the
laws of the State of Florida, exclusive of its choice of law principles, and shall be binding upon
and inure to the benefit of the parties hereto and the escrow agents and their respective successors
and assigns. Venue for any proceedings arising hereunder shall be in the Bankruptcy Court.
Capitalized terms used in this Escrow Agreement and not otherwise defined in it shall have the
meanings provided in the Purchase Agreement.


      Please signify your agreement to the foregoing by signing and returning a copy of this
agreement to all parties hereto.

                                              PURCHASER:
                                              [NAME]


                                              By:_________________________________
                                                 Name:
                                                 Title:

                                              Address for Notices:
                                              Email:



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                                         SELLERS:

                                         JUST ONE MORE RESTAURANT CORP.


                                         By: _________________________________
                                            Gerard A. McHale
                                            Chief Restructuring Officer

                                         Address for Notices:



                                         Email:




                                         _____________________________________
                                         ROBERT E. TARDIF, JR.,
                                         in his capacity as Trustee appointed in the
                                         Bankruptcy Cases of Bruce E. Bozzi, Sr. and
                                         Walter J. Ganzi, Jr. under chapter 7 of the U.S.
                                         Bankruptcy Code


                                         Address for Notices:



                                         Email:




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Agreed to by:

_________________________________
Escrow Agent


By:_______________________________

Address for Notices:



Email:




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                                       EXHIBIT “A”

                                  Wire instructions for
                              ______________ Trust Account

Bank Name:
Bank Address:
Bank Routing/ABA #:
Account Name:
Beneficiary Account #:
Reference #:




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                                         EXHIBIT H-1

                    Form of Assignment of Limited Liability Company Interests

               ASSIGNMENT OF LIMITED LIABILITY COMPANY INTERESTS

       THIS ASSIGNMENT OF LIMITED LIABILITY COMPANY INTERESTS
(“Assignment”) is made as of the _____ day of __________, 2020 (the “Effective Date”), by
____________________________         (“Assignor”),   to     and      in      favor     of
___________________________ (“Assignee”).

                                      W I T N E S S E T H:

        FOR VALUE RECEIVED, the sufficiency of which is hereby acknowledged, as of the
Effective Date, Assignor hereby unconditionally grants, bargains, sells, transfers, assigns and
confirms unto Assignee, 100% of the issued and outstanding limited liability company interests of
______________________, a ______________ limited liability company (the “Company”), being
all of the limited liability company interests of the Company owned and held by Assignor,
including, without limitation, the corresponding rights, power, benefits, and privileges relating
thereto or arising therefrom, and the obligations thereunder, pursuant to the [certificate of
organization] and [the Limited Liability Company Agreement of the Company] dated
__________________ (as amended, the “LLC Agreement”) relating to such limited liability
company interests (collectively, the “Assigned Property”).

               This Assignment is delivered by Assignor and Assignee pursuant to that certain
Purchase Agreement dated as of __________, 2020 entered into by, among others Assignor and
Assignee (the “Purchase Agreement”), and pursuant to §363 of the Bankruptcy Code, and in
accordance with that certain Order Approving the Sale of Assets Free and Clear of All Liens,
Claims, Interests, and Encumbrances and the Assumption and Assignment of Certain Executory
Contracts and Unexpired Leases entered on _________, Dkt. ____, in In re:____________, Case
No. ________________, in the United States Bankruptcy Court for the Middle District of Florida,
Fort Myers Division.

               By its execution hereof, (A) Assignee hereby (i) accepts the assignment of the
Assigned Property as of the Effective Date, (ii) agrees to be bound by all the terms and conditions
of the LLC Agreement of the Company as if Assignee were an original signatory thereto, and (iii)
is admitted as the sole member of the Company, and (B) Assignor ceases to be a member of, or
hold any interest in, the Company, and (ii) resigns as manager, officer, and any other capacity in
the Company. Assignor and Assignee agree that the Company shall continue without dissolution.

                The parties agrees that, to the extent this Assignment and the LLC Agreement
conflict, the LLC Agreement shall be amended hereby.

               This Assignment shall be binding upon and inure to the benefit of the parties hereto
and their respective successors and assigns. This Assignment shall be construed in accordance
with the laws of the State of Florida, exclusive of its choice of law principles. This Assignment
may be delivered by electronic transmission with the same effect as delivery of an original.


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      IN WITNESS WHEREOF, Assignor and Assignee have executed and delivered this
Assignment as of the date first set forth above.

                                         ASSIGNOR:




                                         ASSIGNEE:




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                                         EXHIBIT H-2

                                Form of Lost Certificate Affidavit

                               LOST CERTIFICATE AFFIDAVIT

                                             [Date]

         The undersigned, [_______] (the “Affiant”), deposes and says:

ARTICLE 1 1.         That ___________ (“Owner”) is the owner of [___] [shares of
stock][membership interests] in ____________, which was represented by certificate [___] (the
“Certificate”).

ARTICLE 2 2.          That, upon information and belief, the Certificate has been lost, stolen or
destroyed or cannot otherwise be located.

ARTICLE 3 3.          That if the Affiant should find or recover the Certificate, Affiant will
immediately surrender the Certificate to [_______] or its designee for cancellation without
requiring any consideration for such surrender.


                                             [_______]




                                             By: __________________________________

                                             Name:

                                             Title:




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                                            EXHIBIT I

                                  Form of JOMR IP Assignment

                  ASSIGNMENT OF INTELLECTUAL PROPERTY RIGHTS

       THIS ASSIGNMENT OF INTELLECTUAL PROPERTY RIGHTS (“Assignment”) is
made this _____ day of _____________, 2020 by JUST ONE MORE RESTAURANT CORP., a
New York corporation and a debtor and debtor in possession pursuant to 11 U.S.C. §§ 1107
(“Assignor”), to ________________________, a _____________________ (“Assignee”).

        FOR GOOD AND VALUABLE CONSIDERATION, the receipt and adequacy of which
are hereby acknowledged, Assignor hereby sells, assigns, sets over, delivers, and transfers to
Assignee all of Assignor’s right, title and interest in and to the JOMR IP (as defined in the Purchase
Agreement (as defined below)), including the Intellectual Property described on Exhibit “A”
attached hereto and made a part hereof (all of the foregoing being collectively referred to as the
“Assigned Intellectual Property”) together with all goodwill therein, causes of action relating
thereto, and the right to profits or damages due or accrued, arising out of or in connection with,
any and all past, present or future infringements of the JOMR IP in the United States or any other
country or countries; the same to be held and enjoyed by Assignee for its own use and enjoyment,
and for the use and enjoyment of its successors and assigns or other legal representatives, at
common law and/or to the end of the term or terms for which registration of the Assigned
Intellectual Property may be granted or renewed, as fully and entirely as the same would have been
held and enjoyed by Assignor if this Assignment had not been made.

        The Assigned Intellectual Property is being conveyed pursuant to that certain Purchase
Agreement dated ____________, 2020 between, among others, Assignor and Assignee (as
amended, the “Purchase Agreement”), and the [Order (A) Authorizing Sale of Debtors’ Contract
Services Assets Pursuant to 11 U.S.C. §363 Free and Clear of Liens, Claims, and Encumbrances
and (B) Approving Assumption and Assignment of Assumed Contracts] entered on ___________,
Dkt. ____, in In re: Just One More Restaurant Corp., Case No. 9:19-bk-1947-FMD, in the United
States Bankruptcy Court for the Middle District of Florida, Fort Myers Division. Unless otherwise
defined in this Assignment, all capitalized terms used herein shall have the meanings provided in
the Purchase Agreement.

        Assignor shall, without further consideration, comply with any reasonable request by
Assignee to execute and deliver promptly any additional documents as may be necessary in order
to give effect to the assignment reflected herein. Such additional documents shall be effective as
of the date hereof, if applicable, and may include, without limitation, additional assignment
documents required by the Commissioner of Patents and Trademarks of the United States, the
United States Copyright Office, or any other Governmental Authority; agreed amendments to
Exhibit “A” to correct any inaccuracies or misstatements therein; any other documents necessary
to further clarify or confirm the assignment and conveyance of the JOMR IP; and any and all
affidavits, declarations, oaths, samples, exhibits, specimens, and other documentation as may be
reasonably required in connection with: (a) preparation and prosecution of any Intellectual
Property Registrations of any of the JOMR IP; (b) prosecution or defense of any cancellation,



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opposition, infringement, or other proceedings that may arise in connection with any of the JOMR
IP, including without limitation, testifying as to any facts relating to the JOMR IP and this
Agreement; and (c) obtaining any additional protection for the JOMR IP that Assignee reasonably
may deem appropriate that may be secured under the laws now or hereafter in effect in the United
States, in each case at Assignee’s cost and expense.

        This Assignment shall be governed by the laws of the State of Florida, exclusive of its
choice of law principles. This Assignment may be signed in counterparts, all of which, taken
together, shall be deemed one and the same Assignment. This Assignment may be delivered by
electronic transmission with the same effect as delivery of an original.


                          [Remainder of Page Intentionally Left Blank]




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        IN WITNESS WHEREOF, Assignor has executed and delivered this Assignment of
Intellectual Property Rights as of the date and year first above written.

                                                    JUST ONE MORE RESTAURANT CORP.



                                                    By: ________________________________
                                                        Gerard A. McHale
                                                        Chief Restructuring Officer




STATE OF                              )
                                      ) SS:
COUNTY OF                             )

               The foregoing instrument was acknowledged before me by means of physical
presence this ______ day of ________, 2020, by Gerard A. McHale, as Chief Restructuring Officer
of Just One More Restaurant Corp., a New York corporation and a debtor and debtor-in-possession
pursuant to 11 U.S.C. §§ 1107 and 1108, on behalf of said corporation. He is personally known
to me or produced _______________________________ as identification.



                                              __________________________________
                                              Notary Public
                                              Name:
                                              My Commission Expires:




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                                           EXHIBIT J

                      Form of JOMR Assignment and Assumption Agreement

                     ASSIGNMENT AND ASSUMPTION AGREEMENT

       THIS ASSIGNMENT AND ASSUMPTION AGREEMENT (“Agreement”) is made this
____ day of _____________, 2020 by and between JUST ONE MORE RESTAURANT CORP.,
a New York corporation and a debtor and debtor in possession pursuant to 11 U.S.C. §§ 1107 and
1108 (“Assignor”), and ________________________________, a __________________
(“Assignee”).

                                      Preliminary Statement

       Assignor and Assignee, among others, entered into a Purchase Agreement dated as of
_____________, 2020 (the “Purchase Agreement”). Capitalized terms used in this Agreement and
not otherwise defined in it shall have the meanings set forth in the Purchase Agreement.

         Pursuant to the Purchase Agreement and the Sale Order (as hereinafter defined), and
subject to the terms and conditions thereof, Assignor has agreed to assign to Assignee all of
Assignor’s right, title and interest in and to certain of its assets used in connection with the
Business, excluding, however, the Excluded Assets, and Assignee has agreed to assume certain
liabilities of Assignor relating to the Acquired Assets.

       NOW, THEREFORE, in consideration of the mutual agreements contained herein and
other good and valuable consideration, the receipt and sufficiency of which are hereby
conclusively acknowledged, the parties hereto, intending to be legally bound, agree as follows:

       1.     The Preliminary Statement set forth above is true and correct and is incorporated
into and made a part of this Agreement.

        2.     Effective on the date hereof, Assignor hereby unconditionally sells, assigns,
conveys, transfers, delivers, and sets over unto Assignee all of Assignor’s right, title and interest
in and to the Assigned JOMR Contracts (the “Assignment”).

       3.     Assignee hereby accepts the Assignment and assumes the payment and
performance of the obligations and liabilities of Assignor comprising the Assumed Liabilities to
be observed, performed, paid, or discharged from and after the Closing Date.

       4.      This Agreement is delivered by Assignor and Assignee pursuant to the Purchase
Agreement, and pursuant to §365 of the Bankruptcy Code, and in accordance with that certain
[Order Approving the Sale of Assets Free and Clear of All Liens, Claims, Interests, and
Encumbrances and the Assumption and Assignment of Certain Executory Contracts and
Unexpired Leases] entered on _________, Dkt. ____, in In re: Just One More Restaurant Corp.,
Case No. 9:19-bk-1947-FMD, in the United States Bankruptcy Court for the Middle District of
Florida, Fort Myers Division (the “Sale Order”).



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       5.      This Agreement shall be binding on and inure to the benefit of the parties hereto
and their respective successors and assigns.

        6.      This Agreement shall be governed by the laws of the State of Florida, exclusive of
its choice of law principles. This Agreement may be signed in counterparts, all of which, taken
together, shall be deemed one and the same Agreement. This Agreement may be delivered by
electronic transmission with the same effect as delivery of an original.




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      IN WITNESS WHEREOF, Assignor and Assignee have executed and delivered this
Assignment and Assumption Agreement the date first set forth above.

                                                ASSIGNOR:

                                                JUST ONE MORE RESTAURANT CORP.


                                                By: ________________________________
                                                    Gerald A. McHale
                                                    Chief Restructuring Officer


                                                ASSIGNEE:

                                                [NAME]


                                                By: ________________________________
                                                Name:
                                                Title:




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                                            EXHIBIT K

                                    Sellers’ Closing Certificate

                                 CERTIFICATE OF SELLERS

        The undersigned, in their respective capacities as (i) the Chief Restructuring Officer of Just
One More Restaurant Corp., a New York corporation and a debtor and debtor in possession
(“JOMR”), and (ii) Robert E. Tardif, Jr., in his capacity as the Trustee appointed in the chapter 7
bankruptcy cases of Bruce E. Bozzi, Sr. and Walter J. Ganzi, Jr. under chapter 7 of the United
States Bankruptcy Code (the “Trustee”), and not in any individual capacity, hereby certify that
they are authorized to execute and deliver this Certificate on behalf of Sellers (as defined below),
and that:

      1.    This Certificate is being delivered pursuant to the Purchase Agreement dated as
_________________, 2020 (the “Purchase Agreement”) among ________________________, a
_______________________ (“Purchaser”), and JOMR and the Trustee (collectively, “Sellers”).

        2.      The representations and warranties of Sellers contained in the Purchase Agreement
are true and correct at and as of the date hereof, as if made at and as of the date hereof (except to
the extent that such representations and warranties speak as of an earlier date, in which case they
continue to be true and correct as of such earlier date), with only such exceptions as would not in
the aggregate reasonably be likely to have a Material Adverse Effect.

      3.      Sellers have performed in all material respects all of their respective obligations,
covenants and agreements under the Purchase Agreement required to be performed by Sellers or
complied with by Sellers at or prior to the date hereof.

       4.      Sellers have delivered all of the items required to be delivered by Sellers under
Section 2.10 of the Purchase Agreement.

       5.     To the actual knowledge of the undersigned, no Material Adverse Effect has
occurred and is continuing with respect to the Purchased Assets from the date of the Purchase
Agreement to the date hereof.

      The certifications set forth herein shall not survive the Closing of the Transactions
contemplated by the Purchase Agreement.

       Capitalized terms used in this Certificate and not otherwise defined in it shall have the
meanings set forth in the Purchase Agreement. This Certificate may be delivered by electronic
transmission with the same effect as delivery of an original.




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       IN WITNESS WHEREOF, the undersigned have executed this Certificate in the names
and on behalf of Sellers as of the ____ day of ___________, 2020.

                                         SELLERS:

                                         JUST ONE MORE RESTAURANT CORP.


                                         By: _________________________________
                                            Gerard A. McHale
                                            Chief Restructuring Officer




                                         _____________________________________
                                         ROBERT E. TARDIF, JR.,
                                         in his capacity as Trustee appointed in the
                                         Bankruptcy Cases of Bruce E. Bozzi, Sr. and
                                         Walter J. Ganzi, Jr. under chapter 7 of the U.S.
                                         Bankruptcy Code




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                                            EXHIBIT L

                                  Purchaser’s Closing Certificate

                               CERTIFICATE OF PURCHASER


       The undersigned, as __________________ of _______________, a ________________
(“Purchaser”), hereby certifies that he is authorized to execute and deliver this Certificate in the
name of and on behalf of Purchaser, and that:

        1.     This Certificate is being delivered pursuant to the Purchase Agreement dated as of
________________, 2020 (the “Purchase Agreement”) among _______________, as Purchaser,
and (i) Just One More Restaurant Corp., a New York corporation and a debtor-in-possession under
chapter 11 of the United States Bankruptcy Code, and (ii) Robert E. Tardif, Jr., in his capacity as
Trustee appointed in the chapter 7 bankruptcy cases of Bruce E. Bozzi, Sr. and Walter J. Ganzi,
Jr. under chapter 7 of the United States Bankruptcy Code, and not individually (collectively
“Sellers”).

        2.       The representations and warranties of Purchaser contained in the Purchase
Agreement are true and correct in all material respects at and as of the date hereof, as if made at
and as of the date hereof (except to the extent that such representations and warranties speak as of
an earlier date, in which case they continue to be true and correct in all material respects as of such
earlier date).

       3.    Purchaser has performed in all material respects all of its obligations under the
Purchase Agreement required to be performed by Purchaser at or prior to the date hereof.

       4.      Purchaser has delivered all of the items required to be delivered by Purchaser under
Section 2.11 of the Purchase Agreement.

       Capitalized terms used in this Certificate and not otherwise defined in it shall have the
meanings set forth in the Purchase Agreement. This Certificate may be delivered by electronic
transmission with the same effect as delivery of an original.




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       IN WITNESS WHEREOF, the undersigned has executed this Certificate in the name and
on behalf of Purchaser as of the _____ day of ____________, 2020.


                                                [NAME]


                                                By:_________________________________
                                                Name:
                                                Title:




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                                        EXHIBIT M

                                      Bidding Procedures

                                        (See attached)




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WKHFDSDFLW\WRFRQVXPPDWHDQ$OWHUQDWLYH7UDQVDFWLRQ

        )RUDQ\3UHOLPLQDU\,QWHUHVWHG,QYHVWRURU4XDOLILHG%LGGHUZKRLVDFRPSHWLWRURI
WKH&RPSDQ\RULVDIILOLDWHGZLWKDQ\FRPSHWLWRURIWKH&RPSDQ\WKH0RYDQWVUHVHUYHWKH
ULJKWWRZLWKKROGRUWRGHOD\SURYLGLQJLQWKHLUVROHGLVFUHWLRQDQ\'LOLJHQFH0DWHULDOVWKDW
WKH0RYDQWVGHWHUPLQHDUHEXVLQHVVVHQVLWLYHRURWKHUZLVHLQDSSURSULDWHIRUGLVFORVXUHWR
VXFK3UHOLPLQDU\,QWHUHVWHG,QYHVWRURU4XDOLILHG%LGGHUDWDQ\VXFKWLPH

       $OOSDUWLHV3UHOLPLQDU\,QWHUHVWHG,QYHVWRUVDQG4XDOLILHG%LGGHUVDUHSURKLELWHG
IURPFRPPXQLFDWLQJZLWKDQ\RIWKH&RPSDQ\¶VHPSOR\HHVGLUHFWRUVRIILFHUVODQGORUGV
YHQGRUVVXSSOLHUVDJHQWVH[LVWLQJOHQGHU V  LQFOXGLQJEXWQRWOLPLWHGWRWKH',3/HQGHU 
RUZLWKDQ\RWKHUSRWHQWLDOELGGHU3UHOLPLQDU\,QWHUHVWHG,QYHVWRURU4XDOLILHG%LGGHUZLWK
UHVSHFW WR DQ\ %LG RU $OWHUQDWLYH 7UDQVDFWLRQ DEVHQW WKH SULRU ZULWWHQ FRQVHQW RI WKH
0RYDQWV SURYLGHG WKDW LI VXFK FRQVHQW LV JLYHQ D UHSUHVHQWDWLYH RI WKH 0RYDQWV VKDOO EH

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     1RWZLWKVWDQGLQJDQ\WKLQJLQWKH%LGGLQJ3URFHGXUHVWRWKHFRQWUDU\WKH0RYDQWVZLOOQRWFRQVXOWZLWKRUSURYLGH
       FRSLHVRIDQ\ELGVRUFRQILGHQWLDOLQIRUPDWLRQWRWKH',3/HQGHULIWKH',3/HQGHUEHFRPHVDQDFWLYHELGGHUDW
       DQ\WLPHIRUDQ\RIWKH3XUFKDVHG$VVHWV

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SUHVHQWIRURUSDUW\WRDQ\VXFKFRPPXQLFDWLRQV XQOHVVRWKHUZLVHDJUHHGE\WKH0RYDQWV
LQWKHLUVROHGLVFUHWLRQ 

       (DFK3UHOLPLQDU\,QWHUHVWHG,QYHVWRUDQG4XDOLILHG%LGGHUVKDOOFRPSO\ZLWKDOOUHDVRQDEOH
UHTXHVWV IRU DGGLWLRQDO LQIRUPDWLRQ DQG GXH GLOLJHQFH DFFHVV E\ WKH 0RYDQWV RU WKH 'HEWRUV¶
$GYLVRUVUHJDUGLQJVXFK3UHOLPLQDU\,QWHUHVWHG,QYHVWRURU4XDOLILHG%LGGHU

       1RWZLWKVWDQGLQJDQ\WKLQJWRWKHFRQWUDU\KHUHLQWKH',3/HQGHUDQGWKH6WDONLQJ+RUVH
%LGGHUVKDOOHDFKEHD3UHOLPLQDU\,QWHUHVWHG,QYHVWRUDQGD4XDOLILHG%LGGHU

                                       %LG4XDOLILFDWLRQ3URFHVV

,      %LG'HDGOLQH

        $3UHOLPLQDU\,QWHUHVWHG,QYHVWRUWKDWGHVLUHVWRPDNHDSURSRVDOVROLFLWDWLRQRURIIHUIRU
VRPHRUDOORIWKH3XUFKDVHG$VVHWV HDFKD³%LG´ VKDOOWUDQVPLWVXFKSURSRVDOVROLFLWDWLRQRU
RIIHUYLDHPDLO LQSGIRUVLPLODUIRUPDW VRDVWREHDFWXDOO\UHFHLYHGE\WKHIROORZLQJSDUWLHVRQ
RUEHIRUH0DUFKDWSP SUHYDLOLQJ(DVWHUQ7LPH  WKH³%LG'HDGOLQH´ 

         D    Bankruptcy Counsel to JOMR and JOMH and transaction counsel to the Trustee
                %HUJHU6LQJHUPDQ//3%ULFNHOO$YHQXH6XLWH0LDPL)ORULGD
                $WWQ3DXO6WHYHQ6LQJHUPDQ VLQJHUPDQ#EHUJHUVLQJHUPDQFRP DQG&KULVWRSKHU
                $QGUHZ-DUYLQHQ FMDUYLQHQ#EHUJHUVLQJHUPDQFRP 

         E    The CRO for the Chapter 11 Debtors: 0F+DOH3$-DFNVRQ6WUHHW6XLWH
                 )RUW 0\HUV )ORULGD  $WWQ *HUDUG $ 0F+DOH -U
                 MHUU\P#WKHUHFHLYHUQHW 

         F    The Trustee5REHUW(7DUGLI-U32%R[1R)RUW0\HUV)ORULGD
                 UWDUGLI#FRPFDVWQHW DQG

         G    The Investment Banker for the Chapter 11 Debtors and the Trustee: 5D\PRQG
                -DPHV  $VVRFLDWHV ,QF  &DULOORQ 3DUNZD\ 6W 3HWHUVEXUJ )ORULGD 
                $WWQ  *HRIIUH\ 5LFKDUGV *HRIIUH\5LFKDUGV#5D\PRQG-DPHVFRP  DQG 5REHUW
                $UQROG 5RE$UQROG#5D\PRQG-DPHVFRP  DV GHILQHG 5D\PRQG -DPHV DQG
                WRJHWKHUZLWK%HUJHU6LQJHUPDQ//3FROOHFWLYHO\WKH³'HEWRUV¶$GYLVRUV´ 

,,     %LG5HTXLUHPHQWV

        7R EH HOLJLEOH WR SDUWLFLSDWH LQ WKH $XFWLRQ GHILQHG EHORZ  HDFK %LG E\ D 3UHOLPLQDU\
,QWHUHVWHG ,QYHVWRU D³%LGGHU´ PXVWEHVXEPLWWHGLQZULWLQJDQGVDWLVI\HDFKRIWKHIROORZLQJ
UHTXLUHPHQWV FROOHFWLYHO\ WKH ³%LG 5HTXLUHPHQWV´  DV GHWHUPLQHG E\ WKH 0RYDQWV LQ
FRQVXOWDWLRQZLWKWKH&RQVXOWDWLRQ3DUW\ 

         D    6DPHRU%HWWHU7HUPV7KH%LGPXVWEHRQWHUPVWKDWDUHVXEVWDQWLDOO\WKHVDPHRU
                EHWWHUWKDQWKHWHUPVRIWKH$JUHHPHQWDVGHWHUPLQHGE\WKH0RYDQWVLQWKHLUVROH
                GLVFUHWLRQ LQFRQVXOWDWLRQZLWKWKH&RQVXOWDWLRQ3DUW\ DQGWKH%LGPXVWLGHQWLI\
                ZKLFK DVVHWV WKH %LGGHU LQWHQGV WR SXUFKDVH DQG LQFOXGH H[HFXWHG WUDQVDFWLRQ

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               GRFXPHQWV DVGHILQHGKHUHLQDQ$OWHUQDWLYH7UDQVDFWLRQ $%LGVKDOOLQFOXGHERWK
               D FOHDQ YHUVLRQ LQ 06:RUG  DQG D EODFNOLQH DJDLQVW WKH $JUHHPHQW PDUNHG WR
               VKRZDOOFKDQJHVUHTXHVWHGE\WKH%LGGHU$%LGZLOOQRWEHFRQVLGHUHGTXDOLILHG
               IRU WKH $XFWLRQ LI L  VXFK %LG FRQWDLQV DGGLWLRQDO PDWHULDO UHSUHVHQWDWLRQV DQG
               ZDUUDQWLHV FRYHQDQWV FORVLQJ FRQGLWLRQV WHUPLQDWLRQ ULJKWV ILQDQFLQJ RU GXH
               GLOLJHQFHFRQWLQJHQFLHVRWKHUWKDQDVPD\EHLQFOXGHGLQWKH$JUHHPHQW LWEHLQJ
               DJUHHG DQG XQGHUVWRRG WKDW VXFK %LG VKDOO PRGLI\ WKH $JUHHPHQW DV QHHGHG WR
               FRPSO\LQDOOUHVSHFWVZLWKWKH%LGGLQJ3URFHGXUHV2UGHU LQFOXGLQJUHPRYLQJDQ\
               WHUPLQDWLRQULJKWVLQFRQIOLFWZLWKWKH%LGGLQJ3URFHGXUHV2UGHU DQGZLOOUHPRYH
               SURYLVLRQVWKDWDSSO\RQO\WRWKH6WDONLQJ+RUVH%LGGHUDVWKHVWDONLQJKRUVHELGGHU
               VXFKDVWKH7HUPLQDWLRQ)HH  LL VXFK%LGLVQRWUHFHLYHGE\WKH0RYDQWVLQZULWLQJ
               RQRUSULRUWRWKH%LG'HDGOLQHDQG LLL VXFK%LGGRHVQRWFRQWDLQHYLGHQFHWKDW
               WKH %LGGHU V  KDVKDYH UHFHLYHG XQFRQGLWLRQDO GHEW DQGRU HTXLW\ IXQGLQJ
               FRPPLWPHQWV RU KDV XQUHVWULFWHG DQG IXOO\ DYDLODEOH FDVK  VXIILFLHQW LQ WKH
               DJJUHJDWHWRILQDQFHWKHSXUFKDVHFRQWHPSODWHGWKHUHE\LQFOXGLQJSURRIWKDWWKH
               (DUQHVW0RQH\'HSRVLW GHILQHGEHORZ KDVEHHQPDGH

         E   $PRXQWRI%LG(DFK%LGPD\EHIRUDOORUDSRUWLRQRIWKH3XUFKDVHG$VVHWVDQG
               VKDOO FOHDUO\ VKRZ WKH DPRXQW RI WKH SXUFKDVH SULFH  ,Q DGGLWLRQ D %LG
                D  PXVW SURSRVH D SXUFKDVH SULFH HTXDO WR RU JUHDWHU WKDQ WKH DJJUHJDWH RI WKH
               VXPRI L WKHYDOXHRIWKH%LGVHWIRUWKLQWKH$JUHHPHQWH[HFXWHGE\WKH6WDONLQJ
               +RUVH%LGGHUDVGHWHUPLQHGE\WKH0RYDQWVLQWKHLUVROHGLVFUHWLRQ LQFRQVXOWDWLRQ
               ZLWKWKH&RQVXOWDWLRQ3DUW\ plus LL WKHGROODUYDOXHRIWKH7HUPLQDWLRQ)HHLQ
               FDVK plus LLL   WKH LQLWLDO RYHUELG DPRXQW  LQ FDVK DQG E  PXVW
               REOLJDWHWKH%LGGHUWRSD\WRWKHH[WHQWSURYLGHGLQWKH$JUHHPHQWDOODPRXQWV
               ZKLFKWKH6WDONLQJ+RUVH%LGGHUXQGHUWKH$JUHHPHQWKDVDJUHHGWRSD\LQFOXGLQJ
               DOO$VVXPHG/LDELOLWLHVprovided thatDQ\%LGIRU3XUFKDVHG$VVHWVWKDWFRQVWLWXWH
               FROODWHUDOVXEMHFWWRWKH',3/RDQ)DFLOLW\PXVW D SURYLGHIRUSD\PHQWVROHO\LQ
               FDVKXQOHVVDQGXQWLOWKHREOLJDWLRQVVXEMHFWWRWKH',3/RDQ)DFLOLW\ DVGHILQHG
               LQ DQ\ LQWHULP RU ILQDO RUGHU DSSURYLQJ WKH ',3 /RDQ )DFLOLW\  KDYH EHHQ RU
               SXUVXDQW WR VXFK %LG ZLOO EH LQGHIHDVLEO\ SDLG LQ FDVK LQ IXOO RU E  KDYH WKH
               FRQVHQWRIWKH',3/HQGHU

         F   (DUQHVW 0RQH\ 'HSRVLW  (DFK %LG RWKHU WKDQ WKH $JUHHPHQW PXVW EH
               DFFRPSDQLHG E\ D FDVK GHSRVLW LQ WKH DPRXQW HTXDO WR WHQ   SHUFHQW RI WKH
               DJJUHJDWHYDOXHRIWKHFDVKDQGQRQFDVKFRQVLGHUDWLRQRIWKH%LGWREHKHOGLQDQ
               HVFURZ DFFRXQW WR EH LGHQWLILHG DQG HVWDEOLVKHG E\ WKH 0RYDQWV WKH ³(DUQHVW
               0RQH\'HSRVLW´ provided thatWKH',3/HQGHUZLOOQRWEHUHTXLUHGWRSURYLGHD
               GHSRVLWZLWKUHVSHFWWRWKHSRUWLRQRIDQ\%LGWKDWLVD&UHGLW%LG

         G   3URRIRI)LQDQFLDO$ELOLW\WR3HUIRUP7KH%LGPXVWLQFOXGHZULWWHQHYLGHQFHWKDW
               WKH0RYDQWVFRQFOXGHLQWKHLUVROHGLVFUHWLRQGHPRQVWUDWHVWKDWWKH%LGGHUKDVWKH
               QHFHVVDU\ ILQDQFLDO DELOLW\ WR FORVH WKH $OWHUQDWLYH 7UDQVDFWLRQ DQG WR SURYLGH
               DGHTXDWHDVVXUDQFHRIIXWXUHSHUIRUPDQFHXQGHU DOOFRQWUDFWVWREHDVVXPHGDQG
               DVVLJQHGLQVXFK$OWHUQDWLYH7UDQVDFWLRQ



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         H   ,GHQWLW\(DFK%LGPXVWIXOO\GLVFORVHWKHLGHQWLW\RIHDFKSHUVRQDQGHQWLW\WKDW
               ZLOOEHELGGLQJRURWKHUZLVHSDUWLFLSDWLQJLQFRQQHFWLRQZLWKVXFK%LG LQFOXGLQJ
               HDFKHTXLW\KROGHURURWKHUILQDQFLDOEDFNHURIWKH%LGGHULQFOXGLQJLIVXFK%LGGHU
               LV DQ HQWLW\ IRUPHG IRU WKH SXUSRVH RI FRQVXPPDWLQJ WKH SURSRVHG $OWHUQDWLYH
               7UDQVDFWLRQ FRQWHPSODWHG E\ VXFK %LG  DQG WKH FRPSOHWH WHUPV RI DQ\ VXFK
               SDUWLFLSDWLRQ  8QGHU QR FLUFXPVWDQFHV VKDOO DQ\ XQGLVFORVHG SULQFLSDOV HTXLW\
               KROGHUV RU ILQDQFLDO EDFNHUV EH DVVRFLDWHG ZLWK DQ\ %LG  (DFK %LG PXVW DOVR
               LQFOXGH FRQWDFW LQIRUPDWLRQ IRU WKH VSHFLILF SHUVRQ V  DQG FRXQVHO ZKRP WKH
               'HEWRUV¶ $GYLVRUV VKRXOG FRQWDFW UHJDUGLQJ VXFK %LG 1RWKLQJ KHUHLQ VKDOO
               SUHFOXGH PXOWLSOH 3UHOLPLQDU\ ,QWHUHVWHG ,QYHVWRUV IURP VXEPLWWLQJ D MRLQW %LG
               VXEMHFWWRWKH0RYDQWV¶SULRUZULWWHQFRQVHQWWRVXFKVXEPLVVLRQDQGWKHGLVFORVXUH
               UHTXLUHPHQWVVHWIRUWKKHUHLQ

         I   $XWKRUL]DWLRQ(DFK%LGPXVWFRQWDLQZULWWHQHYLGHQFHDFFHSWDEOHWRWKH0RYDQWV
               LQ WKHLU VROH GLVFUHWLRQ WKDW WKH %LGGHU KDV REWDLQHG DSSURSULDWH DXWKRUL]DWLRQ RU
               DSSURYDOIURPLWVERDUGRIGLUHFWRUV RUDFRPSDUDEOHJRYHUQLQJERG\ ZLWKUHVSHFW
               WRWKHVXEPLVVLRQRILWV%LGDQGWKHFRQVXPPDWLRQRIWKH$OWHUQDWLYH7UDQVDFWLRQ
               FRQWHPSODWHGLQVXFK%LG

         J   &RQWLQJHQFLHV  $ %LG ZLOO QRW EH FRQVLGHUHG TXDOLILHG IRU WKH $XFWLRQ LI LW L 
               FRQWDLQVDQ\RIWKH FRQWLQJHQFLHVVHWIRUWKDERYHLQVXESDUDJUDSK³D´RU LL LV
               FRQGLWLRQHGRQREWDLQLQJILQDQFLQJRUDQ\LQWHUQDODSSURYDORURQWKHRXWFRPHRU
               UHYLHZRIGXHGLOLJHQFHEXWPD\EHVXEMHFWWRWKHDFFXUDF\LQDOOPDWHULDOUHVSHFWV
               RIVSHFLILHGUHSUHVHQWDWLRQVDQGZDUUDQWLHVDWWKH&ORVLQJ

         K   ,UUHYRFDEOH$%LGPXVWEHLUUHYRFDEOHWKURXJKWKH$XFWLRQSURYLGHGKRZHYHU
               WKDWLIVXFK%LGLVDFFHSWHGDVWKH6XFFHVVIXO%LGRUD%DFNXS%LG HDFKDVGHILQHG
               KHUHLQ  VXFK %LG VKDOO FRQWLQXH WR UHPDLQ LUUHYRFDEOH VXEMHFW WR WKH WHUPV DQG
               FRQGLWLRQVRIWKH%LGGLQJ3URFHGXUHV

         L   $GHTXDWH $VVXUDQFHRI )XWXUH3HUIRUPDQFH7RWKHH[WHQW DSSOLFDEOH HDFK%LG
               PXVW FRQWDLQ HYLGHQFH WKDW WKH %LGGHU KDV WKH DELOLW\ WR FRPSO\ ZLWK WKH
               UHTXLUHPHQWVRIDGHTXDWHDVVXUDQFHRIIXWXUHSHUIRUPDQFHXQGHUVHFWLRQ E  
               RIWKH%DQNUXSWF\&RGH WKH³$GHTXDWH$VVXUDQFH,QIRUPDWLRQ´ 6XFK$GHTXDWH
               $VVXUDQFH ,QIRUPDWLRQPD\LQFOXGH L LQIRUPDWLRQDERXWWKH%LGGHU¶VILQDQFLDO
               FRQGLWLRQ VXFK DV IHGHUDO WD[ UHWXUQV IRU WZR   \HDUV D FXUUHQW  ILQDQFLDO
               VWDWHPHQW RU EDQN DFFRXQW VWDWHPHQWV LL  LQIRUPDWLRQ GHPRQVWUDWLQJ DV
               GHWHUPLQHGE\WKH0RYDQWVLQWKHLUH[HUFLVHRIWKH'HEWRUV¶UHDVRQDEOHEXVLQHVV
               MXGJPHQW LQ FRQVXOWDWLRQ ZLWK WKH &RQVXOWDWLRQ  3DUW\  WKDW WKH %LGGHU KDV WKH
               ILQDQFLDO FDSDFLW\ WR FRQVXPPDWH WKH SURSRVHG $OWHUQDWLYH 7UDQVDFWLRQ LLL 
               HYLGHQFHWKDWWKH%LGGHUKDVREWDLQHGDXWKRUL]DWLRQRUDSSURYDOIURPLWVERDUGRI
               GLUHFWRUV RUFRPSDUDEOHJRYHUQLQJERG\ ZLWKUHVSHFWWRWKHVXEPLVVLRQRILWV%LG
                LY WKHLGHQWLW\DQGH[DFWQDPHRIWKH%LGGHU LQFOXGLQJDQ\HTXLW\KROGHURURWKHU
               ILQDQFLDOEDFNHULIWKH%LGGHULVDQHQWLW\IRUPHGIRUWKHSXUSRVHRIFRQVXPPDWLQJ
               WKHSURSRVHG$OWHUQDWLYH7UDQVDFWLRQ Y VXFKDGGLWLRQDOLQIRUPDWLRQUHJDUGLQJWKH
               %LGGHUDVWKH%LGGHUPD\HOHFWWRLQFOXGHDQG YL VXFKRWKHUGRFXPHQWDWLRQWKDW
               WKH 0RYDQWV PD\ UHTXHVW  %\ VXEPLWWLQJ D %LG WKH %LGGHU V  DJUHH WKDW WKH

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             Case 2:19-bk-01947-FMD          Doc 313       Filed 02/20/20       Page 247 of 318




                  0RYDQWV PD\ GLVVHPLQDWH WKHLU $GHTXDWH $VVXUDQFH ,QIRUPDWLRQ WR DIIHFWHG
                  ODQGORUGVDQGFRQWUDFWFRXQWHUSDUWLHVLQWKHHYHQWWKDWWKH0RYDQWVGHWHUPLQHVXFK
                  %LGWREHD4XDOLILHG%LG

         M      $V,V :KHUH,V (DFK %LG PXVW LQFOXGH D ZULWWHQ DFNQRZOHGJHPHQW DQG
                  UHSUHVHQWDWLRQWKDWWKH%LGGHU  KDVKDGDQRSSRUWXQLW\WRFRQGXFWDQ\DQGDOO
                  GXHGLOLJHQFHUHJDUGLQJWKHDVVHWVSULRUWRPDNLQJLWV%LG  KDVUHOLHGVROHO\XSRQ
                  LWV RZQ LQGHSHQGHQW UHYLHZ LQYHVWLJDWLRQ DQGRU LQVSHFWLRQ RI DQ\ GRFXPHQWV
                  DQGRUWKHDVVHW V LQPDNLQJLWV%LGDQG  GLGQRWUHO\XSRQDQ\ZULWWHQRURUDO
                  VWDWHPHQWV UHSUHVHQWDWLRQV SURPLVHV ZDUUDQWLHV RU JXDUDQWLHV ZKDWVRHYHU
                  ZKHWKHUH[SUHVVLPSOLHGE\RSHUDWLRQRIODZRURWKHUZLVHUHJDUGLQJWKHDVVHWVRU
                  WKH FRPSOHWHQHVV RI DQ\ LQIRUPDWLRQ SURYLGHG LQ FRQQHFWLRQ WKHUHZLWK RU WKH
                  $XFWLRQH[FHSWDVH[SUHVVO\VWDWHGLQWKH%LGGHU¶VPDUNXSRIWKH$JUHHPHQW

         N      $IILUPDWLYH6WDWHPHQW(DFK%LGVKDOOEHDFFRPSDQLHGE\DQDIILUPDWLYHVWDWHPHQW
                  LQZKLFKWKH%LGGHUH[SOLFLWO\DJUHHVWKDW L LWKDVDQGZLOOFRQWLQXHWRFRPSO\ZLWK
                  WKHVH%LGGLQJ3URFHGXUHV LL WKH%LGLWVXEPLWVGRHVQRWHQWLWOHVXFK%LGGHU DQG
                  LI LW EHFRPHV D 4XDOLILHG %LGGHU  WR DQ\ EUHDNXS IHH WHUPLQDWLRQ IHH H[SHQVH
                  UHLPEXUVHPHQWRUVLPLODUW\SHRISD\PHQWRU UHLPEXUVHPHQWDQG LLL LW ZDLYHV
                  DQ\VXEVWDQWLDOFRQWULEXWLRQDGPLQLVWUDWLYHH[SHQVHFODLPVXQGHU%DQNUXSWF\&RGH
                  VHFWLRQ E UHODWHGWRELGGLQJIRUWKH3XUFKDVHG$VVHWV

       %\ VXEPLWWLQJLWV %LG HDFK %LGGHU LV DJUHHLQJ DQG VKDOO EH GHHPHG WR KDYH DJUHHG WR
DELGHE\DQGKRQRUWKHWHUPVRIWKH%LGGLQJ3URFHGXUHVLQFOXGLQJEXWQRWOLPLWHGWRUHIUDLQLQJ
IURPDIWHUWKHFRQFOXVLRQRIWKH$XFWLRQHLWKHUVXEPLWWLQJD%LGRUVHHNLQJWRUHRSHQWKH$XFWLRQ
7KH VXEPLVVLRQ RI D %LG VKDOO FRQVWLWXWH D ELQGLQJ DQG LUUHYRFDEOH RIIHU WR DFTXLUH WKH
3XUFKDVHG$VVHWV RUDVVHWV DVUHIOHFWHGLQVXFK%LG

,,,    'HVLJQDWLRQRI4XDOLILHG%LGGHUV

       7KH0RYDQWVZLOOUHYLHZHDFK%LGUHFHLYHGIURPD%LGGHU$%LGZLOOEHFRQVLGHUHGD
³4XDOLILHG %LG´ DQG HDFK %LGGHU WKDW VXEPLWV D4XDOLILHG %LG ZLOO EH FRQVLGHUHG D ³4XDOLILHG
%LGGHU´ LI WKH 0RYDQWV GHWHUPLQH LQ WKHLU VROH GLVFUHWLRQ DQG LQ WKH H[HUFLVH RI WKH 'HEWRUV¶
EXVLQHVVMXGJPHQW LQFRQVXOWDWLRQZLWKWKH&RQVXOWDWLRQ3DUW\ WKDWVXFK%LGZDVUHFHLYHGEHIRUH
WKH%LG'HDGOLQHDQGVDWLVILHVWKH%LG5HTXLUHPHQWVVHWIRUWKDERYH

        1RWZLWKVWDQGLQJDQ\WKLQJKHUHLQWRWKHFRQWUDU\WKH$JUHHPHQWVXEPLWWHGE\WKH6WDONLQJ
+RUVH%LGGHUVKDOOEHGHHPHGD4XDOLILHG%LGDQGWKH6WDONLQJ+RUVH%LGGHULVD4XDOLILHG%LGGHU
IRUHDFKSKDVHRIWKH$XFWLRQ

        1RODWHUWKDQWZR  EXVLQHVVGD\VDIWHUWKHUHFHLSWRID%LGWKH0RYDQWVZLOOQRWLI\WKH
UHOHYDQW%LGGHUZKHWKHURUQRWLWV%LGKDVEHHQGHVLJQDWHGDVD4XDOLILHG%LG1RWZLWKVWDQGLQJ
DQ\WKLQJWRWKHFRQWUDU\KHUHLQDQGZLWKRXWOLPLWLQJWKHSURYLVLRQVRI6HFWLRQ,9 ³5LJKWWR&UHGLW
%LG´ KHUHLQZLWKUHVSHFWWRFUHGLWELGVWKH',3/HQGHUVKDOOEHD4XDOLILHG%LGGHUDQGWRWKH
H[WHQWWKDWWKH',3/HQGHUVXEPLWVD%LGWKDWLVUHFHLYHGE\WKH%LG'HDGOLQHVXFK%LGVKDOOEHD
4XDOLILHG%LG

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        8SRQWKHUHFHLSWRIDQ\FRPSHWLQJ%LG V WKH0RYDQWVVKDOOLPPHGLDWHO\SURYLGHFRXQVHO
IRUWKH6WDONLQJ+RUVH%LGGHUFRSLHVRIDQ\EODFNOLQHRIWKH$JUHHPHQWUHFHLYHGE\WKH0RYDQWV
IURPVXFK%LGGHU V 

        ,IDQ\%LGLVGHWHUPLQHGE\WKH0RYDQWVQRWWREHD4XDOLILHG%LGWKH0RYDQWVZLOOUHIXQG
VXFK%LGGHU¶V(DUQHVW0RQH\'HSRVLWRQWKHGDWHWKDWLVWKUHH  EXVLQHVVGD\VDIWHUWKH0RYDQWV
LQIRUP WKH %LGGHU WKDW LWV %LG LV QRW D 4XDOLILHG %LG RU DV VRRQ DV LV UHDVRQDEO\ SUDFWLFDEOH
WKHUHDIWHU

       %HWZHHQWKHGDWHWKDWWKH0RYDQWVQRWLI\D%LGGHUWKDWLWLVD4XDOLILHG %LGGHUDQGWKH
$XFWLRQWKH0RYDQWVPD\GLVFXVVQHJRWLDWHRUVHHNFODULILFDWLRQRIDQ\4XDOLILHG%LGIURPD
4XDOLILHG%LGGHU:LWKRXWWKHSULRUZULWWHQFRQVHQWRIWKH0RYDQWVD4XDOLILHG%LGGHUPD\QRW
PRGLI\DPHQGRUZLWKGUDZLWV4XDOLILHG%LGH[FHSWIRUSURSRVHGDPHQGPHQWVWRLQFUHDVHWKH
SXUFKDVHSULFHRURWKHUZLVHLPSURYHWKHWHUPVRIWKH4XDOLILHG%LGGXULQJWKHSHULRGWKDWVXFK
4XDOLILHG %LG UHPDLQV ELQGLQJ DV VSHFLILHG LQ WKHVH %LGGLQJ 3URFHGXUHV SURYLGHG WKDW DQ\
4XDOLILHG%LGPD\EHLPSURYHGDWWKH$XFWLRQDVVHWIRUWKKHUHLQ$Q\LPSURYHG4XDOLILHG%LG
PXVW FRQWLQXH WR FRPSO\ ZLWK WKH UHTXLUHPHQWV IRU 4XDOLILHG %LGV VHW IRUWK LQ WKHVH %LGGLQJ
3URFHGXUHV

,9     5LJKWWR&UHGLW%LG

        7KH',3/HQGHUVKDOOKDYHWKHULJKWWRFUHGLWELGDOORUDSRUWLRQRIWKHYDOXHRIVXFK',3
/HQGHU¶VVHFXUHGFODLPVSXUVXDQWWRVHFWLRQ N RIWKH%DQNUXSWF\&RGHDQGDQ\VXFKFUHGLW
ELGZLOOEHFRQVLGHUHGD4XDOLILHG%LGWRWKHH[WHQWVXFKELGLVUHFHLYHGE\WKH%LG'HDGOLQH

       ,QWKHHYHQWWKH',3/HQGHUVXEPLWVD%LG ZKHWKHULWEHD4XDOLILHG%LGDFUHGLWELGRU
RWKHUZLVH  WKH ',3 /HQGHU VKDOO QR ORQJHU EH D &RQVXOWDWLRQ 3DUW\ DQG VKDOO DXWRPDWLFDOO\ EH
GHHPHGH[FOXGHGIURPWKHGHILQLWLRQRI&RQVXOWDWLRQ3DUW\

9      7KH$XFWLRQ

        ,IRQHRUPRUH4XDOLILHG%LGV RWKHUWKDQWKH$JUHHPHQWVXEPLWWHGE\WKH6WDONLQJ+RUVH
%LGGHU DUHUHFHLYHGE\WKH%LG'HDGOLQHWKH0RYDQWVZLOOFRQGXFWDQDXFWLRQ WKH³$XFWLRQ´ WR
GHWHUPLQH WKH KLJKHVW RU RWKHUZLVH EHVW 4XDOLILHG %LG  ,I QR 4XDOLILHG %LG RWKHU WKDQ WKH
$JUHHPHQW LVUHFHLYHGE\WKH%LG'HDGOLQHQR$XFWLRQVKDOOEHFRQGXFWHGDQGWKH$JUHHPHQW
VKDOOEHGHHPHGWREHWKH6XFFHVVIXO%LGDQGWKH6WDONLQJ+RUVH%LGGHUVKDOOEHGHHPHGWREHWKH
6XFFHVVIXO%LGGHU2QO\4XDOLILHG%LGGHUVPD\SDUWLFLSDWHLQWKH$XFWLRQ

        1RODWHUWKDQ0DUFKDWSP SUHYDLOLQJ(DVWHUQ7LPH WKH0RYDQWVZLOO
QRWLI\DOO4XDOLILHG%LGGHUVRIWKHKLJKHVWRURWKHUZLVHEHVW4XDOLILHG%LGDVGHWHUPLQHGE\WKH
0RYDQWVLQWKHLUH[HUFLVHRIWKH'HEWRUV¶EXVLQHVVMXGJPHQWLQFRQVXOWDWLRQZLWKWKH&RQVXOWDWLRQ
3DUW\ WKH ³$XFWLRQ %DVHOLQH %LG´  DQG ZLOO SURYLGH FRSLHV RI WKH GRFXPHQWV VXSSRUWLQJ WKH
$XFWLRQ%DVHOLQH%LGWRDOO4XDOLILHG%LGGHUV

        7KHGHWHUPLQDWLRQRIZKLFK4XDOLILHG%LGFRQVWLWXWHVWKH$XFWLRQ%DVHOLQH%LGDQGZKLFK
4XDOLILHG%LGFRQVWLWXWHVWKH6XFFHVVIXO%LG GHILQHGKHUHLQ VKDOOWDNHLQWRDFFRXQWDQ\IDFWRUV
WKDWWKH0RYDQWVGHHPLQWKHLUVROHGLVFUHWLRQWREHUHOHYDQWWRWKHYDOXHRIWKH4XDOLILHG%LGWR
WKH'HEWRUV¶HVWDWHVDQGWKH&RPSDQ\LQFOXGLQJDPRQJRWKHUWKLQJV D WKHW\SHDQGDPRXQWRI

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3XUFKDVHG$VVHWV RUDVVHWV VRXJKWWREHSXUFKDVHGLQWKH%LG E WKHDPRXQWDQGQDWXUHRIWKH
WRWDOFRQVLGHUDWLRQ F WKHOLNHOLKRRGRIWKH4XDOLILHG%LGGHU¶VDELOLW\WRFORVHDWUDQVDFWLRQDQG
WKHWLPLQJWKHUHRI G WKHQHWHFRQRPLFHIIHFWRIDQ\FKDQJHVWRWKHYDOXHWREHUHFHLYHGE\WKH
'HEWRUV¶ HVWDWHV IURP WKH WUDQVDFWLRQ FRQWHPSODWHG E\ WKH $XFWLRQ %DVHOLQH %LG H  WKH WD[
FRQVHTXHQFHV RI VXFK 4XDOLILHG %LG I  WKH DVVXPSWLRQ RI REOLJDWLRQV LQFOXGLQJ FRQWUDFWV DQG
OHDVHV J WKHFXUHDPRXQWVWREHSDLGDQG K WKHLPSDFWRQHPSOR\HHVLQFOXGLQJWKHQXPEHURI
HPSOR\HHVSURSRVHGWREHWUDQVIHUUHGDQGHPSOR\HHUHODWHGREOLJDWLRQVWREHDVVXPHGLQFOXGLQJ
WKHDVVXPSWLRQRIFROOHFWLYHEDUJDLQLQJDJUHHPHQWV FROOHFWLYHO\WKH³%LG$VVHVVPHQW&ULWHULD´ 

        7KH$XFWLRQ LIDQ\ VKDOOWDNHSODFHRQ0DUFKDWDP SUHYDLOLQJ(DVWHUQ
7LPH DWWKHRIILFHVRI%HUJHU6LQJHUPDQ//3%ULFNHOO$YHQXH6XLWH0LDPL)ORULGD
RUVXFKRWKHUGDWHDQGWLPHDQGRUSODFHDVVHOHFWHGE\WKH0RYDQWV LQFRQVXOWDWLRQZLWK
WKH&RQVXOWDWLRQ3DUW\ VKDOOQRWLI\DOO4XDOLILHG %LGGHUVLQFOXGLQJWKH6WDONLQJ+RUVH%LGGHU
FRXQVHO IRU WKH 6WDONLQJ +RUVH %LGGHU DQG RWKHU LQYLWHHV LQ DFFRUGDQFH ZLWK WKHVH %LGGLQJ
3URFHGXUHVDQGIRUWKHDYRLGDQFHRIDQ\GRXEWWKH$XFWLRQLVVXEMHFWWRWKHULJKWRIWKH0RYDQWV
LQWKHH[HUFLVHRIWKHUHDVRQDEOHEXVLQHVVMXGJPHQWRIWKH'HEWRUVWRDGMRXUQWKH$XFWLRQWRD
ODWHUGDWH

         7KH$XFWLRQVKDOOEHFRQGXFWHGDFFRUGLQJWRWKHIROORZLQJSURFHGXUHV

         D    7KH0RYDQWV6KDOO&RQGXFWWKH$XFWLRQ

        7KH0RYDQWVDQGWKHLUSURIHVVLRQDOVLQFOXGLQJEXWQRWOLPLWHGWRWKH'HEWRUV¶$GYLVRUV
VKDOOGLUHFWDQGSUHVLGHRYHUWKH$XFWLRQ$WWKHVWDUWRIWKH$XFWLRQWKH0RYDQWVVKDOODQQRXQFH
ZKLFK4XDOLILHG%LG V LVDUHGHHPHGWREHWKH$XFWLRQ%DVHOLQH%LG

        2QO\ L WKH0RYDQWV LL WKH6WDONLQJ+RUVH%LGGHU LLL DQ\RWKHU4XDOLILHG%LGGHU LY 
WKH&RQVXOWDWLRQ3DUW\ LHWKH',3/HQGHU DQG Y ZLWKUHVSHFWWR L WKURXJK LY HDFKRIWKHLU
UHVSHFWLYHUHSUHVHQWDWLYHVDQGOHJDODQGILQDQFLDODGYLVRUVVKDOOEHHQWLWOHGWRDWWHQGWKH$XFWLRQ
DQGWKH4XDOLILHG%LGGHUVVKDOODSSHDUDWWKH$XFWLRQLQSHUVRQDQGPD\VSHDNRUELGWKHPVHOYHV
RUWKURXJKGXO\DXWKRUL]HGUHSUHVHQWDWLYHV

         E    1R&ROOXVLRQ*RRG)DLWKBona Fide2IIHU

        (DFK4XDOLILHG%LGGHUSDUWLFLSDWLQJDWWKH$XFWLRQZLOOEHUHTXLUHGWRFRQILUPRQWKHUHFRUG
DWWKH$XFWLRQWKDW L LWKDVQRWHQJDJHGLQDQ\FROOXVLRQZLWKUHVSHFWWRWKHELGGLQJRUVDOHRIWKH
3XUFKDVHG $VVHWV DQG LL  LWV 4XDOLILHG %LG LV D JRRGIDLWK ERQD ILGH RIIHU DQG LW LQWHQGV WR
FRQVXPPDWH WKH SURSRVHG WUDQVDFWLRQ IRU WKH 3XUFKDVHG $VVHWV LI VHOHFWHG DV WKH 6XFFHVVIXO
%LGGHU

         F    7HUPVRI2YHUELGV

       $Q³2YHUELG´PHDQVDQ\ELGPDGHDWWKH$XFWLRQE\D4XDOLILHG%LGGHUVXEVHTXHQWWRWKH
0RYDQWV¶DQQRXQFHPHQWRIWKH$XFWLRQ%DVHOLQH%LG7RVXEPLWDQ2YHUELGIRUSXUSRVHVRIWKLV
$XFWLRQD%LGGHUPXVWFRPSO\ZLWKWKHIROORZLQJFRQGLWLRQV

                 L      0LQLPXP 2YHUELG ,QFUHPHQW  $Q\ 2YHUELG IROORZLQJ WKH $XFWLRQ


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                        %DVHOLQH %LG VKDOO EH QR OHVV WKDQ WKH YDOXH RI WKH  DV
                        GHWHUPLQHG E\ WKH 0RYDQWV LQ WKHLU H[HUFLVH RI WKH 'HEWRUV¶ EXVLQHVV
                        MXGJPHQW$GGLWLRQDOFRQVLGHUDWLRQLQH[FHVVRIWKHDPRXQWVHWIRUWKLQDQ
                        $XFWLRQ%DVHOLQH%LGPD\LQFOXGHFDVKDQGRUQRQFDVKFRQVLGHUDWLRQ)RU
                        SXUSRVHVRIWKH2YHUELGWKH6WDONLQJ+RUVH%LGGHUVKDOOEHHQWLWOHGWRFUHGLW
                        LQWKHDPRXQWRIWKH7HUPLQDWLRQ)HH

                 LL    5HPDLQLQJ WHUPV DUH WKH VDPH DV IRU 4XDOLILHG %LGV ([FHSW DV PRGLILHG
                        KHUHLQDQ2YHUELGPXVWFRPSO\ZLWKWKHFRQGLWLRQVIRUD4XDOLILHG%LGVHW
                        IRUWKDERYHSURYLGHGKRZHYHUWKDWWKH%LG'HDGOLQHVKDOOQRWDSSO\$Q\
                        2YHUELGPXVWUHPDLQRSHQDQGELQGLQJRQWKH%LGGHUXQWLODQGXQOHVVWKH
                        0RYDQWV DFFHSW D KLJKHU 2YHUELG $Q 2YHUELG PD\ FRQWDLQ DOWHUDWLRQV
                        PRGLILFDWLRQV DGGLWLRQV RU GHOHWLRQV RI DQ\ WHUPV RI WKH %LG QR OHVV
                        IDYRUDEOH WR WKH &RPSDQ\ DQGRU WKH 'HEWRUV¶ HVWDWHV WKDQ DQ\ SULRU
                        4XDOLILHG%LGRU2YHUELGDVGHWHUPLQHGE\WKH0RYDQWVLQWKHLUH[HUFLVHRI
                        WKH'HEWRUV¶EXVLQHVVMXGJPHQWEXWVKDOORWKHUZLVHFRPSO\ZLWKWKHWHUPV
                        RIWKHVH%LGGLQJ3URFHGXUHV

         G    &RQVLGHUDWLRQRI2YHUELGV

        7KH0RYDQWVUHVHUYHWKHULJKWLQWKHLUH[HUFLVHRIWKH'HEWRUV¶EXVLQHVVMXGJPHQWDQGLQ
FRQVXOWDWLRQ ZLWK WKH &RQVXOWDWLRQ 3DUW\ WR DGMRXUQ WKH $XFWLRQ RQH RU PRUH WLPHV WR DPRQJ
RWKHUWKLQJVWR L IDFLOLWDWHGLVFXVVLRQVEHWZHHQWKH0RYDQWVDQGWKH4XDOLILHG%LGGHUV LL DOORZ
4XDOLILHG%LGGHUVWRFRQVLGHUKRZWKH\ZLVKWRSURFHHGDQG LLL SURYLGH4XDOLILHG%LGGHUVWKH
RSSRUWXQLW\WRSURYLGHWKH0RYDQWVZLWKVXFKDGGLWLRQDOHYLGHQFHDVWKH0RYDQWVLQWKHLUH[HUFLVH
RIWKH'HEWRUV¶EXVLQHVVMXGJPHQWPD\UHTXLUHWKDWWKHUHOHYDQW4XDOLILHG%LGGHUKDVVXIILFLHQW
LQWHUQDO UHVRXUFHV RU KDV UHFHLYHG VXIILFLHQW QRQFRQWLQJHQW GHEW DQGRU HTXLW\ IXQGLQJ
FRPPLWPHQWV WR FRQVXPPDWH WKH SURSRVHG SXUFKDVH RI WKH 3XUFKDVHG $VVHWV DW WKH SUHYDLOLQJ
2YHUELGDPRXQW

       8SRQWKHVROLFLWDWLRQRIHDFKURXQGRI2YHUELGVWKH0RYDQWVPD\DQQRXQFHDGHDGOLQH DV
WKH0RYDQWVPD\LQWKHLUH[HUFLVHRIWKH'HEWRUV¶EXVLQHVVMXGJPHQWH[WHQGIURPWLPHWRWLPH
WKH³2YHUELG5RXQG'HDGOLQH´ E\ZKLFKWLPHDQ\2YHUELGVPXVWEHVXEPLWWHGWRWKH0RYDQWV

        6XEVHTXHQW WR HDFK 2YHUELG 5RXQG 'HDGOLQH WKH 0RYDQWV VKDOO DQQRXQFH ZKHWKHU WKH
0RYDQWVKDYHLGHQWLILHG D LQWKHLQLWLDO2YHUELGURXQGDQ2YHUELGDVEHLQJKLJKHURURWKHUZLVH
EHWWHUWKDQWKH$XFWLRQ%DVHOLQH%LGRU E LQVXEVHTXHQWURXQGVDQ2YHUELGDVEHLQJKLJKHURU
RWKHUZLVHEHWWHUWKDQWKH2YHUELGSUHYLRXVO\GHVLJQDWHGE\WKH0RYDQWVDVWKHSUHYDLOLQJKLJKHVW
RURWKHUZLVHEHVW%LG WKH³3UHYDLOLQJ+LJKHVW%LG´ 7KH0RYDQWVVKDOOGHVFULEHWRDOO4XDOLILHG
%LGGHUV WKH PDWHULDO WHUPV RI DQ\ QHZ 2YHUELG GHVLJQDWHG E\ WKH 0RYDQWV DV WKH 3UHYDLOLQJ
+LJKHVW%LGDVZHOODVWKHYDOXHDWWULEXWDEOHE\WKH0RYDQWVWRVXFK3UHYDLOLQJ+LJKHVW%LGEDVHG
RQDPRQJRWKHUWKLQJVWKH%LG$VVHVVPHQW&ULWHULD

         H    %DFNXS%LGGHU

      1RWZLWKVWDQGLQJ DQ\WKLQJ LQ WKH %LGGLQJ 3URFHGXUHV WR WKH FRQWUDU\ LI DQ $XFWLRQ LV
FRQGXFWHG WKH SDUW\ ZLWK WKH QH[W KLJKHVW RU RWKHUZLVH EHVW 4XDOLILHG %LG DW WKH $XFWLRQ DV

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GHWHUPLQHGE\WKH0RYDQWVLQWKHLUH[HUFLVHRIWKH'HEWRUV¶EXVLQHVVMXGJPHQW LQFRQVXOWDWLRQ
ZLWK WKH &RQVXOWDWLRQ 3DUW\  ZLOO EH GHVLJQDWHG DV WKH EDFNXS ELGGHU WKH ³%DFNXS %LGGHU´ 
6XEMHFWWRWKH$JUHHPHQWLQFOXGLQJ6HFWLRQ F LL RIWKH$JUHHPHQWWKH%DFNXS%LGGHUVKDOO
EHUHTXLUHGWRNHHSLWVLQLWLDO%LG RULIWKH%DFNXS%LGGHUVXEPLWWHGRQHRUPRUH2YHUELGVDWWKH
$XFWLRQLWVILQDO2YHUELG  WKH³%DFNXS%LG´ RSHQDQGLUUHYRFDEOHXQWLOWKHHDUOLHURISP
 SUHYDLOLQJ(DVWHUQ7LPH RQWKHGDWHWKDWLVWKLUW\  GD\VDIWHUWKHFRQFOXVLRQRIWKH$XFWLRQ
 WKH ³2XWVLGH %DFNXS 'DWH´  RU WKH FORVLQJ RI WKH $OWHUQDWLYH 7UDQVDFWLRQ ZLWK WKH 6XFFHVVIXO
%LGGHU

        )ROORZLQJ WKH 6DOH +HDULQJ LI WKH 6XFFHVVIXO %LGGHU IDLOV WR FRQVXPPDWH DQ DSSURYHG
WUDQVDFWLRQEHFDXVHRIDEUHDFKRUIDLOXUHWRSHUIRUPRQWKHSDUWRIVXFK6XFFHVVIXO%LGGHUWKH
0RYDQWVPD\GHVLJQDWH LQFRQVXOWDWLRQZLWKWKH&RQVXOWDWLRQ3DUW\ WKH%DFNXS%LGGHUWREHWKH
QHZ6XFFHVVIXO%LGGHUDQGWKH0RYDQWVZLOOEHDXWKRUL]HGEXWQRWUHTXLUHGWRFRQVXPPDWHWKH
WUDQVDFWLRQZLWKWKH%DFNXS%LGGHU$KHDULQJWRDXWKRUL]HDVDOHWRWKH%DFNXS%LGGHUZLOOEH
KHOGE\WKH%DQNUXSWF\&RXUWRQQROHVVWKDQWKUHH  GD\V¶QRWLFHZLWKVXSSOHPHQWDOREMHFWLRQV
GXHDWOHDVWWZR  GD\VSULRUWRVXFKKHDULQJ WKH³%DFNXS6DOH+HDULQJ´ )RUWKHDYRLGDQFHRI
GRXEWRQO\SDUWLHVZKRWLPHO\ILOHGDQREMHFWLRQWRWKH6DOHE\WKH6DOH2EMHFWLRQ'HDGOLQHPD\
VXSSOHPHQW WKHLU REMHFWLRQ WR WKH %DFNXS %LGGHU DQG DOO VXFK LVVXHV VKDOO EH OLPLWHG WR LVVXHV
UHODWLQJ WR WKH LGHQWLW\ RI WKH %DFNXS %LGGHU  ,Q VXFK FDVH WKH GHIDXOWLQJ 6XFFHVVIXO %LGGHU¶V
(DUQHVW0RQH\'HSRVLWVKDOOEHIRUIHLWHGWRWKH0RYDQWVRQEHKDOIRIWKH'HEWRUV¶HVWDWHVDQGWKH
0RYDQWVRQEHKDOIRIWKH'HEWRUVVSHFLILFDOO\UHVHUYHWKHULJKWWRVHHNDOODYDLODEOHGDPDJHVIURP
WKHGHIDXOWLQJ6XFFHVVIXO%LGGHU7KH(DUQHVW0RQH\'HSRVLWRIWKH%DFNXS%LGGHUVKDOOEHKHOG
E\WKH0RYDQWVXQWLOWKHHDUOLHURIRQH  EXVLQHVVGD\DIWHU L WKHFORVLQJRIWKHWUDQVDFWLRQZLWK
WKH6XFFHVVIXO%LGGHUDQG LL WKH2XWVLGH%DFNXS'DWH

         I     $GGLWLRQDODQG0RGLILHG3URFHGXUHV

        7KH0RYDQWV LQFRQVXOWDWLRQZLWKWKH&RQVXOWDWLRQ3DUW\ PD\DQQRXQFHDWWKH$XFWLRQ
DGGLWLRQDO RU PRGLILHG UXOHV DQG SURFHGXUHV WKDW DUH UHDVRQDEOH XQGHU WKH FLUFXPVWDQFHV HJ
OLPLWDWLRQVRQWKHDPRXQWRIWLPHWRPDNHVXEVHTXHQW2YHUELGVFKDQJHVLQPLQLPXP2YHUELG
LQFUHPHQWVHWF IRUFRQGXFWLQJWKH$XFWLRQVRORQJDVVXFKUXOHVDUHQRWLQFRQVLVWHQWZLWKWKH
%LGGLQJ3URFHGXUHVRUWKH$JUHHPHQW

         J     &RQVHQWWR-XULVGLFWLRQDV&RQGLWLRQWR%LGGLQJ

       7KH6WDONLQJ+RUVH%LGGHUDQG DOO4XDOLILHG%LGGHUVDWWKH$XFWLRQVKDOOEHGHHPHGWR
KDYHFRQVHQWHGWRWKHFRUHMXULVGLFWLRQRIWKH%DQNUXSWF\&RXUWDQGZDLYHGDQ\ULJKWWRDMXU\WULDO
LQFRQQHFWLRQDQ\GLVSXWHVUHODWLQJWRWKHVH%LGGLQJ3URFHGXUHVWKH$XFWLRQRUWKHFRQVWUXFWLRQ
DQGHQIRUFHPHQWRIDQ\GRFXPHQWVUHODWLQJWRDQ$OWHUQDWLYH7UDQVDFWLRQ

         K     &ORVLQJWKH$XFWLRQ

       7KH$XFWLRQVKDOOFRQWLQXHXQWLOWKH0RYDQWVGHWHUPLQHLQWKHLUH[HUFLVHRIWKH'HEWRUV¶
UHDVRQDEOHEXVLQHVVMXGJPHQW LQFRQVXOWDWLRQZLWK&RQVXOWDWLRQ3DUW\ WKDWWKHUHLVDKLJKHVWRU
RWKHUZLVHEHVW4XDOLILHG%LGRU4XDOLILHG%LGVDWWKH$XFWLRQIRUVRPHVXEVWDQWLDOO\DOORUDOORI
WKH3XUFKDVHG$VVHWV HDFKD³6XFFHVVIXO%LG´DQGHDFK%LGGHUVXEPLWWLQJVXFK6XFFHVVIXO%LGD

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³6XFFHVVIXO%LGGHU´ 7KH$XFWLRQVKDOOQRWFORVHXQOHVVDQGXQWLODOO%LGGHUVZKRKDYHVXEPLWWHG
4XDOLILHG%LGVKDYHEHHQJLYHQDUHDVRQDEOHRSSRUWXQLW\WRVXEPLWDQ2YHUELGDWWKH$XFWLRQWR
WKH WKHQH[LVWLQJ 2YHUELGV DQG WKH 6XFFHVVIXO %LGGHU KDV VXEPLWWHG IXOO\ H[HFXWHG VDOH DQG
WUDQVDFWLRQ GRFXPHQWV PHPRULDOL]LQJ WKH WHUPV RI WKH 6XFFHVVIXO %LG  :LWKLQ VL[   KRXUV
IROORZLQJWKHFRQFOXVLRQRIWKH$XFWLRQWKH0RYDQWVVKDOOILOHDQRWLFHRQWKH%DQNUXSWF\&RXUW¶V
GRFNHWLQHDFKRIWKHFDVHVRIWKH&KDSWHU'HEWRUVDQGLQWKHOHDGFDVHIRUWKH&KDSWHU'HEWRUV
LGHQWLI\LQJ ZLWKVSHFLILFLW\ WKH6XFFHVVIXO%LGGHUIRUWKH3XUFKDVHG$VVHWVDQGDQ\DSSOLFDEOH
%DFNXS%LGGHUV7KH0RYDQWVVKDOOQRWFRQVLGHUDQ\%LGVVXEPLWWHGDIWHUWKHFRQFOXVLRQRIWKH
$XFWLRQDQGDQ\DQGDOOVXFK%LGVVKDOOEHGHHPHGXQWLPHO\DQGVKDOOXQGHUQRFLUFXPVWDQFHV
FRQVWLWXWHD4XDOLILHG%LG

       6XFK DFFHSWDQFH E\ WKH 0RYDQWV RQ EHKDOI RI WKH 'HEWRUV RI WKH 6XFFHVVIXO %LG LV
FRQGLWLRQHGXSRQDSSURYDOE\WKH%DQNUXSWF\&RXUWRIWKH6XFFHVVIXO%LG

       7KH 0RYDQWV VKDOO PDLQWDLQ D ZULWWHQ WUDQVFULSW RI DOO %LGV PDGH DQG DQQRXQFHG DW WKH
$XFWLRQ LQFOXGLQJ WKH $XFWLRQ %DVHOLQH %LG DOO 2YHUELGV DOO 3UHYDLOLQJ +LJKHVW %LGV WKH
6XFFHVVIXO%LGDQGDQ\%DFNXS%LG

9,     7HUPLQDWLRQ)HH

       7KH6WDONLQJ+RUVH%LGGHULVHQWLWOHGWRSD\PHQWRILWV7HUPLQDWLRQ)HHSXUVXDQWWRWKH
WHUPVRIWKH$JUHHPHQW

         7KH0RYDQWVUHFRJQL]HWKHYDOXHDQGEHQHILWVWKDWWKH6WDONLQJ+RUVH%LGGHUKDVSURYLGHG
WR WKH 'HEWRUV¶ HVWDWHV E\ HQWHULQJ LQWR WKH $JUHHPHQW DV ZHOO DV WKH 6WDONLQJ +RUVH %LGGHU¶V
H[SHQGLWXUHRIWLPHHQHUJ\DQGUHVRXUFHV7KHUHIRUHVXEMHFWWRWKHWHUPVRIWKH$JUHHPHQWWKH
0RYDQWVVKDOOSD\WKH%UHDNXS)HHDQGWKH([SHQVH5HLPEXUVHPHQWRXWRIWKHSURFHHGVRIDQ
$OWHUQDWLYH7UDQVDFWLRQWRWKH6WDONLQJ+RUVH%LGGHUE\ZLUHWUDQVIHURI LPPHGLDWHO\DYDLODEOH
IXQGVWRWKHDFFRXQWVSHFLILHGE\WKH6WDONLQJ+RUVH%LGGHUWRWKH0RYDQWVLQZULWLQJDQGVKDOO
EHSDLGWRWKH6WDONLQJ+RUVH%LGGHUSULRUWRWKHSD\PHQWRIWKHSURFHHGVRIVXFKVDOHWRDQ\WKLUG
SDUW\DVVHUWLQJDOLHQRQWKH3XUFKDVHG$VVHWV DQGQR/LHQRIDQ\WKLUGSDUW\VKDOODWWDFKWRWKH
SRUWLRQRIWKHVDOHSURFHHGVUHSUHVHQWLQJWKH%UHDNXS)HHDQGWKH([SHQVH5HLPEXUVHPHQW 

        7KH %UHDNXS )HH VKDOO EH SDLG WKUHH   EXVLQHVV GD\V IROORZLQJ WKH FORVLQJ RI DQ
$OWHUQDWLYH 7UDQVDFWLRQ 3ULRU WR SD\PHQW RI WKH ([SHQVH 5HLPEXUVHPHQW WKH 6WDONLQJ +RUVH
%LGGHUVKDOOSURYLGHWKH0RYDQWVZLWKLQYRLFHVGHWDLOLQJLWVGRFXPHQWHGRXWRISRFNHWH[SHQVHV
DQG WKH 0RYDQWV VKDOO KDYH WKUHH   EXVLQHVV GD\V WR REMHFW WKH ³([SHQVH 5HLPEXUVHPHQW
2EMHFWLRQ 'HDGOLQH´  WR WKH UHDVRQDEOHQHVV RI WKH H[SHQVHV LQFXUUHG  7KH ([SHQVH
5HLPEXUVHPHQW VKDOO EH SDLG ZLWKLQ WKUHH   EXVLQHVV GD\V IROORZLQJ WKH H[SLUDWLRQ RI WKH
([SHQVH5HLPEXUVHPHQW2EMHFWLRQ'HDGOLQHLIQRREMHFWLRQVDUHUHFHLYHG

       7KH7HUPLQDWLRQ)HHVKDOOFRQVWLWXWHDQDOORZHGDGPLQLVWUDWLYHH[SHQVHFODLPDJDLQVWWKH
'HEWRUV¶EDQNUXSWF\HVWDWHV

       ([FHSW IRU WKH 6WDONLQJ +RUVH %LGGHU QR RWKHU SDUW\ VXEPLWWLQJ DQ RIIHU RU %LG IRU WKH
3XUFKDVHG$VVHWVRUD4XDOLI\LQJ%LGVKDOOEHHQWLWOHGWRDQ\H[SHQVHUHLPEXUVHPHQWEUHDNXSIHH
WHUPLQDWLRQRUVLPLODUIHHRUSD\PHQW

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        ,QWKHHYHQWQR4XDOLILHG%LGRWKHUWKDQWKH6WDONLQJ+RUVH%LGLVUHFHLYHGWKH0RYDQWV
UHVHUYHWKHULJKWWRUHTXHVW LQFRQVXOWDWLRQZLWKWKH&RQVXOWDWLRQ3DUW\ WKDWWKH%DQNUXSWF\&RXUW
DGYDQFHWKHGDWHRIWKH6DOH+HDULQJDQGSURYLGHQRWLFHRIVXFKQHZGDWHWRWKRVHSDUWLHVLQLQWHUHVW
HQWLWOHGWRQRWLFHWKHUHRI

         7KH6DOH+HDULQJPD\EHDGMRXUQHGRUUHVFKHGXOHGIURPWLPHWRWLPH

9,, 6DOH+HDULQJ

        2EMHFWLRQVLIDQ\WRWKH6DOHDQGRUWKHVDOHRIWKH3XUFKDVHG$VVHWVWRWKH6XFFHVVIXO
%LGGHUDQGWKHWUDQVDFWLRQFRQWHPSODWHGE\WKH$JUHHPHQWPXVWEHLQZULWLQJDQGILOHGZLWKWKH
%DQNUXSWF\ &RXUW QR ODWHU WKDQ  SP SUHYDLOLQJ (DVWHUQ 7LPH  RQ 0DUFK   WKH
³6DOH2EMHFWLRQ'HDGOLQH´ DQGEHVHUYHGVXFKWKDWWKH\DUHDFWXDOO\UHFHLYHGE\WKHIROORZLQJ
SDUWLHVSULRUWRWKH6DOH2EMHFWLRQ'HDGOLQH  JOMR and JOMHFR L WKH&KLHI5HVWUXFWXULQJ
2IILFHU0F+DOH3$-DFNVRQ6WUHHW6XLWH)RUW0\HUV)/ $WWQ*HUDUG$
0F+DOH -U MHUU\P#WKHUHFHLYHUQHW DQG 9HURQLFD /DUULYD YHURQLFDO#WKHUHFHLYHUQHW  DQG LL 
bankruptcy counsel for JOMR and JOMH%HUJHU6LQJHUPDQ//3%ULFNHOO$YHQXH6XLWH
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DQG&KULVWRSKHU$QGUHZ-DUYLQHQ(VT FMDUYLQHQ#EHUJHUVLQJHUPDQFRP    L the Trustee
5REHUW(7DUGLI-U32%R[1R)RUW0\HUV)/ $WWQ5REHUW(7DUGLI-U(VT
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 VLQJHUPDQ#EHUJHUVLQJHUPDQFRP             DQG    &KULVWRSKHU     $QGUHZ     -DUYLQHQ     (VT
 FMDUYLQHQ#EHUJHUVLQJHUPDQFRP   FRXQVHOIRUWKH6WDONLQJ+RUVH%LGGHU<RXQJ&RQDZD\
6WDUJDWW 7D\ORU//31RUWK.LQJ6WUHHW:LOPLQJWRQ'HODZDUH $WWQ0LFKDHO5
1HVWRU(VT PQHVWRU#\FVWFRP DQG$QGUHZ/0DJD]LQHU(VT DPDJD]LQHU#\FVWFRP DQG
  counsel for the DIP Lender5HHG6PLWK//37KUHH/RJDQ6TXDUH$UFK6WUHHW6XLWH
3KLODGHOSKLD3$ $WWQ6FRWW0(VWHUEURRN(VT 6(VWHUEURRN#5HHG6PLWKFRP 
DQG %ULDQ 0 6FKHQNHU (VT %6FKHQNHU#5HHG6PLWKFRP  DQG   the Office of the United
States Trustee(DVW3RON6WUHHW5RRP7DPSD)/ $WWQ%HQMDPLQ(/DPEHUV
(VT %HQ(/DPEHUV#XVGRMJRY DQG6WHYHQ:LONHV(VT 6WHYHQ:LONHV#XVGRMJRY 

        ,I QR $XFWLRQ LV WR EH KHOG WKH 0RYDQWV ZLOO ILOH D QRWLFH QR ODWHU WKDQ  SP
 SUHYDLOLQJ(DVWHUQ7LPH RQ0DUFKZLWKWKH&RXUWLQHDFKRIWKH'HEWRUV¶EDQNUXSWF\
FDVHV VWDWLQJ WKDW WKHUH ZLOO EH QR $XFWLRQ WKH QRWLFH ZLOO EH SRVWHG DW WKH &RXUW¶V ZHEVLWH
KWWSVHFIIOPEXVFRXUWVJRY ZKLFK UHTXLUHV D FRXUWLVVXHG ORJLQ DQG SDVVFRGH WR DFFHVV WKH
QRWLFH 

        ,Q WKH HYHQW WKDW QR $XFWLRQ LV WR EH KHOG WKH 0RYDQWV ZLOO VHHN D KHDULQJ WKH ³6DOH
+HDULQJ´ RQ0DUFKDWBBBBBDPSP SUHYDLOLQJ(DVWHUQ7LPH DWZKLFKWKH0RYDQWV
ZLOOVHHNDSSURYDORIWKHWUDQVDFWLRQVFRQWHPSODWHGE\WKH$JUHHPHQWZLWKWKH6XFFHVVIXO%LGGHU
DQGIRUWKHDYRLGDQFHRIDQ\GRXEWWKH6DOH+HDULQJLVVXEMHFWWRWKHULJKWRIWKH0RYDQWVLQWKH
H[HUFLVHRIWKHUHDVRQDEOHEXVLQHVVMXGJPHQWRIWKH'HEWRUVWRDGMRXUQWKH6DOH+HDULQJWRDODWHU
GDWHVXEMHFWWRWKHDYDLODELOLW\RIWKH&RXUW,QWKHHYHQWWKDWDQ$XFWLRQLVWREHKHOGWKH0RYDQWV
ZLOOVHHND6DOH+HDULQJRQ0DUFKDWBBBBBDPSP SUHYDLOLQJ(DVWHUQ7LPH DW
ZKLFKWKH0RYDQWVZLOOVHHNDSSURYDORIWKHWUDQVDFWLRQVFRQWHPSODWHGE\WKH$JUHHPHQWZLWKWKH
6XFFHVVIXO%LGGHUDQGIRUWKHDYRLGDQFHRIDQ\GRXEWWKH6DOH+HDULQJLVVXEMHFWWRWKHULJKWRI

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WKH0RYDQWVLQWKHH[HUFLVHRIWKHUHDVRQDEOHEXVLQHVVMXGJPHQWRIWKH'HEWRUVWRDGMRXUQWKH
6DOH+HDULQJWRDODWHUGDWHVXEMHFWWRWKHDYDLODELOLW\RIWKH&RXUW

       7KH6DOH+HDULQJPD\EHFRQWLQXHGWRDODWHUGDWHE\WKH0RYDQWVE\HLWKHUILOLQJD
QRWLFHZLWKWKH%DQNUXSWF\&RXUWSULRUWRRUPDNLQJDQDQQRXQFHPHQWLQRSHQFRXUWDW
WKH6DOH+HDULQJ1RIXUWKHUQRWLFHRIDQ\VXFKFRQWLQXDQFHZLOOEHUHTXLUHGWREHSURYLGHG
WRDQ\SDUW\

       7KHDSSURYHG6DOHVKDOOFORVHQRWODWHUWKDQ0DUFKXQOHVVWKH0RYDQWVLQWKH
H[HUFLVHRIWKH'HEWRUV¶UHDVRQDEOHEXVLQHVVMXGJPHQWDJUHHWRDODWHUGDWH

9,,, 5HWXUQRI(DUQHVW0RQH\'HSRVLW

        7KH(DUQHVW0RQH\'HSRVLWVIRUHDFK4XDOLILHG%LGGHU L VKDOOEHKHOGLQRQHRUPRUH
LQWHUHVWEHDULQJHVFURZDFFRXQWVRQWHUPVDFFHSWDEOHWRWKH0RYDQWVLQWKHLUVROHGLVFUHWLRQRQ
EHKDOIRIWKH'HEWRUV¶HVWDWHV LL VKDOOQRWEHFRPHSURSHUW\RIWKH'HEWRUV¶HVWDWHVDEVHQWIXUWKHU
RUGHURIWKH%DQNUXSWF\&RXUWDQG LLL VKDOOEHUHWXUQHG RWKHUWKDQZLWKUHVSHFWWRWKH6XFFHVVIXO
%LGGHUDQGWKH%DFNXS%LGGHU RQWKHGDWHWKDWLVWKUHH  EXVLQHVVGD\VDIWHUWKH6DOH+HDULQJ
RUDVVRRQDVLVUHDVRQDEO\SUDFWLFDEOHWKHUHDIWHU

        7KH(DUQHVW0RQH\'HSRVLWRIWKH%DFNXS%LGGHUVKDOOEHUHWXUQHGWRWKH%DFNXS%LGGHU
RQWKHGDWHWKDWLVWKHHDUOLHURIRQH  EXVLQHVVGD\DIWHU L WKHFORVLQJRIWKHWUDQVDFWLRQZLWKWKH
6XFFHVVIXO%LGGHUDQG LL WKH2XWVLGH%DFNXS'DWH,IWKH6XFFHVVIXO%LGGHUWLPHO\FORVHVLWV
ZLQQLQJWUDQVDFWLRQLWV(DUQHVW0RQH\'HSRVLWVKDOOEHFUHGLWHGWRZDUGVLWVSXUFKDVHSULFH

       8SRQ WKH UHWXUQ RI WKH (DUQHVW 0RQH\ 'HSRVLW WKH DSSOLFDEOH 4XDOLILHG %LGGHUV VKDOO
UHFHLYHDQ\DQGDOOLQWHUHVWWKDWZLOOKDYHDFFUXHGWKHUHRQ

        ,ID6XFFHVVIXO%LGGHUIDLOVWRFRQVXPPDWHDSURSRVHGWUDQVDFWLRQEHFDXVHRIDEUHDFKE\
VXFK6XFFHVVIXO%LGGHU WKH0RYDQWVZLOOQRWKDYHDQ\REOLJDWLRQWRUHWXUQWKH(DUQHVW0RQH\
'HSRVLWGHSRVLWHGE\VXFK6XFFHVVIXO%LGGHUZKLFKPD\EHUHWDLQHGE\WKH'HEWRUV¶HVWDWHVDV
OLTXLGDWHGGDPDJHVLQDGGLWLRQWRDQ\DQGDOOULJKWVUHPHGLHVRUFDXVHVRIDFWLRQWKDWPD\EH
DYDLODEOHWRWKH0RYDQWVRQEHKDOIRIWKH'HEWRUVDQGWKH0RYDQWVVKDOOEHIUHHWRFRQVXPPDWH
WKHSURSRVHG$OWHUQDWLYH7UDQVDFWLRQZLWKWKHDSSOLFDEOH%DFNXS%LGGHUZLWKRXWWKHQHHGIRUDQ
DGGLWLRQDOKHDULQJRURUGHURIWKH&RXUW

,;     )UHHDQG&OHDU6DOH

        ([FHSWDVRWKHUZLVHSURYLGHGLQWKH$JUHHPHQWWKHDSSOLFDEOHSXUFKDVHDJUHHPHQWRID
GLIIHUHQW6XFFHVVIXO%LGGHURUWKH6DOH2UGHUDOORIWKH'HEWRUV¶ULJKWVWLWOHDQGLQWHUHVWVLQWKH
3XUFKDVHG$VVHWVVKDOOEHVROGIUHHDQGFOHDURIDOOSOHGJHVOLHQVVHFXULW\LQWHUHVWVHQFXPEUDQFHV
FODLPVFKDUJHVRSWLRQVDQGLQWHUHVWVWKHUHRQDQGWKHUHDJDLQVW FROOHFWLYHO\WKH³(QFXPEUDQFHV´ 
LQDFFRUGDQFHZLWKVHFWLRQRIWKH%DQNUXSWF\&RGHZLWKVXFK(QFXPEUDQFHVWRDWWDFKWRWKH
QHWSURFHHGVRIWKHVDOHRIWKH3XUFKDVHG$VVHWV

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;      )LGXFLDU\'XWLHV

        1RWZLWKVWDQGLQJ DQ\WKLQJ WR WKH FRQWUDU\ FRQWDLQHG KHUHLQ QRWKLQJ LQ WKH %LGGLQJ
3URFHGXUHVZLOOSUHYHQWWKH0RYDQWVRQEHKDOIRIWKH'HEWRUVIURPH[HUFLVLQJWKHLUUHVSHFWLYH
ILGXFLDU\GXWLHVXQGHUDSSOLFDEOHODZ

;,     5HVHUYDWLRQRI5LJKWV

         ([FHSW DV RWKHUZLVH SURYLGHG LQ $JUHHPHQW WKH %LGGLQJ 3URFHGXUHV 2UGHU RU WKH 6DOH
2UGHUWKH0RYDQWVIXUWKHUUHVHUYHWKHULJKWDVWKH\PD\UHDVRQDEO\GHWHUPLQHDWDQ\WLPHZKHWKHU
EHIRUH GXULQJ RU DIWHU WKH $XFWLRQ LQ WKH H[HUFLVH RI WKH 'HEWRUV¶ EXVLQHVV MXGJPHQW LQ
FRQVXOWDWLRQZLWKWKH&RQVXOWDWLRQ3DUW\ WR D GHWHUPLQHZKLFK%LGGHUVDUH4XDOLILHG%LGGHUV
 E  GHWHUPLQH ZKLFK %LGV DUH 4XDOLILHG %LGV DQG UHMHFW DQ\ RU DOO %LGV RU 4XDOLILHG %LGV F 
GHWHUPLQHZKLFK4XDOLILHG%LGLVWKHKLJKHVWRURWKHUZLVHEHVWSURSRVDODQGZKLFKLVWKHQH[W
KLJKHVWRURWKHUZLVHEHVWSURSRVDO G UHMHFWDQ\%LGWKDWLV L LQDGHTXDWHRULQVXIILFLHQW LL QRW
LQ FRQIRUPLW\ ZLWK WKH UHTXLUHPHQWV RI WKH %LGGLQJ 3URFHGXUHV RU WKH UHTXLUHPHQWV RI WKH
%DQNUXSWF\&RGHRU LLL FRQWUDU\WRWKHEHVWLQWHUHVWVRIWKH&RPSDQ\RUWKH'HEWRUVDQGWKHLU
HVWDWHV H LPSRVHDGGLWLRQDOWHUPVDQGFRQGLWLRQVZLWKUHVSHFWWRDOOSRWHQWLDOELGGHUVRWKHUWKDQ
WKH 6WDONLQJ +RUVH %LGGHU I  PRGLI\ WKHVH %LGGLQJ 3URFHGXUHV DQGRU LPSOHPHQW DGGLWLRQDO
SURFHGXUDOUXOHVWKDWWKH0RYDQWVGHWHUPLQHZLOOEHWWHUSURPRWHWKHJRDOVRIWKHELGGLQJSURFHVV
LQFOXGLQJ EXW QRW OLPLWHG WR DGGLQJ SURFHGXUDO UXOHV WKDW DUH UHDVRQDEO\ QHFHVVDU\ RU DGYLVDEOH
XQGHUWKH FLUFXPVWDQFHV IRUFRQGXFWLQJWKH$XFWLRQ J H[WHQGWKHGHDGOLQHVVHWIRUWKLQWKHVH
%LGGLQJ3URFHGXUHVDQG K DGMRXUQRUFDQFHOWKH$XFWLRQDWWKH$XFWLRQDQGRUWKH6DOH+HDULQJ
LQRSHQFRXUWZLWKRXWIXUWKHUQRWLFHRUE\ILOLQJDQRWLFHRQWKHGRFNHW LQFRQVXOWDWLRQZLWKWKH
6WDONLQJ+RUVH%LGGHUDQGWKH&RQVXOWDWLRQ3DUW\ 

         )RU WKH DYRLGDQFH RI GRXEW WKH 0RYDQWV VKDOO QRW EH UHTXLUHG WR FRQVXOW ZLWK WKH
&RQVXOWDWLRQ3DUW\LILWVXEPLWVD%LGIRUVRORQJDVVXFK%LGUHPDLQVRSHQLQFOXGLQJDQ\FUHGLW
ELGLIWKH0RYDQWVLQWKHH[HUFLVHRIWKH'HEWRUV¶UHDVRQDEOHEXVLQHVVMXGJPHQWWKDWFRQVXOWLQJ
ZLWKVXFK&RQVXOWDWLRQ3DUW\UHJDUGLQJDQ\LVVXHVHOHFWLRQRUGHWHUPLQDWLRQLV D OLNHO\WRKDYHD
FKLOOLQJHIIHFWRQWKHSRWHQWLDOELGGLQJRU E RWKHUZLVHFRQWUDU\WRWKHJRDORIPD[LPL]LQJYDOXH
IURPWKHVDOHSURFHVVIRUWKH'HEWRUV¶HVWDWHVWKHLUFUHGLWRUVDQGDOORWKHULQWHUHVWHGSDUWLHV




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         7KHGLVFORVXUHVVHWIRUWKLQWKLV'LVFORVXUH6FKHGXOH WKLV³'LVFORVXUH6FKHGXOH´ DUHPDGH
DQGJLYHQSXUVXDQWWRWKH3XUFKDVH$JUHHPHQW WKH³$JUHHPHQW´ GDWHGDVRI)HEUXDU\
E\DQGDPRQJ*ROGHQ1XJJHW//&D1HYDGDOLPLWHGOLDELOLW\FRPSDQ\ ³3XUFKDVHU´ RQWKHRQH
KDQGDQG L -XVW2QH0RUH5HVWDXUDQW&RUSD1HZ<RUNFRUSRUDWLRQDQGDGHEWRULQSRVVHVVLRQ
XQGHUFKDSWHURIWKH8QLWHG6WDWHV%DQNUXSWF\&RGH ³-205´ DQG LL 5REHUW(7DUGLI-U
LQKLVFDSDFLW\DV7UXVWHHDSSRLQWHGLQWKHEDQNUXSWF\FDVHVRI%UXFH(%R]]L6U ³%R]]L´ DQG
:DOWHU-*DQ]L-U ³*DQ]L´DQGWRJHWKHUZLWK%R]]LHDFKD³&KDSWHU'HEWRU´DQGFROOHFWLYHO\
WKH³&KDSWHU'HEWRUV´DQGWKH&KDSWHU'HEWRUVWRJHWKHUZLWK-205HDFKD³'HEWRU´DQG
FROOHFWLYHO\WKH³'HEWRUV´ XQGHUFKDSWHURIWKH8QLWHG6WDWHV%DQNUXSWF\&RGH WKH³7UXVWHH´
DQGWRJHWKHUZLWK-205HDFKD³6HOOHU´DQGMRLQWO\³6HOOHUV´ DQGQRWLQGLYLGXDOO\RQWKHRWKHU
KDQG  &DSLWDOL]HG WHUPV QRW RWKHUZLVH GHILQHG KHUHLQ VKDOO KDYH WKH PHDQLQJV VHW IRUWK LQ WKH
$JUHHPHQW

         7KHVSHFLILFGLVFORVXUHVVHWIRUWKLQWKLV'LVFORVXUH6FKHGXOHDUHRUJDQL]HGWRFRUUHVSRQG
WR D VSHFLILF VHFWLRQ UHIHUHQFH LQ WKH $JUHHPHQW WR ZKLFK WKH TXDOLI\LQJ DQG FRUUHVSRQGLQJO\
QXPEHUHGGLVFORVXUHUHODWHV7KLV'LVFORVXUH6FKHGXOHLVVXEMHFWWRWKHWHUPVDQGFRQGLWLRQVVHW
IRUWKLQWKH$JUHHPHQWDVZHOODVWKHIROORZLQJ

             $Q\ LQIRUPDWLRQ SURYLGHG LQ WKLV 'LVFORVXUH 6FKHGXOH GRHV QRW FRQVWLWXWH DQ
                DGPLVVLRQE\6HOOHUVWKDWVXFKLQIRUPDWLRQLV³PDWHULDO´DVWKDWWHUPLVXVHGLQWKH
                $JUHHPHQW$OVRPDWWHUVUHIOHFWHGLQWKLV'LVFORVXUH6FKHGXOHDUHQRWQHFHVVDULO\
                OLPLWHG WR PDWWHUV UHTXLUHG E\ WKH $JUHHPHQW WR EH UHIOHFWHG KHUHLQ DQG VXFK
                DGGLWLRQDOPDWWHUVDUHLQFOXGHGIRULQIRUPDWLRQSXUSRVHV

             7KH IDFW WKDW DQ\ GLVFORVXUH LQ DQ\ VHFWLRQ RI WKLV 'LVFORVXUH 6FKHGXOH LV QRW
                UHTXLUHGWREHGLVFORVHGLQRUGHUWRUHQGHUWKHDSSOLFDEOHUHSUHVHQWDWLRQRUZDUUDQW\
                WRZKLFKLWUHODWHVWUXHRUWKDWWKHDEVHQFHRIVXFKGLVFORVXUHLQDQ\VHFWLRQRIWKLV
                'LVFORVXUH 6FKHGXOH ZRXOG QRW FRQVWLWXWH D EUHDFK RI VXFK UHSUHVHQWDWLRQ RU
                ZDUUDQW\ VKDOO QRW EH GHHPHG RU FRQVWUXHG WR H[SDQG WKH VFRSH RI DQ\
                UHSUHVHQWDWLRQRUZDUUDQW\FRQWDLQHGLQWKH$JUHHPHQWRUWRHVWDEOLVKDVWDQGDUGRI
                GLVFORVXUHLQUHVSHFWRIDQ\UHSUHVHQWDWLRQRUZDUUDQW\

             +HDGLQJV KDYH EHHQ LQVHUWHG IRU HDFK VHFWLRQ RI WKLV 'LVFORVXUH 6FKHGXOH IRU
                FRQYHQLHQFHRIUHIHUHQFHRQO\VKDOOQRWKDYHWRDQ\H[WHQWWKHHIIHFWRIDPHQGLQJ
                RUFKDQJLQJWKHH[SUHVVGHVFULSWLRQRIWKHFRUUHVSRQGLQJQXPEHUHGVHFWLRQVRIWKH
                $JUHHPHQWDQGVKDOOQRWEHFRQVLGHUHGLQFRQVWUXLQJRULQWHUSUHWLQJDQ\VHFWLRQRI
                WKLV'LVFORVXUH6FKHGXOH

             7KHLQIRUPDWLRQSURYLGHGLQWKLV'LVFORVXUH6FKHGXOHLVEHLQJSURYLGHGVROHO\IRU
                WKHSXUSRVHRIPDNLQJWKHUHTXLUHGGLVFORVXUHVWR6HOOHUVDQG3XUFKDVHUXQGHUWKH
                $JUHHPHQW,QGLVFORVLQJWKLVLQIRUPDWLRQWKH6HOOHUVH[SUHVVO\GRQRWZDLYHDQ\
                DWWRUQH\FOLHQW SULYLOHJH DVVRFLDWHG ZLWK VXFK LQIRUPDWLRQ RU DQ\ SURWHFWLRQ




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               DIIRUGHGE\WKHZRUNSURGXFWGRFWULQHZLWKUHVSHFWWRDQ\RIWKHPDWWHUVGLVFORVHG
               RUGLVFXVVHGKHUHLQ

            1R GLVFORVXUH LQ WKLV 'LVFORVXUH 6FKHGXOH UHODWLQJ WR DQ\ SRVVLEOH EUHDFK RU
               YLRODWLRQRIDQ\DJUHHPHQWODZRUUHJXODWLRQVKDOOEHFRQVWUXHGDVDQDGPLVVLRQRU
               LQGLFDWLRQ WKDW DQ\ VXFK EUHDFK RU YLRODWLRQ H[LVWV RU KDV DFWXDOO\ RFFXUUHG DQG
               QRWKLQJLQWKLV'LVFORVXUH6FKHGXOHVKDOOFRQVWLWXWHDQDGPLVVLRQRIDQ\OLDELOLW\RU
               REOLJDWLRQRIWKH6HOOHUVWRDQ\WKLUGSDUW\RUVKDOOFRQIHURUJLYHWRDQ\WKLUGSDUW\
               DQ\UHPHG\FODLPOLDELOLW\UHLPEXUVHPHQWFDXVHRIDFWLRQRURWKHUULJKW

            7KHGLVFORVXUHRIDQLWHPLQRQHVHFWLRQRIWKLV'LVFORVXUH6FKHGXOHDVDQH[FHSWLRQ
               WRDSDUWLFXODUUHSUHVHQWDWLRQRUZDUUDQW\VKDOOEHGHHPHGDGHTXDWHO\GLVFORVHGDV
               DQH[FHSWLRQZLWKUHVSHFWWRDOORWKHUUHSUHVHQWDWLRQVRUZDUUDQWLHVWRWKHH[WHQWWKDW
               WKHDSSOLFDELOLW\RIVXFKGLVFORVXUHWRVXFKRWKHUUHSUHVHQWDWLRQVDQGZDUUDQWLHVLV
               UHDVRQDEO\DSSDUHQWRQWKHIDFHRIWKHGLVFORVXUH

            $Q\UHIHUHQFHWRDFRQWUDFWFRQWDLQHGLQWKLV'LVFORVXUH6FKHGXOHVKDOOEHGHHPHG
               WR LQFOXGH DOO DPHQGPHQWV PRGLILFDWLRQV VXSSOHPHQWV H[WHQVLRQV UHQHZDOV
               DVVLJQPHQWV HDVHPHQWV UHVWDWHPHQWV SXUFKDVH RUGHUV VDOHV RUGHUV VFKHGXOHV
               H[KLELWVRURWKHUVLPLODUGRFXPHQWVUHODWHGWRVXFKFRQWUDFW

7KLVLQWURGXFWLRQLVH[SUHVVO\PDGHSDUWRIWKLV'LVFORVXUH6FKHGXOH
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                                6WRUH/HYHO2SHQLQJ&DVK%DODQFHV
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    %RVWRQ3DOP&RUSRUDWLRQ
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    &KDUORWWH3DOP&RUSRUDWLRQ
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    &KLFDJR3DOP,QF
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    0LDPL3DOP5HVWDXUDQW,QF
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    (DVW+DPSWRQ 
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    3DOP2UODQGR&RUSRUDWLRQ
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    3DOP3KLODGHOSKLD5HVWDXUDQW//&
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    3DOP5HVWDXUDQW,QF
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    3DOP5HVWDXUDQWRI/DV9HJDV,QF
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    3DOP5HVWDXUDQWRI+RXVWRQ,QF
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    3DOP7\VRQV7RR,QF
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    3DOP:HVW&RUSRUDWLRQ


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    
    6DQ$QWRQLR3DOP5HVWDXUDQW,QF
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    7KH:DVKLQJWRQ3DOP,QF
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                              6FKHGXOH E 
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                  5HWHQWLRQ3D\PHQW$JUHHPHQW5HFLSLHQWV




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                              6FKHGXOH F 
                                    
                    3UH&ORVLQJ&RPSDQ\3URIHVVLRQDOV




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                                   6FKHGXOH E 
                                            
                              $OORFDWLRQ0HWKRGRORJ\
                                            
&ODVV,$VVHWV         )DFHYDOXHDVRIWKH&ORVLQJ

&ODVV,,$VVHWV         1RQH

&ODVV,,,$VVHWV       1RQH

&ODVV,9$VVHWV         6HOOHUV¶FRVW

&ODVV9$VVHWV          $VGHWHUPLQHGSXUVXDQWWR3XUFKDVH$JUHHPHQW

&ODVV9,$VVHWV         $VGHWHUPLQHGSXUVXDQWWR3XUFKDVH$JUHHPHQW

&ODVV9,,$VVHWV       $VGHWHUPLQHGSXUVXDQWWR3XUFKDVH$JUHHPHQW
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                                     *RYHUQPHQWDO$XWKRUL]DWLRQV
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       9ROXQWDU\&RPSOLDQFH$JUHHPHQWE\DQGEHWZHHQWKH8QLWHG6WDWHVRI$PHULFDDQG
          3DOP5HVWDXUDQW,QF3DOP1HZ<RUN'RZQWRZQ//&3DOP0DQDJHPHQW&RUSRUDWLRQ
          DQG3DOP:HVW&RUSRUDWLRQ
          
       $Q\DQGDOOJDPLQJOLFHQVHVSHUPLWVUHTXLUHGIRURSHUDWLRQRI$WODQWLF&LW\3DOP//&
          DQG3DOP5HVWDXUDQWRI/DV9HJDV,QF
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       7KHIROORZLQJ/LTXRU/LFHQVHV
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                                                                           
               5(67$85$17                        *29(510(17$/                     /,&(16(12
                                                    $87+25,7<
    $WODQWD3DOP)RRG&RUSRUDWLRQ               *HRUJLD'HSWRI5HYHQXH              
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    $WODQWLF&LW\3DOP//&                  1HZ-HUVH\'LYLVLRQRI              
                                              *DPLQJ(QIRUFHPHQW
    %RVWRQ3DOP&RUSRUDWLRQ                  /LFHQVLQJ%RDUGIRUWKH               &9$/
                                                  &LW\RI%RVWRQ
                                                   0DVVDFKXVHWWV
    &KDUORWWH3DOP&RUSRUDWLRQ              $%&&RPPLVVLRQ1RUWK                   0;
                                                     &DUROLQD
    &KLFDJR3DOP,QF                       &LW\RI&KLFDJR/LFHQVH                 
                                                    &HUWLILFDWH                       
    'HQYHU3DOP&RUSRUDWLRQ                 &RORUDGR'HSWRI5HYHQXH              
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    /$'RZQWRZQ3DOP//&                     &DOLIRUQLD'HSWRI                 
                                            $OFRKROLF%HYHUDJH&RQWURO               
    0LDPL3DOP5HVWDXUDQW,QF              )ORULGD'HSWRI%XVLQHVV             %(9
                                            DQG3URIHVVLRQDO5HJXODWLRQ
    1DVKYLOOH3DOP5HVWDXUDQW//&          7HQQHVVHH$OFRKROLF             /%'567'$9
                                              %HYHUDJH&RPPLVVLRQ
    3DOP%HYHUO\+LOOV5HVWDXUDQW//&          &DOLIRUQLD'HSWRI                 
                                            $OFRKROLF%HYHUDJH&RQWURO
    3DOP0DQDJHPHQW&RUSRUDWLRQ               1HZ<RUN6WDWH/LTXRU             %
                                                     $XWKRULW\
    3DOP1HZ<RUN'RZQWRZQ//&               1HZ<RUN6WDWH/LTXRU               
                                                     $XWKRULW\
    3DOP2UODQGR&RUSRUDWLRQ                 )ORULGD'HSWRI%XVLQHVV             %(9
                                            DQG3URIHVVLRQDO5HJXODWLRQ
    3DOP3KLODGHOSKLD5HVWDXUDQW//&          3HQQV\OYDQLD/LTXRU              5/,'
                                                   &RQWURO%RDUG
    3DOP5HVWDXUDQW,QF                      1HZ<RUN6WDWH/LTXRU             %
                                                     $XWKRULW\
           Case 2:19-bk-01947-FMD         Doc 313   Filed 02/20/20      Page 264 of 318

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    3DOP5HVWDXUDQWRI/DV9HJDV,QF      &ODUN&RXQW\%XVLQHVV        /,4
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                                               &LW\RI+RXVWRQ        &LW\3HUPLW1RV
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    3DOP:HVW&RUSRUDWLRQ                   1HZ<RUN6WDWH/LTXRU        
                                                  $XWKRULW\
    6DQ$QWRQLR3DOP5HVWDXUDQW,QF     7H[DV$OFRKROLF%HYHUDJH          0%
    '*0%$VVRFLDWHV,QF                        &RPPLVVLRQ
    
    7KH:DVKLQJWRQ3DOP,QF               :DVKLQJWRQ$OFRKROLF          $%5$
                                            %HYHUDJH5HJXODWLRQ
                                               $GPLQLVWUDWLRQ
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        Case 2:19-bk-01947-FMD          Doc 313     Filed 02/20/20     Page 265 of 318

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                                         6FKHGXOH
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                                       5HTXLUHG&RQVHQWV
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7KHUHDUHJDPLQJDXWKRULW\FRQVHQWVUHODWLQJWRFKDQJHLQFRQWURORIWHQDQWVXQGHUWKHOHDVHVIRU
$WODQWLF&LW\DQG/DV9HJDV/HDVHG5HDO3URSHUWLHV                               
            Case 2:19-bk-01947-FMD          Doc 313     Filed 02/20/20       Page 266 of 318

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                                             6FKHGXOH
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                                              /LWLJDWLRQ
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     'HFLVLRQDQG-XGJPHQWRQDSSHDO
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     /XLV%DWLVWDY3DOP:HVW&RUSRUDWLRQet al FY-0)86'LVWULFW&RXUWIRU
        6RXWKHUQ'LVWULFWRI1HZ<RUN ±$FWLRQFODLPLQJGLVFULPLQDWRU\HPSOR\PHQWSUDFWLFHV
        RQWKHEDVLVRIUDFHQDWLRQDORULJLQDQGVH[JHQGHUZLWKUHVSHFWWRSURPRWLRQVDQGKRVWLOH
        ZRUNHQYLURQPHQWVH[XDOKDUDVVPHQWUHWDOLDWLRQDQGFRQVWUXFWLYHGLVFKDUJH
        
     0LFKDHO 7UHQWLFRVWD Y 1DVKYLOOH 3DOP 5HVWDXUDQW //& DQG 3DOP 0DQDJHPHQW
        &RUSRUDWLRQ &&LUFXLW&RXUWRIWKH6WDWHRI7HQQHVVHH'DYLGVRQ&RXQW\DQGWK
        -XGLFLDO'LVWULFW ±$FWLRQFODLPLQJDJHGLVFULPLQDWLRQ&DVHLVLQGLVFRYHU\SKDVH
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     7UDF\H6KHDULQY3DOP:HVW&RUSRUDWLRQGED3DOP:HVW6LGH 1HZ<RUN
        6WDWH'LYLVLRQRI+XPDQ5LJKWVDQG(TXDO(PSOR\PHQW2SSRUWXQLW\&RPPLVVLRQ ±'XDO
        ILOLQJ ZLWK HDFK DJHQF\ IRU FODLPV RI GLVFULPLQDWLRQ EDVHG RQ UDFH VH[ DQG DJH DQG
        UHWDOLDWLRQKRVWLOHZRUNHQYLURQPHQWDQGVH[XDOKDUDVVPHQW&DVHKDVEHHQDGMRXUQHGXQWLO
        $SULO
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               Case 2:19-bk-01947-FMD             Doc 313        Filed 02/20/20         Page 267 of 318

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                 )DFHERRN               7ZLWWHU                                     ,QVWDJUDP
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    3DOP&RUSRUDWH   3DOP5HVWDXUDQW             KWWSVWZLWWHUFRP3DOP5HVWDXUDQW   VWDXUDQW
                      KWWSVZZZIDFHERRNFRP                                        KWWSVZZZLQVWDJUDPFRPWKHSDO
    $WODQWD          3DOP$WODQWD               KWWSVWZLWWHUFRPWKHSDOPBDWO      PBDWO
                      KWWSVZZZIDFHERRNFRP                                        KWWSVZZZLQVWDJUDPFRPWKHSDO
    $WODQWLF&LW\    $WODQWLF&LW\              KWWSVWZLWWHUFRP7KH3DOP$&        PDF
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    %RVWRQ           3DOP%RVWRQ                KWWSVWZLWWHUFRP7KH3DOP%RVWRQ    PERVWRQ
                      KWWSVZZZIDFHERRNFRP                                        KWWSVZZZLQVWDJUDPFRPWKHSDO
    &KDUORWWH        3DOP&KDUORWWH             1$                                  PFKDUORWWH
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    &KLFDJR          3DOP&KLFDJR               R                                    PUHVWDXUDQWFKLFDJR
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                      KWWSVZZZIDFHERRNFRP                                        KWWSVZZZLQVWDJUDPFRPWKHSDO
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                      KWWSVZZZIDFHERRNFRP                                        KWWSVZZZLQVWDJUDPFRPSDOPWR
    3DOP7RR         3DOPWRR                   KWWSVWZLWWHUFRP7KH3DOP7RR       R
                      KWWSVZZZIDFHERRNFRP   KWWSVWZLWWHUFRP7KH3DOP7ULEHF    KWWSVZZZLQVWDJUDPFRPWKHSDO
    3DOP7ULEHFD     3DOP7ULEHFD               D                                    PWULEHFD
                      KWWSVZZZIDFHERRNFRP                                        KWWSVZZZLQVWDJUDPFRPWKHSDO
    3DOP:HVW6LGH   SDOPZHVWQ\F               KWWSVWZLWWHUFRP3DOP:HVW1<&      PZHVW
                      KWWSVZZZIDFHERRNFRP                                        KWWSVZZZLQVWDJUDPFRPSDOPRU
    2UODQGR          3DOP2UODQGR               KWWSVWZLWWHUFRP3DOP2UODQGR      ODQGR
                      KWWSVZZZIDFHERRNFRP                                        KWWSVZZZLQVWDJUDPFRPWKHSDO
    3KLODGHOSKLD     3DOP3KLODGHOSKLD          KWWSVWZLWWHUFRP7KH3DOPB3+/      PBSKO
                      KWWSVZZZIDFHERRNFRP   KWWSVWZLWWHUFRP3DOP6DQ$QWRQL    KWWSVZZZLQVWDJUDPFRPSDOPVD
    6DQ$QWRQLR      SDOPVDQDQWRQLR           R                                   QDQWRQLR
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    :DVKLQJWRQ'&    3DOP'&                    KWWSVWZLWWHUFRP7KH3DOP'&        PGF
            Case 2:19-bk-01947-FMD                 Doc 313          Filed 02/20/20            Page 268 of 318

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    2WKHU6RFLDO   /LQNHGLQKWWSVZZZOLQNHGLQFRPFRPSDQ\WKHSDOPUHVWDXUDQW
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    0HGLD          <RXWXEHKWWSVZZZ\RXWXEHFRPXVHU7KH3DOP5HVWDXUDQW
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,3&KDOOHQJHV5HVWULFWLRQVE\RUDJDLQVW-205
        'HFLVLRQDQG-XGJPHQW
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                          Case   2:19-bk-01947-FMD Doc 313 Filed 02/20/20 Page 269 of 318
&RXQWU\          0DUN                                                                       $SSO1R          $SS'DWH       5HJ'DWH        5HJ1R          6WDWXV




%HQHOX[          3$/0ZLWK7UHH'HVLJQ                                                                  )HE     )HE                 5HJLVWHUHG




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                          Case 2:19-bk-01947-FMD                    Doc 313       Filed 02/20/20             Page 270 of 318
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                          Case 2:19-bk-01947-FMD   Doc 313   Filed 02/20/20              Page 271 of 318
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                'HVLJQLQ&LUFOH




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.RUHD 6RXWK    'HVLJQLQ&LUFOH




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5(67$85$176(59,&(6




6SDLQ           3$/0ZLWK7UHH'HVLJQ                               -DQ    -XO        5HJLVWHUHG




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                          Case 2:19-bk-01947-FMD                          Doc 313            Filed 02/20/20                 Page 272 of 318
                  3$/05(67$85$17ZLWK7UHH
7DLZDQ                                                                                               6HS     $XJ                5HJLVWHUHG
                  'HVLJQLQ&LUFOH




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                          Case 2:19-bk-01947-FMD   Doc 313   Filed 02/20/20             Page 273 of 318
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$PHULFD          'HVLJQLQ&LUFOH




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                          Case 2:19-bk-01947-FMD   Doc 313   Filed 02/20/20             Page 274 of 318
8QLWHG6WDWHVRI
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                   'HVLJQLQ&LUFOH




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        Case 2:19-bk-01947-FMD       Doc 313     Filed 02/20/20    Page 275 of 318

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       )RRG&RUSRUDWLRQ 
    /LFHQVH$JUHHPHQWGDWHG-DQXDU\E\DQGEHWZHHQ-205DQG$WODQWLF&LW\
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   /LFHQVH$JUHHPHQWGDWHG-DQXDU\E\DQGEHWZHHQ-205DQG3DOP1HZ<RUN
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ZKLFKLVRQDFDVKEDVLV
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Case 2:19-bk-01947-FMD   Doc 313   Filed 02/20/20   Page 279 of 318
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           Case 2:19-bk-01947-FMD           Doc 313                      Filed 02/20/20   Page 290 of 318

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           Case 2:19-bk-01947-FMD        Doc 313        Filed 02/20/20   Page 291 of 318

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           Case 2:19-bk-01947-FMD       Doc 313         Filed 02/20/20   Page 292 of 318

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          Case 2:19-bk-01947-FMD         Doc 313       Filed 02/20/20   Page 293 of 318

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      Case 2:19-bk-01947-FMD         Doc 313    Filed 02/20/20   Page 294 of 318




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            Case 2:19-bk-01947-FMD        Doc 313     Filed 02/20/20   Page 295 of 318

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     Case 2:19-bk-01947-FMD    Doc 313    Filed 02/20/20   Page 296 of 318

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     Case 2:19-bk-01947-FMD   Doc 313   Filed 02/20/20   Page 297 of 318

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    Case 2:19-bk-01947-FMD   Doc 313    Filed 02/20/20   Page 298 of 318

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        Case 2:19-bk-01947-FMD          Doc 313     Filed 02/20/20     Page 299 of 318

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    Case 2:19-bk-01947-FMD    Doc 313    Filed 02/20/20      Page 300 of 318

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                 Case 2:19-bk-01947-FMD           Doc 313        Filed 02/20/20   Page 301 of 318

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    Case 2:19-bk-01947-FMD   Doc 313   Filed 02/20/20   Page 302 of 318

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        Case 2:19-bk-01947-FMD          Doc 313     Filed 02/20/20     Page 303 of 318

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         Case 2:19-bk-01947-FMD    Doc 313    Filed 02/20/20   Page 304 of 318

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                             Case 2:19-bk-01947-FMD     Doc 313           Filed 02/20/20   Page 305 of 318
Label Matrix for local noticing              Michele L. Angell                               Bank of America, N.A.
113A-9                                       Kasowitz Benson Torres LLP                      c/o Andrew T. Jenkins, Esq.
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New York, NY 10019-6708                      333 SE 2nd Ave, Suite 3200                      333 SE 2nd Ave, Suite 3200
                                             Miami, FL 33131-2191                            Miami, FL 33131-2191

Bruce E Bozzi, Sr & Walter J Ganzi Jr        Bruce E Bozzi, Sr and Walter J Ganzi, Jr        Bruce E Bozzi, Sr and Walter J Ganzi, Jr
c/o Michele L Angell                         c/o Adam L Shiff                                c/o Marc E Kasowitz
1633 Broadway                                1633 Broadway                                   1633 Broadway
New York, NY 10019-6708                      New York, NY 10019-6708                         New York, NY 10019-6708
                          Case 2:19-bk-01947-FMD      Doc 313           Filed 02/20/20   Page 306 of 318
Bruce E Bozzi, Sr and Walter J Ganzi, Jr   Bruce E. Bozzi, Sr.                             Charlotte Palm Corporation
c/o Sarmad M Khojasteh                     2161 Gulf of Mexico Drive                       c/o The Palm Charlotte
1633 Broadway                              Apt. 3B-1                                       1730 Rhode Island Ave., N.W.
New York, NY 10019-6708                    Longboat Key, FL 34228-5230                     #900
                                                                                           Washington, DC 20036-3113

Chicago Palm, Inc.                         Claire Breen                                    Cooley LLP
c/o The Palm Chicago                       7 Ryan Street                                   Attn: Alan Levine, Esq.
1730 Rhode Island Ave., N.W.               Syosset, NY 11791-2129                          1114 Avenue of the Americas
#900                                                                                       16th Floor
Washington, DC 20036-3113                                                                  New York, NY 10036-7772

Cooley LLP                                 Cooley LLP                                      Coral Gables Palm Restaurant
Attn: Alan Levine, Esq.                    attn: J. Michael Kelly                          4425 Ponce de Leon Blvd.
1114 Avenue of the Americas                101 California St., 5th Fl                      Ste. 140
46th Floor                                 San Francisco, CA 94111-5800                    Miami, FL 33146-1837
New York, NY 10036-7703

(c)CORPORATE CREATIONS                     David Rosner, Esq.                              David S. Rosner, Esq.
11380 PROSPERITY FARMS RD STE 221          Kasowitz Benson Torres LLP                      Kasowitz Benson Torres LLP
PALM BEACH GARDENS FL 33410-3465           1633 Broadway                                   1633 Broadway
                                           New York, NY 10019-6708                         New York, NY 10019-6708


Denver Palm Corporation                    Department of Revenue                           Estate of Charles Cook
c/o The Palm Denver                        PO Box 6668                                     c/o Meridithe Shields
1730 Rhode Island Ave., N.W.               Tallahassee FL 32314-6668                       58 Bluestone Court
#900                                                                                       Kingston, NY 12401-4323
Washington, DC 20036-3113

Frederic S. Newman, Esq.                   Gary Ganzi                                      Gary Ganzi and Claire Breen
Hoguet Newman Regal & Kenney               74 Valleyfield Street                           c/o Eric D. Jacobs, Esq.
10 East 40th Street                        Lexington, MA 02421-7939                         Genovese Joblove & Batista, P.A.
35th Floor                                                                                 100 N. Tampa Street, Suite 2600
New York, NY 10016-0304                                                                    Tampa, FL 33602-5810

Gary Ganzi and Claire Breen                Gary Ganzi and Claire Breen                     Hoguet Newman Regal & Kenney, LLP
c/o Michael A. Friedman, Esq.              c/o Robert F Elgidely, Esq                      c/o Fredric S. Newman, Esq.
Genovese Joblove & Batista, P.A.           Genovese Joblove & Batista, PA                  60 E. 42nd Street, 48th Floor
100 N. Tampa Street, Suite 2600            200 East Broward Blv, Suite 1110                New York, NY 10165-3003
Tampa, FL 33602-5810                       Fort Lauderdale, FL 33301-3535

Hoteles Presidente, S.A.                   Ian Shapiro, Esq.                               Ian Shapiro, Esq.
Campos Eliseos 218 - 11th Fl               Cooley LLP                                      Cooley LLP
Polanco, CP 11560                          1114 Avenue of the Americas                     1114 Avenue of the Americas
Mexico                                     46th Floor                                      New York, NY 10036-7703
                                           New York, NY 10036-7703

Internal Revenue Service                   Just One More Restaurant Cor                    LA Downtown Palm, LLC
P.O. Box 7346                              8955 Fontana Del Sol Way                        c/o The Palm Los Angeles
Philadelphia, PA 19101-7346                2nd Floor                                       1730 Rhode Island Ave., N.W.
                                           Naples, FL 34109-4428                           #900
                                                                                           Washington, DC 20036-3113

Los Angeles Palm, Inc.                     Miami Palm Restaurant Inc.                      NY Department of Finance
c.o The Los Angeles Palm                   c/o The Palm Miami                              P.O. Box 3933
1730 Rhode Island Ave., N.W.               1730 Rhode Island Ave., N.W.                    New York, NY 10008-3933
#900                                       #900
Washington, DC 20036-3113                  Washington, DC 20036-3113
                             Case 2:19-bk-01947-FMD     Doc 313          Filed 02/20/20   Page 307 of 318
NYC Department of Finance                    NYC Department of Finance                      NYD Dept. of Health and
P.O. Box 3922                                P.O. Box 680                                   Mental Division of Permits
New York, NY 10085                           Newark, NJ 07101-0680                          Church Street Station
                                                                                            P.O. Box 4081
                                                                                            New York, NY 10261-4081

NYS Department of Taxation                   Nashville Palm Restaurant LL                   New York State Department of Taxation &
and Finance                                  c/o The Palm Nashville                         New york State Tax & Finance Bankruptcy
WA Harrington Campus                         1730 Rhode Island Ave., N.W.                   Bankruptcy Section
Albany, NY 12227-0001                        #900                                           P O Box 5300
                                             Washington, DC 20036-3113                      Albany, NY 12205-0300

Northbrook Palm, LLC                         PMC d/b/a Hedges Inn                           PMC d/b/a Huntting Inn
2000 Northbrook Court                        c/o the James Lane Cafe Rest                   c/o The Palm East Hampton
Northbrook, IL 60062-1411                    73 James Lane                                  1730 Rhode Island Ave., N.W.
                                             East Hampton, NY 11937                         #900
                                                                                            Washington, DC 20036-3113

Palm Beverly Hills                           Palm Management Corporation                    Palm Management Corporation
Restaurant, LLC                              1730 Rhode Island Ave., N.W.                   1730 Rhode Island Avenue, NW
1730 Rhode Island Ave., N.W.                 Ste. 900                                       Ste. 900
Suite 900                                    Washington, DC 20036-3113                      Washington, DC 20036-3113
Washington, DC 20036-3113

Palm New York Downtown LLC                   Palm Orlando Corporation                       Palm Restaurant Puerto Rico
c/o The Palm Tribeca                         c/o The Palm Orlando                           c/o The San Juan Palm Restau
1730 Rhode Island Ave., N.W.                 1730 Rhode Island Ave., N.W.                   1730 Rhode Island Ave., N.W.
#900                                         #900                                           #900
Washington, DC 20036-3113                    Washington, DC 20036-3113                      Washington, DC 20036-3113

Palm Restaurant of Houston                   Palm Restaurant of Las Vegas                   Palm Restaurant of Philadelp
c/o The Palm Houston                         c/o The Palm Las Vegas                         c/o The Palm Philadelphia
1730 Rhode Island Ave., N.W.                 1730 Rhode Island Ave., N.W.                   1730 Rhode Island Ave., N.W.
#900                                         #900                                           Washington, DC 20036-3101
Washington, DC 20036-3113                    Washington, DC 20036-3113

Palm Restaurant, Inc.                        Palm Troy Company, LLC                         Palm Tysons Too, Inc.
c/o The Palm Too                             c/o The Troy Palm Restaurant                   c/o The Palm Tysons Corner
1730 Rhode Island Ave., N.W.                 5600 Crooks Road                               1730 Rhode Island Ave., N.W.
#900                                         Troy, MI 48098-2811                            #900
Washington, DC 20036-3113                                                                   Washington, DC 20036-3113

Palm West Corporation                        Robert A. Schatzman, Esq.                      San Antonio Palm Restaurant
c/o The Palm West Side                       GrayRobinson P.A.                              c/o The Palm San Antonio
1730 Rhode Island Ave., N.W.                 333 S.E. 2nd Ave., Ste. 3200                   1730 Rhode Island Ave., N.W.
#900                                         Miami, FL 33131-2191                           #900
Washington, DC 20036-3113                                                                   Washington, DC 20036-3113

San Diego Palm, LLC                          Steven J. Solomon, Esq.                        Tampa Palm Restaurant, LLC
c/o The San Diego Palm Resta                 GrayRobinson P.A.                              c/o The Tampa Palm Restauran
1730 Rhode Island Ave., N.W.                 333 S.E. 2nd Ave., Ste. 3200                   1730 Rhode Island Ave., N.W.
#900                                         Miami, FL 33131-2191                           #900
Washington, DC 20036-3113                                                                   Washington, DC 20036-3113

The Dallas Palm Restaurant                   The Washington Palm, Inc.                      Walter J Ganzi, Jr
1730 Rhode Island Ave., N.W.                 c/o The Palm Washington DC                     c/o Robert A Schatzman, Esq
#900                                         1730 Rhode Island Ave., N.W.                   GrayRobinson, PA
Washington, DC 20036-3113                    #900                                           333 SE 2nd Ave, Suite 3200
                                             Washington, DC 20036-3113                      Miami, FL 33131-2191
                             Case 2:19-bk-01947-FMD              Doc 313        Filed 02/20/20        Page 308 of 318
Walter J Ganzi, Jr                                    Walter J. Ganzi, Jr.                                 Benjamin E. Lambers +
c/o Steve J Solomon, Esq                              8171 Bay Colony Drive                                Timberlake Annex
GrayRobinson, PA                                      Apt. 1902                                            501 E. Polk Street, Suite 1200
333 SE 2nd Ave, Suite 3200                            Naples, FL 34108-7567                                Tampa, FL 33602-3945
Miami, FL 33131-2191

Robert A. Schatzman +                                 United States Trustee - FTM +                        Andrew T. Jenkins +
Gray Robinson, P.A.                                   Timberlake Annex, Suite 1200                         Bush Ross, PA
333 S.E. 2nd Avenue, Suite 3200                       501 E. Polk Street                                   Post Office Box 3913
Miami, FL 33131-2191                                  Tampa, FL 33602-3949                                 Tampa, FL 33601-3913


Robert F Elgidely +                                   Paul Steven Singerman +                              Paul A Avron +
Fox Rothschild LLP                                    Berger Singerman, LLP                                Berger Singerman LLP
2 South Biscayne Boulevard, Suite 2750                1450 Brickell Avenue, Suite 1900                     One Town Center Road
Miami, FL 33131-1833                                  Miami, FL 33131-5319                                 Suite 301
                                                                                                           Boca Raton, FL 33486-1014

Marian G Kennady +                                    J Steven Wilkes +                                    Christopher A Jarvinen +
Reed Smith LLP                                        Office of United States Trustee                      Berger Singerman LLP
1001 Brickell Bay Drive, Suite 900                    501 East Polk Street                                 1450 Brickell Avenue, Suite 1900
Miami, FL 33131-4937                                  Tampa, FL 33602-3949                                 Miami, FL 33131-5319


Gerard A McHale Jr+                                   Eric D Jacobs +                                      Joshua D Rievman +
McHale PA                                             Genovese Joblove & Batista, P.A.                     Dunning Rievman & Davies, LLP
1601 Jackson St. Suite 200                            100 North Tampa Street, Suite 2600                   434 West 33rd Street
Fort Myers, FL 33901-2968                             Tampa, FL 33602-5810                                 New York, NY 10001-2601


Fredric S. Newman +                                   Julia A May +
Hoguet Newman Regal & Kenney, LLP                     Moore & Van Allen PLLC
One Grand Central Place                               100 North Tryon Street, Suite 4700
60 East 42nd Street, 48th Floor                       Charlotte, NC 28202-4003
New York, NY 10165-3003



                                      Addresses marked (c) above for the following entity/entities were corrected
                                           as required by the USPS Locatable Address Conversion System (LACS).


Corporate Creations
11380 Prosperity Farms Road
#221E
Palm Beach Gardens, FL 33410




                  The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Claire Breen                                       (u)Gary Ganzi                                        (u)Gary Ganzi and Claire Breen as Attorneys-i
                            Case 2:19-bk-01947-FMD     Doc 313        Filed 02/20/20   Page 309 of 318
(d)Cooley LLP                               (d)Frederic S. Newman, Esq.                  (d)Just One More Holding Corp.
Attn: Alan Levine, Esq.                     Hoguet Newman Regal & Kenney                 8955 Fontana Del Sol Way
1114 Avenue of the Americas, 46th Floor     10 East 40th Street, 35th Fl                 2nd Floor
New York, NY 10036-7703                     New York, NY 10016-0304                      Naples, FL 34109-4428


End of Label Matrix
Mailable recipients   106
Bypassed recipients     6
Total                 112
                            Case 2:19-bk-01947-FMD     Doc 313          Filed 02/20/20   Page 310 of 318
Label Matrix for local noticing             Bank of America, N.A.                          Bank of America, N.A.
113A-9                                      Bush Ross PA                                   Phelan Hallinan Diamond & Jones, PLLC
Case 9:19-bk-09677-FMD                      c/o Andrew T. Jenkins, Esq.                    2001 NW 64th Street
Middle District of Florida                  PO Box 3913                                    Suite 100
Ft. Myers                                   Tampa, FL 33601-3913                           Ft. Lauderdale, FL 33309-1844
Thu Feb 20 13:09:37 EST 2020
Bruce E. Bozzi Sr.                          Douglas Elliman                                Scott Esterbrook
2161 Gulf of Mexico Drive                   20 Main Street                                 Three Logan Square
Longboat Key, FL 34228-5230                 East Hampton, NY 11937-2745                    1717 Arch Street, Suite 3100
                                                                                           Philadelphia, PA 19103-2762


Hoguet Newman Regal & Kenney, LLP           Just One More Holding Corp.                    Just One More Restaurant Corp.
One Grand Central Place                     8955 Fontana Del Sol Way                       8955 Fontana Del Sol Way
60 E. 42nd Street                           2nd Floor                                      2nd Floor
48th Floor                                  Naples, FL 34109-4428                          Naples, FL 34109-4428
New York, NY 10165-3003

Soneet Kapila                               Raymond James & Associates, Inc                SF V CLE Lending, LLC
1000 South Federal Highway                  880 Carillon Parkway                           c/o Reed Smith LLP
Suite 200                                   St. Petersburg, FL 33716-1100                  1001 Brickell Bay Dr.
Ft. Lauderdale, FL 33316-1237                                                              Suite 900
                                                                                           Miami, FL 33131-4937

Atlanta Palm Food Corp.                     B.W. Associates, Inc.                          Bank of America
c/o Palm Management Corp.                   7380 West Sand Lake Road                       Global Commercial Banking
7380 West Sand Lake Road                    Suite 450                                      1301 Gervais Street, Suite 2020
Suite 450                                   Orlando, FL 32819-5251                         SC3-230-20-02
Orlando, FL 32819-5251                                                                     Columbia, SC 29201-3354

Bank of America                             Bank of America, N.A.                          Boston Palm Corporation
PO Box 660576                               c/o Andrew T. Jenkins                          c/o Palm Management Corp.
Dallas, TX 75266-0576                       Post Office Box 3913                           7380 West Sand Lake Road
                                            Tampa, Florida 33601-3913                      Suite 450
                                                                                           Orlando, FL 32819-5251

Briargrove Retail LP                        Charlotte Palm Corp.                           Chicago Palm, Inc.
One Riverway, Suite 100                     c/o Palm Management Corp.                      c/o Palm Management Corp.
Houston, TX 77056-1962                      7380 West Sand Lake Road                       7380 West Sand Lake Road
                                            Suite 450                                      Suite 450
                                            Orlando, FL 32819-5251                         Orlando, FL 32819-5251

Claire Breen                                Cooley LLP                                     DGMB Associates, Inc.
c/o Frederic Newman, Esq.                   101 California Street, 5th F                   7380 West Sand Lake Road
Hoguett Newman Regal & Kenney               San Francisco, CA 94111-5800                   Suite 450
60 E. 42nd St., 48th Floor                                                                 Orlando, FL 32819-5251
New York, NY 10165-3003

Denver Palm Corporation                     Estate of Charles Cook                         Frederic Newman, Esq.
c/o Palm Management Corp.                   c/o Frederic Newman, Esq.                      Hoguet Newman Regal & Kenney
7380 West Sand Lake Road                    Hoguet Newman Regal & Kenney                   60 E. 42nd St., 48th Floor
Suite 450                                   60E. 42nd St., 48th Floor                      New York, NY 10165-3003
Orlando, FL 32819-5251                      New York, NY 10165-3003

Gary Ganzi                                  Home Tech                                      INTERNAL REVENUE SERVICE
c/o Frederic Newman, Esq.                   6400 Techster Blvd.                            P O BOX 7346
Hoguet Newman Regal & Kenney                Fort Myers FL 33966-4721                       PHILADELPHIA,PA 19101-7346
60 E. 42nd St., 48th Floor
New York, NY 10165-3003
                             Case 2:19-bk-01947-FMD     Doc 313          Filed 02/20/20   Page 311 of 318
Just One More Rest. Corp.                    Just One More Restaurant Holdings              Kasowitz Benson Torres LLP
8955 Fontana del Sol Way                     8955 Fontana del Sol Way, 2nd Floor            1633 Broadway
2nd Floor                                    Naples, FL 34109-4428                          New York, NY 10019-6708
Naples, FL 34109-4428


Kasowitz Benson Torres LLP                   LA Downtown Palm, LLC                          Mary Ann Bozzi
16 Broadway                                  c/o Palm Management Corp.                      2161 Gulf of Mexico Drive
New York, NY 10004-1703                      7380 West Sand Lake Road                       Longboat Key FL 34228-5230
                                             Suite 450
                                             Orlando, FL 32819-5251

Mercedes-Benz Credit Corp.                   Mercedes-Benz Financial Services USA           Miami Palm Restaurant, Inc.
PO Box 5209                                  PO Box 5260                                    c/o Palm Management Corp.
Carol Stream IL 60197-5209                   Carol Stream IL 60197-5260                     7380 West Sand Lake Road
                                                                                            Suite 450
                                                                                            Orlando, FL 32819-5251

Nashville Palm Restaurant                    Palm Airport, LLC                              Palm Beverly Hills Rest. Mgr
c/o Palm Management Corp.                    c/o Palm Management Corp.                      c/o Palm Management Corp.
7380 West Sand Lake Road                     7380 West Sand Lake Road                       7380 West Sand Lake Road
Suite 450                                    Suite 450                                      Suite 450
Orlando, FL 32819-5251                       Orlando, FL 32819-5251                         Orlando, FL 32819-5251

Palm Management Corp.                        Palm New York Downtown                         Palm Orlando Corp.
7380 West Sand Lake Road                     c/o Palm Management Corp.                      c/o Palm Management Corp.
Suite 450                                    7380 West Sand Lake Road                       7380 West Sand Lake Road
Orlando, FL 32819-5251                       Suite 450                                      Suite 450
                                             Orlando, FL 32819-5251                         Orlando, FL 32819-5251

Palm Philadelphia Investor                   Palm Philadelphia Manager                      Palm Restaurant Inc.
c/o Palm Management Corp.                    c/o Palm Management Corp.                      c/o Palm Management Corp.
7380 West Sand Lake Road                     7380 West Sand Lake Road                       7380 West Sand Lake Road
Suite 450                                    Suite 450                                      Suite 450
Orlando, FL 32819-5251                       Orlando, FL 32819-5251                         Orlando, FL 32819-5251

Palm Restaurant of Houston                   Palm Restaurant of Las Vegas                   Palm Tysons Too Inc.
c/o Palm Management Corp.                    c/o Palm Management Corp.                      c/o Palm Management Corp.
7380 West Sand Lake Road                     7380 West Sand Lake Road                       7380 West Sand Lake Road
Suite 450                                    Suite 450                                      Suite 450
Orlando, FL 32819-5251                       Orlando, FL 32819-5251                         Orlando, FL 32819-5251

Palm West Corp.                              San Antonio Palm Restaurant                    Sparkling Pools
c/o Palm Management Corp.                    c/o Palm Management Corp.                      PO Box 1280
7380 West Sand Lake Road                     7380 West Sand Lake Road                       Sag Harbor NY 11963
Suite 450                                    Suite 450
Orlando, FL 32819-5251                       Orlando, FL 32819-5251

The Washington Palm, Inc.                    Victor Ganzi                                   W.B. Associates, Inc.
c/o Palm Management Corp.                    126 East 56th Street, 14th Floor               7380 West Sand Lake Road
7380 West Sand Lake Road                     New York, NY 10022-3077                        Suite 450
Suite 450                                                                                   Orlando FL 32819-5251
Orlando, FL 32819-5251

Walter J. Ganzi                              Weber & Grahn                                  Robert E Tardif Jr.+
8171 Bay Colony Drive                        216 E. Montauk Hwy.                            Trustee
#1902                                        Hampton Bays NY 11946-1902                     Post Office Box 2140
Naples FL 34108-7567                                                                        Fort Myers, FL 33902-2140
                           Case 2:19-bk-01947-FMD                Doc 313          Filed 02/20/20      Page 312 of 318
Benjamin E. Lambers +                                 Robert A. Schatzman +                                Steven J Solomon +
Timberlake Annex                                      Gray Robinson, P.A.                                  GrayRobinson, PA
501 E. Polk Street, Suite 1200                        333 S.E. 2nd Avenue, Suite 3200                      333 S.E. 2nd Avenue, Suite 3200
Tampa, FL 33602-3945                                  Miami, FL 33131-2191                                 Miami, FL 33131-2191


Robert E Tardif, Attorney for Trustee +               United States Trustee - TPA7/13 +                    Andrew T. Jenkins +
Robert E. Tardif, Jr., P.A.                           Timberlake Annex, Suite 1200                         Bush Ross, PA
Post Office Box 2140                                  501 E Polk Street                                    Post Office Box 3913
Fort Myers, FL 33902-2140                             Tampa, FL 33602-3949                                 Tampa, FL 33601-3913


Robert F Elgidely +                                   Paul Steven Singerman +                              Marian G Kennady +
Fox Rothschild LLP                                    Berger Singerman, LLP                                Reed Smith LLP
2 South Biscayne Boulevard, Suite 2750                1450 Brickell Avenue, Suite 1900                     1001 Brickell Bay Drive, Suite 900
Miami, FL 33131-1833                                  Miami, FL 33131-5319                                 Miami, FL 33131-4937


J Steven Wilkes +                                     Christopher A Jarvinen +                             Gregg A Steinman +
Office of United States Trustee                       Berger Singerman LLP                                 DLA Piper LLP (US)
501 East Polk Street                                  1450 Brickell Avenue, Suite 1900                     200 South Biscayne Boulevard, Suite 2500
Tampa, FL 33602-3949                                  Miami, FL 33131-5319                                 Miami, FL 33131-5340


Brenda E Carpenter +                                  Joshua D Rievman +                                   Fredric S. Newman +
Phelan Hallinan Diamond & Jones, PLLC                 Dunning Rievman & Davies, LLP                        Hoguet Newman Regal & Kenney, LLP
2001 NW 64th Street, Suite 100                        434 West 33rd Street                                 One Grand Central Place
Fort Lauderdale, FL 33309-1844                        New York, NY 10001-2601                              60 East 42nd Street, 48th Floor
                                                                                                           New York, NY 10165-3003

Megan Preusker +
McDermott Will & Emery LLP
444 West Lake Street, Suite 4000
Chicago, IL 60606-0029




                  The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Claire Breen                                       (u)Gary Ganzi                                        (u)Victor F. Ganzi




(u)Gary Ganzi and Claire Breen as Attorneys-i         (u)MCP II Jefferson, LLC                             (d)Internal Revenue Service
                                                                                                           P.O. Box 7346
                                                                                                           Philadelphia, PA 19101-7346



(d)Just One More Restaurant Corp.                     End of Label Matrix
8955 Fontana del Sol Way, 2nd Floor                   Mailable recipients    75
Naples, FL 34109-4428                                 Bypassed recipients     7
                                                      Total                  82
                             Case 2:19-bk-01947-FMD     Doc 313          Filed 02/20/20   Page 313 of 318
Label Matrix for local noticing              Bank of America, N.A.                          Tom Crouch
113A-9                                       Bush Ross PA                                   Benson & Mangold
Case 9:19-bk-09680-FMD                       c/o Andrew T. Jenkins, Esq.                    116 N. Talbot Street, Suite A
Middle District of Florida                   PO Box 3913                                    Saint Michaels, MD 21663-2144
Ft. Myers                                    Tampa, FL 33601-3913
Thu Feb 20 13:08:59 EST 2020
Scott Esterbrook                             Walter J. Ganzi Jr                             Hoguet Newman Regal & Kenney, LLP
Three Logan Square                           8171 Bay Colony Drive                          One Grand Central Place
1717 Arch Street, Suite 3100                 #1902                                          60 E. 42nd Street
Philadelphia, PA 19103-2762                  Naples, FL 34108-7567                          48th Floor
                                                                                            New York, NY 10165-3003

Just One More Holding Corp.                  Just One More Restaurant Corp.                 Soneet R Kapila
8955 Fontana Del Sol Way                     8955 Fontana Del Sol Way                       Kapila & Company
2nd Floor                                    2nd Floor                                      1000 S. Federal Highway
Naples, FL 34109-4428                        Naples, FL 34109-4428                          Suite 200
                                                                                            Ft. Lauderdale
                                                                                            FL, FL 33316-1237
SF V CLE Lending, LLC                        Bank of America                                Bank of America
c/o Reed Smith LLP                           Global Commercial Banking                      PO Box 660576
1001 Brickell Bay Dr.                        1301 Gervais Street, Suite 2020                Dallas, TX 75266-0576
Suite 900                                    SC3-230-20-02
Miami, FL 33131-4937                         Columbia, SC 29201-3354

Briargrove Retail LP                         Claire Breen                                   Cooley LLP
One Riverway, Suite 100                      c/o Frederic Newman, Esq.                      101 California Street, 5th F
Houston, TX 77056-1962                       Hoguet Newman Regal & Kenney                   San Francisco, CA 94111-5800
                                             60 E. 42nd St., 48th Floor
                                             New York, NY 10165-3003

Estate of Charles Cook                       Frederic Newman, Esq.                          Gary Ganzi
c/o Frederic Newman, Esq.                    Hoguet Newman Regal & Kenney                   c/o Frederic Newman, Esq.
Hoguet Newman Regal & Kenney                 60 E. 42nd St., 48th Floor                     Hoguet Newman Regal & Kenney
60 E. 42nd St., 48th Floor                   New York, NY 10165-3003                        60 E. 42nd St., 48th Floor
New York, NY 10165-3003                                                                     New York, NY 10165-3003

Internal Revenue Service                     Just One More Holding Corp.,                   Just One More Restaurant Holdings
P.O. Box 7346                                1450 Brickell Avenue                           8955 Fontana del Sol Way, 2nd Floor
Philadelphia, PA 19101-7346                  Ste 1900                                       Naples, FL 34109-4428
                                             Miami FL 33191-0001


Kasowitz Benson Torres LLP                   Land Rover Financial Group                     Verizon
1633 Broadway                                1820 East Sky Harbour Circle #150              by American InfoSource as agent
New York, NY 10019-6708                      Phoenix, AZ 85034-4875                         PO Box 4457
                                                                                            Houston, TX 77210-4457


Victor Ganzi                                 Robert E Tardif Jr.+                           Robert A. Schatzman +
126 Eaast 56th Street, 14th Floor            Trustee                                        Gray Robinson, P.A.
New York, NY 10022                           Post Office Box 2140                           333 S.E. 2nd Avenue, Suite 3200
                                             Fort Myers, FL 33902-2140                      Miami, FL 33131-2191


Steven J Solomon +                           Robert E Tardif, Attorney for Trustee +        United States Trustee - FTM7/13 +
GrayRobinson, PA                             Robert E. Tardif, Jr., P.A.                    Timberlake Annex, Suite 1200
333 S.E. 2nd Avenue, Suite 3200              Post Office Box 2140                           501 E Polk Street
Miami, FL 33131-2191                         Fort Myers, FL 33902-2140                      Tampa, FL 33602-3949
                           Case 2:19-bk-01947-FMD                Doc 313          Filed 02/20/20      Page 314 of 318
Andrew T. Jenkins +                                   Robert F Elgidely +                                  Paul Steven Singerman +
Bush Ross, PA                                         Fox Rothschild LLP                                   Berger Singerman, LLP
Post Office Box 3913                                  2 South Biscayne Boulevard, Suite 2750               1450 Brickell Avenue, Suite 1900
Tampa, FL 33601-3913                                  Miami, FL 33131-1833                                 Miami, FL 33131-5319


Marian G Kennady +                                    J Steven Wilkes +                                    Christopher A Jarvinen +
Reed Smith LLP                                        Office of United States Trustee                      Berger Singerman LLP
1001 Brickell Bay Drive, Suite 900                    501 East Polk Street                                 1450 Brickell Avenue, Suite 1900
Miami, FL 33131-4937                                  Tampa, FL 33602-3949                                 Miami, FL 33131-5319


Gregg A Steinman +                                    Joshua D Rievman +                                   Fredric S. Newman +
DLA Piper LLP (US)                                    Dunning Rievman & Davies, LLP                        Hoguet Newman Regal & Kenney, LLP
200 South Biscayne Boulevard, Suite 2500              434 West 33rd Street                                 One Grand Central Place
Miami, FL 33131-5340                                  New York, NY 10001-2601                              60 East, 42nd Street, 28th Floor
                                                                                                           New York, NY 10165-3003

Megan Preusker +
McDermott Will & Emery LLP
444 West Lake Street, Suite 4000
Chicago, IL 60606-0029




                  The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Claire Breen                                       (u)Gary Ganzi                                        (u)Victor F. Ganzi




(u)Gary Ganzi and Claire Breen as Attorneys-i         (u)MCP II Jefferson, LLC                             (u)Raymond James & Associates, Inc.




(d)Just One More Restaurant Corp.                     End of Label Matrix
8955 Fontana del Sol Way, 2nd Floor                   Mailable recipients    39
Naples, FL 34109-4428                                 Bypassed recipients     7
                                                      Total                  46
            Case 2:19-bk-01947-FMD     Doc 313   Filed 02/20/20    Page 315 of 318




                                ADDITIONAL SERVICE LIST

Atlanta                                          Charlotte
CCSH Atlanta, LLC                                The Harris Group of Carolinas, Inc.
c/o Swissotel Atlanta                            d/b/a The Harris Group
3391 Peachtree Road, N.E.                        Rotunda, Ste. 175
Atlanta, GA 30326                                4201 Congress Street
                                                 Charlotte, NC 28209
Atlantic City                                    Attn: John W. Harris
Adamar of New Jersey, Inc.
c/o Kravco Company                               Charles O. DuBose, Esq.
P.O. Box 1528                                    Kennedy Covington Lobdell & Hickman
King of Prussia, PA 19406                        100 North Tyron Street, Ste. 4200
                                                 Charlotte, NC 28202-4006
Tropicana Atlantic City Corp.
Brighton Avenue and the Boardwalk                Phillips Place Partners, LLC
Atlantic City, NJ 08401-6390                     c/o Harris Group Partners – Phillips Place,
                                                 LLC
Beverly Hills                                    Attn: J. Patrick Clayton
267 North Canon Drive, LLC                       4725 Piedmont Row Drive, Ste. 800
Attn: Peter Strauss                              Charlotte, NC 28210-4284
621 N. Beverly Drive
Beverly Hills, CA 90210                          Chicago
                                                 SNH Chicago, Inc.
Garfield & Hecht, P.C.                           323 East Wacker Drive
Attn: Ronald Garfield, Esq.                      Chicago, IL 60601
601 E. Hyman Avenue
Aspen, CO 81611                                  Andreas T. Meinhold, Senior VP
                                                 Swissotel Management Corporation
Boston                                           The Drake Hotel
Fort Hill Square 1 Owner, LLC                    440 Park Avenue
c/o The Chiofaro Company, Inc.                   New York, NY 10022
One International Place, 46th Floor
Boston, MA 02110                                 Arnall Golden & Gregory
                                                 2800 One Atlantic Center
Fort Hill Square 1 Owner LLC                     1201 West Peachtree Street
c/o Prudential Real Estate Investors             Atlanta, GA 30309-3400
8 Campus Drive, 4th Floor                        Attn: Jeffrey B. Berg, Esq.
Parsippany, NJ 07054
                                                 CCSH Chicago LLC
DLA Piper LLP (US)                               c/o Host Hotels & Resorts, Inc.
33 Arch Street, 26th Floor                       6903 Rockledge Drive, Ste. 1500
Boston, MA 02110                                 Bethesda, MD 20817
Attn: William B. Forbush, III                    Attn: Law Dept./Asset Mgmt.



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Denver                                           Houston
Tabor Center Associates, L.P.                    Briargrove Shopping Center Joint Venture
c/o The Yarmouth Group Property                  2000 Crawford
Management, Inc.                                 Houston, TX 77002
P.O. Box 10363
Newark, NJ 07193-0363                            Briargrove Retail, L.P.
                                                 c/o Unilev Management Corporation
The Shops at Tabor Center                        One Riverway, Ste. 100
1201 – 16th Street, Ste. 120                     Houston, TX 77056
Denver, CO 80202
                                                 LA Downtown
EOP-Tabor, L.L.C.                                Flower Holdings, LLC
c/o Equity Office Properties                     1100 South Flower Street, Ste. 3100
1201 – 16th Street, Ste. 120                     Los Angeles, CA 90015
Denver, CO 80202                                 Attn: Ted Tanner
Attn: Building Manager
                                                 Flower Holdings, LLC
Equity Office Properties                         1111 South Figueroa Street, Ste. 3100
Two North Riverside Plaza                        Los Angeles, CA 90015
Ste. 2200                                        Attn: Ted Fikre
Chicago, IL 60606
Attn: Regional Counsel – Denver Region           PSP Investment Group, LLC
                                                 425 East Pico Boulevard, Ste. 206
Urban Retail Properties Company                  Los Angeles, CA 90015
900 North Michigan Avenue, Ste. 1300             Attn: Messrs. George and Jake Peykar
Chicago, IL 60611-1575
Attn: David Kattar, Exec. VP                     PSP Investment Group, LLC
                                                 c/o Wall Street Investment Group
CCP/MS SSIII Denver Tabor Center 1               425 East Pico Boulevard, Ste. 206
Property Owner LLC                               Los Angeles, CA 90015
3203 Paysphere Circle
Chicago, IL 60674                                Las Vegas
                                                 Forum Developers Limited Partnership
SITQ BST-REIT LP                                 c/o M.S. Management Associates Inc.
1001, rue du Square-Victoria, bureau C-500       One Merchants Plaza
Montreal (Quebec) H2Z 2B5                        P.O. Box 7033
                                                 Indianapolis, IN 46207
Callahan Capital Partners
Attn: Tom Gershman                               Caesars Palace Realty Corp.
10 S. Riverside Plaza, Ste. 1250                 1801 Century Park East, Ste. 2600
Chicago, IL 60606                                Los Angeles, CA 90067
                                                 Attn: General Counsel




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Forum Shops, LLC                                  New York - Downtown
c/o M.S. Management Associates, Inc.              West-Chambers Street Associates, LLC
225 West Washington Street                        c/o Jack Resnick & Sons, Inc.
Indianapolis, IN 46204-3438                       110 East 59th Street, 34th Floor
                                                  New York, NY 10022
Caesars Palace Realty
c/o Harrah’s Entertainment, Inc.                  200 Chambers, LLC
One Caesars Palace Drive                          c/o Jack Resnick & Sons, Inc.
Las Vegas, NV 89109-8969                          110 East 59th Street, 34th Floor
Attn: General Counsel                             New York, NY 10022

Forum Shops, LLC                                  Orlando
867011 Reliable Parkway                           UFC Hotel Venture
Chicago, IL 60686-0070                            1000 Universal Studios Plaza
                                                  Orlando, FL 32819
Miami                                             Attn: Mr. Thomas Williams
The Sand Joint Venture
9560 E. Bay Harbor Drive                          UFC Hotel Venture
Bay Harbor Islands, FL 33154                      6800 Lakewood Plaza Drive
                                                  Orlando, FL 32819
CSL Sand Leasing, Inc.                            Attn: Director of Administration
88 W. Riverside Drive
Jupiter, FL 33469                                 Loews Hotels Holding Corporation
Attn: Alexander M. Lankler, President             667 Madison Avenue, 8th Floor
                                                  New York, NY 10021-8087
Johnson & Wales University                        Attn: Corporate Secretary
1701 N.E. 127 Street
North Miami, FL 33181                             Hughes Hubbard & Reed LLP
Attn: Donald M. McGregor, President               201 S. Biscayne Blvd., Ste. 2500
                                                  Miami, FL 33131
BHI Hotel, LLC                                    Attn: William A. Weber, Esq.
2138 Rose Theatre Circle
Olney, MD 20832                                   Palm Too
Attn: Samuel M. Spiritos                          Katherine Seidner
                                                  836 Second Avenue
Nashville                                         New York, NY 10017
Turnberry/Nashville Arena Hotel, LP
c/o 19501 Biscayne Blvd., Ste. 400                Mandell Mandell LLP
Aventura, FL 33180                                80-02 Kew Gardens Road, Ste. 606
Attn: Jeffrey Soffer                              Kew Gardens, NY 11415
                                                  Attn: Mark, J. Mandell, Esq.
Turnberry Development, LLC
19501 Biscayne Blvd., Ste. 400                    Palm West
Aventura, FL 33180                                Resnick Eighth Avenue Associates, LLC
Attn: Legal Department                            110 East 59th Street
                                                  New York, NY 10022
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AvalonBay Communities, Inc.                     Tysons Too
Attn: Senior Director, Retail                   MDM Development Company, LLC
671 N. Glebe Road, Ste. 800                     c/o Lerner Corporation, Managing Agent
Arlington, VA 22203                             1150 Huff Court
                                                North Bethesda, MD 20895-1094
Philadelphia                                    Attn: Legal Department
Bellevue Associates
200 South Broad Street, 3rd Floor               Tye Development Company, LLC
Philadelphia, PA 19103                          200 Tower Oaks Bl;vd., 8th Floor
Attn: Ronald Rubin                              Rockville, MD 20852

San Antonio                                     Washington
Street Retail San Antonio, LP
c/o Federal Realty Investment Trust             Metropolitan Life Insurance Company
1626 East Jefferson Street                      c/o CPP 1125 DC LLC
Rockville, MD 20852-4041                        c/o Core Plus Properties LLC
Attn: Legal Department                          One Dock Street, Ste. 408
                                                Stamford, CT 06902
GrayStreet Houston – 229 E. Houston, LLC        Attn: Mr. James C. B. Millard
P.O. Box 461406
San Antonio, TX 78246-1406                      Metropolitan Life Insurance Company
                                                c/o BlackRock Realty Advisors, Inc.
GrayStreet Houston Management, LLC              300 Campus Drive, 3rd Floor
c/o Kevin Covey, Manager                        Florham Park, NJ 07932
Caliburn Capital, LLC                           Attn: Tower Fund – Asset Manager
4515 San Pedro Avenue
San Antonio, TX 78212                           Metropolitan Life Insurance Company
                                                c/o BlackRock Realty Advisors, Inc.
Palm Management Corporation                     300 Campus Drive, 3rd Floor
MSC Sand Lake IV, Inc.                          Florham Park, NJ 07932
c/o Washington Capital Management, Inc.         Attn: Tower Fund – Counsel
260 Franklin Street, Ste. 1900
Boston, MA 02110                                Duane Morris LLP
Attn: Asset Management                          227 West Monroe Street, Ste. 3400
                                                Chicago, IL 60606
Foundry Commercial, LLC                         Attn: David B. Allswang, Esq.
420 S. Orange Avenue, Ste. 950
Orlando, FL 32801
Attn: Property Manager

MSC Sand Lake IV, Inc.
7280 Sand Lake Road, Ste. 150
Orlando, FL 32819



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